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                APPENDIX OF UNPUBLISHED OPINIONS

1.    Anderson v. SeaWorld Parks & Entm’t, Inc.,
           No. 15-cv-2172, 2016 WL 8929295 (N.D. Cal. Nov. 7, 2016)

2.    Bank of America, N.A. v. Zaskey,
            No. 15-cv-81325, 2016 WL 2897410 (S.D. Fla. May 18, 2016)

3.    Genna v. Sallie Mae, Inc.,
           No. 11-cv-7371, 2012 WL 1339482 (S.D.N.Y. Apr. 17, 2012)

4.    Greene v. Gerber Prods. Co.,
           No. 16-cv-1153, 2017 WL 3327583 (E.D.N.Y. Aug. 2, 2017)

5.    Harte v. Ocwen Fin. Corp.,
            No. 13-cv-5410, 2014 WL 4677120 (E.D.N.Y. Sept. 19, 2014)

6.    Indianapolis Life Ins. Co. v. Hentz,
            No. 06-cv-2152, 2008 WL 4453223 (M.D. Pa. Sept. 30, 2008)

7.    Kerr v. American Independent Ins. Co.,
            C.A. No. 06C-06-012, 2007 WL 642072 (Del. Super. Ct. Feb. 28,
            2007)

8.    Martorella v. Deutsche Bank Nat’l Tr. Co.,
           No. 12-cv-80372, 2015 WL 10857441 (S.D. Fla. Nov. 9, 2015)

9.    Mazonas v. Nationstar Mortg. LLC,
           No. 16-cv-660, 2016 WL 2344196 (N.D. Cal. May 4, 2016)

10.   Plumlee v. Pfizer, Inc.,
           No. 13-cv-0414, 2014 WL 4275519 (N.D. Cal. Aug. 29, 2014)

11.   Pom Wonderful LLC v. Welch Foods, Inc.,
           No. 09-cv-567, 2009 WL 5184422 (C.D. Cal. Dec. 21, 2009)

12.   Russ v. Apollo Grp., Inc.,
            No. 09-cv-904, 2009 WL 10674112 (C.D. Cal. Sept. 23, 2009)
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13.   Sammons v. Hartford Underwriters Ins. Co.,
          No. C.A. S09C-12-026, 2010 WL 1267222 (Del. Sup. Ct. Apr. 1,
          2010)

14.   Schwartz v. Lights of Am.,
           No. 11-cv-1712, 2012 WL 4497398 (C.D. Cal. Aug. 31, 2012)

15.   T-Jat Sys. 2006 Ltd. v. Expedia, Inc. (DE),
            C.A. No. 16-581, 2017 WL 896988 (D. Del. Mar. 7, 2017)

16.   United States v. Gorski,
            No. 11-4252, 2012 WL 12886823 (C.D. Cal. Mar. 22, 2012)

17.   United States v. Payment Processing Ctr., LLC,
            No. 06-cv-0725, 2006 WL 2990392 (E.D. Pa. Oct. 18, 2006)
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                                                            This is the fourth iteration of Plaintiffs' complaint. On
                                                            April 13, 2015, Marc Anderson (“Anderson”) and Ellexa
                 2016 WL 8929295
                                                            Conway (“Conway”) filed their original complaint in the
   Only the Westlaw citation is currently available.
                                                            Superior Court of the State of California for the City
              NOT FOR CITATION
                                                            and County of San Francisco. (Dkt. No. 1-1, Complaint.)
            United States District Court,
                                                            On May 11, 2015, Anderson and Conway filed a First
                  N.D. California.
                                                            Amended Complaint (the “FAC”). (Dkt. No. 9-1, FAC.)
         Marc ANDERSON, et al., Plaintiffs,                 On May 14, 2015, SeaWorld removed to this Court. (Dkt.
                     v.                                     No. 1, Notice of Removal.)
            SEAWORLD PARKS AND
                                                            On May 29, 2015, Anderson and Conway moved to
        ENTERTAINMENT, INC., Defendant.
                                                            remand, and on September 18, 2015, SeaWorld moved
               Case No. 15-cv-02172-JSW                     to dismiss the FAC. (Dkt. Nos. 15, 43.) On September
                            |                               24, 2015, the Court denied the motion to remand, and
                  Signed 11/07/2016                         it granted, in part, and denied, in part, their motion for
                                                            reconsideration on January 12, 2016. (Dkt. Nos. 46, 65.)
Attorneys and Law Firms                                     On April 7, 2016, Anderson and Conway sought leave
                                                            to file a second amended complaint to add two new
Christine Saunders Haskett, Lindsey Catherine Barnhart,
                                                            plaintiffs, Kelly Nelson (“Nelson”) and Juliette Morizur
Tracy Olivia Zinsou, Covington & Burling LLP, San           (“Morizur”), and to supplement the factual allegations in
Francisco, CA, Udit Sood, Covington Burling LLP, for        the FAC. (Dkt. No. 69.)
Plaintiffs.
                                                            Because SeaWorld's motion to dismiss was ripe, the
John Morgan Simpson, Michelle C. Pardo, Rebecca E.
                                                            Court considered that motion in the first instance, and
Bazan, Norton Rose Fulbright US LLP, Washington,
                                                            it considered the proposed second amended complaint to
DC, Lawrence Yale Iser, Gregory Steven Gabriel, Kristen
                                                            determine whether leave to amend would be futile. On
Louise Spanier, Kinsella Weitzman Iser Kump & Aldisert
                                                            August 1, 2016, the Court granted, in part, and denied, in
LLP, Santa Monica, CA, for Defendant.
                                                            part, SeaWorld's motion to dismiss and denied the motion
                                                            for leave to amend as moot. Although the Court found
                                                            that the proposed second amended complaint did not
   ORDER GRANTING IN PART AND DENYING
                                                            adequately plead certain claims, it gave leave to include
  IN PART MOTION TO DISMISS AND SETTING
                                                            Morizur and Nelson as plaintiffs and gave Plaintiffs a
      CASE MANAGEMENT CONFERENCE
                                                            further opportunity to amend the claims. See Anderson v.
                                                            SeaWorld Parks and Entertainment, No. 15-cv-2172-JSW,
                    Re: Dkt. No. 82                         2016 WL 4076097, at *8-11 (N.D. Cal. Aug. 1, 2016).

JEFFREY S. WHITE, United States District Judge
                                                            B. Factual Background.
 *1 Now before the Court for consideration is the           Plaintiffs allege that “[a]s part of a marketing campaign
motion to dismiss, filed by Defendant SeaWorld Parks        to induce ticket and souvenir purchases, SeaWorld has
and Entertainment, Inc. (“SeaWorld”). The Court has         made, continues to make, and profits off of false and
considered the parties' papers, relevant legal authority,   misleading statements concerning the welfare of [its]
and the record in this case, and the Court HEREBY           captive orcas.” (Second Amended Complaint (“SAC”) ¶
GRANTS, IN PART, AND DENIES, IN PART, Sea                   1.) According to Plaintiffs, “SeaWorld has engaged in a
World's motion.                                             pervasive, long-term advertising campaign to mislead the
                                                            public about its care for captive orcas and conceal the
                                                            detrimental health effects that captivity has on orcas.” (Id.
                   BACKGROUND                               ¶ 4.)

A. Procedural History.


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Plaintiffs allege that SeaWorld affirmatively misrepresents     law, Business and Professions Code sections 17200, et
represents that: (1) orca lifespans in captivity are            seq. (the “UCL claim”); and (3) violation of California's
equivalent to life spans in the wild; (2) collapsed dorsal      Consumer Legal Remedies Act, California Civil Code
fins are normal; (3) it does not separate orca calves from      section 1750, et seq. (the “CLRA claim”).
mothers; and (4) captivity does not harm orcas. (Id. ¶¶
25-39.) In sum, Plaintiffs allege that

              SeaWorld's advertising misleadingly                                      ANALYSIS
              creates the perception that orcas as
                                                                SeaWorld argues that: (1) Plaintiffs fail to allege facts
              a species are generally benefited by
                                                                to show they have standing to seek injunctive relief
              SeaWorld's rehabilitative programs,
                                                                under Article III of the United States Constitution; (2)
              scientific studies, and educational
                                                                Plaintiffs fail to state claims based on the alleged long-
              activities, and that the individual
                                                                term advertising campaign; (3) Plaintiffs fail to state a
              orcas it holds in captivity are as
                                                                claim under the CLRA and failed to provide the required
              healthy and as stimulated as their
                                                                statutory notice for restitution claims; (4) Anderson lacks
              wild counterparts. ...
                                                                statutory standing to pursue the FAL and UCL claims
*2 (Id. ¶ 7.)                                                   to the extent those claims are premised on his purchase
                                                                of tickets to SeaWorld; and (5) Morizur's claim under the
Plaintiffs allege they were exposed to these representations    FAL fail to the extent that claims rest on statements a
in a variety of ways and allege they either relied on           SeaWorld trainer made to her, and it alleges her UCL
SeaWorld's advertising campaign or alleged they relied          claim fails for this reason as well.
on four specific representations before they purchased
admission to SeaWorld or before they purchased a plush
                                                                A. Applicable Legal Standards.
toy orca (the “Shamu Plush”). (Id. ¶¶ 18-21.) Plaintiffs also
allege that                                                        1. Federal Rule of Civil Procedure 12(b)(1).
                                                                SeaWorld moves to dismiss for lack of Article III standing,
              [a]lthough SeaWorld continues to
                                                                pursuant to Federal Rule of Civil Procedure 12(b)(1). See
              make these representations, on or
                                                                Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir.
              around March 17, 2016, SeaWorld
                                                                2011); White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000).
              announced that it will end all orca
                                                                A motion to dismiss under Rule 12(b)(1) may be “facial
              breeding programs, and that the
                                                                or factual.” Safe Air for Everyone v. Meyer, 373 F.3d
              orcas SeaWorld currently has in
                                                                1035, 1039 (9th Cir. 2004). Where, as here, a defendant
              captivity will be the last generation
                                                                makes a facial attack on jurisdiction, a court takes the
              of orcas in SeaWorld's care.
                                                                factual allegations of the complaint as true. Federation
              SeaWorld also announced around
                                                                of African Am. Contractors v. City of Oakland, 96 F.3d
              the same time that it will phase
                                                                1204, 1207 (9th Cir. 1996); see also Lujan v. Defenders of
              out its theatrical orca whale shows
                                                                Wildlife, 504 U.S. 555, 561 (1992) (“At the pleading stage,
              across all of its parks. Plaintiffs'
                                                                general factual allegations of injury resulting from the
              inability to rely on the accuracy
                                                                defendant's conduct may suffice, for on a motion dismiss,
              of these statements presents a
                                                                [courts] presume that general allegations embrace those
              continuing injury to them.
                                                                specific facts that are necessary to support the claim.”)
(Id. ¶ 39.)                                                     (internal citation and quotations omitted). The plaintiff
                                                                is then entitled to have those facts construed in the light
Based on these and other allegations, which the Court           most favorable to him or her. Federation of African Am.
shall address as necessary, Plaintiffs assert claims for: (1)   Contractors, 96 F.3d at 1207.
violations of California's false advertising law, Business
and Professions Code sections 17500, et seq. (the “FAL
                                                                  2. Federal Rule of Civil Procedure 12(b)(6).
claim”); (2) violations of California's unfair competition



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 *3 SeaWorld also moves to dismiss for failure to state          the misconduct charged.” Vess, 317 F.3d at 1107 (quoting
a claim and for lack of statutory standing. A “lack of           Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997)).
statutory standing requires dismissal for failure to state a
claim” and is evaluated under Rule 12(b)(6). Maya, 658
F.3d at 1067 (emphasis omitted). Under Rule 12(b)(6),               4. Leave to Amend.
the Court's “inquiry is limited to the allegations in the        In general, if the allegations are insufficient to state
complaint, which are accepted as true and construed in           a claim, a court should grant leave to amend, unless
the light most favorable to the plaintiff.” Lazy Y Ranch         amendment would be futile. See, e.g. Reddy v. Litton
LTD v. Behrens, 546 F.3d 580, 588 (9th Cir. 2008). Even          Indus., Inc., 912 F.2d 291, 296 (9th Cir. 1990); Cook,
under the liberal pleadings standard of Federal Rule of          Perkiss & Liehe, Inc. v. N. Cal. Collection Serv., Inc., 911
Civil Procedure 8(a)(2), “a plaintiff's obligation to provide    F.2d 242, 246-47 (9th Cir. 1990). If a court has granted a
the ‘grounds' of his ‘entitle[ment] to relief’ requires more     plaintiff leave to amend, and if the plaintiff has failed to
than labels and conclusions, and a formulaic recitation          correct deficiencies identified by the court, the court has
of the elements of a claim for relief will not do.” Bell         “particularly broad” discretion to deny leave to amend.
Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citing      See, e.g., Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1133
Papasan v. Allain, 478 U.S. 265, 286 (1986)). Pursuant           (9th Cir. 2013).
to Twombly, a plaintiff must not allege conduct that is
conceivable but must allege “enough facts to state a claim
                                                                 B. Plaintiffs Allege They Have Article III Standing to
to relief that is plausible on its face.” Id. at 570. “A claim
                                                                 Seek Injunctive Relief.
has facial plausibility when the Plaintiff pleads factual
                                                                 SeaWorld renews its argument that Plaintiffs lack Article
content that allows the court to draw the reasonable
                                                                 III standing to seek injunctive relief. “In a class action,
inference that the Defendant is liable for the misconduct
                                                                 standing is satisfied if at least one named plaintiff meets
alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing
                                                                 the requirements” for standing. See Bates v. United Parcel
Twombly, 550 U.S. at 556).
                                                                 Service, Inc., 511 F.3d 974, 985 (9th Cir. 2007); cf.
                                                                 Hodgers-Durgin v. de la Vina, 199 F.3d 1037, 1045 (9th Cir.
   3. Federal Rule of Civil Procedure 9(b).                      1999) (“Where, as here, a plaintiff seeks relief on behalf
Claims sounding in fraud or mistake are subject                  of a class, “[u]nless the named plaintiffs themselves are
heightened pleading requirements, which require that a           entitled to seek injunctive relief, they may not represent
plaintiff claiming fraud “must state with particularity the      a class seeking that relief.”). “Past exposure to harmful
circumstances regarding fraud or mistake.” Fed. R. Civ.          or illegal conduct does not necessarily confer standing to
P. 9(b). In addition, a claim “grounded in fraud” may be         seek injunctive relief if the plaintiff does not continue to
subject to Rule 9(b)'s heightened pleading requirements.         suffer adverse effects.” Mayfield v. United States, 599 F.3d
A claim is “grounded in fraud” if the plaintiff alleges a        964, 970 (9th Cir. 2010). Therefore, in order to satisfy
unified course of fraudulent conduct and relies entirely on      the pleading requirements for standing to seek prospective
that course of conduct as the basis of his or her claim. Vess    injunctive relief on behalf of class, at least one of the
v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1104 (9th Cir.           Plaintiffs must allege facts to show he or she faces a “
2003).                                                           ‘real or immediate threat ... that [he or she] will again
                                                                 be harmed in a similar way.’ ” Id. (quoting City of Los
Rule 9(b)'s particularity requirements must be read in           Angeles v. Lyons, 465 U.S. 95, 111 (1983)) (“Lyons”); see
harmony with Federal Rule of Civil Procedure 8, which            also Lyons, 465 U.S. at 109 (plaintiff must show he or she
requires a “short and plain” statement of the claim.             is “realistically threatened by a repetition” of the violation
The particularity requirement is satisfied if the complaint      to have standing to seek injunctive relief); Bates, 511 F.3d
“identifies the circumstances constituting fraud so that         at 985.
a defendant can prepare an adequate answer from the
allegations.” Moore v. Kayport Package Exp., Inc., 885            *4 The Court previously stated that the Ninth Circuit
F.2d 531, 540 (9th Cir. 1989); see also Vess, 317 F.3d           had not ruled on the issue of what is necessary to
at 1106. Accordingly, “[a]verments of fraud must be              allege standing for prospective injunctive relief in a
accompanied by ‘the who, what, when, where, and how’ of          case involving misleading advertising. Anderson, 2016
                                                                 WL 4076097, at *6. SeaWorld argues that the Ninth


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Circuit has definitively resolved the issue, citing Luman v.     does not require it to revisit its finding that Conway,
                                                 1
Theisman, 647 Fed. Appx. 804 (9th Cir. 2016). In Luman,          Nelson, and Morizur have sufficiently alleged facts to
the court stated that “[b]ecause [p]laintiffs do not allege      show standing to seek injunctive relief.
that they intend to purchase” the defendant's product
“in the future, they cannot demonstrate a likelihood of          SeaWorld also asks the Court to reconsider its
future injury.” Id. at 807. It therefore affirmed the district   ruling about the plausibility of Plaintiffs' allegations.
court's finding that the plaintiffs lacked standing. Id. This    Specifically, SeaWorld argues that Plaintiffs have alleged
Court likewise concluded that a plaintiff must allege facts      that they believe captivity is necessarily harmful to orcas
showing an intent to purchase a product in the future, in        and do not seek relief that would require SeaWorld
order to show he or she has standing to seek injunctive          to alter its practices. As noted, SeaWorld's practices
relief. That ruling is consistent with Luman. See Anderson,      may be evolving. “At the pleadings phase, the Court
2016 WL 4076097, at *6.                                          is unwilling to make” the conclusion that a plaintiff
                                                                 could not plausibly allege that he or she would consider
1                                                                purchasing a product if the plaintiff previously alleged the
       The Ninth Circuit decided Luman before the
                                                                 product was not wanted.” Anderson, 2016 WL 4076097,
       Court ruled on SeaWorld's first motion to dismiss.
                                                                 at *7. The Court still is “unwilling to hold, as a matter
       SeaWorld did not seek leave to bring the case to
       the Court's attention. In addition, Luman is an           of law, that a plaintiff could never pursue a claim for
       unpublished opinion and, in the context of this case,     prospective injunctive relief merely because the plaintiff
       is not precedential. See Ninth Circuit Rule 36-3(a).      now knows the truth about the alleged misrepresentation.
                                                                 As the Duran court noted, it may be difficult for a plaintiff
SeaWorld argues that Plaintiffs' allegations that they
                                                                 to plausibly allege facts to show he or she would be
“may consider” or “would consider” purchasing
                                                                 deceived in the future, but at the pleadings phase, the
admission to SeaWorld or a Shamu Plush in the future are
                                                                 Court cannot say it would be impossible.” Id.
insufficient under Luman. However, the Luman court did
not specify the exact nature of the plaintiffs' allegations.
                                                                  *5 Accordingly, for these reasons, the Court denies, in
Id. Thus, it is not clear that the court addressed the
                                                                 part, SeaWorld's motion to dismiss.
precise issue presented here, i.e. what factual allegations
would be sufficient to allege the requisite intent. For the
reasons stated in its prior order, the Court concludes that      C. The Court Dismisses the Claims Based on SeaWorld's
Plaintiffs' allegations are sufficient to show an intent to      Alleged Advertising Campaign.
purchase tickets or a product from SeaWorld in the future.       Anderson, Conway, and Nelson allege they relied on
See, e.g., Lilly v. Jamba Juice Company, No. 13-cv-02998-        SeaWorld's representations that captivity does not harm
JST, 2015 WL 1248027, at *3-*5 (N.D. Cal. Mar. 18,               orcas, before they purchased admission to SeaWorld.
2015).                                                           According to Plaintiffs, those statements were made
                                                                 as part of a “long-term” advertising campaign. (SAC
In addition, when it determined that Conway, Morizur,            ¶¶ 18-20, 32.) Morizur also suggests that she relied
and Nelson had included sufficient facts in the proposed         on statements made during that campaign before she
SAC to allege standing, the Court took into account the          purchased a Shamu Plush. (Id. ¶ 21.) SeaWorld renews
allegations that SeaWorld had announced certain changes          its motion to dismiss the claims based on these
in its practices on orca breeding and the orca shows to          representations.
be significant. The Court reasoned that those allegations
demonstrated that the product or service at issue might          In order to show they have statutory standing to pursue
be changing to a product or service the Plaintiffs would         their claims, Plaintiffs must allege facts to show they
want if they could rely on SeaWorld's advertising. On that       relied on the alleged misrepresentations. In re Tobacco
basis, the Court distinguished the facts in this case from       II Cases, 46 Cal. 4th 289, 326 (2009) ( “Tobacco II”).
the facts in Duran v. Hampton Creek, No. 15-cv-05497-            However, in Tobacco II, the court also held that a
LB, 2016 WL 1191685, at *6-*7 (N.D. Cal. Mar. 28, 2016).         plaintiff “is not required to necessarily plead and prove
In Luman, unlike here, there was no suggestion that the          individualized reliance on specific misrepresentations or
product at issue would be changed. For these reasons, the        false statements where ... those misrepresentations and
Court concludes that the Ninth Circuit's opinion in Luman


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false statements were part of an extensive and long-term       relied on when purchasing a product,” but finding that
advertising campaign.” Id., 46 Cal. 4th at 328.                Tobacco II “does not, and indeed could not, supplant
                                                               a federal plaintiff's obligation to describe that campaign
The Court granted SeaWorld's first motion to dismiss           with the particularity prescribed by Rule 9(b)”).
to the extent Plaintiffs' claims were based on the alleged
advertising campaign, because the allegations did not           *6 Plaintiffs argue that they have cured the deficiencies
satisfy Rule 9(b). Anderson, 2016 WL 4076097, at *9.           identified in the Court's prior order and rely on Opperman
The Court also found that Plaintiffs failed to adequately      v. Path, Inc., 84 F. Supp. 3d 962 (N.D. Cal. 2015).
allege reliance, because they had “not adequately alleged      In Opperman, the court found that the plaintiffs had
sufficient facts to show that SeaWorld's advertising and       sufficiently alleged claims under the FAL, CAL and the
public relations campaign was sufficiently similar to the      CLRA based on a Tobacco II theory of reliance. Id. at
campaign at issue in” Tobacco II. Anderson, 2016 WL            978-83. In reaching this conclusion, the court set forth “six
4076097, at *10-11.                                            factors ... that bear on whether a plaintiff has pleaded an
                                                               advertising campaign in accordance with” Tobacco II. Id.
SeaWorld argues that Plaintiffs allegations still are          at 976. 2
insufficient and argues that Tobacco II cannot supplant
Rule 9(b)'s pleading requirements. See Kearns v. Ford                      First, a plaintiff must allege that
Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009). In Kearns,                 she actually saw or heard the
the court rejected the plaintiff's argument that Rule                      defendant's advertising campaign.
9(b) did not apply to California's consumer protection                     Second the advertising campaign
statutes. 567 F.3d at 1125. Plaintiffs do not dispute that                 must be sufficiently lengthy in
proposition of law. The Kearns court also concluded                        duration, and widespread in
that the plaintiff had failed to plead his fraud-based                     dissemination, that it would be
claims with particularity, because “he did not specify                     unrealistic to require the plaintiff
what the television advertisements or other sales material                 to plead each misrepresentation
specifically stated. Nor did Kearns specify when he was                    she saw and relied upon. Third,
exposed to them or which ones he found material. Kearns                    the plaintiff must describe in the
also failed to specify which sales material he relied upon                 complaint, and preferably attach
in making his decision to buy a CPO vehicle.” Id. at 1126.                 to it, a representative sample of
SeaWorld argues that the Court must follow Kearns and                      the advertisements at issue so as
conclude that Plaintiffs' allegations are deficient.                       to adequately notify the defendant
                                                                           of the precise nature of the
The Court concludes that Tobacco II can be reconciled                      misrepresentation claim—what, in
with Kearns, if a plaintiff's allegations about an                         particular, the defendant is alleged
alleged “long-term advertising campaign” are sufficiently                  to have said and how it is misleading.
particular. In addition, a plaintiff must allege facts about               Fourth, the plaintiff must allege,
the campaign to show, in terms of “breadth and content,”                   and the court must evaluate,
it would be not be “unreasonable to presume that all                       the degree to which the alleged
[putative] class members were exposed to” to the allegedly                 misrepresentations contained within
misleading representations and to show that it would                       the advertising campaign are similar
be unrealistic for a plaintiff to prove reliance on a                      to each other. Fifth, each plaintiff
particular advertisement. Berger v. Home Depot USA,                        must plead with particularity, and
Inc., 741 F.3d 1061, 1068 (9th Cir. 2014) (addressing                      separately, when and how they
Tobacco II in context of motion for class certification);                  were exposed to the advertising
cf. Yastrab v. Apple, Inc., 173 F. Supp. 3d 972, 980 (N.D.                 campaign, so as to ensure the
Cal. 2016) (accepting that “under appropriate factual                      advertisements were representations
circumstances, ... a representative consumer plaintiff may                 consumers were likely to have
not be able to pinpoint the exact portion of a long-                       viewed, rather than representations
standing, widespread advertising campaign he or she                        that were isolated or more narrowly



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            disseminated. And, finally, sixth, the                  *7 It also found that many of the alleged
            court must be able to determine                        misrepresentations were contained “in press releases or
            when a plaintiff made his or her                       industry documents that an average consumer would be
            purchase or otherwise relied on a                      unlikely to read.” Id. at *2. The plaintiff did allege the
            defendant's advertising campaign,                      defendant made representations in magazines and on
            so as to determine which portion of                    websites. However, the court distinguished Tobacco II on
            that campaign is relevant.                             the basis that, in that case, the plaintiffs alleged that the
                                                                   defendants “made demonstrably false statements about
84 F. Supp. 3d at 976-77.                                          the health and safety of cigarettes in their advertising.”
                                                                   Id. In contrast, the plaintiff in Haskins II failed to
2      The case law from which the Opperman court derived          identify how the alleged representations were “rendered
       these factors is set forth in detail in the court's order   misleading by the source code theft.” Id. The court
       granting an earlier motion to dismiss. See Opperman         therefore dismissed her claims under the UCL and the
       v. Path, Inc., No. 14-cv-353-JST, Dkt. No. 471 at ECF       CLRA.
       pages 28-35.
The Opperman court concluded that the plaintiffs'                  The plaintiffs in the Hall case also attempted to plead
allegations were sufficient to rely on a Tobacco II theory.        their claims based on a Tobacco II theory. The Hall court
In that case, the plaintiffs alleged that the campaign             rejected those claims, because the plaintiffs did not allege
lasted for over five years, alleged they “viewed, heard,           “any advertising or other statements by SeaWorld from
or read” the advertisements or statements at issue and             before 2013.” Hall, 2015 WL 9659911, at *4. The court
provided examples of the advertising campaign that                 also found that the statements at issue “were not even
spanned “eighteen pages of” the complaint. The court also          made in advertisements, let alone as part of a pervasive
found it significant that the allegations showed that the          advertising campaign of the sort at issue in Tobacco II.”
advertising campaign presented a “unified and consistent           Id.; see also id. at *4 n.5 (stating that court need not
message.” Id. at 978-80.                                           fully resolve tension between Kearns and Tobacco II,
                                                                   “because the FAC fails to adequately allege an advertising
In contrast, in Haskins v. Symantec Corp., the court found         campaign that would implicate any lessened pleading
the plaintiff's allegations were not sufficient to proceed         requirements”).
on a Tobacco II theory. No. 13-cv-01834-JST, 2014 WL
2450996, at *2 (N.D. Cal. June 2, 2014) (“Haskins II               Although Opperman is not binding, the Court finds
”), aff'd, ––– Fed. Appx. ––––, 2016 WL 3391237 (9th               the case provides a useful and reasoned framework to
Cir. June 20, 2016). In that case, the plaintiff purchased         determine whether a plaintiff's allegations are sufficient
antivirus software from the defendant, and she alleged             to proceed on a Tobacco II theory. Here, each Plaintiff
that before she purchased the product, defendant's source          alleges that he or she was “exposed” to the advertising
code had been stolen. According to the plaintiff, the              campaign regarding the “health and happiness of
defendant failed to disclose that fact. See, e.g., Haskins         [SeaWorld's] captive orcas,” in television commercials,
v. Symantec Corp., No. 13-CV-01834-JST, 2013 WL                    print advertisements, the Internet and/or other media
6234610, at *1 (N.D. Cal. Dec. 2, 2013) (“Haskins I”);             outlets. (SAC ¶¶ 18-21.) These allegations are similar to
Haskins II, 2014 WL 2450996, at *1. The court found                the allegations in Opperman that the plaintiffs “viewed,
that the first and third Opperman factors weighed in               heard, or read [defendant]s advertisements, or statements,
plaintiff's favor, but it concluded that the remaining             in news reports, articles, blogs, ... and/or received emails
factors weighed against her. For example, the plaintiff            or other communications” from the defendant. These
alleged the defendant's advertising became misleading              allegations are sufficient to satisfy the first Opperman
shortly after the theft of the source code and about a             factor. 84 F. Supp. 3d at 978.
year before she purchased the product at issue. The court
stated that the time period at issue fell “well short of the       However, only Anderson and Nelson include allegations
‘decades-long’ campaign in Tobacco II.” Haskins II, 2014           about when they were exposed to the campaign. For
WL 2450996, at *2.                                                 example, Anderson alleges that he has been exposed to
                                                                   the campaign, “since he was a teenager,” but there are



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no facts in the SAC regarding his current age and he
does not provide details of the year he was exposed to          The third and fourth Opperman factors relate to the
the campaign. (SAC ¶ 18.) Nelson alleges that she has           content of the advertising at issue, which permits a court to
been “familiar” with SeaWorld from the early 1990's and         evaluate the similarity of the alleged misrepresentations.
has been exposed to the alleged advertising campaign “for       84 F. Supp. 3d at 976. Here, in contrast to the Opperman
decades.” She also alleges her exposure “became more            case, in which the alleged examples spanned eighteen
frequent,” when she moved to San Clemente, California           pages of the complaint, Plaintiffs, in one paragraph,
in 2008. (SAC ¶ 20.) In the Opperman case, the court            provide six examples of the “types of statements made
found that the failure to “allege specific dates, or even       by SeaWorld over the course of this decades-long
timeframes, during which [the plaintiffs] were exposed          campaign....” (SAC ¶ 32.) The examples provided in
to the campaign,” weighed against a finding that the            paragraph 32 are consistent with Plaintiffs' contention
allegations satisfied Tobacco II. 84 F. Supp. 3d at 982. The    that SeaWorld has misrepresented that captivity is not
Court finds the allegations are too vague to satisfy this       harmful to orcas. Yet, only one of Plaintiffs' examples
Opperman factor.                                                is taken from a print advertisement and that example
                                                                states only that it was for an exhibit called “Shamu's
Plaintiffs do allege that the alleged campaign started          Happy Harbor.” None of the other examples are from a
in 1965 and lasted “[o]ver at least the last four               billboard, a television commercial, a radio commercial, or
decades.” (SAC ¶ 32.) Plaintiffs therefore allege facts         other print advertisements, which are the types of media
that show the duration of the campaign was akin to              upon which Plaintiffs allege they relied. (Compare SAC
the duration of the campaign at issue in Tobacco II.            ¶¶ 18-21 with SAC ¶ 32.) Cf. Hall, 2015 WL 9659911,
In comparison, other courts have found campaigns that           at *4 (concluding that plaintiffs had failed to allege facts
lasted over a period of months or which began shortly           show to reliance, and noting that many of the statements
before a plaintiff purchased a product are insufficient in      “were not even made in advertisements, let alone as
duration to give rise to a Tobacco II type of campaign.         part of a pervasive advertising campaign of the sort at
See, e.g, Haskins II, 2014 WL 2450996, at *2; Bronson           issue in” Tobacco II). This lack of detail prevents the
v. Johnson & Johnson, Inc., No. 12-cv-04184-CRB, 2013           Court from evaluating whether “the advertisements were
WL 1629191, at *3 (N.D. Cal. Apr. 16, 2013) (granting           representations consumers were likely to have viewed,
motion to dismiss for lack of standing and rejecting            rather than representations that were isolated or more
plaintiffs' reliance on Tobacco II, on the basis that “[a]t     narrowly disseminated.” Opperman, 84 Fed. Supp. 3d at
best, Defendants' marketing campaign began in 2012,             976-77.
which is substantially less than the ‘long-term’ campaign
at issue in Tobacco II that lasted at least seven years”). As   The Court has considered the Opperman factors, and
to the duration of the campaign, the facts alleged would        it finds the allegations in this case are closer to
satisfy the second Opperman factor.                             the allegations in Haskins than to the allegations in
                                                                Opperman. The Court concludes that Plaintiffs have not
 *8 Plaintiffs also that SeaWorld “disseminated this            alleged facts about SeaWorld's advertising campaign to
public relations and marketing campaign via public              show that in terms of breadth, content, and pervasiveness
statements by employees, television shows, television           it would be appropriate to apply Tobacco II in this case.
commercials, a telephone information line, print
brochures, books, statements made to visitors at                Accordingly, the Court grants, in part, SeaWorld's motion
SeaWorld's parks, and the Internet.” (Id. ¶ 32.) However,       to dismiss each of Plaintiffs' claims to the extent they are
Plaintiffs do not provide more specific detail about the        premised on the general representation that captivity is
frequency with which the alleged representations were           not harmful to orcas. For the reasons set forth below in
made, i.e., the SAC does not include particular details         Section G, the Court dismisses, with prejudice, this aspect
about the extent and pervasiveness of the advertising           of the UCL, FAL, and CLRA claims.
campaign. Cf. Committee on Children's Television v.
General Foods Corp., 35 Cal. 3d 197, 205-07 (1983),
superseded by statute on other grounds (describing an           D. The Court Dismisses, in Part, the CLRA Claim.
advertising campaign that was televised daily).
                                                                  1. Failure to State a Claim.


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SeaWorld argues that Plaintiffs fail to state a claim under        does not dispute that the Shamu Plush is a good. It
the CLRA. The CLRA “shall be liberally construed                   argues that Plaintiffs fail to state a claim under the CLRA,
and applied to promote its underlying purposes, which              because they do not allege any misrepresentations that
are to protect consumers against unfair and deceptive              relate to the uses, benefits, nature, or qualities of the
business practices and to provide efficient and economical         Shamu Plush. The Court agrees.
procedures to secure such protection.” Id. § 1760.
However, it “is not an otherwise applicable general law....        Anderson and Morizur allege the Shamu Plush has “little
Rather than applying to all businesses, or to business             utility other than serving as memorabilia of SeaWorld's
transactions in general, the [CLRA] applies only to                entertainment and educational services. ... By deceiving
transactions for the sale or lease of consumer ‘goods' or          its customers as to the health and happiness of its captive
‘services' as those terms are defined in the act.” Fairbanks       orcas, SeaWorld is able to unfairly extract a higher price
v. Superior Court, 46 Cal. 4th 56, 65 (2009).                      for the Shamu Plush and/or sell a greater number of
                                                                   these goods. SeaWorld's misrepresentations, therefore,
*9 The CLRA provides, in pertinent part, that:                     constitute a misrepresentation of the characteristics,
                                                                   uses, benefits and qualities of the Shamu Plush.” (SAC
  [t]he following unfair methods of competition and                ¶¶ 78, 80.) In their opposition, Plaintiffs also focus
  unfair or deceptive acts or practices undertaken by any          on SeaWorld's alleged promotion of the Shamu Plush
  person in a transaction intended to result or which              as a “symbol of the precious memories created at
  results in the sale or lease of goods or services to any         SeaWorld.” (Opp. Br. at 9:17-19, citing SAC ¶ 78.)
  consumer are unlawful:
                                                                   Anderson and Morizur do not, however, allege they
  (5) [r]epresenting that goods or services have ...
                                                                   relied on the promotion of the Shamu Plush as a symbol
  characteristics ... uses, [or] benefits, ... which they do not
                                                                   when they made their purchases. Anderson alleges that he
  have ...;
                                                                   purchased the Shamu Plush based on the representation
  (7) [r]epresenting that good or services are of a                that orca lifespans in captivity are equivalent to lifespans
  particular ... quality ... if they are of another; and           in the wild and on the representation that SeaWorld
                                                                   does not separate orca calves from their mothers. (SAC
  (9) [a]dvertising goods or services with intent not to sell      ¶ 18.) Morizur alleges that she purchased a Shamu Plush
  them as advertised[.]                                            based on the representations that collapsed dorsal fins are
                                                                   normal. (SAC ¶ 21.) These alleged misrepresentations do
Cal. Civ. Code §§ 1770(a)(5), (7), (9).                            not relate to “the characteristics, uses, benefits” or the
                                                                   qualities of the Shamu Plush.
The term “goods” means “tangible chattels bought or
leased for use primarily for personal, family, or household        Accordingly, the Court grants, in part, SeaWorld's motion
purposes, including certificates or coupons exchangeable           to dismiss the CLRA claim. For the reasons set forth
for these goods, and including goods that, at the time             below in Section G, the Court dismisses, with prejudice,
of the sale or subsequently, are to be so affixed to real          claims under the CLRA based on the purchase of a Shamu
property as to become a party of real property, whether            Plush.
or not severable from the real property.” Cal. Civ. Code
§ 1761(a). The term “services” means “work, labor, and
services for other than a commercial or business use,
including services furnished in connection with the sale or               b. Claims Based on Admission to SeaWorld.
repair of goods.” Cal. Civ. Code § 1761(b).
                                                                    *10 Plaintiffs allege SeaWorld provides “educational
                                                                   and entertainment services,” and they allege “[i]n order for
                                                                   consumers to avail themselves of” those services, “they are
   a. Claims Based on the Purchase of a Shamu Plush.               required to purchase admission tickets.” (SAC ¶ 1.) The
                                                                   parties dispute whether the alleged “entertainment and
Anderson and Morizur base their CLRA claim, in part, on            educational services” fall within the CLRA's definition of
purchases of the Shamu Plush. (SAC ¶¶ 18, 21.) SeaWorld
                                                                   the term “services.” 3


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                                                                 The California Supreme Court has not addressed whether
3      Plaintiffs argue that “courts have recognized that        admission to a theme park like SeaWorld is a “service.”
       CLRA claims may be brought for entertainment              This Court must apply “California law as [it believes]
       services.” (Opp. Br. at 8:12-13.) To support this         the California Supreme Court would apply it.” In re KF
       argument, they on Princess Cruise Lines, Ltd. v.          Dairies, Inc. & Affiliates, 224 F.3d 922, 924 (9th Cir. 2000).
       Superior Court, 179 Cal. App. 4th 36 (2009) and           Because this dispute involves the proper interpretation of
       Harris v. Las Vegas Sands, LLC, No. 12-cv-10858-          a statute, the Court begins, as it must, “with the language
       DMG, 2013 WL 5291142 (C.D. Cal. Aug. 16, 2013).           of the statute itself.” United States v. Ron Pair Enterprises,
       In Princess Cruise Lines, the plaintiffs sued about       Inc., 489 U.S. 235, 241 (1989). The term “services” means
       representations made regarding charges added to the       “work, labor, and services for other than a commercial
       price of shore excursions during a cruise. 179 Cal.
                                                                 or business use, in connection with the sale or repair
       App. 4th at 38-39. The issues in that case related
                                                                 of goods.” The dispute centers on whether the alleged
       to whether the plaintiffs were required to and had
                                                                 “entertainment and education services” fall within the
       demonstrated reliance. Id. at 42-46. In Harris, the
       plaintiff alleged the defendant failed to disclose that
                                                                 scope of the phrase “services for other than a commercial
       additional fees charged for hotel rooms. 2013 WL          or business use.” 4 Based on the plain language of the
       5291142, at * 2-3. The court dismissed the CLRA           statute, the Court finds that phrase is broad enough to
       claim, because it found the alleged misrepresentation     encompass “educational and entertainment” services.
       was not misleading. The courts in those cases were
       not called upon to address the issue here, whether        4      Plaintiffs do not argue that SeaWorld sold them
       the plaintiffs alleged that they purchased “goods” or
                                                                        services “in connection with the sale or repair
       “services,” as the terms are defined in the CLRA.
                                                                        of goods.” They do argue that by providing
       “Questions which merely lurk in the record, neither
                                                                        “educational and entertainment services,” SeaWorld
       brought to the attention of the court nor ruled upon,
                                                                        sells “work” and “labor” to consumers. (Opp. Br.
       are not be to be considered as having been so decided
                                                                        at 7:16-17.) The Fairbanks court rejected a similar
       as to constitute precedents.” Webster v. Fall, 266 U.S.
                                                                        argument and found that the “work or labor of
       507, 511 (1925).
                                                                        insurance agents and other insurance companies in
The parties in the Hall case addressed the issue of                     helping consumers select policies and meet their
whether the plaintiffs stated a CLRA claim based on                     needs” were not services that were “sufficient to bring
ticket purchases. There, the plaintiffs argued, as Plaintiffs           life insurance within the reach” of the CLRA. 46
do here, that “SeaWorld's amusement park products are                   Cal. 4th at 65. The Court similarly concludes that
plainly entertainment services.” Hall, 2015 WL 9659911,                 any “work” or “labor” at issue would be ancillary
at *14 (internal quotations and citations omitted). The                 to the core services at issue, which are SeaWorld's
Hall court rejected that argument, noted the lack of                    “entertainment and educational services.”
authority on this issue, and relied on two cases that             *11 SeaWorld argues, however, that the legislative
addressed whether timeshare points qualified as services         history shows that the legislature did not intend to include
under the CLRA. Id., 2015 WL 9659911, at *15 (citing             “education” or “entertainment” as services covered by
Kissling v. Wyndham Vacation Resorts, Inc., No. 15-              the CLRA, and it relies on Fairbanks to support this
cv-04004-EMC, 2015 WL 7283038, at *5 (N.D. Cal. Nov.             argument. In Fairbanks, the California Supreme Court
18, 2015) and Wixon v. Wyndham Resort Dev. Corp., NO.            held life insurance was not a “service,” because an
07-cv-02361, 2008 WL 1777590, at *4 (N.D. Cal. Apr. 18,          “insurer's contractual obligation to pay money under a
2008)). The court reasoned that “to hold that the tickets,       life insurance policy is not work or labor, nor is it related
or more specifically the admission to the parks that the         to the sale or repair of any tangible chattel.” 46 Cal. 4th
tickets provide, constitute a service requires a strained and    at 61. As is evident, the Fairbanks court neither expressly
unnatural construction of the term,” and it dismissed the        addressed nor analyzed the phrase “services for other
CLRA claim with prejudice. Id. Although SeaWorld urges           than a commercial or business use.” The Court “must
the Court to follow Hall, the Court disagrees, respectfully      interpret statutes as a whole, giving effect to each word
with its reasoning and conclusion.                               and making every effort not to interpret a provision in a
                                                                 manner that renders other provisions of the same statute
                                                                 inconsistent, meaningless or superfluous.” Boise Cascade



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Corp. v. U.S. EPA, 942 F.2d 1427, 1432 (9th Cir. 1991); see    SeaWorld argues that a similar result should follow
also California Ass'n of Psychology Providers v. Rank, 51      here. Because the legislature excluded subsection (b)
Cal. 3d 1, 11 (1991) (“Rank”). Because the Fairbanks court     of the model act from the CLRA, it did not intend
did not clearly interpret this phrase, out of an “abundance    for “privileges with respect to transportation, hotel and
of caution” the Court will examine the legislative history     restaurant accommodations, education, entertainment,
of the CLRA. See id. at 61.                                    recreation, physical culture, hospital accommodations,
                                                               funerals, cemetery, accommodations, and the like,” to fall
The legislative history demonstrates that the CLRA was         within the CLRA's definition of “services.” The Court is
intended to affect “only those transactions between sellers    not persuaded. The principle on which SeaWorld relies
and consumers of goods or services. It is not intended         will not apply if, for example, “the specific language is
to affect transactions between businessmen.” (Dkt. No.         replaced by general language that includes the specific
87-1, Declaration of Lindsey Barnhart, Ex. F, Legislative      instance.” Rank, 51 Cal. 3d at 17-18. The Legislature
History of CLRA, Governor's Chaptered Bill File at p. 9        not only omitted subsection (b) of the model act, it also
(ECF p. 69)). This statement gives meaning to the phrase       omitted the term “personal services,” and substituted
“services for other than a commercial or business use,” in     the phrase “services for other than a commercial or
that it explains the term “services” was not intended to       business use, including services furnished in connection
cover transactions between businessmen.                        with the sale or repair of goods.” The latter phrase
                                                               comprises general language that could encompass the
In support of its construction of the term “services,”         specific instances described in subsection (b) of the model
SeaWorld also relies on the fact that the CLRA was             act. Cf. Walsh v. Kindred Healthcare, 798 F. Supp. 2d
“adapted” from a model National Consumer Act. See              1073, 1089 (N.D. Cal. 2011) (health services provided by
Fairbanks, 46 Cal. 4th at 61. The model act defined            skilled nursing facilities fall within CLRA's definition of
“services” as “(a) work, labor, and other personal services,   “services”).
(b) privileges with respect to transportation, hotel and
restaurant accommodations, education, entertainment,            *12 The Fairbanks court also did not rely solely on this
recreation, physical culture, hospital accommodations,         principle of statutory construction to reach its conclusion
funerals, cemetery, accommodations, and the like and (c)       that insurance is not a “service” under the CLRA. It
insurance.” Id. (quoting National Consumer Act (Nat.           found the legislative intent to exclude insurance from the
Consumer L. Center 1970) § 1.301, subd. (37), pp. 23-24,       CLRA's coverage was “further confirmed by comparing
emphasis in Fairbanks omitted). In Fairbanks, the court        the [CLRA's] definition of ‘services' with the definition of
noted that the legislature excluded the term “insurance”       the same word in the Unruh Act (Civ. Code § 1801 et
from the definition of services, which demonstrated an         seq.).” 46 Cal. 4th at 62. The Unruh Act defined services
“intent not to treat all insurance as a service under” the     as “work, labor and services, for other than a commercial
CLRA. Id. (emphasis in original).                              or business use, including services furnished in connection
                                                               with the sale or repair of goods as defined in Section
In reaching this conclusion, the Fairbanks relied on           1802.1 ... or the providing of insurance.” Id. (citing Cal. Civ.
the principle that “[t]he rejection by the Legislature of      Code § 1802.2) (emphasis added). The Fairbanks court
a specific provision contained in an act as originally         relied on the principle of statutory construction that “[t]he
introduced is most persuasive to the conclusion that           use of differing language in otherwise parallel provisions
the act should not be construed to include the omitted         supports an inference that a difference in meaning was
provision.” Berry v. American Express Publishing, Inc.,        intended.” Id. Here, there is no language in the pertinent
147 Cal. App. 4th 224, 230 (2007); see also Hughes             portions of the CLRA and the Unruh Act that might
Electronics Corp. v. Citibank Delaware, 120 Cal. App.          lead to a conclusion that the legislature did not intend
4th 251, 268 (2004) ( “Typically, when a Legislature           the CLRA to cover “entertainment” or “education” as
models a statute after a uniform act, but does not adopt       “services.”
the particular language of that act, courts conclude the
deviation was deliberate and that the policy of the uniform    Accordingly, the Court concludes that the term “services”
act was rejected.”).                                           encompasses the “educational and entertainment
                                                               services” Nelson alleges she purchased from SeaWorld. 5



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Nelson alleges that, before she purchased admission to
SeaWorld, she saw and relied on the representations           E. The Court Dismisses, in Part, Anderson's UCL and
that SeaWorld did not separate calves from their              FAL Claims.
mothers and that captive orcas had similar lifespans          SeaWorld also argues that Anderson does not have
to orcas in the wild.” (Id. ¶ 20.) Nelson alleges these       standing to pursue a UCL or an FAL claim based on
representations are false, because captive orcas have         allegations that he purchased his tickets in reliance on the
higher mortality rates and because SeaWorld does              statements that orca lifespans in captivity are equivalent
separate calves from mothers. (Id. ¶¶ 25, 30-31.) Nelson      to life spans in the wild and that SeaWorld does not
alleges these statements mislead “reasonable consumers        separate calves from its mothers. Anderson does not
to believe that” SeaWorld's education and entertainment       dispute that he did not purchase his tickets in reliance on
services, “including the orca exhibitions and shows,          those statements. (See SAC ¶ 18; Dkt. No. 87, Opp. Br. at
feature happy, healthy orcas,” and, as a result, “deceive     14 n.9.) Therefore, he lacks statutory standing to pursue
consumers regarding the true nature of the entertainment      these claims.
and educational services SeaWorld sells.” (Id. ¶ 77.) The
Court concludes that these allegations are sufficient to       *13 Accordingly, the Court GRANTS, IN PART,
allege that SeaWorld represented that its entertainment       SeaWorld's motion to dismiss on that limited basis.
services had characteristics that it did not have. See Cal.   However, Anderson's UCL and FAL claims may proceed
Civ. Code § 1770(a)(5).                                       to the extent they are based on his purchase of a Shamu
                                                              Plush.
5      Because the Court has disposed of the CLRA claim
       to the extent it is based on the alleged advertising   F. The Court Dismisses, in Part, Morizur's FAL and UCL
       campaign, Nelson is the only Plaintiff left with a     Claims.
       CLRA claim based admission to SeaWorld.
                                                              SeaWorld moves to dismiss Ms. Morizur's FAL and UCL
Accordingly, the Court denies, in part, SeaWorld's motion     claims to the extent they are based on her allegation
to dismiss Nelson's CLRA claim.                               that she asked “SeaWorld's trainers questions about their
                                                              captive orca's collapsed dorsal fins.” (SAC ¶ 21.) Ms.
                                                              Morizur alleges that the trainers told her that the collapsed
   2. Pre-Suit Notice.                                        dorsal fins were “normal, and also equally common in
Sea World also argues that the Court must dismiss             the wild. They also told Ms. Morizur that captivity in
Nelson's claims for restitution under the CLRA, because       general does not harm orcas.” (Id.) SeaWorld argues that
she failed to comply with the pre-suit notice requirements    these statements do not qualify as advertisements and,
of California Civil Code sections 1782(a)(1) and 1782(a)      thus, cannot support a claim under the FAL. SeaWorld
(2). (See Declaration of Lawrence Y. Iser, ¶¶ 2-3, Exs. A-B   also argues that to the extent Ms. Morizur's UCL claim
(letters referencing Anderson and Conway only).) Nelson       is premised on this alleged violation of the FAL, the
responds that this argument is premature, because she has     claim cannot succeed. In its prior order, the Court found
not included any claims for restitution under the CLRA        Ms. Morizur had sufficiently alleged standing to pursue
in the SAC. Nelson asserts she will file a third amended      these claims based on her reliance on those statements.
complaint, once the thirty-day notice period has run. As      However, SeaWorld did not raise the issue presented here,
of the date of this Order, the thirty-day notice period       namely whether these allegations would be sufficient to
has elapsed, and Nelson has not filed a third-amended         state a claim under the FAL.
complaint. Because none of the Plaintiffs have asserted a
request for restitution under the CLRA, the Court denies,     “An actionable statement under FAL requires that a
without prejudice, SeaWorld's motion to dismiss Nelson's      statement must be (1) widely disseminated to the public
CLRA claim on this basis. (See SAC ¶ I.) If Nelson asserts    and (2) for the purpose of influencing consumers to
a claim for restitution in a third amended complaint,
                                                              purchases goods or services.” See, e.g., In re Jamster
SeaWorld may argue the sufficiency of the notice in a         Mktg. Litig., No. 05-cv-0819JM (CAB), 2009 WL
subsequent motion to dismiss.                                 1456632, at *9 (S.D. Cal. May 22, 2009); Cal. Bus. & Prof.
                                                              Code § 17500 (“It is unlawful for any ... corporation ..., or
                                                              any employee thereof with intent directly or indirectly to


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dispose of real or personal property or to perform services,         SeaWorld's advertising campaign. The Court has found
                                                                     that Plaintiffs have not cured those deficiencies. The
professional or otherwise, ... to make or disseminate or
                                                                     Court also stated that it had serious concerns about the
cause to be made or disseminated before the public in this
                                                                     viability of Plaintiffs' claims under the CLRA, and it
state, ..., in any newspaper or other publication, or any
                                                                     has now dismissed a large portion of that claim. For
advertising device, or by public outcry or proclamation,
                                                                     these reasons, except as otherwise noted with regard
or in any other manner or means whatever, ... any
                                                                     Ms. Nelson's potential claim for restitution under the
statement, concerning that real or personal property or
                                                                     CLRA, the Court denies Plaintiffs a further opportunity
those services, professional or otherwise ... which is untrue
                                                                     to amend.
or misleading, and which is known, or which by the
exercise of reasonable care should be known, to be untrue
or misleading.”). The Court concludes that Ms. Morizur
has not alleged sufficient facts to show that the statements                               CONCLUSION
at issue were “widely disseminated to the public.”
                                                                      *14 For the foregoing reasons, the Court GRANTS, IN
Accordingly, the Court grants, in part, SeaWorld's motion            PART, AND DENIES, IN PART, SeaWorld's motion
to dismiss on this basis. For the reasons set forth in Section       to dismiss. Mr. Anderson and Ms. Nelson may pursue
G, the Court denies Ms. Morizur a further opportunity to             the claims under the FAL and the UCL Ms. Morizur
amend these claims.                                                  may pursue the UCL claim to the extent it is premised
                                                                     on the “unfair” prong of that statute. Finally, Ms. Nelson
                                                                     may pursue the claim under the CLRA. The parties shall
G. The Court Denies Plaintiffs Leave to File a Third                 appear for an initial case management conference on
Amended Complaint.                                                   December 9, 2016 at 11:00 a.m., and they shall file a joint
As stated at the outset of this Order, the SAC is the fourth         case management statement on December 2, 2016.
iteration of Plaintiffs' complaint. In general the Court
should grant leave to amend liberally. However, Plaintiffs           IT IS SO ORDERED.
amended their claims once as a matter of right. Plaintiffs
submitted a proposed second amended complaint, which
the Court considered in connection with SeaWorld's first             All Citations
motion to dismiss. The Court found the proposed SAC did
                                                                     Slip Copy, 2016 WL 8929295
not cure many of the deficiencies identified by SeaWorld
in its motion, including the allegations regarding reliance

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                 2016 WL 2897410                                            I. BACKGROUND
   Only the Westlaw citation is currently available.
            United States District Court,               The operative pleading at issue, the Third Amended
                   S.D. Florida.                        Counterclaim filed by Gary and Lori Zaskey, alleges the
                                                        following. Bank of America obtained a mortgage on a
     Bank of America, N.A., Successor by Merger         piece of Florida property owned by the Zaskeys. See DE
       to Bac Home Loans Servicing, LP, f/k/a           80 at ¶ 9. In March 2012, after the Zaskeys fell behind on
    Countrywide Home Loans Servicing, Plaintiff,        their payments, Bank of America approved a short sale of
                           v.                           the property. Id. at ¶¶ 10, 11. Bank of America laid out
      Gary L. Zaskey A/k/a Gary Lynn Zaskey;            the terms of the short sale in two letters, which the parties
                                                        now refer to as the Short Sale Agreement. See DE 80-2 at
        Lori a. Zaskey a/k/a Lori Ann Zaskey;
                                                        24-27.
        and Brenda Lynn Zaskey, Defendants.
          Gary L. Zaskey and Lori A. Zaskey,
                                                        Harbor Title acted as the closing agent for the sale. See
      Counter-Plaintiffs/Third-Party Plaintiffs,        DE 80 at ¶ 12. The closing took place on April 26, 2012. Id.
                           v.                           at ¶ 16. However, Harbor Title failed to successfully wire
     Bank of America, N.a., Counter-Defendant,          the short sale proceeds to Bank of America until August 9,
      Green Tree Servicing, LLC; Harbor Land            2012. Id. at ¶¶ 18-19. Bank of America returned the short
     Title, L.C., and Old Republic National Title       sale proceeds to Harbor Title on August 16, 2012. Id. at
    Insurance Company, Third-Party Defendants.          ¶ 19.

  CASE NO. 9:15-cv-81325-ROSENBERG/HOPKINS              Bank of America and Green Tree Servicing, LLC, which
                        |                               began servicing the loan in May 2013, began collection
                Signed 05/18/2016                       activity against the Zaskeys. Id. at ¶¶ 24-29. In September
                                                        2012, Bank of America filed a foreclosure action against
Attorneys and Law Firms                                 the Zaskeys in the Florida Fifteenth Judicial Circuit Court
                                                        in and for Palm Beach County. Id. at ¶ 28(g). Although
Daniel Cardenal, Liebler Gonzalez , Portuondo, LLP,
                                                        Bank of America voluntarily dismissed its foreclosure
Angela Marie Brenwalt, Miami, FL, for Plaintiff.
                                                        claim, the Zaskeys filed counterclaims against Bank of
Faequa Asma Khan, Robert F. Cooke, Cooke Law            America, as well as third-party claims against Harbor
Group, Miami, FL, for Defendants.                       Title, Green Tree, and Old Republic National Title
                                                        Insurance Company. Green Tree removed the Zaskeys'
                                                        claims to this Court. See DE 1.
  ORDER GRANTING IN PART AND DENYING
      IN PART BANK OF AMERICA AND                       The Zaskeys currently bring the following claims against
    GREEN TREE'S MOTIONS TO DISMISS                     Bank of America and Green Tree: (1) breach of contract
                                                        (the Short Sale Agreement) against Bank of America;
ROBIN L. ROSENBERG,               UNITED      STATES    (2) breach of the implied covenant of good faith and
DISTRICT JUDGE                                          fair dealing (in the promissory note and mortgage)
                                                        against Bank of America, Green Tree, and Harbor
THIS CAUSE is before the Court on Bank of America's     Title; (3) malicious prosecution against Bank of America;
Motion to Dismiss Counter-Plaintiffs' Third Amended     (4) violation of the Florida Deceptive and Unfair
Counterclaim [DE 81] and Green Tree Servicing, LLC's    Trade Practices Act (“FDUTPA”), Fla. Stat. § 501.201,
Motion to Dismiss Third Amended Counterclaim [DE        against Green Tree; (5) violation of Florida's Consumer
85].                                                    Collection Practices Act (“FCCPA”), Fla. Stat. § 559.72,
                                                        against Bank of America and Green Tree; (6) violation
                                                        of the Fair Debt Collection Practices Act (“FDCPA”), 15
                                                        U.S.C. § 1692, against Bank of America and Green Tree;



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(7) violation of the Real Estate Settlement Procedures          Counterclaim show that Bank of America obtained the
Act (“RESPA”), 12 U.S.C. § 2605(e), against Green Tree;         loan prior to default. See DE 81 at 31-35. A defendant is
(8) negligence against Bank of America and Green Tree;          not a “debt collector” under the FDCPA if the collection
(9) negligence against Harbor Title. See DE 80. Bank of         activity “concerns a debt which was not in default at the
America and Green Tree have moved to dismiss the claims         time it was obtained by such person.” 15 U.S.C. § 1692a(6)
against them. See DE 81-82, 85.                                 (F)(iii). Thus, “creditors and loan servicers are not 'debt
                                                                collectors' for purposes of the FDCPA if they acquired
                                                                or began servicing a loan prior to the debtor defaulting.”
                                                                Diaz v. First Marblehead Corp., No. 14-15797, 2016 WL
                II. LEGAL STANDARD
                                                                736361, at *1 (11th Cir. Feb. 25, 2016).
 *2 “To survive a motion to dismiss, a complaint
must contain sufficient factual matter, accepted as true,       The Third Amended Counterclaim alleges that the
to 'state a claim to relief that is plausible on its            Zaskeys refinanced the property in December 2006
face.' ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)            through another lender, and that “[t]he loan was
(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,              subsequently transferred to Bank of America.” DE 80 at
570 (2007)). Although this pleading standard “does not          ¶ 9. The next paragraph alleges, “After moving to Green
require 'detailed factual allegations,'...it demands more       Bay, Wisconsin, and experiencing financial difficulties, the
than an unadorned, the-defendant-unlawfully-harmed-             Zaskeys inquired with Bank of America about options
me accusation.” Id. (alteration added) (quoting Twombly,        to avoid foreclosure” and “ultimately...agreed to enter
550 U.S. at 555). Pleadings must contain “more than             into a short sale of their Green Acres, FL Property.”
labels and conclusions, and a formulaic recitation of the       Id. at ¶ 10; see also id. at ¶ 8 (“While owners of the
elements of a cause of action will not do.” Twombly, 550        Property, the Zaskeys moved to Green Bay Wisconsin.
U.S. at 555 (citation omitted). Indeed, “only a complaint       Soon thereafter, the Zaskeys fell behind on their mortgage
that states a plausible claim for relief survives a motion to   payments and contacted Bank of America concerning
dismiss.” Iqbal, 556 U.S. at 679 (citing Twombly, 550 U.S.      options to avoid foreclosure[.]”) (emphasis added). The
at 556). To meet this “plausibility standard,” a plaintiff      clear import of these allegations is that the Zaskeys' debt
must “plead[ ] factual content that allows the court to draw    was not in default when Bank of America obtained it.
the reasonable inference that the defendant is liable for the   See Aldana v. Del Monte Fresh Produce, N.A., Inc., 416
misconduct alleged.” Id. at 678 (alteration added) (citing      F.3d 1242, 1248 (11th Cir. 2005) (noting, “[w]e must make
Twombly, 550 U.S. at 556).                                      reasonable inferences in Plaintiffs' favor, but we are not
                                                                required to draw Plaintiffs' inferences” and finding it was
                                                                “unreasonable to infer, based on the facts alleged here”
                                                                what the Plaintiffs argued).
                     III. ANALYSIS
                                                                The Zaskeys assert that whether they were in default
The Court's jurisdiction in this case is premised on the
                                                                presents a triable issue of fact. See DE 92 at 24. They argue
Zaskeys' claims sounding in federal law, pursuant to
                                                                that “any evidence that...the Zaskeys were behind on
28 U.S.C. §§ 1331, 1441 and 1446. See DE 1 (notice
                                                                their monthly payments, or [were]...late on their payments
of removal). Accordingly, the Court will first address
                                                                prior to or at the time of transfer, would render the
the Zaskeys' federal causes of action. If those counts
                                                                Zaskeys in 'default' under the terms of their Note” and that
fail to state a claim, the Court may decline to exercise
                                                                “[t]he evidence in this case, whether presented at summary
supplemental jurisdiction over the claims sounding in
                                                                judgment or at trial, will reveal that the Zaskey loan was
Florida law.
                                                                in 'default,' as that term is defined by the Note, since
                                                                December 2010,” prior to Bank of America obtaining the
A. Claims Based on Federal Law                                  loan. Id. at ¶ 25. Even assuming arguendo that the Zaskeys'
                                                                broad definition of default is applicable in interpreting this
  1. Count 6: FDCPA Violation against Bank of America           provision of the FDCPA, there are no facts pled in the
Bank of America argues that Count 6 fails to state              Third Amended Counterclaim to suggest that the Zaskeys
a claim because the allegations in the Third Amended            were behind or late on their monthly payments when Bank



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of America acquired the loan. See generally Davidson v.         In the “General Allegations” section, it lists letters sent
Capital One Bank (USA), N.A., 797 F.3d 1309, 1313 (11th         by Green Tree between May 2013 and August 2014, id.
Cir. 2015) (“in order to survive Capital One's motion to        at ¶ 29(g), (i), (m)-(o), as well as phone calls the Zaskeys
dismiss, Davidson must plead 'factual content that allows       received from Green Tree in June, July, November, and
the court to draw the reasonable inference that' Capital        October 2013, id. at ¶ 29(h), (k)-(l), and generally alleges:
One is a 'debt collector' under the FDCPA and therefore         “from May 2013 through at least the end of 2014, Green
liable for the misconduct alleged”). Moreover, the Zaskeys      Tree engaged in a pattern of repeated telephone calls
do not explain what factual allegations or evidence would       and written demand letters to the Zaskeys [.]” Id. at
support the notion that the loan had been in default since      ¶ 30 (emphasis added). In the FDCPA claim, which is
December 2010. Cf. Aldana, 416 F.3d at 1248 (“ 'Bald            brought against both Bank of America and Green Tree,
assertions' will not overcome a Rule 12(b)(6) motion.”)         the Zaskeys allege:

 *3 The Court notes that this is the fourth iteration of the      [F]rom June 2012 through July 2015, BANK OF
Zaskeys' counterclaim. The Zaskeys have been on notice            AMERICA, through its predecessors in interest, its
of this issue since at least December 2015, when Green            own representatives, and other debt collectors it
Tree moved to dismiss the FDCPA claim against it on               retained as its agents (including GREEN TREE), sent
identical grounds. See DE 9 at 19-20 (motion to dismiss           numerous written demands for payment, and made
arguing that the counterclaim was bereft of facts showing         dozens of telephone calls to the ZASKEYS' home, in an
that the loan was in default at the time it was assigned to       attempt to collect and enforce a debt...
Green Tree). The Zaskeys added an allegation that Green
                                                                  ...From May 2013 and onward, GREEN TREE joined
Tree obtained the loan after default, but added no such
                                                                  in these debt collection activities.
allegation as to Bank of America. See DE 80 at ¶ 118.
Furthermore, the amended pleadings deadline in this case        DE 80 at ¶¶ 112, 114 (emphasis added).
passed on December 28, 2015, and the Court previously
warned the Zaskeys that it did not anticipate permitting        Green Tree contends that the Zaskeys' FDCPA claims
any further amendments to the counterclaim. See DE 79.          are time-barred because none of the collection activity
Accordingly, the Court finds that the Zaskeys cannot state      specified occurred within 12 months of August 24, 2015,
a claim for a violation of the FDCPA against Bank of            the date on which the Zaskeys served Green Tree with the
America, and this claim is dismissed with prejudice.            third party complaint filed in state court. See DE 85 at
                                                                13 (motion to dismiss); DE 107 at 16 (reply); DE 1 at 2
                                                                ¶ 5 (notice of removal). Assuming that August 24, 2015
   2. Count 6: FDCPA Claim against Green Tree
Green Tree argues that the FDCPA claim against it should        is the relevant date for statute of limitations purposes, 1
be dismissed as time-barred under the one-year statute of       when the Court reads the Third Amended Counterclaim
limitations set forth in 15 U.S.C. § 1692k(d). Because a        as a whole and draws all inferences in the Zaskeys' favor,
statute of limitations bar is an affirmative defense, and       as the Court is required to do on a motion to dismiss,
plaintiffs are not required to negate an affirmative defense    it is not apparent from the face of the counterclaim that
in their complaint, a Rule 12(b)(6) dismissal on statute of     the FDCPA claims against Green Tree are barred by
limitations grounds is appropriate only if it is apparent       the statute of limitations. The Zaskeys allege collection
from the face of the complaint that the claim is time-          activity as late as July 2015. Although it is not clear
barred. La Grasta v. First Union Sec., Inc., 358 F.3d 840,      precisely whether it was actions by Green Tree or actions
845 (11th Cir. 2004). The Eleventh Circuit has held that,       by Bank of America that continue into July 2015, since
where an FDCPA claim is based on a collection letter, the       the FDCPA count lumps Bank of America and Green
one-year period in 15 U.S.C. § 1692k(d) begins to run on        Tree together, the Court finds it is sufficient to survive a
the day after the letter is mailed. See Maloy v. Phillips, 64   motion to dismiss on statute of limitations grounds. Green
F.3d 607, 608 (11th Cir. 1995).                                 Tree may raise this argument as an affirmative defense. 2
                                                                Accordingly, Green Tree's Motion to Dismiss Count 6 is
The Third Amended Counterclaim alleges that Bank of             denied.
America transferred servicing rights to the Zaskeys' loan
to Green Tree effective May 1, 2013. See DE 80 at ¶ 29(b).


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1        Neither party addresses whether the Zaskeys' third-             is in error or provides sufficient detail to the servicer
         party claim against Green Tree would relate back                regarding other information sought by the borrower.
         to its originally filed counterclaim against Bank of
         America under Federal Rule of Civil Procedure 15.
                                                                       12 U.S.C. § 2695(e)(1)(B). A servicer must generally
         See DE 93 at 19 (Zaskey's response, arguing: “Putting         acknowledge receipt of the correspondence within 5 days
         aside the applicability of the relation back doctrine,        and take action to correct the account or investigate
         Fed R. Civ. P. 15(c), Green Tree is at a minimum              the error within 30 days. See 12 U.S.C. § 2605(e)(1)
         liable for debt collection activities that occurred one       (A), (e)(2). “[T]o state a claim for violation of RESPA
         year prior to that date” when Green Tree was added            § 2605(e), plaintiffs must allege facts to support that: (1)
         to the case). See generally Williams v. Grieg Shipping        defendant is a loan servicer, (2) plaintiffs sent defendant
         A/S, 219 F.R.D. 537, 538 (S.D. Ala. 2003) (laying             a valid QWR, (3) defendant failed to adequately respond
         out the three-part test that an amendment adding a            within the...statutory period, and (4) plaintiffs are entitled
         new party must meet to relate back to the original            to actual or statutory damages.” Williams, 2011 WL
         pleading, for statute of limitations purposes). The
                                                                       1060652, at *2.
         original counterclaim against Bank of America was
         filed on August 13, 2013. See DE 1 at 2 ¶ 2. Given
                                                                       The alleged QWRs are attached to the Third Amended
         the Court's holding that the Zaskeys' claims are not
         time-barred on the face of the counterclaim, the Court        Counterclaim. They consist of letters Green Tree sent
         leaves this issue to be fleshed out at a later stage in the   to the Zaskeys, on which Mr. Zaskey hand-wrote notes.
         proceedings.                                                  The first note states: “This property was sold thru [sic]
                                                                       a Bank of America short sale 4-26-12. I owe nothing
2        Because the Court concludes that the FDCPA claims             on this loan.” DE 80-4 at 6. The second note states:
         against Green Tree are not, on their face, barred             “Attn: Mario [the sender of the Green Tree letter.] Please
         by the statute of limitations, the Court finds it
                                                                       check your records. This property was sold via a Bank
         unnecessary to reach Green Tree's argument that
                                                                       of America Short Sale 4-26-2012[.]” DE 80-4 at 9. The
         the August 2014 communications at issue were
                                                                       Third Amended Counterclaim alleges that Mr. Zaskey
         “loss mitigation options” that do not count as debt
         collection activity under the FDCPA.                          then returned these letters to Green Tree, which “failed to
                                                                       investigate, and ultimately failed to take corrective action
  3. Count 7: RESPA Claim against Green Tree                           within 60 business days.” DE 80 at ¶¶ 135-38.
 *4 RESPA imposes certain disclosure obligations on
loan servicers who transfer or assume the servicing of a               Green Tree argues these allegations are insufficient, first,
federally related mortgage loan, including the obligation              because the Zaskeys have not pled facts showing that the
to respond to a Qualified Written Request (“QWR”)                      QWR “was actually mailed on a specific date.” DE 85 at
submitted by a borrower. Williams v. America's Serv. Co.,              14. However, it is a fair inference from the counterclaim
No. 2:09-cv-775-FtM-29DNF, 2011 WL 1060652, at *1                      that the letters were mailed in May 2013, shortly after
(M.D. Fla. Mar. 22, 2011). RESPA defines a QWR as                      the Zaskeys received the letters, which are dated May
follows:                                                               4 and May 11, 2013. Furthermore, the RESPA claims
                                                                       at issue in the cases Green Tree cites were far more
    (B) Qualified written request                                      deficient. See Williams, 2011 WL 1060652, at *3 (finding
                                                                       plaintiffs did “not allege when they sent the QWR and
    For purposes of this subsection, a qualified written               whether defendant failed to adequately respond within
    request shall be a written correspondence, other than              the statutory timeframe,” and further “failed to allege
    notice on a payment coupon or other payment medium                 that the QWR contained sufficient information to enable
    supplied by the servicer, that—                                    defendant to determine ‘the name and account of the
                                                                       borrower’ ”) (emphasis added); Altman v. PNC Mortg.,
    (i) includes, or otherwise enables the servicer to identify,
                                                                       850 F. Supp. 2d 1057, 1073-74 (E.D. Cal. 2012) (finding
    the name and account of the borrower; and
                                                                       plaintiffs failed to allege a particular RESPA statute which
    (ii) includes a statement of the reasons for the belief of         was violated and failed to show that plaintiffs sent a
    the borrower, to the extent applicable, that the account           legitimate QWR identifying grounds that the loan or
                                                                       account was defective or in error).



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 *5 Green Tree argues, second, that the Zaskeys'                (2) failing to investigate after Harbor Title and Mr.
allegations fail to show a causal link between their            Zaskey informed Bank of America that the short sale
claimed damages and the alleged RESPA violation.                had closed; (3) failing to develop or follow internal
DE 85 at 15. Citing the Zaskeys' negligence claim               procedures to ensure successful short sale; (4) failing
against Harbor Title, Green Tree argues, “By their              to develop and follow internal procedures to respond
own admission, but for Harbor Title's failure to timely         to borrower complaints and properly credit short sale
disburse the short-sale proceeds, ‘the Zaskeys would not        proceeds; and (5) “harassing and abusing” the Zaskeys
have sustained the damages complained of herein.’ ”             through unwarranted debt collection activity. See DE 80
Id. (citing DE 80 at ¶ 156). The RESPA claim in the             at ¶ 60(a)-(j).
Third Amended Counterclaim alleges that the Zaskeys
were injured by Green Tree's failure to investigate and         The two letters from Bank of America that comprise the
respond to their QWRs because “they have endured                Short Sale Agreement are attached to the Third Amended
harassing collection efforts for a debt obligation for which    Counterclaim. See DE 80-2 at 24-27. The initial letter
they had no financial responsibility, and suffered the          states:
effects of GREEN TREE's negative credit entries on the
ZASKEYS' credit reports.” DE 80 at ¶ 139. The claims              5. Closing must take place no later than April 30, 2012
at issue in the cases Green Tree cites did not include such       or this approval is void. If an extension is requested and/
detailed factual allegations. See Jenkins v. BAC Home             or approved, interest on the loan will be charged per day
Loan Servicing, LP, 822 F. Supp. 2d 1369, 1377 (M.D. Ga.          through closing.
2011) (dismissing claim that simply stated that, as a result
of the RESPA violations, the plaintiff suffered damages);
Habib v. Bank of America Corp., No. 10–04079, 2011                                           ...
WL 2580971, at *4 (N.D. Ga. Mar. 15, 2011) (“Plaintiff's
allegations fail to put Bank of America on notice as to how       14. All funds must be wired. Please be advised that any
any purported RESPA violations harmed her. Indeed,                other form of payment of funds will be returned. Payoff
‘[t]he [c]omplaint does not allege any facts to support a         funds must be received within 48 business hours of the
finding that...untimely response to the [plaintiff's QWR],        HUD-1 settlement date.
if any, caused the [plaintiff] to suffer any type of monetary     DE 80-2 at 25 (emphasis added). The second letter states
loss.’ ”).                                                        that the Zaskeys were eligible to receive up to $5,000 in
                                                                  relocation assistance if the short sale closed by August
The Court finds the Zaskeys' allegations regarding                31, 2012. See DE 80-2 at 27. The letter also states: “The
damages are sufficient to state a claim under RESPA.              terms and conditions of your short sale agreement have
Accordingly, Green Tree's Motion to Dismiss Count 7 is            not changed.” Id.
denied.
                                                                a. Whether the failure to timely wire the funds was breach
                                                                   of a condition precedent in the Short Sale Agreement
B. Claims Based on Florida Law
Because claims based on federal law remain pending,
                                                                Bank of America argues that, because it did not receive the
the Court may exercise supplemental jurisdiction over
                                                                payoff funds until more than 48 hours after the settlement
the Zaskeys' claims that are based in Florida law. See
                                                                date, the Zaskeys breached a condition precedent for the
generally 28 U.S.C. § 1441. The Court therefore turns its
                                                                short sale and thereby voided the Short Sale Agreement.
attention to Bank of America and Green Tree's arguments         See DE 81 at 6-9. Thus, Bank of America argues, its
for dismissal of these claims.                                  subsequent actions cannot form the basis of a breach of
                                                                contract claim. Id. The Zaskeys dispute whether the 48-
                                                                hour provision was a condition precedent. See DE 92 at
   1. Count 1: Breach of Contract (the Short Sale
                                                                11. They argue that only a failure to timely conduct the
   Agreement) against Bank of America
                                                                closing would have voided the contract, not a failure to
The Third Amended Counterclaim alleges that Bank
                                                                timely wire the funds. Id. The Zaskeys also appear to argue
of America breached the Short Sale Agreement by: (1)
rejecting the short sale proceeds wired in August 2012;


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that the second letter extended the closing deadline to         agrees with the Zaskeys, as many of the alleged breaches
August 31, 2012. Id. at 4.                                      occurred after the short sale closing and concern Bank of
                                                                America's continuation of debt collection activity in the
 *6 “Contract interpretation is typically inappropriate at      face of the Zaskeys' protestations. See DE 80 at ¶ 60(a)-
the motion to dismiss stage” unless “the contract...terms       (j). Bank of America does not address this issue or attempt
are unambiguous[.]” Alhassid v. Bank of Am., N.A.,              to explain which parts of Counts 1 and 2 it believes are
60 F. Supp 3d 1302, 1312 (S.D. Fla. 2014). In other             predicated on the agency relationship. See DE 102 at 2-4
words, where the interpretation of a contract is reasonably     (reply).
susceptible to more than one interpretation, the issue
should be decided at the summary judgment stage rather          To the extent the claims are predicated on an agency
than on a motion to dismiss. See, e.g., Managed Care            relationship, the Third Amended Counterclaim alleges
Solutions, Inc. v. Community Health Systems, Inc., No.          that Mr. Pino, the real estate agent who handled the short
10-60170-CIV, 2011 WL 6024572, at *6 (S.D. Fla. Dec.            sale and represented himself as Bank of America's agent,
2, 2011); Larach v. Standard Chartered Bank Intern.             recruited Harbor Title as closing agent, and that Harbor
(Ams.), Ltd., 724 F. Supp. 2d 1228, 1239 (S.D. Fla. 2010)       Title was engaged upon his recommendation. See DE 80
(“The parties' differing interpretations of their respective    at ¶¶ 11, 152. The Court finds these allegations sufficient
obligations under the pledge agreement demonstrate that         to survive a motion to dismiss. See Larach, 724 F. Supp.
this issue is not ripe for decision at the motion to dismiss    2d at 1239 (finding that fact-intensive inquiries, such as
stage.”). In the present case, the Court finds that the Short   whether plaintiffs have alleged facts establishing that a
Sale Agreement is ambiguous on the point disputed by            fiduciary or agency relationship existed, are inappropriate
the parties. See generally Centurion Air Cargo, Inc. v.         for consideration at the motion to dismiss stage, and
United Parcel Serv. Co., 420 F.3d 1146, 1151 (11th Cir.         denying the motion to dismiss with leave to renew at the
2005) (“Under Florida law, failure to make a payment            summary judgment stage). Accordingly, as to Count 1,
on time does not constitute per se a material breach of         Bank of America's Motion to Dismiss is denied.
contract. Rather, to constitute a material breach, the late
payment must occur where time is of the essence....Time is
of the essence under Florida law when (1) the agreement             2. Count 2: Breach of the Implied Covenant of Good
explicitly so specifies; or (2) such may be determined from         Faith and Fair Dealing (in the Promissory Note and
the subject matter of the contract; or (3) treating time as         Mortgage) against Bank of America, Green Tree, and
non-essential would produce a hardship; or (4) notice has           Harbor Title 3
been given to the defaulting party requesting performance       3       Harbor Title has not filed a motion to dismiss.
within a reasonable time.”). The parties' dispute as to the
interpretation of the Short Sale Agreement therefore is not
ripe for decision at the motion to dismiss stage.                    a. Whether Count 2 fails to state a claim against
                                                                    Green Tree because there are insufficient allegations
                                                                      of privity between Green Tree and the Zaskeys
b. Whether there are sufficient factual allegations to show     Green Tree argues that the breach of implied covenant
that Harbor Title was acting as Bank of America's agent         claim should be dismissed with prejudice as to Green Tree
                                                                because the Zaskeys have failed to allege any facts showing
Bank of America also argues that the breach of contract
                                                                they are in privity with Green Tree for purposes of the
claim, as well as the breach of implied covenant claim
                                                                note and mortgage; Green Tree argues that its status as
discussed infra, fail to state a claim because they are based
                                                                the loan servicer does not satisfy this privity requirement.
on the actions of Harbor Title, and the Zaskeys have pled
                                                                See DE 85 at 7-8. In James v. Litton Loan Servicing, L.P.,
insufficient facts showing that Harbor Title was acting as
                                                                No. 4:09-CV-147 CDL, 2011 WL 59737 (M.D. Ga. Jan. 4,
Bank of America's agent during the closing. See DE 81
                                                                2011), the district court granted summary judgment to the
at 4-6. The Zaskeys respond that “the conduct of Harbor
                                                                defendant servicer on the borrower's breach of contract
Title, as an agent of Bank of America, involves just one of
                                                                claim, finding:
several different breaches of the short sale agreement and
the implied obligations therein.” DE 92 at 9. The Court



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             *7 Plaintiffs did not...allege that
            they had a contract with Litton, nor                          b. Whether Count 2 fails to state a claim
            did they point to any evidence of                           against Bank of America because the breach
            such contract. As a loan servicer,                            of good faith claim does not attach to the
            Litton is not a party to or an assignee                    performance of a specific contractual obligation
            of the Note itself. In the absence
                                                                  “Under Florida law, every contract contains an implied
            of evidence of a contract between
                                                                  covenant of good faith and fair dealing, requiring that
            Plaintiffs and Litton, Plaintiffs'
                                                                  the parties follow standards of good faith and fair dealing
            breach of contract claim fails.
                                                                  designed to protect the parties' reasonable contractual
(Id. at *11); see also Edwards v. Ocwen Loan Serv., LLC, 24       expectations.” Centurion Air Cargo, Inc. v. United Parcel
F. Supp. 3d 21, 28 (D.D.C. 2014) (dismissing borrower's           Serv. Co., 420 F.3d 1146, 1151 (11th Cir. 2005). “A breach
breach of contract and breach of implied covenant                 of the implied covenant of good faith and fair dealing
claims against servicer, finding they were insufficient as a      is not an independent cause of action, but attaches to
matter of law and noting: “Judges around the country—             the performance of a specific contractual obligation.”
including at least two of my colleagues—have held that            Id. “[A] claim for a breach of the implied covenant of
a loan servicer, as a lender's agent, has no contractual          good faith and fair dealing cannot be maintained under
relationship or privity with the borrower and therefore           Florida law in the absence of a breach of an express
cannot be sued for breach of contract.”).                         term of a contract.” Id. at 1152. Such a claim “ordinarily
                                                                  arises when: 1.) the contract is ambiguous about the
The Zaskeys respond that Green Tree is liable for breach          permissibility of the conduct, or 2.) when the conduct is
of the mortgage, note, and Short Sale Agreement “to the           undertaken pursuant to a grant of discretion and the scope
extent that Bank of America assigned certain obligations          of that discretion has not been designated.” Shibata v.
to Green Tree” and to the extent “certain obligations             Lim, 133 F. Supp. 2d 1311, 1318 (M.D. Fla. 2000).
were ultimately the responsibility of Green Tree, rather
than Bank of America[.]” DE 93 at 9-10. The Zaskeys do             *8 Bank of America argues that Count 2 should be
not identify what those responsibilities are, and the Third       dismissed because none of the alleged breaches of good
Amended Counterclaim does not allege any supporting               faith attach to a specific term of the note and mortgage.
facts, other than the lender-servicer relationship between        See DE 81 at 9. Count 2 alleges that Bank of America
Bank of America and Green Tree. The Zaskeys protest               “owed the ZASKEYS an implied covenant of good
that they “are not required at this stage of the proceedings      faith and fair dealing with respect to the application
to precisely identify the legal theory that may ultimately        of payments and the satisfaction of the ZASKEYS'
hold Green Tree liable” as long as “any set of facts              Mortgage, as set forth in the parties' promissory Note
consistent with the complaint would give him a right to           and Mortgage.” DE 80 at ¶ 63. In their response to
recover[.]” DE 93 at 10 (emphasis added).                         Bank of America's motion to dismiss, the Zaskeys point
                                                                  to several uniform covenants in the mortgage governing
The Court disagrees. The Zaskeys are required to plead            application of payments and grievance notices. See DE
“sufficient factual matter, accepted as true, to 'state a         at 12-13. However, as Bank of America points out, these
claim to relief that is plausible on its face.' ” Ashcroft, 556   covenants govern acceptance of regular payments towards
U.S. at 678; see also Bell, 550 U.S. at 562-63 (rejecting “no     interest and principal, and what the Zaskeys are really
set of facts” language from prior case law as a pleading          complaining about is the acceptance (or rather, the non-
standard). They have not pled facts demonstrating that            acceptance) of a payment under the Short Sale Agreement,
they are in privity with Green Tree. Given that this is           which is a separate agreement to forbear enforcing the full
the fourth iteration of the counterclaim and the amended          amount of the debt.
pleadings deadline is many months past, Count 2 against
Green Tree is dismissed with prejudice.                           Alternatively, the Zaskeys argue that they are not required
                                                                  to “specifically identify the provision of the mortgage
                                                                  giving rise to their claim,” citing Karp v. Bank of
                                                                  America, N.A., No. 8:12-cv-1700-T-17MAP, 2013 U.S.



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Dist. LEXIS 36838, *10, 2013 WL 1121256 (M.D. Fla.             of contract claim, this is a disputed issue in the case that is
Mar. 18, 2013). The Zaskeys read Karp too broadly.             not yet ripe for determination. Accordingly, as to Count
There, the borrower argued that the lender had exercised       3, Bank of America's Motion to Dismiss is denied.
its right to “force-place” insurance on the property in
bad faith by, inter alia, failing to maintain the borrower's
existing insurance and instead force-placing insurance for        4. Count 4: FDUTPA Claim against Green Tree
providers of the lender's choice with higher premiums.         Count 4 of the Third Amended Counterclaim alleges that
Id. at *8-9. Although the court stated it “reject[ed]”         Green Tree violated FDUTPA by: (1) obtaining lender-
the lender's argument that the breach of good faith            placed insurance in the Zaskeys' name on the property that
claim should be dismissed for failure to identify a            they no longer owned after the short sale; and (2) as part
specific provision of the mortgage, the court continued:       of collection activities against the Zaskeys, acknowledging
“Although Plaintiff did not identify a specific section        receipt of a non-existent loan modification application,
of the Mortgage by number or title, Plaintiff refers to        acknowledging approval of a non-exist short sale offer
the provision contained in the Mortgage that permits           on the property no longer owned by the Zaskeys, and
Defendant to ‘force-place’ insurance or to buy more            threatening to file an unwarranted foreclosure action
insurance to cover the mortgaged property.” Id. at *10.        against the Zaskeys. See DE 80 at ¶ 84.


The Zaskeys have failed to identify an express breach of
the note and mortgage, which is required under Florida              a. Whether the Zaskeys can bring a claim under
law to state a claim for breach of the implied covenant             FDUTPA even though they live outside Florida
of good faith and fair dealing arising from the note
and mortgage. For the aforementioned reasons, Count 2           *9 Green Tree argues that the Zaskeys cannot invoke
against Bank of America is dismissed with prejudice.           FDUTPA because they were living outside of Florida
                                                               when the alleged FDUTPA violations occurred. See DE
                                                               85 at 11-12. Nothing in the plain language of FDUTPA
   3. Count 3: Malicious Prosecution against Bank of           limits its application to injuries occurring in Florida. See
   America                                                     Fla. Stat. §§ 501.201, et seq. However, “the law in Florida
The Zaskeys' malicious prosecution claim is based on the       on FDUTPA's applicability to out-of-state consumers is
foreclosure proceedings Bank of America filed against          somewhat unclear.” F.T.C. v. Info. Mgmt. Forum, Inc.,
them in September 2012. See DE 80 at ¶¶ 65-76. To              Case No. 6:12-cv-986-orl-31 KRS, 2013 WL 3323635, *7
maintain a claim for malicious prosecution under Florida       (M.D. Fla. June 28, 2013); see also 2P Commercial Agency
law, the Zaskeys must demonstrate, inter alia, that            S.R.O. v. Familant, No. 2:11-CV-652-FTM-29, 2012 WL
“there was an absence of probable cause for the original       6615889, at *4 (M.D. Fla. Dec. 19, 2012) (“Florida courts
proceeding” and “there was malice on the part of the           are split on whether the protections of FDUTPA extend
present defendant.” Alamo Rent-A-Car, Inc. v. Mancusi,         to out-of-state consumers.”).
632 So. 2d 1352, 1355 (Fla. 1994). “In the context of a
claim for malicious prosecution, malice means without          Some Florida case law holds that FDUTPA should
reasonable cause, out of ill will, animosity and with a        be applied only to in-state consumers, as they were
desire to do harm for harm's sake,” “may be inferred           FDUTPA's intended beneficiaries. See Coastal Physician
entirely from a lack of probable cause,” and “may be           Servs. of Broward Cty., Inc. v. Ortiz, 764 So. 2d 7, 8 (Fla.
alleged generally.” Rivas v. Figueroa, No. 11-23195-CIV,       4th DCA 1999) (in class action based on debt collection
2012 WL 1343949, at *4 (S.D. Fla. Apr. 18, 2012) (quoting      activity by Florida physician's office, limiting discovery
Adams v. Whitfield, 290 So. 2d 49, 51 (Fla. 1974) and          to debt collection materials sent to in-state consumers);
Federal Rule of Civil Procedure 9(b)).                         Oce Printing Sys. USA, Inc. v. Mailers Data Servs., Inc.,
                                                               760 So. 2d 1037, 1042 (Fla. 2d DCA 2000) (reversing
Bank of America argues that the Zaskeys cannot                 order certifying nationwide class under FDUTPA because
demonstrate malice or lack of probable cause because the       “only in-state consumers can pursue a valid claim” under
short sale contract had been voided when the short sale        FDUTPA). However, in Millennium Communications
funds were not transferred to it within 48 hours of closing.   & Fulfillment, Inc. v. Office of the Attorney General,
See DE 81 at 10-1. As discussed supra regarding the breach


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Department of Legal Affairs, State of Florida, 761 So.         on a property located in Florida. Id. at ¶ 84. Given
2d 1256 (Fla. 3d DCA 2000), the court found that a             the allegation that Green Tree was conducting business
FDUTPA claim could be based on communications to               in Florida during the relevant time period, it is a
out-of-state consumers “where the allegations in this          fair inference that these communications originated in
case reflect that the offending conduct occurred entirely      Florida. The FDUTPA claim is also based on Green Tree
within this state[.]” Id. at 1262; see also Hutson v. Rexall   obtaining lender-placed insurance in the Zaskeys' name on
Sundown, Inc., 837 So. 2d 1090, 1094 (Fla. 4th DCA             the Florida property. Id. at ¶ 84.
2003) (reaffirming Coastal, because there the injuries were
alleged to have occurred both within and outside Florida;      The Court finds these allegations analogous to cases
but distinguishing Coastal from cases where “the common        where courts have allowed FDUTPA claims to proceed.
injury occurred in Florida”).                                  For example, in Millennium, where the Florida court
                                                               concluded that “the offending conduct occurred entirely
It appears that all of the federal courts in the Southern      within the state,” the FDUTPA claim was based on
District of Florida that have considered this issue have       allegedly misleading postcards that a Florida corporation
followed Millennium and held that “FDUTPA applies              mailed around the country, as well as misleading
to non-Florida residents if the offending conduct took         representations made by that corporation over the phone.
place predominantly or entirely in Florida.” Karhu v.          761 So. 2d at 1258. Similarly, in Karhu, the federal
Vital Pharma., Inc., Case No. 13-60768-CIV, 2013 WL            district court concluded it was “reasonable to infer
4047016 (S.D. Fla. Aug. 9, 2013) (“The Court finds that        that all of Defendant's alleged misconduct took place
the reasoning in Millennium and its progeny provides the       in Florida” where “Plaintiff alleges that Defendant is
fairest reading of FDUTPA's text and stated purpose.           a Florida corporation” with “its principal place of
Nothing in the language of the statute suggests that it        business is located in Davie, Florida,” and where the
is limited to transactions involving Florida consumers.”);     FDUTPA claims were “based on Defendant's alleged
see also Barnext Offshore, Ltd. v. Ferretti Group, USA,        misrepresentations that it made on its own website and on
Inc., Case No. 10-23869-CIV, 2012 WL 1570057, *6               the label of its product.” 2013 WL 4047016, at *10 (noting
(S.D. Fla. May 2, 2012) (“The Court is unpersuaded             that, “While Plaintiff is a New York resident and may
that the FDUTPA provides relief only to Florida                have been injured in New York, ‘the place of injury is less
consumers.... [N]othing in Millennium suggests that the        significant in the case of fraudulent misrepresentations.’
FDUTPA applies only when conduct occurs entirely               ”). Accordingly, to the extent Green Tree argues the
within Florida.”). Federal courts in the Middle District of    FDUTPA claims should be dismissed because the Zaskeys
Florida agree. See Info Mgmt. Forum, 2013 WL 3323635,          live outside of Florida, its motion to dismiss is denied.
at *6 (“I am persuaded that, among this varying case law,
the facts of Millennium are the most analogous to this case
and, thus, that the rationale of Millennium is applicable
                                                                     b. Whether the Third Amended Counterclaim
to this case.”); 2P Commercial, 2012 WL 6615889 (“The
                                                                       alleges that Green Tree engaged in “trade
Court finds that Millennium ...more appropriately reflects
                                                                           or commerce” under the FDUTPA
both the text of FDUTPA and its enumerated purpose.”).
This Court agrees with and adopts the reasoning of these       Green Tree also argues its complained-of behavior is not
federal decisions.                                             covered by FDUTPA because it was not in connection
                                                               with “trade or commerce.” See DE 85 at 12. FDUTPA
 *10 The Zaskeys' Third Amended Counterclaim alleges           outlaws “[u]nfair methods of competition, unconscionable
that Green Tree “was and is a Florida corporation,             acts or practices, and unfair or deceptive acts or practices
licensed by the State of Florida, and conducted business       in the conduct of any trade or commerce[.]” Fla. Stat. §
within the State of Florida, including Palm Beach County,      501.204(1) (emphasis added). The statute defines “trade
during the periods relevant to this action.” DE 80 at ¶        or commerce” as, in relevant part: “the advertising,
5. It also alleges that, during the relevant time period,      soliciting, providing, offering, or distributing, whether
the Zaskeys were living in Wisconsin. Id. at ¶¶ 10, 14.        by sale, rental, or otherwise, of any good or service,
The FDUTPA claim is based on communications Green              or any property, whether tangible or intangible, or any
Tree had with the Zaskeys regarding their mortgage             other article, commodity, or thing of value, wherever



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situated.” Fla. Stat. § 501.203(8). “[T]he ‘trade and           behavior, the Court finds that this is debt collection
commerce’ requirement is often not met in cases dealing         activity not actionable under FDUTPA, and Green Tree's
with borrowers alleging FDUTPA violations against               motion to dismiss is granted.
mortgage servicers.” Benjamin v. CitiMortgage, Inc., Case
No. 12-32291-CIV, 2013 WL 1891284, *4 (S.D. Fla. May
6, 2013). Many courts have held that a servicer's attempts        5. Count 5: FCCPA claims against Bank of America
to enforce a mortgage are not actionable under FDUTPA.            and Green Tree
See id. at *5; Williams v. Nationwide Credit, Inc., 890 F.      Count 5 alleges that Bank of America and Green Tree
Supp. 2d 1319, 1322 (S.D. Fla. 2012) (“[T]he Court agrees       violated the FCCPA in three ways: first, by threatening
with the other courts that have addressed debt collection       to and actually disclosing the debt to credit reporting
and finds that Nationwide's debt collection activities do       bureaus without disclosing the disputed nature of the
not give rise to a FDUTPA claim.”); Acosta v. James             debt, see Fla. Stat. § 559.72(3) and (6); DE 80 at ¶
A. Gustino, P.A., No. 6:11-CV-1266-ORL-31, 2012 WL              102; second, by willfully engaging in conduct that could
4052245, at *1 (M.D. Fla. Sept. 13, 2012) (“An attempt          be reasonably expected to harass or abuse the Zaskeys,
to collect a debt by exercising one's legal remedies does       namely: undertaking collecting efforts via mail and the
not constitute ‘advertising, soliciting, providing, offering,   phone; disregarding Mr. Zaskey's attempts to explain
or distributing’ as those terms are used in Fla. Stat. §        about the short sale; threatening legal proceedings;
501.203(8).”).                                                  reporting negative information to credit bureaus; and
                                                                serving the Zaskeys with process while they were hosting
 *11 The Zaskeys argue, however, that their “allegations        a party at their home, see Fla. Stat. § 559.72(7); DE 80
are far removed from the narrow debt collection                 at ¶ 103; and third, attempting to collect a debt “with
allegations” in the cases cited supra, because they allege      knowledge or constructive knowledge” that the debt was
that Green Tree sought and obtained lender-placed               not legitimate. See Fla. Stat. § 559.72(9); DE 80 at ¶¶ 104,
insurance on the property in the Zaskeys' name. See DE 93       105.
at 15-16 (response); see DE 80 at ¶¶ 29(i), 29(o), 82 (Third
Amended Counterclaim). In Martorella v. Deutsche Bank
National Trust Co., 931 F. Supp. 2d 1218 (S.D. Fla.                       a. FCCPA Claim against Green Tree
2013), the court found that FDUTPA claims against
a mortgage lender and servicer fell “squarely within            Green Tree argues that Count 5 fails to state a claim
[FDUTPA's] broad definition of ‘trade or commerce’ ”            because, like FDUTPA, the FCCPA does not protect
where the plaintiff alleged that “the lenders/servicers have    consumers living outside of Florida. See DE 85 at 12-13.
charged excessive and/or unreasonable amounts for force-        Apart from Coastal, which is discussed supra in relation to
placed insurance, for which they were paid commissions          the Zaskeys' FDUTPA claim, none of the case law Green
or other remunerations[.]” Id. at 1224. Although the            Tree cites explicitly holds that FCCPA claims can only
Zaskeys' claims in this case are not precisely the same         be brought by Florida residents. Id. Given the Court's
as in Martorella, they are analogous. The Zaskeys allege        holding that the Zaskeys may bring a FDUTPA claim,
that Green Tree wrongfully demanded they purchase               Green Tree's motion to dismiss the FCCPA on this ground
the insurance in order “to confuse and frustrate the            is also denied.
ZASKEYS' efforts to resolve the error committed by the
Counter-Defendants, and, finally, to otherwise force the
ZASKEYS to expend additional and unnecessary sums                       b. FCCPA Claim against Bank of America
in order to resolve the ZASKEYS' ongoing dispute with
BANK OF AMERICA and GREEN TREE.” DE 80 at                       Bank of America argues that Count 5 under the FCCPA
¶ 85.                                                           fails to state a claim against it for four reasons. Each is
                                                                briefly addressed below.
Accordingly, to the extent the Zaskeys' FDUTPA claim
is based on the force-placement of insurance on the
property, Green Tree's motion to dismiss is denied. To
the extent the Zaskeys' FDUTPA claim is based on other



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       i. Whether the FCCPA claim fails to state a
      claim because the short sale contract was void             iii. Whether the filing of a foreclosure action is protected
                                                                       by Florida's common law litigation privilege and
First, Bank of America argues that, because the short sale            therefore cannot be actionable under the FCCPA
contract was voided when Harbor Title's failure to wire
the funds within 48 hours, Bank of America's attempts to         *12 Third, Bank of America argues that, to the extent the
collect the debt were legitimate under Fla. Stat. § 559.72(9)   FCCPA claim is premised on the filing of the foreclosure
and it was not required to report the dispute to credit         action, this is barred by Florida's common law litigation
reporting agencies under Fla. Stat. § 559.72(3) and (6). See    privilege. See DE 81 at 13. The Zaskeys argue that their
DE 81 at 14-15. As discussed supra in section III.A.1, this     claim is based on “events and conduct that occurred before
issue of contract interpretation is not ripe at this stage of   any litigation was initiated[.]” DE 92 at 20. 4
the proceedings. Accordingly, Bank of America's motion
to dismiss the FCCPA claim on this ground is denied.            4      To the extent the Zaskeys argue that Bank
                                                                       of America's post-foreclosure debt collection
                                                                       proceedings are actionable as a violation of Florida
      ii. Whether the filing of a foreclosure action is                Statute § 559.72(18), this theory is not pled in the
       debt collection actionable under the FCCPA                      Zaskeys' Third Amended Counterclaim and therefore
                                                                       will not be considered by the Court.
Second, Bank of America argues that, to the extent              The FCCPA claim does appear to be based, at least in
the claim is based on the filing of a foreclosure action,       part, on the initiation of foreclosure proceedings. See
this is not actionable under the FCCPA. See DE 81               DE 80 at ¶ 93 (Third Amended Counterclaim, alleging
at 12-13. Generally, “filing a foreclosure lawsuit is           that “between June 2012 through July 2015, BANK
not a debt collection practice under § 559.72 of the            OF AMERICA...pursued and threatened to pursue an
FCCPA.” Trent v. Mortgage Elec. Registration Sys.,              unwarranted foreclosure action”). This is barred by
Inc., 618 F. Supp. 2d 1356, 1361 (M.D. Fla. 2007),              Florida's litigation privilege. See Echevarria. McCalla,
aff'd, 288 Fed.Appx. 571 (11th Cir. 2008). However, the         Raymer, Barrett & Frappier v. Cole, 950 So. 2d 380, 384
Zaskeys argue this is actionable because the foreclosure        (Fla. 2007) (“The litigation privilege applies across the
lawsuit sought a deficiency judgment. See DE 92 at 19           board to actions in Florida, both to common-law causes
(response); DE 80 at 82-85 (foreclosure complaint, Ex.          of action, those initiated pursuant to a statute, or of some
C of Third Amended Counterclaim). They point to cases           other origin.”); Trent, 618 F. Supp. 2d at 1360 (“The
interpreting the federal FDCPA, which have held that “[a]       Echevarria holding precludes communications attached to
mortgage foreclosure action that also seeks payment on          or made part of a foreclosure complaint from forming the
the underlying promissory note is debt collection for the       basis of a FCCPA or FDUTPA claim.”). However, to the
purposes of the FDCPA.” Roban v. Marinosci Law Group,           extent the FCCPA claim is based on communications that
34 F. Supp. 3d 1252, 1254 (S.D. Fla. 2014) (emphasis            did not occur during the course of the judicial proceeding,
added); see also Freire v. Aldridge Connors, LLP, 994 F.        it is not barred by the litigation privilege. Trent, 618 F.
Supp. 2d 1284, 1288 (S.D. Fla. 2014) (same); Rotenberg v.       Supp. 2d at 1360 (“After detailed review of the Echevarria
MLG, P.A., No. 13-CV-22624-UU, 2013 WL 5664886, at              decision and the unsettled state of Florida law on this
*2 (S.D. Fla. Oct. 17, 2013) (same). Although none of this      issue, this Court is unprepared to extend the litigation
case law specifically addresses the FCCPA, the FCCPA            privilege to pre-suit communications....”).
explicitly provides that, “[i]n applying and construing this
section, due consideration and great weight should be           Accordingly, Count 5 is dismissed with prejudice to the
given to the interpretations of...the federal courts relating   extent it is based on the filing of the foreclosure action.
to the federal Fair Debt Collection Practices Act.” Fla.        The Zaskeys should file a Fourth Amended Counterclaim
Stat. § 559.77(5). Moreover, Bank of America makes no           consistent with this ruling.
attempt to distinguish this case law in its reply. See DE
102. Accordingly, Bank of America's motion to dismiss
the FCCPA claim on this ground is denied.


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                                                              Fourth Amended Counterclaim striking the “should have
                                                              known” language from this count.
iv. Whether the Zaskeys fail to plead the required scienter
  for an FCCPA claim under Florida Statute § 559.72(9)
                                                                6. Count 8: Negligence versus Bank of America and
Fourth, Bank of America argues that with regard to
                                                                Green Tree
the claim under Florida Statute § 559.72(9), the Zaskeys
                                                              The Zaskeys' negligence claim against Bank of America
are required to plead that Bank of America had actual
                                                              and Green Tree is pled “in the alternative, in the event
knowledge that the right to enforce the debt is not
                                                              the Court finds there is no enforceable contract between
legitimate, and the Zaskeys have pled only that Bank of
                                                              the parties governing the short sale agreement between
America “knew or should have known.” DE 81 at 14.
                                                              the Zaskeys and Bank of America and/or Green Tree.”
Section 559.72(9) provides that, in collecting consumer
                                                              DE 80 at ¶ 144. The Zaskeys allege that Bank of America
debts, no person shall “[c]laim, attempt, or threaten to
                                                              and Green Tree, as servicers and holders of the note and
enforce a debt when such person knows that the debt
                                                              mortgage, had a duty to exercise reasonable care and skill
is not legitimate, or assert the existence of some other
legal right when such person knows that the right does                    [1] to maintain proper and accurate
not exist.” (Emphasis added.) Bank of America is correct                  loan records; [2] to discharge the
that, to prove liability, the Zaskeys will have to show                   debt upon receipt of payment from
that Bank of America had actual knowledge that the debt                   the short sale; as well as [3]
was invalid, not merely that Bank of America “should                      take such other actions concerning
have known.” LeBlanc v. Unifund CCR Partners, 601                         the accounting and servicing of
F.3d 1185, 1192 n.12 (11th Cir. 2010) (“In contrast to                    the underlying loan. These actions
the FDCPA, Section 559.72(9) of the FCCPA requires a                      include, but not limited to, [4]
plaintiff to demonstrate that the debt collector defendant                ensuring the accurate receipt and
possessed actual knowledge that the threatened means of                   crediting of the short sale proceeds
enforcing the debt was unavailable.”); see also Kaplan v.                 wired to BANK OF AMERICA
Assetcare, Inc., 88 F. Supp. 2d 1355, 1363 (S.D. Fla. 2000)               by HARBOR TITLE, and if such
(“It is clear that the FCCPA requires an allegation of                    funds were not received pursuant
knowledge or intent by the debt collector in order to state               to the short sale agreement,
a cause of action.”).                                                     communicating with its assigned
                                                                          Re/Max realtor, Tony Pino, and
 *13 The Court finds that the Zaskeys have pled sufficient                HARBOR TITLE, its closing agent,
facts that, taken as true, could demonstrate that Bank of                 and conducting an investigation as
America had actual knowledge of the debt's invalidity. See                to whether the short sale actually
DE 80 at ¶ 94 (alleging that Mr. Zaskey advised Bank of                   closed, and the location of the short
America representatives that the short sale had closed).                  sale proceeds.
Thus, the correct remedy for this incorrect pleading in
the alternative is not to dismiss the claim but rather to     Id. at ¶ 145. The Zaskeys allege that Bank of America and
strike the “should have known” language from the Third        Green Tree violated these duties by “refusing to take any
Amended Counterclaim. See, e.g., Williams v. Streeps          correct action after learning” that the short sale had taken
Music, Co., Inc., 333 So. 2d 65, 67 (Fla. 4th DCA             place, id. at ¶ 147, and by:
1976) (“Since the trial judge did not state his reasons for
dismissing the complaint, it may be that the dismissal                    (a) failing to properly and accurately
resulted from the allegation that appellee knew ‘or should                credit payments made; (b) preparing
have known’ that the claim was not legitimate. Section                    and filing false documents alleging
559.72(9) F.S. requires that the person against whom                      a false debt; (c) engaging in
recovery is sought ‘know’ the claim is not legitimate. On                 harassing and abusive collection
remand the allegation ‘or should have known’ should be                    efforts and continuing to pursue a
stricken.”). Accordingly, the motion to dismiss Count 5                   debt for which the ZASKEYS were
under the FCCPA is denied, but the Zaskeys should file a                  no longer financially responsible;



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                (d) communicating false credit                 an independent tort that such a breach can constitute
                information to various credit                  negligence.” Id. (citing Tiara Condo. Ass'n, Inc. v. Marsh
                reporting bureaus; (e) failing to              & McLennan Cos., Inc., 110 So. 3d 399, 408-09 (Fla.
                properly investigate the issues raised         2013)). 5
                by the ZASKEYS concerning the
                finalized short sale; (f) refusing             5      Other jurisdictions have also rejected the claim that
                to accept the wire transfer and
                                                                      a lender or servicer owes a common law duty of care
                attempted wire transfer of the
                                                                      to a borrower. See Smith-Tyler v. Bank of Am., N.A.,
                short sale proceeds from HARBOR                       992 F. Supp. 2d 1277, 1284 (N.D. Ga. 2014) (granting
                TITLE; (g) filing this foreclosure                    summary judgment for Defendant under Georgia law
                action without having the legal                       because “Plaintiff has not established a legal duty that
                authority to do so, as BANK                           was breached by the act of collecting on a satisfied
                OF AMERICA and GREEN                                  debt. There is no confidential relationship giving
                TREE knew or should have                              rise to a duty between a lender and a borrower”);
                known the ZASKEYS were no                             Lawrence v. Aurora Loan Servs. LLC, No. CV F
                longer financially responsible for                    09-1598 LJO DLB, 2010 WL 364276, at *9 (E.D.
                the underlying debt which forms                       Cal. Jan. 25, 2010) (finding that, under California
                                                                      law, “[a]s a general rule, a financial institution owes
                the basis of this earlier filed and
                                                                      no duty of care to a borrower when the institution's
                subsequently dismissed foreclosure
                                                                      involvement in the loan transaction does not exceed
                action; and (h) executing service of
                                                                      the scope of its conventional role as a mere lender
                process against the ZASKEYS while                     of money,” and finding that the complaint “lacks
                they were hosting a social event                      facts of special circumstances to impose duties on” the
                at their home in front of all their                   servicer).
                guests, causing the ZASKEYS to
                                                                *14 The Zaskeys contend that the alleged duty arose
                suffer the expense, stress, anxiety,
                                                               “based on the unique facts of this case,” that is, that
                embarrassment, emotional distress,
                                                               the Zaskeys are alleged to have repeatedly told Bank
                and inconvenience of addressing
                                                               of America and Green Tree that a short sale had
                these matters.
                                                               been approved and concluded. See DE 92 at 26. These
Id. at ¶ 148.                                                  allegations are not sufficient to establish additional
                                                               conduct that amounts to an independent tort. Burdick,
Bank of America and Green Tree dispute whether they            99 F. Supp. 3d at 1372. The Zaskeys also contend that
owed any common law duty of care to the Zaskeys,               “it is premature to dismiss the negligence count until
apart from any duties arising under the note, mortgage,        the parties brief, and this Court decides, the respective
or short sale agreement. DE 81 at 18. Notably, the             contractual obligations between the Zaskeys, Bank of
Zaskeys have cited no case from Florida or any other           America, and Green Tree.” DE 93 at 23-24. The Court
jurisdiction establishing that a lender or servicer owes a     disagrees. Regardless of which party bore the duty to
borrower a common law duty of care in the servicing of         follow-up with Harbor Title after it failed to timely wire
a mortgage loan. In Burdick v. Bank of America, N.A.,          the short sale proceeds to Bank of America – which is the
99 F. Supp. 3d 1372 (S.D. Fla. 2015), the plaintiff alleged    gravamen of the parties' contractual dispute – this duty
that Bank of America and Green Tree wrongfully charged         arises from and is governed by the parties' contractual
the plaintiff for force-placed insurance and improperly        relationship and does not give rise to an independent cause
filed a foreclosure action. Id. at 1375. The court dismissed   of action for negligence. Accordingly, this claim fails to
the plaintiff's negligence claims, holding that the claims     state a claim as a matter of law and is therefore dismissed
“should have been brought in contract rather than in           with prejudice.
Negligence.” Id. at 1378. The court noted that, for
purposes of a negligence claim “the alleged duty cannot
stem from a contractual relationship between the parties,”                         IV. CONCLUSION
and it is “only when the breach of contract action is
attended by some additional conduct which amounts to


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Based on the foregoing, it is hereby ORDERED AND              consistent with this Order; Count 6 for violations of the
                                                              FDCPA against Green Tree; and Count 7 for violations
ADJUDGED:
                                                              of RESPA against Green Tree. 6
1. Bank of America's Motion to Dismiss Counter-
Plaintiffs' Third Amended Counterclaim [DE 81] is             6       Count 9 against Harbor Title and Counts 10 and 11
GRANTED IN PART and DENIED IN PART.                                   against Old Republic also remain pending. Harbor
                                                                      Title has not moved to dismiss any of the claims
2. Green Tree Servicing, LLC's Motion to Dismiss Third                against it. The Court will address Old Republic's
Amended Counterclaim [DE 85] is GRANTED IN PART                       motion to dismiss in a separate order.
and DENIED IN PART.                                           7. On or before Friday, May 20, 2016, the Zaskeys should
                                                              file a Fourth Amended Counterclaim that is consistent
3. Count 2 for breach of the implied duty of good faith       with this Order. That is, the counterclaim should: delete
and fair dealing is DISMISSED WITH PREJUDICE as               the counts that have been dismissed with prejudice; amend
to both Bank of America and Green Tree.                       Count 5 to avoid relying on the filing of the foreclosure
                                                              action; and amend Count 5 to delete the “should have
4. Count 6 for violations of the FDCPA is DISMISSED           known” language related to the claim under Florida
WITH PREJUDICE as to Bank of America, but Count 6             Statute § 559.72(9).
remains pending against Green Tree.
                                                              8. Bank of America and Green Tree should file an Answer
5. Count 8 for negligence is DISMISSED WITH                   to the Fourth Amended Counterclaim no later than
PREJUDICE as to both Bank of America and Green                Tuesday, May 31, 2016.
Tree.
                                                              DONE AND ORDERED in Chambers, Fort Pierce,
6. The following claims remain pending against Bank of        Florida, this 18th day of May, 2016.
America and Green Tree: Count 1 for breach of the short
sale agreement against Bank of America; Count 3 for
malicious prosecution against Bank of America; Count 4        All Citations
for violations of FDUTPA against Green Tree; Count 5
                                                              Not Reported in F.Supp.3d, 2016 WL 2897410
for violations of the FCCPA against Bank of America and
Green Tree, provided the Zaskeys can amend the claim

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                                                                           If you're currently enrolled in
                  2012 WL 1339482                                          Citibank's auto-debit payment
    Only the Westlaw citation is currently available.                      program, your monthly payment
             United States District Court,                                 withdrawals will continue with
                   S.D. New York.                                          Sallie Mae without interruption
                                                                           using the checking or savings
               Richard GENNA, Plaintiff,
                                                                           account information you previously
                         v.
                                                                           provided. If you prefer to not
             SALLIE MAE, INC., Defendant.
                                                                           have your payments automatically
                                                                           debited by Sallie Mae, please contact
                   No. 11 Civ. 7371(LBS).
                                                                           Citibank ... as soon as possible.
                              |
                                                                           However, please note that you may
                      April 17, 2012.
                                                                           lose eligibility for an interest rate
                                                                           reduction benefit if you terminate
                                                                           your participation in the auto-debit
              MEMORANDUM & ORDER
                                                                           program.
SAND, District Judge.
                                                               Compl. ¶ 8. Despite Sallie Mae's statement that
 *1 In this action. Plaintiff Richard Genna (“Genna”)          Genna's auto-debit payments would continue without
asserts various claims against Defendant Sallie Mae,           interruption, Genna discovered on September 5, 2011,
Inc. (“Sallie Mae”), a third-party loan servicer. Genna        that not only was he not enrolled in auto-debit, but that his
alleges that Sallie Mae committed, inter alia, fraudulent      loan was in default. Genna immediately set up auto-debit
misrepresentation, breach of fiduciary duty, and breach        via Sallie Mae's website—successfully, he believed, since
of contract in relation to its servicing of Genna's student    he soon received an email confirming that his “request
loans.                                                         for auto-debit was submitted ... and [was] currently being
                                                               reviewed.” The email further noted that his “request
Sallie Mae has moved to dismiss Genna's Complaint. For         [could] take up to 10 business days to be reflected on [his]
the following reasons we grant in part and deny in part        account .” Compl. ¶¶ 9–13.
Sallie Mae's motion.
                                                               As a precaution, Genna telephoned Sallie Mae two days
                                                               later to confirm that his request for auto-debit had gone
I. Background 1                                                through and to inquire about the status of his loan. In
1      The following facts are based on Genna's allegations    what, it seems, would become a familiar pattern, Sallie
       in the Complaint (“Compl.”), filed September 26,        Mae informed him that not only was his loan still in
       2011.                                                   default but, despite the confirmation email he had received
In 2007, Genna borrowed $22,595 in student loans from          two days prior, no auto-debit enrollment was pending.
Citibank, N .A.; in 2010, he initiated auto-debit payments     Genna explained the foregoing history to a customer
with Citibank; and in 2011, Citibank sold Genna's loan         service representative who assured him that he “was being
to Sallie Mae. This is where Genna's problems began.           issues [sic ] a 60 day forbearance, during which time no
Citibank, in a July 2011 letter to Genna informing him of      payment would be due, and that his representative would
the sale of his loan to Sallie Mae, reassured Genna that       now submit his request for enrollment in the auto-debit
informed him that “nothing about the servicing would           program.” Compl. ¶¶ 14–16.
change”—and, specifically, that “any active auto-debits ...
would continue uninterrupted.” Compl. ¶ 7. On July 22,         Notwithstanding this conversation, Genna received an
2011, Genna received an email from Sallie Mae informing        email from Sallie Mae on September 25, 2011 with a
him of its acquisition of his loan and stating:                hyperlink to his statement. The latter revealed that despite
                                                               Sallie Mae's explicit statements, Genna had been granted
                                                               no forbearance, his loan remained in default, and he was



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now two months in arrears. Sallie Mae had, moreover,              notice may be taken, or ... documents either in the
taken the extra step of reporting his alleged default to the      plaintiffs' possession or of which plaintiffs had knowledge
credit reporting agencies. Compl. ¶¶ 18–19.                       and relied on in bringing suit.” Brass v. Am. Film Techs.,
                                                                  Inc., 987 F.2d 142, 150 (2d Cir.1993).
 *2 Genna responded by hiring counsel, who contacted
Sallie Mae and attempted to enroll Genna into auto-
debit and to have Sallie Mae credit Gennas past-due               III. Discussion
balance. After speaking to three different representatives,
                                                                     a. Breach of Implied Covenant of Good Faith and Fair
Gennas counsel reached a so-called “floor supervisor”
                                                                     Dealing (Counts 1 and 5)
named Alex, who, while admitting fault, stated that
                                                                  Genna's first and fifth causes of action are that Sallie
he was personally unable to oblige Genna's requests,
                                                                  Mae breached the implied covenant of good faith and fair
but that Sallie Mae's Consumer Advocate Department
                                                                  dealing. Sallie Mae rejoins that “New York law ... does
would be able to assist him. Compl. ¶¶ 20–22. No such
                                                                  not recognize a separate cause of action for breach of the
assistance was forthcoming. Genna's counsel was told
                                                                  implied covenant of good faith and fair dealing when a
by a representative—who refused to provide her name
                                                                  breach of contract claim, based upon the same facts, is also
or other identifying information—to set up auto-debit
                                                                  pled.” Harris v. Provident Life & Accidental Ins., Co., 310
through Sallie Mae's website and, in the meanwhile, to
                                                                  F.3d 73, 81 (2d Cir.2002). This is generally true, except
make month-to-month payments. Upon being advised by
                                                                  in cases where the good faith and fair dealing claim is
Gennas counsel that Sallie Mae had breached its promises
                                                                  “based on allegations different than those underlying the
and thereby, among other things, damaged Gennas credit,
                                                                  accompanying breach of contract claim.” Siradas v. Chase
Sallie Mae declined further cooperation and expressly
                                                                  Lincoln First Bank, N.A., No. 98 Civ. 4028, 1999 U.S.
invited Genna to bring suit. Compl. ¶¶ 25–29.
                                                                  Dist. LEXIS 15593, at *19, 1999 WL 787658 (S.D.N.Y.
                                                                  Sept. 30, 1999). Put differently, a “claim for breach of
II. Standard of Review                                            implied covenant will be dismissed as redundant where the
On a motion to dismiss, a court reviewing a complaint             conduct allegedly violating the implied covenant is also the
will consider all material factual allegations as true and        predicate for breach of covenant of an express provision
draw all reasonable inferences in favor of the plaintiff.         of the underlying contract.” ICD Holdings S.A. v. Frankel,
Lee v. Bankers Trust Co., 166 F.3d 540, 543 (2d Cir.1999).        976 F.Supp. 234, 243–244 (S.D.N.Y.1997) (citations and
“To survive dismissal, the plaintiff must provide the             quotations marks omitted).
grounds upon which his claims rests through ‘factual
allegations sufficient to raise a right to relief above the        *3 This is not the case here. Genna's breach of contract
speculative level.’ “ ATSI Communs., Inc. v. Shaar Fund,          claim, see infra, alleges that Sallie Mae breached the loan
Ltd., 493 F.3d 87, 93 (2d Cir.2007) (citing Bell Atl. Corp. v.    agreement by refusing to accept payment, which Genna
Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d           claims to have offered on multiple occasions in accordance
929 (2007)). “Threadbare recitals of the elements of a            with Sallie Maes terms. In contrast, Genna's claim
cause of action, supported by mere conclusory statements,         asserting breach of the implied covenant of good faith
do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct.       and fair dealing is based on Sallie Mae's statements that
1937, 1949, 173 L.Ed.2d 868 (2009). Rather, the plaintiffs        it was granting Genna a 60–day forbearance, servicing his
complaint must include “enough facts to state a claim             loan in the same manner as had Citibank, and enrolling
of relief that is plausible on its face.” Id. at 1940 (citing     him in auto-debit. While broadly related insofar as they
Twombly, 550 U.S. at 570). Plausibility, in turn, requires        emerge from the same transaction and occurrence, the
that the allegations in the complaint “raise a reasonable         allegations nonetheless assert distinct potentially culpable
expectation that discovery will reveal evidence” in support       behavior by Sallie Mae. Indeed, Sallie Mae concedes as
of the claim. Twombly, 550 U.S. at 556.                           much when it argues that “[t]here is no language in the
                                                                  contract requiring Sallie Mae to accept payment in any
On a motion to dismiss, a court is not limited to the             particular manner, or providing any terms regarding the
four corners of the complaint. A court may also consider          method of payment.” Mem. Supp. Def.'s Mot. Dismiss
“documents attached to the complaint as an exhibit or             (“Sallie Mae Brief”) 5.
incorporated in it by reference, ... matters of which judicial


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Sallie Mae's motion to dismiss Counts 1 and 5 is hereby
denied.                                                             *4 Sallie Mae further argues that Genna's fraud claim is
                                                                   barred by the economic loss rule. Sallie Mae Brief at 10.
                                                                   Courts in this district are divided, however, as to whether
   b. Fraudulent Misrepresentation (Count 2)                       the economic loss rule applies to fraud claims. See Sofi
Genna's second count alleges that Sallie Mae committed             Classic S.A. de C.V. v. Hurowitz, 444 F.Supp.2d 231, 246
fraud when it falsely stated that it was granting Genna a          (S.D.N.Y.2006) (collecting cases). The Court of Appeals
60–day forbearance, servicing his loan in the same manner          for the Second Circuit has not squarely addressed the
as had Citibank, and enrolling him in auto-debit. Sallie           applicability of the economic loss rule to fraud claims, but
Mae responds, as it did in Counts 1 and 5, by arguing              the cases make clear that the economic loss rule will not
that Genna's breach of contract claim subsumes his fraud           apply where the damages sought are for a “harm distinct”
claim.                                                             from the contract. Hydro Investors, Inc. v. Trafalgar
                                                                   Power, Inc., 227 F.3d 8, 17 (2d Cir.2000). Under this test
Under New York law, a fraud claim will generally                   it is clear that the economic loss rule does not apply to
not lie if it arises “out of the same facts as plaintiffs          Genna's fraud claim. The distinct harm in this case is the
breach of contract claim,” Telecom Int'l Am., Ltd. v.              combination of, first, Sallie Mae's unfulfilled statements
AT & T Corp., 20 F.3d 175, 196 (2d Cir.2001), unless               that it was granting Genna a forbearance, transferring
a plaintiff successfully alleges “(1) a legal duty separate        the conditions of his servicing, and enrolling him in auto-
and apart from the contractual duty to perform ... (2) a           debit, which together arguably caused Genna to default
fraudulent representation collateral or extraneous to the          on his loans; and second, Sallie Mae's reporting the default
contract ... or (3) special damages proximately caused             to credit reporting agencies, thereby damaging Genna's
by the fraudulent representation that are not recoverable          credit score. Put differently, the harm that Genna asserts
under the contract measure of damages.” Papa's–June                is not simply that Sallie Mae's conduct deprived him of
Music v. McLean, 921 F.Supp. 1154, 1161 (S.D.N.Y.1996)             the benefit of his bargain, but, additionally, that Sallie
(citations omitted).                                               Mae's conduct damaged his credit score—and, to this end,
                                                                   Genna seeks more than merely contractual damages. 2
“For a fraudulent misrepresentation to be collateral
                                                                   See Fort Howard Paper Co. v. Willliam D. Witter, Inc.,
or extraneous to a contract, it must be a promise to
                                                                   787 F.2d 784, 794 (2d Cir.1986) (declining to apply the
do something other than what is expressly required
                                                                   economic loss rule to fraud claim where plaintiff sought to
by the contract.” W.B. David & Co. Inc. v. DWA
                                                                   recover more than just contractual damages).
Communications, Inc., No. 02 Civ. 8479, 2004 U.S. Dist.
LEXIS 2954, at *14, 2004 WL 369147 (S.D.N.Y. Feb. 26,
                                                                   2      In its reply brief, Sallie Mae states, without providing
2004); see also Grappo v. Alitalia Linee Aeree Italiane, 56
F.3d 427, 434 (2d Cir.1995) (“A fraud action is permitted,                any support, that Genna's claim is preempted by the
                                                                          Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §
however, where the plaintiff alleges that the defendant
                                                                          1681(a) et seq. Reply Mem. Further Supp. Def.'s Mot.
engaged in other fraudulent conduct besides entering the
                                                                          Dismiss 4. We disagree. The FCRA imposes duties
contract with no intention to perform.”). Under this
                                                                          on consumer reporting agencies, users of consumer
definition, it is clear that Sallie Mae's statements were                 reports, and furnishers of information to consumer
collateral or extraneous, a fact that, again, Sallie Mae itself           reporting agencies. See Kane v. Guar. Residential
concedes by averring that “[t]here is no language in the                  Lending, Inc., No. 04 Civ. 4847, 2005 U.S. Dist.
contract requiring Sallie Mae to accept payment in any                    LEXIS 17052, at *6, 2005 WL 1153623 (E.D.N.Y.
particular manner, or providing any terms regarding the                   May 9, 2005). With respect to the furnishers' duty—
method of payment.” Mem. Supp. Def.'s Mot. Dismiss 5.                     the only duty arguably applicable here—15 U.S.C.
Regardless, Genna has alleged sufficient facts to make it                 §§ 1681s–2(a) and (b) require that furnishers “report
plausible to infer that, by representing that it was granting             accurate information and ... correct inaccurate
Genna a 60–say forbearance and enrolling him auto-debit,                  information” as well take certain steps once a
Sallie Mae engaged in “other fraudulent conduct besides                   credit reporting agency notifies furnishers that there
                                                                          is a dispute as to the information provided. The
entering the contract with no intention to perform,” since
                                                                          claims here, while certainly encompassing consumer
these statements postdate the contract. Grappo, 56 F.3d at
                                                                          protection writ large, are not covered by 15 U .S.C.
434.


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       §§ 1681s–2(a) and (b), since the issue is not whether    While certainly similar to a fiduciary relationship, a
       the information reported by Sallie Mae was or            special relationship “need not rise to that same level.”
       was not accurate, but rather whether Sallie Mae's        Bombardier Capital, Inc. v. Naske Air GMHB, No. 02 Civ.
       conduct contributed to Genna's default, which, in        10176, 2003 U.S. Dist. LEXIS 16173, 2003 WL 22137989
       turn, negatively affected Genna's credit score.
                                                                (S.D.N.Y. Sept. 17, 2003). Nonetheless, “[s]omething
Sallie Mae's final argument that Genna has failed to            more than the trust and reliance between an ordinary
plead his fraud claim with sufficient particularity is          buyer and seller must be established.” St Paul Fire &
without merit. As is clear from the recitation of facts         Marine Ins. Co. v. Health Fielding Ins. Broking, 976
in Part I of this opinion, supra, Genna has specified           F.Supp. 198, 200 (S.D.N.Y.1996) (citations omitted).
the fraudulent statements, the date that the statements
were made, and—insofar as is reasonably possible in the         This court is well aware that “whether a special
context of telephonic conversations with customer service       relationship exists is highly fact-specific and generally
representatives—who made the statements.                        not susceptible to resolution at the pleadings stage.”
                                                                Century Pac., Inc. v. Hilton Hotels Corp., No. 03 Civ
Sallie Mae's motion to dismiss Count 2 is denied.               8258, 2004 U.S. Dist. LEXIS 6904, at *24–25, 2004 WL
                                                                868211 (S.D.N.Y Apr. 21, 2004) (citations and quotations
                                                                marks omitted). But the case law is sufficiently clear and
   c. Breach of Fiduciary Duty (Count 3)                        consistent that in New York “an arm's length borrower-
We dismiss Genna's claim for breach of fiduciary duty,          lender relationship ... does not support a cause of action
because no such duty generally exists between a lender          for negligent misrepresentation,” that we are compelled to
and a borrower. See Bank Leumi Trust Co. v. Block               dismiss Genna's claims. Dobroshi v. Bank of Am., N.A., 65
3102 Corp., 180 A.D.2d 588, 580 N.Y.S.2d 299 (1st Dep't         A.D.3d 882, 884, 886 N.Y.S.2d 106, 109 (1st Dep't 2009)
1992); Manufacturer's Hanover Trust Co. v. Yanakas, 7           (collecting cases); Interallianz Bank AG v. Nycal Corp.,
F.3d 310, 318 (2d Cir.1993). See also Daniel R. Fisher,         No. 93 Civ. 5024, 1994 WL 177745, at *6 (S.D.N.Y. May
The Economics of Lender Liability, 99 Yale L.J. 131,            6, 1994).
146–147 (1989). Nor has Genna pled facts to suggest
that, despite the general rule, there exists in this case a     Sallie Mae's motion to dismiss Counts 4 and 6 is granted.
fiduciary relationship “based upon trust or confidence
by one person in the integrity and fidelity of another.”
Penato v. George, 52 A.D.2d 939, 383 N.Y.S.2d 900, 904             e. Breach of Contract and Promissory Estoppel (Count
(Sup.Ct.1976).                                                     7)
                                                                To establish a prima facie case for breach of contract, a
Count 3 is hereby is dismissed.                                 plaintiff must plead and prove the existence of a contract,
                                                                a breach of that contract, and damages resulting from
                                                                the breach. RIJ Pharm. Corp. v. Ivax Pharms., Inc., 322
  d. Negligent Misrepresentation (Counts 4 and 6)               F.Supp.2d 406, 412 (S.D.N.Y.2004). As Genna frames his
 *5 To sustain a negligent misrepresentation claim under        claim, Sallie Mae breached the loan agreement “by failing
New York law—Genna's third count—a plaintiff must               to accept [Genna's] payment, which payment was duly
prove that “(1) the defendant had a duty, as a result           offered on four distinct occasions, in accordance with the
of a special relationship, to give correct information; (2)     terms provided by [Sallie Mae].” Compl. ¶ 50.
the defendant made a false representation that he or she
should have known was incorrect; (3) the information            Genna's claim does not withstand scrutiny. Genna has
supplies in the representation was known by the defendant       simply failed to plead any facts that suggest that he offered
to be desired by the plaintiff for a serious purpose; (4)       to pay “on four distinct occasions.” Genna, it is true,
the plaintiff intended to rely and act upon it; and (5) the     repeatedly attempted to enroll in auto-debit, but this is not
plaintiff reasonably relied on it to her detriment.” Hydro      the same as offering to make payments, since—as Genna
Investors, Inc. v. Trafalgar Power Inc., 227 F.3d 8, 20 (2d     himself concedes—he was able to pay manually. Compl. ¶
Cir.2000). Genna, we conclude, has not adequately pled a        26. Without allegations that Sallie Mae refused payment
“special relationship” in satisfaction of prong (1).            altogether—an entirely different claim that might warrant



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a different outcome—Genna's breach of contract claim             Sallie Mae's telephonic statement that it was enrolling
fails. We now turn to Genna's promissory estoppel claim,         Genna in auto-debit and granting him a 60–day
                                                                 forbearance was clear and unambiguous. Genna
 *6 Under New York law, it is “impermissible to seek             foreseeably relied insofar as he assumed that Sallie
damages in an action sounding in quasi contract where            Mae would not enforce the repayment of his debt
the suing party has fully performed on a valid written           for approximately two months, and that, presumably,
agreement, the existence of which is undisputed, and             his enrollment in auto-debit would serve to settle any
the scope of which clearly covers the dispute between            outstanding payments accounts. With respect to Genna's
the parties,” Clark–Fitzpatrick, Inc. v. Long Island R.R.        injury, this Court found, supra III.b., that the damages
Co., 70 N.Y.2d 382, 389, 516 N.E.2d 190, 521 N.Y.S.2d            Genna seeks are more than the merely expectation
653 (1987). In other words, “[t]he existence of a valid          damages; or, in the language of 720 Lex Acquisitions,
and enforceable written contract governing a particular          that Genna seeks more than “lost profits, lost fees,
subject matter ordinarily precludes recovery in quasi            foregone business opportunities, or damage to business
contract for events arising out of the same subject matter.”     reputation.” Under the Merex definition, Genna's injury
Altomare v. Wells Fargo Sec., LLC, 09 Civ. 9702, 2012            is deemed unconscionable.
U.S. Dist. LEXIS 19209, at *34–35, 2012 WL 489200
(S.D.N.Y. Feb. 15, 2012) (citation omitted).                     *7 Sallie Mae's motion to dismiss Count 7 is denied.

In this case, however, the scope of the contract does
not cover this dispute, since—as Sallie Mae itself asserts          f. Unfair Practices (Count 8)
—“there is no language in the contract requiring Sallie          “General Business Law § 349 prohibits deceptive and
Mae to accept payment in any particular manner, or               misleading business practices and its scope is broad
providing any terms regarding a method for payment.”             indeed.” Wilner v. Allstate Inc. Co., 71 A.D.3d 155, 893
Sallie Mae Brief 5. As such, assuming that Genna meets           N.Y.S.2d 208, 212 (2d Dep't 2010). A plaintiff asserting
the three elements for promissory estoppel under New             a § 349 claim must prove “that the challenged act or
York law he is entitled to proceed on a quasi contract           practice was consumer-oriented; ... that it was misleading
theory.                                                          in a material way; [and] that the plaintiff suffered injury
                                                                 as a result of the deceptive act.” Stutman v. Chem. Bank,
In New York, a plaintiff asserting promissory estoppel           95 N.Y.2d 24, 731 N.E.2d 608, 611, 709 N.Y.S.2d 892
must prove, “a clear and unambiguous promise; a                  (N.Y.2000).
reasonable and foreseeable reliance by the party to whom
the promise is made, and an injury sustained by the              In order to satisfy the first prong, a plaintiff must allege
party asserting the estoppel by reason of the reliance.”         facts suggesting that defendant's conduct has or had a
Cyberchron Corp. v. Calldata Sys. Dev., 47 F.3d 39, 44           “broad impact on consumers at large.” USAlliance Fed.
(2d Cir.1995) (quotation marks and citations omitted).           Credit Union v. CUMIS Inc. Soc'y, Inc., 346 F.Supp.2d
The injury, moreover, must be “unconscionable,” defined          468, 471 (S.D.N.Y.2004). In other words, claims arising
by courts in this circuit as “beyond that which flows            from private disputes that are unique to the parties are
naturally from the non-performance of the unenforceable          not actionable. See FLB, LLC v. 5Linx, No. 06 Civ. 6463,
agreement.” Merex A.G. v. Fairchild Weston Sys., 29 F.3d         2011 U.S. Dist. LEXIS 51975, at *29, 2011 WL 1871218
821, 826 (2d Cir.1994). For example, where the injury is         (W.D.N.Y. May 13, 2011). Genna alleges that Sallie Mae
“lost profits, lost fees, foregone business opportunities, or    “deceives the public generally and not just Plaintiff by
damage to business reputation,” courts in this circuit have      suggesting that their customers are not entitled to methods
rejected as not sufficiently unconscionable promissory           of payment stated on their website.” Genna Brief 14.
estoppel claims. See, e.g., 720 Lex Acquisition LLC v.           Standing alone, however, this statement is conclusory.
Guess? Retail, Inc., No. 09 Civ. 7199, 2011 U.S. Dist.           Absent further facts suggesting that this is more than an
LEXIS 123180, at *11, 2011 WL 5039780 (S.D.N.Y. Oct.             isolated event between the parties—that this was in fact a
20, 2011).                                                       deceptive business practice aimed at the public—we must
                                                                 dismiss Count 8 for failure to state a claim under § 349.
                                                                 See Corazzini v. Litton Loan Servicing LLP, No. Civ., 2010



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U.S. LEXIS 27398, *19–21, 2010 WL 1132683 (N.D.N.Y.                         will be interpreted according to the Higher Education
Mar. 23, 2010).                                                             Act of 1965, as amended (20 U.S.C. 1070 et seq.),
                                                                            other applicable federal statutes and regulations, and
Sallie Mae's motion to dismiss Count 8 is granted.                          the guarantor's policies. Applicable state law, except
                                                                            as preempted by federal law, may provide for certain
                                                                            borrower rights, remedies, and defenses in additional
  g. Preemption                                                             to those stated in this Note.” Genua Brief Ex. C, at 5.
We turn, last, to Sallie Mae's argument that Genna's
causes of action in tort and contract are preempted by                  2. Express Preemption
the Higher Education Act of 1965, 20 U.S.C. §§ 1001–115               *8 The next question, then, is whether the Higher
(“HEA”). If Sallie Mae is correct, we must dismiss Genna's           Education Act expressly preempts the above state
case.                                                                common law tort and contract claims against third-
                                                                     party loan servicers. Sallie Mae has not directed this
The Supremacy Clause of the United States Constitution               Court to any expressly preemptive statutory language,
provides that federal law “shall be the supreme Law                  though the HEA does, in fact, contain language that
of the Land.” U.S. Const. art. VI, cl. 2. The Supreme                expressly preempts state law in a limited number of
Court, in interpreting that clause, has held that “state             areas, See, e.g., 20 U .S.C. §§ 1078(d), 1091a(a)(2)(b),
laws that conflict with federal law are without effect.”             1091a(b)(1)-(3), 1095a(a), 1098g. Congress, these sections
Altria Group, Inc. v. Good, 555 U.S. 70, 129 S.Ct. 538, 543,         clarify, intended the HEA to preempt state usury laws,
172 L.Ed.2d 398 (2008) (citation and quotations marks                statutes of limitations, limitations on recovering the costs
omitted). Federal preemption occurs where Congress has               of debt collection, contractual infancy defenses, wage
“explicitly stated [as much] in the statute's language,”             garnishment limitations, and disclosure requirements.
where state law “actually conflicts with federal law,” or
where “federal law so thoroughly occupied a legislative              The only statutory section that might conceivably apply
field as to make reasonable inference that Congress left no          to the instant case is § 1098g, which reads that “[l]oans
room for the States to supplement it.” Cipollone v. Liggett          made, insured, or guaranteed pursuant to a program
Group, 505 U.S. 504, 516, 112 S.Ct. 2608, 120 L.Ed.2d 407            authorized by title VI of the Higher Education Act of
(1992) (citations and internal quotation marks omitted).             1965 shall not be subject to any disclosure requirements of
Our inquiry addresses each type in turn.                             state law.” In Chae, the Ninth Circuit found that § 1098g
                                                                     expressly preempted plaintiffs' misrepresentation claims.
                                                                     Chae, 593 F.3d at 942–944. The plaintiffs in Chae had
   1. Field Preemption                                               argued that “Sallie Mae employs ‘unfair and ‘fraudulent’
Turning first to the third type of preemption, field                 business practices by using billing statements and coupon
preemption, it is clear that there is none. No court in              books that trick borrowers into thinking that interest is
any circuit that has considered the matter—and certainly             bring calculated via the installment method when Sallie
not the Court of Appeals for the Ninth Circuit, which                Mae really uses simple daily calculation.” Chae, 593
Sallie Mae cites in support of its argument—has found                F.3d at 943. Plaintiffs allegations, in other words, were
that field preemption applies to the HEA. Chae v. SLM                that the forms, coupon books, and billing statements
Corp., 593 F.3d 936, 941–942 (9th Cir.2010) (finding that            used by Sallie Mae misrepresented the truth. The Ninth
“field preemption does not apply to the HEA”). See also              Circuit reasoned, in finding express preemption, that
Armstrong v. Accrediting Council for Continuing Educ.                “[a]t bottom, the plaintiffs' misrepresentations claims
and Training, Inc., 168 F.3d 1362, 1369 (D.C.Cir.1999)               are improper-disclosure claims.” Id. at 942. Because
(“federal education policy regarding [private lending to             the billing statements, coupon books and standardized
students] is not so extensive as to occupy the field”). We           forms used by Sallie Mae—and challenged by the
see no reason to disturb these rulings. 3                            plaintiffs—complied with federal regulations governing
                                                                     such instruments, then, ipso juris, such billing statements
3                                                                    and standardized forms could not “simultaneously be
       We are also mindful, in this case, that the loan
       agreement here contemplates that the HEA should
                                                                     misleading under state law.” Id. at 942.
       not be interpreted as preempting all state law. It
       states, in applicable part, that “[t]he terms of this Note


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The Ninth Circuit's logic is unassailable, but it has            110 S.Ct. 2270, 110 L.Ed.2d 65 (1990) (internal quotations
no application to the facts of this case. In Chae,               marks and citations omitted).
the plaintiffs challenged written statements that were
explicitly regulated and sanctioned by federal law. In           “[W]hen interpreting statutes, context matters.” Shady
contrast, the statements at issue here were neither              Grove Orthopedia Assocs., P.A. v. Allstate Ins. Co., –––
authorized by the Secretary of Education nor conformed           U.S. ––––, –––– n. 16, 130 S.Ct. 1431, 1457 n. 16, 176
to any explicit dictates of federal law. There is nothing in     L.Ed.2d 311 (2010). Sallie Mae seizes on the following
the HEA that standardizes or coordinates how a customer          expansive language, taken from the Federal Register,
service representative of a third-party loan servicer like       attributed to Lauro Cavasos, the Secretary of Education
Sallie Mae shall interact with a customer like Genna             at the time, and quoted in Chae: “[E]xposure to lawsuits
in the day-to-day servicing of his loan outside of the           under fifty separate sets of laws and court systems could
circumstance of pre-litigation informal collection activity.     make lenders reluctant to make new federally-guaranteed
Sallie Mae has not shown that § 1098g, or anything else in       student loans.” Chae, 593 F.3d at 945 (quoting Brannan
the HEA, expressly preempts Genna's claims.                      v. United States Aid Funds, Inc., 94 E3d 1260, 1264 (9th
                                                                 Cir.1996)). Armed with this decontextualized fragment,
                                                                 Sallie Mae argues that state law claims must be preempted
   3. Conflict Preemption                                        lest they interfere with the levers and pulleys of the federal
We move on to conflict preemption. Conflict preemption           statutory scheme. But this argument cuts too broad a
of state law occurs “where it is impossible for a private        swath. As is clear from examining the source of the
party to comply with both state and federal law” or where        citation, Secretary Cavasos was concerned with the effect
state law “stands as an obstacle to the accomplishment           of state law on “actions to collect loans,” on “collection
and execution of the full purposes and objectives of             action,” and on “collection practices”—not with the effect
Congress.” Crosby v. Nat'l Foreign Trade Council, 530            of state law on loan servicing. 55 FR 40120. To read it
U.S. 363, 372–73, 120 S.Ct. 2288, 147 L.Ed.2d 352 (2000)         more broadly than what is clearly set out in the Federal
(internal quotations omitted). Under the second inquiry          Register, as Sallie Mae urges us to do, would be, in effect,
—the “purposes and objectives” inquiry—the question to           to find field preemption, which precedent precludes us
be asked and answered is “whether the state law interferes       from doing.
with a method the federal law uses to promote its goal.”
United States Smokeless Tobacco Mfg. Co., LLC v. City            Sallie Mae all but concedes our reading. It cites Brannan
of New York, 703 F.Supp.2d 329, 334 (S.D.N.Y.2010)               v. United States Aid Funds, Inc., 94 F.3d 1260, 1264 (9th
(quoting Int'l Paper Co. v. Ouellette, 479 U.S. 481, 494, 107    Cir.1996), for the proposition that “any state law claim
S.Ct. 805, 93 L.Ed.2d 883 (1987)). “[S]tate causes of action     prohibiting, restricting, or imposing burdens on any pre-
are not pre-empted solely because they impose liability          litigation activity of a third-party debt collector acting
over and above that authorized by federal law.” California       pursuant to the guaranteed student loan regulations is
v. ARC America Corp., 490 U.S. 93, 105, 109 S.Ct. 1661,          preempted by federal law” Sallie Mae Brief 15 (quoting
104 L.Ed.2d 86 (1989) (internal citations omitted).              Brannan, 94 F.3d at 1266). But Brannan, as the above
                                                                 quote makes plain, was a case about debt collection,
 *9 Before moving on to Sallie Mae's arguments,                  not loan servicing. These are separate activities, a fact
an observation. Our conflict preemption analysis is—             acknowledged by Secretary Cavasos who declared that the
and, indeed, must be—informed by the well-established            scope of preemption was “narrowly tailored” and that it
principle that, because Genna's claims in tort and contract      “only applie [d] to action to collect loans” and to nothing
fall squarely within New York's long-established police          else. 55 FR 40120.
power regulations, we review Sallie Mae's arguments in
light of the presumption against preemption. Cipollone,          Sallie Mae's arguments are without merit: Genna's claims
505 U.S. at 518. “Congress,” the United States Supreme           are not preempted by the HEA.
Court has made plain, “does not cavalierly preempt state
law.” Medtronic v. Lohr, 518 U.S. 470, 485, 116 S.Ct.
2240, 135 L.Ed.2d 700 (1996). In cases like this one, “pre-      IV. Conclusion
emption is ordinarily not to be implied absent an actual
conflict.” English v. General Elec. Co., 496 U.S. 72, 90,


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For the foregoing reasons, Sallie Mae's motion to dismiss         of REFERRING this case to Magistrate Judge Frank
                                                                  Maas in the hope that the parties can resolve the dispute
Counts 3, 4, 6, and 8 is GRANTED and its motion to
                                                                  consensually.
dismiss the remaining Counts is DENIED. 4

4      This Court has considered all of the parties' other        SO ORDERED.
       arguments and found them to be moot or without
       merit.                                                     All Citations

 *10 Noting the absence, at this stage of the litigation,         Not Reported in F.Supp.2d, 2012 WL 1339482
of significant factual dispute, we take the additional step

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                                                           on behalf of themselves and all others similarly situated
                                                           against Defendant Gerber Products Co., doing business
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                                                           as Nestlé Nutrition, Nestlé Infant Nutrition or Nestlé
   Only the Westlaw citation is currently available.
                                                           Nutrition North America on March 8, 2016. (Greene
            United States District Court,
                                                           Compl., Docket Entry No. 1.) Several months later, on
                  E.D. New York.
                                                           January 6, 2017, Plaintiff Wendy Manemeit commenced
      Jeremy GREENE and Cetaria Wilkerson,                 a nearly identical putative class action on behalf of herself
           on behalf of themselves and all                 and all others similarly situated, and against the same
         others similarly situated, Plaintiffs,            Defendant, Gerber Products Co. (Manemeit Compl.,
                           v.                              Docket Entry No. 1.) 1 The Greene Plaintiffs allege
       GERBER PRODUCTS CO., d/b/a Nestlé                   violations of (1) the Ohio Consumer Sales Practices Act,
                                                           Ohio Rev. Code Ann. §§ 1345.01 et seq. (“OCSPA”), (2)
     Nutrition, Nestlé Infant Nutrition or Nestlé
                                                           the Ohio Deceptive Trade Practices Act, Ohio Rev. Code
        Nutrition North America, Defendant.
                                                           Ann. §§ 4165.01 et seq. (“ODTPA”), and (3) the North
        Wendy Manemeit, on behalf of herself
                                                           Carolina Deceptive Trade Practices Act, N.C. Gen. Stat.
      and all others similarly situated, Plaintiff,        Ann. §§ 75–1.1 et seq. (“NCDTPA”). (Greene Compl. ¶
                           v.                              14.) Manemeit alleges violations of sections 349 and 350 of
         Gerber Products Co., d/b/a Nestlé                 New York's General Business Law (“GBL”). (Manemeit
     Nutrition, Nestlé Infant Nutrition or Nestlé          Compl. ¶¶ 93–108.) Plaintiffs 2 also bring common-
       Nutrition North America, Defendant.                 law claims for fraudulent concealment, intentional
                                                           misrepresentation, negligent misrepresentation and unjust
                  16–CV–1153 (MKB)
                                                           enrichment, based on Defendant's advertising and
                          |
                                                           marketing of its “Good Start” line of infant formula
                   17–CV–93 (MKB)
                                                           (the “Infant Formula”). (Greene Compl. ¶ 14; Manemeit
                          |
                                                           Compl. ¶ 14.) Plaintiffs allege that Defendant's advertising
                  Signed 08/02/2017
                                                           and marketing misrepresent that Defendant's Infant
Attorneys and Law Firms                                    Formula reduces the risk that infants will develop
                                                           allergies, and also misrepresent that the Infant Formula
Brett H. Cebulash, Kevin S. Landau, Miles Greaves,         is the first and only infant formula that the Food and
Taus, Cebulash & Landau, LLP, George Volney Granade,       Drug Administration (the “FDA”) endorses to reduce
II, Michael Robert Reese, Reese LLP, New York, NY,         the risk of infants developing allergies. (Greene Compl.
Eric Lechtzin, Sarah R. Schalman–Bergen, Shanon J.         ¶¶ 2–3.) Plaintiffs seek actual, statutory and punitive
Carson, Berger & Montague, PC, Philadelphia, PA,           damages, restitution and disgorgement, and injunctive
John A. Yanchunis, Marisa Kendra Glassman, Morgan          relief. (Greene Compl. 38; Manemeit Compl. 33.)
& Morgan Complex Litigation Group, Tampa, FL, E.
Michelle Drake, Berger & Montague PC, Minneapolis,         1      The Court refers to the complaint in Greene, 16–
MN, for Plaintiffs.                                               CV–1153, as the “Greene Complaint,” and to the
                                                                  complaint in Manemeit, 17–CV–93, as the “Manemeit
Geoffrey White Castello, III, Kelley Drye & Warren LLP,
                                                                  Complaint.” A separate class of plaintiffs from
Parsippany, NJ, Jaclyn Marie Metzinger, Kelly Drye &              Wisconsin and Florida filed a nearly identical
Warren LLP, New York, NY, for Defendant.                          complaint against Defendant that is currently
                                                                  pending before this Court, is based on the same
                                                                  underlying facts and asserts similar claims under
            MEMORANDUM & ORDER                                    other state consumer protection laws. See Hasemann
                                                                  v. Gerber Prods. Co., No. 15-CV-2995, 2016 WL
MARGO K. BRODIE, United States District Judge:                    5477595 (E.D.N.Y. Sept. 28, 2016).
                                                           2      The Court refers to the Greene and Manemeit
 *1 Plaintiffs Jeremy Greene and Cetaria Wilkerson (the
“Greene Plaintiffs”) commenced a putative class action            Plaintiffs collectively as “Plaintiffs.”




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Defendant moves to dismiss or stay the Greene action,                  the same facts are set forth in each. The Court cites to
only, pursuant to the primary jurisdiction doctrine.                   the Greene Complaint for ease of reference.
Defendant also moves to dismiss Plaintiffs' claims for
injunctive relief pursuant to Rule 12(b)(1) of the Federal
                                                                            a. Defendant's applications to FDA
Rules of Civil Procedure, strike the nationwide class
allegations and dismiss the Greene Complaint and the            Since at least 2011, Defendant has manufactured,
Manemeit Complaint pursuant to Rules 9(b) and 12(b)(6)          distributed and sold the Infant Formula, and has
of the Federal Rules of Civil Procedure. 3                      advertised the Infant Formula through television, print
                                                                media, product labeling and on the Internet. (Greene
3      (Def. Mot to Dismiss (“Def. Mot.”), Docket Entry         Compl. ¶ 32.) The Infant Formula contains partially
       No. 22; Def. Mem. in Supp. of Def. Mot. (“Def.           hydrolyzed whey protein, which is the ingredient that is
       Mem.”), Docket Entry No. 23; Decl. of Geoffrey           purportedly responsible for the Infant Formula's ability to
       Castello in Supp. of Def. Mot. (“Castello Decl.”),       reduce the risk of developing allergies. (Id. ¶¶ 5, 8–9.)
       Docket Entry No. 24; Def. Reply in Further Supp.
       of Def. Mot. (“Def. Reply”), Docket Entry No.            In June of 2005, Defendant petitioned the FDA for
       26; Manemeit Def. Mot to Dismiss (“Manemeit
                                                                approval of a qualified health claim 5 to use in its
       Def. Mot.”), Docket Entry No. 18; Mem. in Supp.
       of Manemeit Def. Mot. (“Manemeit Def. Mem.”),
                                                                marketing of the Infant Formula. (Id. ¶ 40.) Defendant
       Docket Entry No. 19; Decl. of Geoffrey Castello          sought approval to state that “emerging clinical research
       in Supp. of Manemeit Def. Mot. (“Castello Decl.          in healthy infants with family history of allergy shows
       Manemeit Mot.”), Docket Entry No. 20; Def. Reply         that feeding a 100% Whey–Protein Partially Hydrolyzed
       in Further Supp. of Manemeit Def. Mot. (“Manemeit        formula may reduce the risk of common food allergy
       Def. Reply”), Docket Entry No. 22.)                      symptoms, particularly allergic skin rash.” (Id.) The FDA
 *2 The Court consolidates the Greene and Manemeit              denied Defendant's petition on May 11, 2006, concluding
actions for purposes of deciding this motion. For the           that there was “no credible evidence to support the
reasons set forth below, the Court declines to dismiss          qualified health claim relating consumption of 100 percent
or stay the Greene Complaint pursuant to the primary            partially hydrolyzed whey protein in infant formula to a
jurisdiction doctrine, grants Defendant's motion to             reduced risk of food allergy.” (Id. ¶ 41.)
dismiss Plaintiffs' claims under the OCSPA and ODTPA,
and denies Defendant's motion to dismiss Plaintiffs' claims     5      The FDA can approve a “health claim” or a
under the NCDTPA. As to the Manemeit Complaint, the                    “qualified health claim” under certain circumstances,
Court denies Defendant's motion to dismiss the claims                  allowing companies to make certain health claims
brought pursuant to sections 349 and 350 of the GBL.                   about their products in the labeling of said products.
As to the Greene and Manemeit Complaints, the Court                    A “health claim” is “any claim made on the label or in
                                                                       labeling of a food ... that expressly or by implication ...
finds that Plaintiffs lack standing to seek injunctive
                                                                       characterizes the relationship of any substance to a
relief; grants Defendant's motion to dismiss the unjust
                                                                       disease or health-related condition.” (Greene Compl.
enrichment claims; denies Defendant's motion to strike
                                                                       ¶ 33 (quoting 21 C.F.R. § 101.14(a)(1)).) Before a
the nationwide class allegations; and denies Defendant's               health claim can be used in labeling a product, the
motion to dismiss the fraudulent concealment, intentional              FDA must review and approve any such health claim.
misrepresentation and negligent misrepresentation claims.              (Id. ¶ 36.) The FDA can approve a health claim
                                                                       if it determines that there is “significant scientific
                                                                       agreement” that the claim is supported by scientific
  I. Background                                                        evidence. (Id. ¶ 34.) “In the absence of ‘significant
The facts alleged in the Greene Complaint and Manemeit                 scientific agreement’ [as to a health] claim, the
Complaint are assumed to be true for the purpose of this               FDA may nevertheless allow a company to make
motion. 4                                                              a ‘qualified health claim’ if it is supported by less
                                                                       scientific evidence.” (Id. ¶ 35.) When the FDA permits
                                                                       a company to make a qualified health claim, the
4      Except as to the statutory claims in each, the Greene           FDA issues “a letter outlining the circumstances
       and Manemeit Complaints are nearly identical, and               under which it intends to consider exercising its



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       enforcement discretion not to challenge the qualified                months of age instead of a formula containing
       health claim.” (Def. Mem. 4); see generally Fleminger,               intact cow's milk proteins may reduce the risk
       Inc. v. U.S. Dep't of Health & Human Servs., 854                     of developing atopic dermatitis throughout the
       F.Supp.2d 192, 200 (D. Conn. 2012) (explaining the                   1st year of life and up to 3 years of age.
       FDA's process for analyzing and approving qualified                  FDA has concluded that the relationship between
       and unqualified health claims).                                      100% Whey–Protein Partially Hydrolyzed infant
                                                                            formulas and the reduced risk of atopic dermatitis
In May of 2009, Defendant again petitioned the FDA to
                                                                            is uncertain, because there is very little scientific
approve a qualified health claim, stating:
                                                                            evidence for the relationship.”
             *3 emerging clinical research                                  4. “For healthy infants who are not exclusively
                                                                            breastfed and who have a family history of
            shows that, in healthy infants with
                                                                            allergy, feeding a 100% Whey–Protein Partially
            family history of allergy, feeding
                                                                            Hydrolyzed infant formula from birth up to 4
            a 100% Whey–Protein Partially
                                                                            months of age instead of a formula containing
            Hydrolyzed infant formula instead                               intact cow's milk proteins may reduce the risk
            of a formula containing intact cow's                            of developing atopic dermatitis throughout the
            milk proteins may reduce the risk                               1st year of life. FDA has concluded that the
            of developing the most common                                   relationship between 100% Whey–Protein Partially
            allergic disease of infancy—atopic                              Hydrolyzed infant formulas and the reduced risk of
            dermatitis—throughout the 1st year                              atopic dermatitis is uncertain, because there is little
            of life and up to 3 years of age.                               scientific evidence for the relationship.”
                                                                          (Greene Compl. ¶ 45.) In addition, the FDA explained
(Id. ¶ 42.) The FDA determined that this claim                            that the use of any of the four claims would have to
mischaracterized the scientific evidence and was therefore                be accompanied by the following statement:
misleading. (Id. ¶ 43.) The FDA instead proposed four                       Partially hydrolyzed formulas should not be fed to
alternative qualified health claims, over which it would                    infants who are allergic to milk or to infants with
consider exercising its enforcement discretion not to                       existing milk allergy symptoms. If you suspect your
                                                                            baby is already allergic to milk, or if your baby is on
challenge the qualified health claim. 6 (Id. ¶ 45.)                         a special formula for the treatment of allergy, your
                                                                            baby's care and feeding choices should be under a
6      The FDA proposed the following four alternative                      doctor's supervision.
       qualified health claims:                                           (FDA Letter dated May 24, 2011 (“FDA 2011
         1. “Very little scientific evidence suggests that, for           Letter”), annexed to Castello Decl. as Ex. 1.)
         healthy infants who are not exclusively breastfed
         and who have a family history of allergy, feeding
         a 100% Whey–Protein Partially Hydrolyzed infant               b. The alleged false and misleading representations
         formula from birth up to 4 months of age instead
         of a formula containing intact cow's milk proteins         *4 Plaintiffs allege that, “since at least 2011,” Defendant
         may reduce the risk of developing atopic dermatitis       has marketed and advertised the Infant Formula using
         throughout the 1st year of life and up to 3 years of      false and misleading representations. (Id. ¶ 55.) Plaintiffs
         age.”                                                     allege six examples of the allegedly false and misleading
         2. “Little scientific evidence suggests that, for         representations: a statement on the seal of the Infant
         healthy infants who are not exclusively breastfed
                                                                   Formula that it is the “1 st & only routine formula
         and who have a family history of allergy, feeding
                                                                   to reduce the risk of developing allergies,” (id. ¶ 56
         a 100% Whey–Protein Partially Hydrolyzed infant
                                                                   (capitalization omitted); Ex. C, annexed to Compl.); a
         formula from birth up to 4 months of age instead
         of a formula containing intact cow's milk proteins
                                                                   statement on the label of the Infant Formula that it is
         may reduce the risk of developing atopic dermatitis       “the first and only formula brand made from 100% whey
         throughout the 1st year of life.”                         protein hydrolyzed, and that meets the criteria for a FDA
         3. “For healthy infants who are not exclusively           Qualified Health Claim for atopic dermatitis,” (Compl.
         breastfed and who have a family history of                ¶¶ 57, 59; Ex. D, annexed to Compl.); a television
         allergy, feeding a 100% Whey–Protein Partially            commercial stating in relevant part: “You want your
         Hydrolyzed infant formula from birth up to 4              Gerber baby to have your imagination ... your smile ...



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your eyes ... not your allergies.... [I]f you introduce            As to the representation that the Infant Formula meets
formula, choose the Gerber Good Start Comfort Proteins             the criteria for an FDA qualified health claim for atopic
Advantage,” (Compl. ¶ 60 (alterations in original); Ex. E,         dermatitis, Plaintiffs allege that this representation is
annexed to Compl.); a print advertisement stating:                 deceptive because it “implies that the FDA fully endorsed
                                                                   Defendant's atopic-dermatitis claims, despite the fact that
  The Gerber Generation says “I love Mommy's eyes, not             the FDA's endorsement was strictly reserved to claims
  her allergies.”                                                  indicating that there was ‘little’ or ‘very little’ evidence
                                                                   supporting the link between Good Start and atopic
  If you have allergies in your family, breastfeeding your
                                                                   dermatitis.” (Id. ¶ 57.) In addition, by not including the
  baby can help reduce their risk. And, if you decide
                                                                   language of one of the four qualified health claims and
  to introduce formula, research shows the formula you
                                                                   by using the FDA term of art “qualified health claim”
  first provide your baby may make a difference. In the
                                                                   to suggest that the Infant Formula was endorsed by the
  case of Gerber® Good Start® Gentle Formula, it's the
                                                                   FDA for a particular purpose, Defendant “falsely or
  Comfort Proteins® Advantage that is easy to digest and
                                                                   misleadingly implied that Good Start would unqualifiedly
  may also deliver protective benefits.
                                                                   reduce the risk of atopic determatitis.” (Id. ¶¶ 57–58.)
(Compl. ¶ 61; Ex. F, annexed to Compl.); and two
additional print advertisements stating that it is the “the
first and only infant formula that meets the criteria for a                          c. FDA warning letter
FDA Qualified Health Claim.” (Compl. ¶¶ 62–63; Ex. G,
annexed to Compl.; Ex. H, annexed to Compl.)                        *5 On October 31, 2014, the FDA sent a warning letter to
                                                                   Defendant's President and CEO “outlining various false
According to Plaintiffs, these statements can be                   and misleading representations made in the promotion
categorized as making two deceptive representations: (1)           of [the Infant Formula]” (the “FDA Warning Letter”).
that the Infant Formula reduces the risk that infants              (Id. ¶ 68.) After reviewing the labeling on the Infant
will develop allergies, and (2) that the Infant Formula            Formula that was sold as a 23.2 ounce milk-based powder,
meets the criteria for an FDA qualified health claim               the FDA concluded that the labeling on the Infant
for atopic dermatitis. As to the representation that the           Formula bore “health claims that were not authorized
Infant Formula “reduce[s] the risk of [infants] developing         by FDA” and that “the labeling [was] misleading.” 7
allergies,” Plaintiffs allege that it is false because the         (FDA Warning Letter 1, annexed to Castello Decl. as
FDA rejected this claim in May 2006, and the scientific            Ex. 3.) The FDA also noted that it had “previously
evidence demonstrates that this claim is false. (Compl.            considered and denied” the statement on the label of the
¶¶ 56, 60.) In support of this argument, Plaintiffs allege
                                                                   Infant Formula that it was the “1 st & only routine
that several scientific studies have concluded that partially
                                                                   formula to reduce risk of developing allergies.” (Id. at
hydrolyzed whey protein does not lower the risk that
                                                                   2 (capitalization omitted).) The FDA acknowledged that
infants will develop allergies. (Id. ¶¶ 46–52.) Plaintiffs cite
                                                                   consistent with the FDA's four proposed qualified health
to a June of 2011 study by Adrian Lowe, Ph.D., University
                                                                   claims, Defendant's labeling and website both stated that
of Melbourne and Melbourne Royal Children's Hospital
                                                                   there was “limited evidence” that partially hydrolyzed
(“the Lowe Study”), which concluded that “[t]here was no
                                                                   whey protein can reduce the risk of infants developing
evidence that introducing pHWF [ (partially hydrolyzed
                                                                   atopic dermatitis, (id. at 2–3), but nevertheless concluded
whey formula) ] at the cessation of breast-feeding reduced
                                                                   that by failing to include the qualifying statement about
the risk of allergic manifestations, including eczema,
                                                                   the infants with existing milk allergies, as required by the
asthma, and allergic rhinitis, in [a] study of high-risk
                                                                   FDA, Defendant failed to provide “essential information
infants.” (Id. ¶ 47 (alterations in original) (quoting Adrian
                                                                   necessary to ensure the safety of consumers,” (id. at 3–
J. Lowe, Effect of a Partially Hydrolyzed Whey Infant
                                                                   4). Because Defendant failed to include the qualifying
Formula at Weaning on Risk of Allergic Disease in High–
                                                                   statement on its website or on the labeling of the Infant
Risk Children: A Randomized Controlled Trial, 128 J.
                                                                   Formula, the FDA concluded that Defendant's qualified
Allergy & Clinical Immunology 2, 360–65 (2011)).)
                                                                   health claim was misleading. (Id.)




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7      Because both complaints cite to and quote extensively       Slocum v. Gerber Prods. Co., No. 16–CV–4120, 2016 WL
       from the FDA Warning Letter, (see Compl. ¶¶ 68–             3983873 (W.D. Mo. Mar. 14, 2016); Zakaria v. Gerber
       71), the Court finds that the letter is incorporated        Prods. Co., No. 15-CV-200, 2015 WL 3827654 (C.D.
       by reference into the Greene Complaint and the              Cal. June 18, 2015); Nat'l Consumers League v. Gerber
       Manemeit Complaint. See DiFolco v. MSNBC Cable              Prods. Co., No. 14–CA–8202, 2015 WL 4664213 (D.C.
       L.L.C., 622 F.3d 104, 112 (2d Cir. 2010) (noting            Super. Ct. Aug. 8, 2015). In all four cases the plaintiffs
       that because the plaintiff referred in the complaint        allege that Defendant's representations that the Infant
       to certain e-mails, “the District Court could deem          Formula reduces the risk of developing allergies and
       them incorporated in the complaint and therefore            their representations that the FDA approved Defendant's
       subject to consideration” on a 12(b)(6) motion);
                                                                   health claims are false and misleading, respectively. See
       Madu, Edozie & Madu, P.C. v. SocketWorks Ltd.
                                                                   Hasemann, No. 15–CV–2995, complaint at ¶¶ 42–53;
       Nigeria, 265 F.R.D. 106, 123 (S.D.N.Y. 2010) (“To
                                                                   Zakaria, 2015 WL 3827654, at *1; Nat'l Consumers
       be incorporated by reference, the complaint must
       make ‘a clear, definite and substantial reference to the    League, slip op. at 3. 8
       documents.’ ” (quoting Helprin v. Harcourt, Inc., 277
       F.Supp.2d 327, 330–31 (S.D.N.Y. 2003))) The Court           8      The courts in both Zakaria and Nat'l Consumers
       also finds that because Plaintiffs repeatedly rely on
                                                                          League denied Defendant's motions to dismiss the
       the FDA Warning Letter in alleging their claims, the
                                                                          complaints in those actions. See Zakaria, 2015 WL
       letter is integral to the Greene Complaint and the
                                                                          3827654, at *2; Nat'l Consumers League, slip op. at 1.
       Manemeit Complaint. See Goel v. Bunge, Ltd., 820
                                                                          Slocum has been remanded to state court in Missouri.
       F.3d 554, 559 (2d Cir. 2016) (“A document is integral
                                                                          In Hasemann, which is before the Court, Defendant
       to the complaint ‘where the complaint relies heavily
                                                                          moved to dismiss the complaint. The Court granted
       upon its terms and effect.’ ” (quoting Chambers v.
                                                                          the motion in part and denied it in part on September
       Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002))).
                                                                          28, 2016. See Hasemann, 2016 WL 5477595, at *1.


             d. Litigation involving Defendant                                        e. Plaintiffs' purchases
On October 29, 2014, the Federal Trade Commission (the              *6 Plaintiffs allege that they reviewed the representations
“FTC”) filed a lawsuit against Defendant in the United             on the label of the Infant Formula and on Defendant's
States District Court for the District of New Jersey,              website stating that the Infant Formula reduces the risk
alleging that the Product's labeling and advertising are           that infants will develop allergies and that the FDA
false and deceptive (the “FTC Litigation”). (Compl. ¶ 66.);        has endorsed Defendant's qualified health claim. (Compl.
Fed. Trade Comm'n v. Gerber Prods. Co., No. 14–CV–                 ¶¶ 72–74; Manemeit Compl. ¶¶ 72–25.) Based on these
6771, 2014 WL 5510763 (D.N.J. Oct. 29, 2014). The FTC              representations, Plaintiffs purchased the Infant Formula
alleged that Defendant's representation that the Infant            in “canisters” for $18 in Ohio; for between $16 and $22
Formula reduces the risk of developing allergies is false          in North Carolina; and for $25 in New York. (Compl. ¶¶
or misleading and unsubstantiated. (Id. ¶ 67); Fed. Trade          72–74; Manemeit Compl. ¶ 72.) According to Plaintiffs,
Comm'n v. Gerber, complaint at ¶¶ 19–20. The FTC also              Defendant “inflated” the price of the Infant Formula
alleged that Defendant's representation on the labeling            by approximately forty-one percent based on its false
and in its advertising that the Infant Formula qualified for       and misleading representations. (Compl. ¶ 77; Manemeit
or received approval for a health claim from the FDA is            Compl. ¶ 77.) Plaintiffs assert that they would not have
false or misleading. (Compl. ¶ 67); Fed. Trade Comm'n v.           paid “these inflated prices” had they known that the Infant
Gerber, complaint at ¶¶ 22–23.                                     Formula does not reduce the risk that infants will develop
                                                                   allergies or that the FDA did not endorse Defendant's
Since the FTC filed its action against Defendant, four             qualified health claim. (Compl. ¶ 78; Manemeit Compl. ¶
other cases regarding the Infant Formula have been filed           79.)
against Defendant. (Greene Pls. Mem. of Law in Opp'n to
Def. Mot. (“Pls. Opp'n”) 5–6, Docket Entry No. 24; Def.
Mem. 1); see also Hasemann v. Gerber Prods. Co., No. 15-
CV-2995, 2016 WL 5477595 (E.D.N.Y. Sept. 28, 2016);                                     f. Proposed classes



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Plaintiff Greene asserts his claims on behalf of a class of
persons who purchased the Infant Formula in the state of
                                                                                     ii. Rule 12(b)(6)
Ohio from May 15, 2011 to the present (the “Ohio Class”).
(Compl. ¶ 79.) Plaintiff Wilkerson asserts her claims on        In reviewing a motion to dismiss under Rule 12(b)(6)
behalf of a class of persons who purchased the Infant           of the Federal Rules of Civil Procedure, a court must
Formula in the state of North Carolina from May 15,             construe the complaint liberally, “accepting all factual
2011 to the present (the “North Carolina Class”). (Id. ¶        allegations in the complaint as true and drawing all
80.) Plaintiff Manemeit asserts her claims on behalf of         reasonable inferences in the plaintiff's favor.” Concord
a class of persons who purchased the Infant Formula             Assocs., L.P. v. Entm't Prop. Trust, 817 F.3d 46, 52 (2d
in the state of New York from May 15, 2011 to the               Cir. 2016) (quoting Chambers v. Time Warner Inc., 282
present. (Manemeit Compl. ¶ 80.) Plaintiffs collectively        F.3d 147, 152 (2d Cir. 2002)); see also Tsirelman v. Daines,
bring claims on behalf of all persons who purchased the         794 F.3d 310, 313 (2d Cir. 2015) (quoting Jaghory v.
Infant Formula in the United States from May 15, 2011           N.Y. State Dep't of Educ., 131 F.3d 326, 329 (2d Cir.
to the present (the “Nationwide Class”). (Id. ¶ 81; Compl.      1997)). A complaint must plead “enough facts to state
¶ 81.)                                                          a claim to relief that is plausible on its face.” Bell Atl.
                                                                Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955,
                                                                167 L.Ed.2d 929 (2007). A claim is plausible “when the
  II. Discussion
                                                                plaintiff pleads factual content that allows the court to
                                                                draw the reasonable inference that the defendant is liable
                   a. Standards of review                       for the misconduct alleged.” Matson v. Bd. of Educ., 631
                                                                F.3d 57, 63 (2d Cir. 2011) (quoting Ashcroft v. Iqbal, 556
                                                                U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009));
                      i. Rule 12(b)(1)
                                                                see also Pension Ben. Guar. Corp. ex rel. St. Vincent
A district court may dismiss an action for lack of subject      Catholic Med. Ctrs. Ret. Plan v. Morgan Stanley Inv.
matter jurisdiction pursuant to Rule 12(b)(1) when the          Mgmt. Inc., 712 F.3d 705, 717–18 (2d Cir. 2013). Although
court “lacks the statutory or constitutional power to           all allegations contained in the complaint are assumed
adjudicate it.” Cortlandt St. Recovery Corp. v. Hellas          true, this principle is “inapplicable to legal conclusions”
Telecomms., S.À .R.L., 790 F.3d 411, 416–17 (2d Cir.            or “[t]hreadbare recitals of the elements of a cause of
2015) (quoting Makarova v. United States, 201 F.3d 110,         action, supported by mere conclusory statements.” Iqbal,
113 (2d Cir. 2000)); Shabaj v. Holder, 718 F.3d 48, 50          556 U.S. at 678, 129 S.Ct. 1937.
(2d Cir. 2013) (quoting Aurecchione v. Schoolman Transp.
Sys., Inc., 426 F.3d 635, 638 (2d Cir. 2005)). The plaintiff
has the burden to prove that subject matter jurisdiction                               iii. Rule 12(f)
exists, and in evaluating whether the plaintiff has met
that burden, “ ‘[t]he court must take all facts alleged in       *7 Rule 12(f) of the Federal Rules of Civil Procedure
the complaint as true and draw all reasonable inferences        provides that a court may “strike from a pleading ...
in favor of plaintiff,’ but ‘jurisdiction must be shown         any redundant, immaterial, impertinent, or scandalous
affirmatively, and that showing is not made by drawing          matter” sua sponte or “on motion made by a party.”
from the pleadings inferences favorable to the party            Fed. R. Civ. P. 12(f); see also Reynolds v. Lifewatch, Inc.,
asserting it.’ ” Morrison v. Nat'l Austl. Bank Ltd., 547        136 F.Supp.3d 503, 511 (S.D.N.Y. 2015) (applying same).
F.3d 167, 170 (2d Cir. 2008) (citations omitted), aff'd,        Rule 23(c)(1)(A) of the Federal Rules of Civil Procedure
561 U.S. 247, 130 S.Ct. 2869, 177 L.Ed.2d 535 (2010). A         “calls for a determination of ‘whether to certify the action
court may consider matters outside of the pleadings when        as a class action’ at ‘an early practicable time after a
determining whether subject matter jurisdiction exists.         person sues ... as a class representative.’ ” See id. at 511
M.E.S., Inc. v. Snell, 712 F.3d 666, 671 (2d Cir. 2013);        (internal quotation marks omitted) (quoting Emilio v.
Romano v. Kazacos, 609 F.3d 512, 520 (2d Cir. 2010).            Sprint Spectrum L.P., 68 F.Supp.3d 509, 514 (S.D.N.Y.
                                                                2014)). To succeed on a motion to strike class allegations,
                                                                a defendant must “demonstrate from the face of the
                                                                complaint that it would be impossible to certify the alleged


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class regardless of the facts the plaintiffs may be able to
obtain during discovery.” Mayfield v. Asta Funding, 95
                                                                              b. Primary jurisdiction doctrine
F.Supp.3d 685, 696 (S.D.N.Y. 2015) (alterations omitted);
cf. Calibuso v. Bank of Am. Corp., 893 F.Supp.2d 374,            Defendant moves pursuant to the primary jurisdiction
388 (E.D.N.Y. 2012) (“[T]he court finds that ... it would        doctrine to either dismiss or stay the Greene action
be futile to allow [the] plaintiffs to conduct discovery         pending resolution of the FTC Litigation. (Def. Mem.
because plaintiff's theory for class certification is simply     2.) Defendant argues that the FDA has promulgated
foreclosed.”).                                                   “a complex and comprehensive regulatory scheme
                                                                 governing misbrand, and food and beverage labeling in
“Motions to strike under Rule 12(f) are rarely successful.”      particular,” and that the FTC and FDA are both in a
Reynolds, 136 F.Supp.3d at 511; see also Belfiore v.             “far better position” to determine whether Defendant's
Procter & Gamble Co., 94 F.Supp.3d 440, 447 (E.D.N.Y.            representations are “improper.” (Id. at 18, 19.) The
2015) (“Courts rarely grant motions to strike pursuant           Greene Plaintiffs argue that the primary jurisdiction
to [Rule] 12(f).”); Emilio, 68 F.Supp.3d at 514 (“Motions        doctrine is inapplicable here because the FTC Litigation
to strike are viewed with disfavor and infrequently              does not involve technical issues within the agency's
granted.” (alterations and internal quotation marks              specialty and there is little risk that the FDA will issue
omitted)). This is particularly true in the class-action         guidance that conflicts with the current case. (Pls. Opp'n
context because a Rule 12(f) motion “requires a reviewing        20.) The Greene Plaintiffs also argue that the Court
court to preemptively terminate the class aspects of             already rejected the primary-jurisdiction argument in its
litigation, solely on the basis of what is alleged in the        earlier decision in Hasemann, 2016 WL 5477595. (Id. at
complaint, and before plaintiffs are permitted to complete       19.)
the discovery to which they would otherwise be entitled
on questions relevant to class certification.” Belfiore, 94       *8 The Court decided the applicability of the primary
F.Supp.3d at 447 (internal quotation marks omitted); see         jurisdiction doctrine to identical facts in Hasemann. In
also Emilio, 68 F.Supp.3d at 514 (same). As a result,            that case, as here, Defendant argued that the action should
“district courts in this Circuit have frequently found that      be dismissed or stayed pending the outcome of the FTC
a determination of whether Rule 23 requirements are              Litigation because the FTC and the FDA were in a
met is more properly deferred to the class certification         “far better position” to determine whether Defendant's
stage,” when the court has before it a more complete             misrepresentations were “improper.” Hasemann, 2016
factual record from which to make its determination.             WL 5477595, at *5. In weighing the factors relevant to
Mazzola v. Roomster Corp., 849 F.Supp.2d 395, 410                the primary jurisdiction doctrine in Hasemann, the Court
(S.D.N.Y. 2012). Stated differently, “motions to strike          determined that “only the fact that the FDA has discretion
class allegations are often denied as premature.” Reynolds,      to regulate the Infant Formula weighs in favor of applying
136 F.Supp.3d at 511; Chen–Oster v. Goldman, Sachs &             the primary jurisdiction doctrine, and this factor alone is
Co., 877 F.Supp.2d 113, 117 (S.D.N.Y. 2012) (“Generally          insufficient to support such an outcome.” Id. at *7. Thus,
speaking ... motions [to strike class allegations] are deemed    for the reasons set forth in Hasemann, the Court denies
procedurally premature.”); cf. Pilgrim v. Univ. Health           Defendant's motion to dismiss or stay the Greene action
Card, LLC, 660 F.3d 943, 949 (6th Cir. 2011) (“It is             pursuant to the primary jurisdiction doctrine. See id. at
only when no amount of discovery or time will allow for          *5–7.
plaintiffs to resolve deficiencies in class definitions under
Rule 23, that a motion to strike class allegations should be
granted.”). However, when a motion to strike “addresses
                                                                             c. Standing to seek injunctive relief
issues separate and apart from the issues that will be
decided on a class certification motion,” the motion to          Defendant argues that Plaintiffs are not entitled to
strike may not be premature. Chen–Oster, 877 F.Supp.2d           injunctive relief because they fail to allege that they
at 117 (internal quotation marks omitted).                       will purchase the Infant Formula in the future, and
                                                                 therefore fail to allege a likelihood of continuing or
                                                                 future injury. (Def. Mem. 20.) Plaintiffs argue that they
                                                                 have third-party standing, which enables them to sue


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to enjoin Defendant's false advertising practices even if            has ‘repeatedly reiterated that “threatened injury must be
they “lack individual standing to seek injunctive relief for         certainly impending to constitute injury in fact,” and that
[Defendant's] misleading advertising.” 9 (Pls. Opp'n Mem.            “[a]llegations of possible future injury” are not sufficient.’
21.)                                                                 ” (alteration in original) (quoting Clapper v. Amnesty Int'l
                                                                     USA, 568 U.S. 398, 133 S.Ct. 1138, 1147, 185 L.Ed.2d 264
9                                                                    (2013))).
       In Hasemann, this Court observed that the Second
       Circuit has not directly addressed whether plaintiffs
                                                                      *9 A plaintiff “cannot rely on past injury to satisfy the
       bringing claims of false or misleading advertising have
       standing to seek prospective injunctive relief when the       injury requirement but must show a likelihood that he ...
       challenged action is still ongoing but there is no threat     will be injured in the future.” Shain, 356 F.3d at 215; see
       of repeated injury to the plaintiffs. See Hasemann,           also Nicosia, 834 F.3d at 239 (stating that past injuries do
       2016 WL 5477595, at *8. The Court concluded,                  not confer standing to seek injunctive relief); Pungitore,
       however, that “the requirement that a plaintiff allege        506 Fed.Appx. at 42 (stating that, while past wrongs
       a risk of future injury in order to obtain injunctive         may be “evidence bearing on whether there is a real
       relief is a constitutional requirement that all plaintiffs    and immediate threat of repeated injury,' such evidence
       must satisfy.” Id. at *9 (citing Lyons, 461 U.S. at 102,      ‘does not in itself show a present case or controversy
       103 S.Ct. 1660). Because the Hasemann plaintiffs did          regarding injunctive relief ... if unaccompanied by any
       not allege and could not show that they continued to
                                                                     continuing, present adverse effects' ” (quoting Lyons, 461
       purchase the Infant Formula at that time or that they
                                                                     U.S. at 102, 103 S.Ct. 1660)). “In establishing a certainly
       would purchase the Infant Formula in the future, they
                                                                     impending future injury, ... the plaintiff must establish
       failed to allege a risk of future injury and therefore
       lacked standing to seek injunctive relief. See id.
                                                                     how he or she will be injured prospectively and that the
                                                                     injury would be prevented by the equitable relief sought.”
As the Court explained in Hasemann, a plaintiff seeking              Marcavage v. City of New York, 689 F.3d 98, 103 (2d Cir.
injunctive relief “must show the three familiar elements             2012) (collecting cases). “[A]t the pleading stage, standing
of standing: injury in fact, causation, and redressability.”         allegations need not be crafted with precise detail, nor
Cacchillo v. Insmed, Inc., 638 F.3d 401, 404 (2d Cir. 2011)          must the plaintiff prove his allegations of injury.” Baur v.
(citing Summers v. Earth Island Inst., 555 U.S. 488, 493,            Veneman, 352 F.3d 625, 631 (2d Cir. 2003) (citing Lujan v.
129 S.Ct. 1142, 173 L.Ed.2d 1 (2009)). “[T]o meet the                Defenders of Wildlife, 504 U.S. 555, 561, 112 S.Ct. 2130,
constitutional minimum of standing” for injunctive relief,           119 L.Ed.2d 351 (1992)).
a plaintiff “must carry the burden of establishing that ‘he
has sustained or is immediately in danger of sustaining              Although the Supreme Court has “adhered to the rule
some direct injury as the result of the challenged official          that a party ‘generally must assert his own legal rights
conduct.’ ” Shain v. Ellison, 356 F.3d 211, 215 (2d Cir.             and interests, and cannot rest his claim to relief on the
2004) (quoting City of Los Angeles v. Lyons, 461 U.S. 95,            legal rights or interests of third parties,’ ” this rule is
101–102, 103 S.Ct. 1660, 75 L.Ed.2d 675 (1983)); see also            not absolute, and “there may be circumstances where it
Nicosia v. Amazon.com, Inc., 834 F.3d 220, 239 (2d Cir.              is necessary to grant a third party standing to assert the
2016) (“Plaintiffs lack standing to pursue injunctive relief         rights of another.” Kowalski v. Tesmer, 543 U.S. 125, 129–
where they are unable to establish a ‘real or immediate              30, 125 S.Ct. 564, 160 L.Ed.2d 519 (2004) (quoting Warth
threat’ of injury.” (first citing Lyons, 461 U.S. at 111–12,         v. Seldin, 422 U.S. 490, 499, 95 S.Ct. 2197, 45 L.Ed.2d
103 S.Ct. 1660; and then citing Shain, 356 F.3d at 215–              343 (1975)). These circumstances are “well-recognized,
16)); Pungitore v. Barbera, 506 Fed.Appx. 40, 41 (2d Cir.            prudential exceptions to the ‘injury-in-fact’ requirement”
2012) (“[W]hen seeking prospective injunctive relief, the            that “permit third-party standing where the plaintiff can
plaintiff must prove the likelihood of future or continuing          demonstrate (1) a close relationship to the injured party
harm.”). The alleged injury “must be ‘concrete and                   and (2) a barrier to the injured party's ability to assert
particularized’ and ‘actual or imminent, not conjectural             its own interests.” W.R. Huff Asset Mgmt. Co., LLC v.
or hypothetical.’ ” Knife Rights, Inc. v. Vance, 802 F.3d            Deloitte & Touche LLP, 549 F.3d 100, 109–10 (2d Cir.
377, 383 (2d Cir. 2015) (quoting Susan B. Anthony List v.            2008) (citing Kowalski, 543 U.S. at 130, 125 S.Ct. 564);
Driehaus, 573 U.S. ––––, ––––, 134 S.Ct. 2334, 2341, 189             see also Mid–Hudson Catskill Rural Migrant Ministry,
L.Ed.2d 246 (2014)); Am. Civil Liberties Union v. Clapper,           Inc. v. Fine Host Corp., 418 F.3d 168, 174 (2d Cir. 2005)
785 F.3d 787, 800 (2d Cir. 2015) (“The Supreme Court


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(“[A] plaintiff seeking third-party standing in federal court     Supreme Court has also accorded third-party standing
must ... demonstrat[e] a close relation to the injured third      “[w]here insurmountable procedural obstacles preclude a
party and a hindrance to that party's ability to protect          rightholder's own suit.” Kowalski, 543 U.S. at 130, 125
its own interests.” (internal quotation marks omitted)); cf.      S.Ct. 564 (citing Singleton v. Wulff, 428 U.S. 106, 96 S.Ct.
Camacho v. Brandon, 317 F.3d 153, 159 (2d Cir. 2003)              2868, 49 L.Ed.2d 826 (1976) (physician asserting the rights
(“A plaintiff may assert the constitutional claims of a           of women seeking an abortion where privacy may deter
third party if the plaintiff can demonstrate: (1) injury to       women from bringing suit and their “claim[s] will soon
the plaintiff, (2) a close relationship between the plaintiff     become at least technically moot” if they are forced to
and the third party that would cause plaintiff to be an           forgo the abortion); Craig v. Boren, 429 U.S. 190, 97
effective advocate for the third party's rights, and (3) ‘some    S.Ct. 451, 50 L.Ed.2d 397 (1976) (alcohol vendor asserting
hindrance to the third party's ability to protect his or her      equal protection challenge on behalf of 18–to–20–year-
own interests.’ ” (emphasis added) (quoting Campbell v.           old males affected by beer-sale restriction where some
Louisiana, 523 U.S. 392, 397, 118 S.Ct. 1419, 140 L.Ed.2d         males in class would have claims mooted by aging out of
551 (1998))). Thus, courts “historically have permitted           restriction)).
trustees to bring suits to benefit their trusts; guardians
at litem to bring suits to benefit their wards; receivers          *10 “Beyond these examples,” however, the Supreme
to bring suit to benefit their receiverships; assignees in        Court “ha[s] not looked favorably upon third-party
bankruptcy to bring suits to benefit bankrupt estates; and        standing.” Kowalski, 543 U.S. at 130, 125 S.Ct. 564 (citing
executors to bring suit to benefit testator estates.” W.R.        Conn v. Gabbert, 526 U.S. 286, 119 S.Ct. 1292, 143
Huff, 549 F.3d at 110 (alterations, citations and internal        L.Ed.2d 399 (1999) (rejecting an attorney's attempt to
quotation marks omitted); see also Smith v. Org. of Foster        adjudicate the rights of a client)). To the extent that the
Families for Equality & Reform, 431 U.S. 816, 841 n.44, 97        Supreme Court's exceptions to classic standing doctrine
S.Ct. 2094, 53 L.Ed.2d 14 (1977) (recognizing third-party         rest on a unifying principle, the analytical distinction
standing for foster parents to raise due process claims on        seems to be “between claims asserting private interests and
behalf of foster children).                                       those asserting public interests.” Mahon v. Ticor Title Ins.
                                                                  Co., 683 F.3d 59, 67 (2d Cir. 2012) (Hall, J., concurring).
The Supreme Court has “been quite forgiving with                  This is because “[w]hen private rights are involved, it
these criteria in certain circumstances,” as in the context       is easy to understand that one person cannot seek to
of the First Amendment or in allowing parties to                  recover on a claim that belongs to someone else”; however,
litigate the rights of third parties “when enforcement            “when a party properly in court seeks to sustain its own
of the challenged restriction against the litigant would          opposition to a public act by invoking the interests of
result indirectly in the violation of third parties' rights.”     others,” courts will occasionally allow the party to do
Kowalski, 543 U.S. at 130, 125 S.Ct. 564 (collecting cases,       so. Id. (quoting Charles Alan Wright et al., Fed. Practice
including Doe v. Bolton, 410 U.S. 179, 93 S.Ct. 739, 35           & Proc. § 3531.9 (3d ed. 2011)); see also Barrows, 346
L.Ed.2d 201 (1973); Griswold v. Connecticut, 381 U.S.             U.S. at 257, 73 S.Ct. 1031 (permitting third-party standing
479, 85 S.Ct. 1678, 14 L.Ed.2d 510 (1965); and Barrows            to challenge racially restrictive covenant because “the
v. Jackson, 346 U.S. 249, 73 S.Ct. 1031, 97 L.Ed. 1586            reasons which underlie [the] rule denying standing to raise
(1953)). In general, the Court has “permitted third-party         another's rights” were “outweighed by the need to protect
standing only where more ‘daunting’ barriers deterred the         the fundamental rights” that otherwise would have been
rightholder.” Miller v. Albright, 523 U.S. 420, 449–50, 118       denied).
S.Ct. 1428, 140 L.Ed.2d 575 (1998) (citing Powers v. Ohio,
499 U.S. 400, 111 S.Ct. 1364, 113 L.Ed.2d 411 (1991)              Here, Plaintiffs cannot assert third-party standing “on
(criminal defendant challenging exercise of peremptory            behalf of individuals who are not yet aware that Gerber's
challenges on behalf of potential jurors); Hodel v. Irving,       advertisements are false,” (Manemeit Pl. Mem. in Opp'n
481 U.S. 704, 107 S.Ct. 2076, 95 L.Ed.2d 668 (1987)               to Manemeit Def. Mot. (“Manemeit Opp'n”) 23, Docket
(litigants asserting the rights of their deceased parents);       Entry No. 21). The Court acknowledges the persuasive
Carey v. Population Servs. Int'l, 431 U.S. 678, 97 S.Ct.          value of Plaintiffs' argument that, without third-party
2010, 52 L.Ed.2d 675 (1977) (vendor challenging law               standing, consumers could not enjoin false or deceptive
prohibiting distribution of contraception to minors)). The        advertising because (1) if they were unaware of the falsity



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of the advertising and therefore at risk of future injury,     complaint ... would not redress either [of] the alleged
they would not bring suit, and (2) once they become aware      injur[ies]”); see also Steel Co. v. Citizens for a Better Env't,
that a product is falsely or deceptively advertised, they      523 U.S. 83, 107, 118 S.Ct. 1003, 140 L.Ed.2d 210 (1998)
cannot plausibly allege that they would re-purchase the        (“Relief that does not remedy the injury suffered cannot
product. (Manemeit Opp'n Mem. 24.)                             boostrap a plaintiff into federal court.”).

However, the relationship between a class representative        *11 Moreover, Plaintiffs have not demonstrated that
and would-be consumers “is not the type of close               the unidentified class of would-be consumers would likely
relationship courts have recognized as creating a              be harmed. A speculative, outside possibility of harm
‘prudential exception’ to the third-party standing rules.”     is insufficient to confer standing even on the group
See W.R. Huff, 549 F.3d at 110 (holding that an                that Plaintiffs contend would be affected by Defendant's
investment manager to whom investor-clients had                ongoing deceptive advertising. See Nicosia, 834 F.3d at
given power-of-attorney and authority over investment          239 (“Plaintiffs lack standing to pursue injunctive relief
decisions lacked standing to file a security fraud claim       where they are unable to establish a ‘real or immediate
on the clients' behalf). In fact, the Supreme Court has        threat’ of injury.” (quoting Lyons, 461 U.S. at 111–12,
made clear that it does “not look [ ] favorably upon third-    103 S.Ct. 1660)); Knife Rights, Inc., 802 F.3d at 383
party standing” except in certain circumstances when the       (holding that the alleged injury “must be ‘concrete and
challenged conduct would indirectly violate a third party's    particularized’ and ‘actual or imminent, not conjectural
rights even if it were merely enforced against the primary     or hypothetical’ ” (citation omitted)). Plaintiffs make
litigant. Kowalski, 543 U.S. at 130, 125 S.Ct. 564.            no allegations that the unidentified group on whose
                                                               behalf they assert standing would be exposed to the same
In general, the Supreme Court's concern appears to be          advertising, rely on it, or purchase the Infant Formula
that “where a hindrance impedes the assertion of a claim,      as a result. As the Supreme Court has made clear, where
the right likely will not be asserted—and thus the relevant    a plaintiff's standing is at issue, the Court is not at
law will not be enforced—unless the Court recognizes           liberty to make inferences in the plaintiff's favor. Spokeo,
third-party standing.” Miller, 523 U.S. at 450, 118 S.Ct.      Inc. v. Robins, 578 U.S. ––––, 136 S.Ct. 1540, 1547, 194
1428. In practice, almost without exception, the Supreme       L.Ed.2d 635 (May 16, 2016) (“Where, as here, a case is at
Court allows third-party standing only to preserve the         the pleading stage, the plaintiff must clearly allege facts
constitutional rights of third parties who are unable          demonstrating each element of standing.” (citations and
to challenge the infringement of those rights. See id.         internal quotation marks omitted)); see also Warth, 422
(discussing specific examples of third-party standing); see    U.S. at 518, 95 S.Ct. 2197 (“It is the responsibility of
also Am. Psych. Ass'n v. Anthem Health Plans, Inc., 821        the complainant clearly to allege facts demonstrating that
F.3d 352, 358 (2d Cir. 2016) (explaining that “a physician     he is a proper party to invoke judicial resolution of the
or other professional may raise the constitutional rights,     dispute and the exercise of the court's remedial powers.”);
but generally not the statutory rights, of his or her          Morrison, 547 F.3d at 170 (“Jurisdiction must be shown
patients”)                                                     affirmatively, and that showing is not made by drawing
                                                               from the pleadings inferences favorable to the party
No constitutional rights are at risk here, Plaintiffs are      asserting it.”). The Court therefore finds that Plaintiffs
adequately able to vindicate their own rights by seeking       lack standing to enjoin Defendants' alleged conduct.
damages, and there is no risk that “the relevant law
will not be enforced” if Plaintiffs are not able to seek
prospective injunctive relief on behalf of a nebulous class
                                                                                 d. Ohio statutory claims
of would-be Gerber consumers. See Miller, 523 U.S.
at 450, 118 S.Ct. 1428. Basically, the injunctive relief
Plaintiffs seek would not remedy the injury Plaintiffs                                   i. OCSPA
allege they suffered, and the alleged injuries of would-
                                                               In count one of the Greene Complaint, the Greene
be consumers are not sufficient to confer standing on
                                                               Plaintiffs allege that Defendant's false and misleading
Plaintiffs See W.R. Huff, 549 F.3d at 110 (denying
                                                               advertising constituted an “unfair or deceptive act or
third-party standing where “[t]he remedies sought in the
                                                               practice” under the OCSPA because Defendant falsely


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claimed that the Infant Formula reduced the risk of            like consumers,” id. § 1345.03(B)(2), or that the consumer
an infant developing certain allergies, which ascribed         would be unable “to receive a substantial benefit from
to the Infant Formula performance characteristics and          the subject of the consumer transaction,” id. § 1345.03(B)
benefits that it did not possess, and because Defendant        (3). In general, the OCSPA “defines ‘unfair or deceptive
misleadingly suggested that the FDA had unqualifiedly          consumer sales practices' as those that mislead consumers
approved of Defendant's atopic-dermatitis claim, which         about the nature of the product they are receiving, while
ascribed to the Infant Formula a particular standard,          ‘unconscionable acts or practices' relate to a supplier
quality or grade that it did not possess. (Compl. ¶ 97.)       manipulating a consumer's understanding of the nature of
                                                               the transaction at issue.” McKinney v. Bayer Corp., 744
Defendant argues that the Court should dismiss the             F.Supp.2d 733, 743 (N.D. Ohio 2010) (quoting Whitaker
Greene Plaintiffs' class action claim under the OCSPA          v. M.T. Automotive, Inc., 111 Ohio St.3d 177, 855 N.E.2d
because the Greene Plaintiffs did not allege, as the OCSPA     825, 829 (2006)).
requires, “that [Defendant] had prior notice that its
conduct was ‘deceptive or unconscionable.’ ” (Def. Mem.         *12 Although the OCSPA permits both individual and
12.) The Greene Plaintiffs argue that the OCSPA's notice       class action claims, see ORC § 1345.09, a consumer can
requirements are preempted by Rule 23 of the Federal           assert a class action claim under the OCSPA “only if the
Rules of Civil Procedure, and that, in any event, the          defendant's alleged violation of the Act is substantially
Greene Plaintiffs have met the OCSPA's requirements.           similar to an act or practice previously declared to be
(Pls. Opp'n 10–12.) The Greene Plaintiffs alternatively        deceptive by one of the methods identified in” ORC §
argue that Defendant was on notice that the OCSPA              1345.09(B). See McKinney, 744 F.Supp.2d at 743; see also
prohibits false or misleading allergy claims because the       Marrone v. Philip Morris USA, Inc., 110 Ohio St.3d 5,
state attorney general, pursuant to her authority under the    850 N.E.2d 31, 33 (2006). Under ORC § 1345.09(B), a
OCSPA, has promulgated rules that prohibit individuals         consumer “may qualify for a class action only when a
or companies from making “any representations” that            supplier acted in the face of prior notice that its conduct
lack “a reasonable basis in fact” and has made publicly        was deceptive or unconscionable.” Philip Morris USA,
available several consent decrees with companies that          850 N.E.2d at 34. The notice must be in the form of (1) “an
made unsubstantiated health claims. (Id. at 12.)               act or practice declared to be deceptive or unconscionable
                                                               by a rule adopted [by the Ohio Attorney General]” or (2)
The OCSPA prohibits suppliers from engaging in                 “an act or practice determined by [an Ohio state court]
either unfair or deceptive consumer sales practices or         to violate [the OCSPA] and committed after the decision
unconscionable acts or practices as set forth in the Ohio      containing the determination has been made available for
Revised Code (“ORC”) sections 1345.02 and 1345.03.             public inspection.” ORC § 1345.09(B); McKinney, 744
As relevant here, the OCSPA defines as “deceptive”             F.Supp.2d at 743; Philip Morris USA, 850 N.E.2d at
any act or practice that represents “[t]hat the subject        33–34. “Lack of prior notice requires dismissal of class
of a consumer transaction has sponsorship, approval,           action allegations.” St. Clair v. Kroger Co., 581 F.Supp.2d
performance characteristics, accessories, uses or benefits     896, 901 (N.D. Ohio 2008); see also City of Findlay v.
that it does not have,” ORC § 1345.02(B)(1); “[t]hat           Hotels.com, L.P., 441 F.Supp.2d 855, 863 (N.D. Ohio
the subject of a consumer transaction is of a particular       2006) (finding that “the City cannot bring an OCSPA
standard, quality, grade, style, prescription, or model,       class action claim because the two prerequisites set forth
if it is not,” id. § 1345.02(B)(2); or “[t]hat the supplier    in [ORC § 1345.09(B) ] have not been alleged”); Volbers–
has a sponsorship, approval, or affiliation that the           Klarich v. Middletown Mgmt., Inc., 125 Ohio St.3d 494,
supplier does not have,” id. § 1345.02(B)(9). The OCSPA        929 N.E.2d 434, 441 (2010) (holding that “appellant's
states that in determining whether an act or practice          claim seeking certification of a class action alleging a
is “unconscionable,” a court should take into account          violation of the OCSPA fails to state a claim upon which
several factors, including whether the supplier “knew          relief can be granted” because the complaint did not
at the time the consumer transaction was entered into”         “satisfy the notice requirement” of ORC § 1345.09(B)).
either that “the price was substantially in excess of
the price at which similar property or services were           The Court considers whether Rule 23 preempts the
readily obtainable in similar consumer transactions by         OCSPA notice requirement and, if not, whether



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the Greene Plaintiffs have met the OCSPA notice                   modify a substantive right, federal courts must consider
requirement.                                                      whether the rule can reasonably be interpreted to avoid
                                                                  that impermissible result.” Id.

                                                                   *13 The Greene Plaintiffs argue that the restrictions on
                1. Rule 23 and the OCSPA
                                                                  class actions under section 1345.09(B) of the OCSPA are
The Greene Plaintiffs argue that the Supreme Court's              not applicable in federal court after Shady Grove because
decision in Shady Grove Orthopedic Ass'n, P.A. v. Allstate        the restrictions conflict with Rule 23. In particular,
Ins. Co., 559 U.S. 393, 130 S.Ct. 1431, 176 L.Ed.2d               the Greene Plaintiffs contend that the plurality opinion
311 (2010) abrogates the OCSPA's notice requirement               controls, and therefore Shady Grove stands for the
because the notice requirement conflicts with Rule 23 of          proposition that any state law restricting class actions in
the Federal Rules of Civil Procedure. (Pls. Opp'n 10–11.)         federal court is invalid. (Pls. Opp'n 10–11.) As explained
Defendant argues that most courts to consider the issue           below, the Court disagrees.
have found that because the OCSPA's notice requirement
is a substantive requirement, Rule 23 does not preempt the        “When a fragmented Court decides a case and no single
notice requirement. (Def. Reply 4.)                               rationale explaining the result enjoys the assent of five
                                                                  Justices, the holding of the Court may be viewed as
In Shady Grove, the Supreme Court addressed whether               that position taken by those Members who concurred in
Rule 23, which governs class actions, conflicted with             the judgments on the narrowest grounds.” United States
New York Civil Practice Law section 901(b) (“section              v. Alcan Aluminum Corp., 315 F.3d 179, 189 (2d Cir.
901(b)”), which precludes class actions seeking penalties         2003) (quoting Marks v. United States, 430 U.S. 188, 193,
or statutory minimum damages. Shady Grove, 559 U.S.               97 S.Ct. 990, 51 L.Ed.2d 260 (1977)). This rule applies
at 399, 130 S.Ct. 1431. A majority of the Court agreed            where “one opinion can meaningfully be regarded as
that state class action provisions directly conflict with         ‘narrower’ than another—only when one opinion is a
Rule 23, but the Court split on when Rule 23 preempts             logical subset of other, broader opinions.” Id. (quoting
a conflicting state class action provision. Id. at 402–04,        King v. Palmer, 950 F.2d 771, 781 (D.C. Cir. 1991) (en
130 S.Ct. 1431. The plurality opinion found that Rule 23          banc)). When the narrowest opinion is not “the common
preempts all state class action provisions, and that “the         denominator representing the position approved by at
substantive nature of New York's law, or its substantive          least five justices,”—that is, when “it is not possible to
purpose, makes no difference. A Federal Rule of Procedure         discover a single standard that legitimately constitutes the
is not valid in some jurisdictions and invalid in others—or       narrowest ground for a decision on that issue, there is then
valid in some cases and invalid in others—depending upon          no law of the land because no one standard commands
whether its effect is to frustrate a substantive state law (or    the support of a majority of the Supreme Court.” Id.; see
a state procedural law enacted for substantive purposes).”        Leonard v. Abbott Labs., Inc., No. 10-CV-4676, 2012 WL
Id. at 409, 130 S.Ct. 1431. Justice Stevens concurred in the      764199, at *12 (E.D.N.Y. Mar. 5, 2012) (quoting Alcan
narrow holding that Rule 23 and section 901(b) conflict,          Aluminum, 315 F.3d at 189).
but agreed with the four-Justice dissent that “there are
some state procedural rules that federal courts must apply        The Second Circuit has not directly addressed whether
in diversity cases because they function as part of the           Justice Stevens' opinion controls. See Retained Realty, Inc.
State's definition of substantive rights and remedies.” Id.       v. McCabe, 376 Fed.Appx. 52, 55 (2d Cir. 2010) (noting
at 423, 130 S.Ct. 1431 (Stevens, J., concurring in part and       that the decision in Shady Grove “does not set forth a
concurring in judgment). Justice Stevens wrote a separate         single test” that governs when a Federal Rule supersedes
opinion holding that “[a] federal rule ... cannot govern a        a state rule). However, the Court agrees with the majority
particular case in which the rule would displace a state          of district and circuit courts that have found Justice
law that is procedural in the ordinary use of the term            Stevens' concurring opinion controls because it provides
but is so intertwined with a state right or remedy that it        the “narrowest grounds” or the “common denominator”
functions to define the scope of the state-created right.”        of the majority position. See Abbott Labs., 2012 WL
Id. To avoid such a result, Justice Stevens concluded             764199, at *12 (collecting cases); Phillips v. Philip Morris
that “[w]hen a federal rule appears to abridge, enlarge or        Cos. Inc., 290 F.R.D. 476, 479–80 (N.D. Ohio 2013) (“[A]



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clear majority of courts have applied Stevens's narrower          require Rule 23 to displace the OCSPA's class action
holding as the controlling opinion for use in determining         notice requirement.
whether a federal rule may displace a conflicting state
law.” (collecting cases)); Kline v. Mortg. Elec. Sec. Sys.,
No. 08-CV-408, 2010 WL 6298271, at *3 (S.D. Ohio Dec.
                                                                               2. The Greene Plaintiffs have not
30, 2010) (noting that the district courts faced with this
                                                                                satisfied the notice requirement
issue in Ohio “have concluded unanimously ‘that Justice
Stevens' concurrence ... is the controlling opinion by which      The Greene Plaintiffs argue that because the Ohio
[they are] bound.’ ” (quoting McKinney, 744 F.Supp.2d at          Attorney General has promulgated rules that prohibit
747)); In re Wellbutrin XL Antitrust Litig., 756 F.Supp.2d        companies from making “any representations” that lack
670, 675 (E.D. Pa. 2010) (finding that Justice Stevens'           “a reasonable basis in fact,” Defendant was “on notice
concurrence controlled because “although he found Rule            that making false or misleading allergy claims—and
23 to conflict with [section] 901(b) along with the plurality,    exaggerating FDA support for these claims—would be
Judge Stevens' Rules Enabling Act analysis called for an          considered deceptive in Ohio.” (Pls. Opp'n 12–13 (citing
analysis of the state's substantive rights and remedies that      Ohio Adm. Code 109:4–3–10).) In addition, the Greene
was consistent with the approach of the four members              Plaintiffs argue that Defendant was on notice because of
of the dissent”); see also James River Ins. Co. v. Rapid          consent decrees entered into by the Ohio Attorney General
Funding, LLC, 658 F.3d 1207, 1217 (10th Cir. 2011)                with parties that allegedly made false health claims,
(“Justice Stevens concurred, and the Tenth Circuit has            which consent decrees were on the Attorney General's
understood his concurrence to be the controlling opinion          public website. (Id.) Defendant argues that the challenged
in Shady Grove.”); Godin v. Schencks, 629 F.3d 79, 84 (1st        statements relating to the Infant Formula “actually have a
Cir. 2010) (relying on Justice Stevens' concurrence to hold       reasonable basis in fact because they are substantiated by
that a state statute was “so intertwined with a state right or    numerous scientific studies,” and that consent judgments
remedy” that it could not be displaced by a Federal Rule          by the Ohio Attorney General do not constitute sufficient
of Civil Procedure).                                              notice under the OCSPA. (Def. Mem. 4–5.)

 *14 Although the Greene Plaintiffs do not address                The Greene Plaintiffs first rely on Ohio Administrative
whether the class action notice prerequisite in the OCSPA         Code 109:4–3–10, which states that it is a deceptive act
is “intertwined” with the substantive right afforded by           or practice for a supplier to make any representations
the statute, “every court in Ohio to address this issue           in the absence of a reasonable basis in fact. (Pls. Opp'n
has held that section 1345.09(B) is substantive in nature         12 (citing Ohio Adm. Code 109:4–3–10).) In interpreting
and therefore not preempted by Rule 23.” Leonard, 2012            this rule, the Ohio Supreme Court has held that the rule
WL 764199, at *13. This is because section 1345.09(B)             “is insufficient to provide prior notice under [ORC §
“is not a pan-substantive rule that applies to federal            1345.09(B) ] because it does not refer to any particular act
claims or to claims based on other states' laws. Rather,          or practice.” Volbers–Klarich, 929 N.E.2d at 441 (quoting
it applies only to ‘a violation of Chapter 1345 of                Marrone, 850 N.E.2d at 36). The Ohio Supreme Court
the [ORC]’—indicating its substantive nature.” In re              has specified that “[a] general rule is not sufficient to put
Whirlpool Corp. Front–Loading Washer Prod. Liab. Litig.,          a reasonable person on notice of the prohibition against
No. 08-WP-65000, 2010 WL 2756947, at *2 (N.D. Ohio                a specific act or practice. To permit a generic rule to
July 12, 2010) (quoting ORC § 1345.09); see also Phillips,        constitute prior notice for purposes of [ORC § 1345.09(B) ]
290 F.R.D. at 480 (“[E]very court to reach the question           would allow any previous determination of a deceptive act
has concluded that the [O]CSPA's notice requirement is            or practice to qualify as prior notice for any subsequent
not displaced by [Rule] 23.” (collecting cases)); Kline, 2010     alleged deceptive act or practice.” Id. (quoting Marrone,
WL 6298271, at *3–4 (adopting the reasoning in Whirlpool          850 N.E.2d at 36). Thus, the Court rejects the Greene
); McKinney, 744 F.Supp.2d at 746–47 (adopting the                Plaintiffs' argument that a general rule promulgated by the
reasoning in Whirlpool ).                                         Ohio Attorney General can provide adequate notice for
                                                                  purposes of an OCSPA class action.
The Court follows the reasoning employed by those courts
and concludes that the Shady Grove decision does not



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The Greene Plaintiffs next rely on various consent decrees      Charvat ); Gascho, 918 F.Supp.2d at 715 (“Because the
into which the Ohio Attorney General entered with parties       reasoning of a consent judgment is not necessarily that
that allegedly made false health claims. (Pls. Opp'n 12–        of the court, it has no precedential value, and cannot be
13.) Plaintiffs rely on Charvat v. Telelytics, LLC, No.         considered the court's ‘opinion.’ ”); Robins v. Glob. Fitness
05-AP-1279, 2006 WL 2574019, at *11 (Ohio Ct. App.              Holdings, LLC, 838 F.Supp.2d 631, 649 (N.D. Ohio 2012)
Aug. 31, 2006), for the proposition that consent decrees        (rejecting reliance on consent judgments for prior notice);
constitute “court determinations” that provide sufficient       Kline, 2010 WL 6298271, at *8 (characterizing the Charvat
notice under the OCSPA. See ORC § 1345.09(B) (stating           decision as “isolated” and holding that it is “neither
that prior notice may be in the form of “an act or practice     persuasive nor binding” on a federal district court), report
determined by [an Ohio court] to violate section 1345.02,       & recommendation adopted, No. 08-CV-408, 2011 WL
1345.03, or 1345.031 of the Revised Code and committed          1125346 (S.D. Ohio Mar. 25, 2011).
after the decision containing the determination has been
made available for public inspection [by the Attorney           The Court is not persuaded that consent judgments reflect
General]”).                                                     a court's “determination” that an act or practice violated
                                                                the OCSPA. Indeed, as the Charvat court noted, “a
 *15 In Charvat, the court explained that a consent             consent judgment typically is not a judgment on the
judgment is not a judgment on the merits, but rather            merits, but a contract between the parties that the court
a reflection of a settlement between the parties, and it        reduces to a judgment,” Charvat, 2006 WL 2574019, at
therefore lacks precedential value. Charvat, 2006 WL            *11. In addition, “when a court approves a settlement
2574019, at *6. The court reasoned that, nevertheless, “a       between the parties, the resulting consent judgment or
consent judgment's precedential value is not determinative      decree, and the reasoning applied therein, does not reflect
under [ORC section 1345.09(B) ] because the statute             the considered judgment of the court. If it did, the
specifically refers to a court's determination, not a           determination would have precedential value.” Gascho,
judgment.” Charvat, 2006 WL 2574019, at *11. Thus,              918 F.Supp.2d at 716. Accordingly, the Court finds that
according to the Charvat court, a court's approval of a         the consent judgments that the Greene Plaintiffs rely on
consent judgment in which an entity is alleged to have          as having provided prior notice under the OCSPA do
violated the OCSPA constitutes a “determination” by that        not satisfy the notice prerequisite. The Court therefore
court that a particular practice is circumscribed under         dismisses the Greene Plaintiffs' OCSPA claim.
section 1345.09(B). See id. (“[E]ven within a consent
judgment, ‘an act or practice determined by a court’ to
violate the OCSPA is actionable under [section 1345.09(B)
                                                                                        ii. ODTPA
].”)
                                                                In count two of the Complaint, the Greene Plaintiffs
Since Charvat was decided, however, several federal courts      allege that Defendant's “false or misleading advertising ...
in Ohio have questioned its ruling. These courts reason         constitutes a deceptive trade practice under [the ODTPA]”
that the OCSPA requires the Attorney General to make            because Defendant “represented that goods have
available for public inspection “all judgments, including       characteristics, ingredients, uses, benefits or quantities
supporting opinions, by courts of this state that determine     that they do not have” and “represented that goods have
the rights of the parties ... determining that specific acts    sponsorship, approval, or characteristics that they do not
or practices violate” the OCSPA, and, reading that broad        have.” (Compl. ¶ 107 (citing ORC § 4165.02 (alterations
command together with ORC section 1345.09, “it is clear         omitted)).) Defendant argues that “[t]he vast majority of
that the reference to a court's ‘determination’ in [section]    Ohio district courts and lower state courts hold that ‘the
1345.09(B) is a reference to a court's final determination,     ODTPA is not available to consumers.’ ” (Def. Mem. 14
i.e. a judgment with supporting reasoning.” Pattie v.           (quoting Phillips, 290 F.R.D. at 484).)
Coach, Inc., 29 F.Supp.3d 1051, 1056 (N.D. Ohio 2014)
(quoting Gascho v. Global Fitness Holdings, LLC, 918             *16 The ODTPA authorizes actions by a “person who
F.Supp.2d 708, 715 (S.D. Ohio 2013)); see also Ice v.           is likely to be damaged by a person who commits a
Hobby Lobby Stores, Inc., No. 14-CV-744, 2015 WL                deceptive trade practice” or a “person who is injured
5731290, at *4 (N.D. Ohio Sept. 29, 2015) (rejecting            by a person who commits a deceptive trade practice.”



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ORC § 4165.03(A)(1)–(2). A “person” is defined under            courts unless there is persuasive evidence that the state's
the ODTPA to include “an individual, corporation,               highest court would reach a different conclusion.” (citing
government, governmental subdivision or agency” or              Pahuta v. Massey–Ferguson, Inc., 170 F.3d 125, 134
“any other legal or commercial entity.” Id. § 4165.01(D).       (2d Cir. 1999))); see also Greenberg v. Greenberg, 646
                                                                Fed.Appx. 31, 31 (2d Cir. 2016) (“In the absence of any
“The Ohio Supreme Court has not yet addressed whether           statement by the state's highest court,” federal courts
a consumer may pursue a claim under the ODTPA, and              are “bound to apply the law as interpreted by a state's
there is a split of authority between the Northern and          intermediate appellate courts unless there is persuasive
Southern Districts of Ohio, and even within the Southern        evidence that the state's highest court would reach a
District, on the issue.” Terlesky v. Fifth Dimension, Inc.,     different conclusion.” (quoting V.S., 595 F.3d at 432)).
No. 15-CV-374, 2015 WL 7254189, at *2 (S.D. Ohio
Nov. 17, 2015). However, the majority of courts to              In Dawson, the Ohio Court of Appeals held that
address the issue have reasoned that the ODTPA is               consumers do not have standing to raise ODTPA
substantially similar to section 43(a) of the Lanham Act,       claims because the ODTPA and the Lanham Act are
which confers standing on “any person who believes              “substantially similar” and because all federal courts
that he or she is likely to be damaged” by conduct              of appeals to have considered the issue have held that
prohibited under 15 U.S.C. § 1125(a). Id.; see In re Porsche    consumers do not have standing to sue under the Lanham
Cars N. Am., Inc., 880 F.Supp.2d 801, 874 (S.D. Ohio            Act. See Dawson, 2006 WL 1061769 at *3–4. The Ohio
2012); Dawson v. Blockbuster, Inc., No. 86451, 2006 WL          Supreme Court declined to accept the appeal for review in
1061769, at *4 (Ohio App. Ct. Mar. 16, 2006), cert.             Dawson. See 110 Ohio St.3d 1442, 852 N.E.2d 190 (2006).
denied, 110 Ohio St.3d 1442, 852 N.E.2d 190 (2006).
These courts have determined that, because “the ODTPA            *17 The Greene Plaintiffs have failed to present
is substantially similar to Section 43(a) of the Lanham         persuasive evidence that the Ohio Supreme Court would
Act and the Lanham Act protects the interests of a              consider this issue differently than the Ohio Court of
purely commercial class that does not include individual        Appeals, particularly in view of several Ohio Supreme
consumers,” the ODTPA does not confer standing on               Court decisions that have recognized the substantial
consumers. Terlesky, 2015 WL 7254189, at *2 (quoting In         similarity between the ODTPA and the Lanham Act.
re Porsche, 880 F.Supp.2d at 874); see, e.g., Citimortgage,     See, e.g., Chandler & Assoc. v. Am.'s Healthcare Alliance,
Inc. v. Crawford, 934 F.Supp.2d 942, 950 (S.D. Ohio             125 Ohio App.3d 572, 709 N.E.2d 190, 195 (1997)
2013) (“[A] consumer does not have standing to [s]ue            (“When adjudicating claims arising under the [ODTPA],
under the [O]DTPA.”); Phillips, 290 F.R.D. at 484 (“[T]he       Ohio courts shall apply the same analysis applicable
[c]ourt holds that consumers lack standing to bring claims      to claims commenced under analogous federal law.”);
under the [O]DTPA.”); Hamilton v. Ball, 7 N.E.3d 1241,          Yocono's Rest., Inc. v. Yocono, 100 Ohio App.3d 11, 651
1253 (Ohio App. Ct. 2014) (holding that consumers lack          N.E.2d 1347, 1350–51 (1994) (applying a Lanham Act
standing to file suit under the ODTPA).                         analysis to claims under the ODTPA); Cesare v. Work,
                                                                36 Ohio App.3d 26, 520 N.E.2d 586, 589 (1987) (“Where
The Greene Plaintiffs cite two cases that hold otherwise,       claims are made under the [ODTPA], Ohio courts are
and they are the only two the Court has located that            to apply essentially the same analysis as that applied
hold that the plain language of the ODTPA is not so             in assessing the law of unfair competition under the
restrictive that it precludes a consumer from bringing an       federal statutes.”). Accordingly, the Court adopts the
action under the statute. See Schumacher v. State Auto.         view of the Ohio Court of Appeals and the majority of
Mut. Ins. Co., 47 F.Supp.3d 618, 630–33 (S.D. Ohio 2014);       district courts to consider the issue, and holds that the
Bower v. Int'l Bus. Machs., Inc., 495 F.Supp.2d 837, 842–       ODTPA does not confer standing upon consumers. See
44 (S.D. Ohio 2007). However, where, as here, a state's         Holbrook v. La.–Pac. Corp., 533 Fed.Appx. 493, 497 (6th
highest court has not directly addressed an issue, the          Cir. 2013) (citing Dawson to affirm the district court's
Court is bound by the decision of the state's appellate         holding that consumers lack standing to bring claims
courts. See V.S. v. Muhammad, 595 F.3d 426, 432 (2d Cir.        under the ODTPA). The Court therefore dismisses the
2010) (holding that a federal court “is bound to apply          Greene Plaintiffs' ODTPA claim.
the law as interpreted by a state's intermediate appellate



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                                                                       affecting commerce, and (3) the act proximately
                                                                       caused injury to the plaintiff.’ ” Bayer Cropscience
            e. North Carolina statutory claim                          LP v. Albemarle Corp., ––––Fed.Appx. ––––, ––––,
                                                                       2017 WL 2645547, at *3 (4th Cir. June 20, 2017)
In count three of the Complaint, the Greene Plaintiffs
                                                                       (quoting Dalton v. Camp, 353 N.C. 647, 548 S.E.2d
allege that Defendant's health claims regarding the Infant
                                                                       704, 711 (2001)). Because Defendant does not argue
Formula “had the tendency and capacity to mislead” and                 that the Greene Plaintiffs' NDTPA claim is otherwise
constituted deceptive acts or practices and unfair methods             deficient, the Court declines to consider whether the
of competition under the NCDTPA. (Compl. ¶¶ 113–14                     Greene Plaintiffs have stated a prima facie claim
(citing N.C. Gen. Stat. Ann. § 75–1.1).)                               under the NDTPA.
                                                                 *18 “Rule 9(b) requires that ‘[i]n alleging fraud or
Defendant argues that the Greene Plaintiffs' NCDTPA
                                                                mistake, a party must state with particularity the
claim is not pled with particularity and should be
                                                                circumstances constituting fraud or mistake.’ ” United
dismissed pursuant to Rule 9(b) of the Federal
                                                                States ex rel. Ladas v. Exelis, Inc., 824 F.3d 16, 25
Rules of Civil procedure because the Greene Plaintiffs
                                                                (2d Cir. 2016) (alteration in original) (quoting Fed. R.
“vaguely allege[ ] that [Plaintiff Wilkerson] purchased
                                                                Civ. P. 9(b)). “To satisfy this Rule, a complaint alleging
[the Infant Formula] after” reviewing a number of
                                                                fraud must ‘(1) specify the statements that the plaintiff
advertisements but “makes no allegation that [the
                                                                contends were fraudulent, (2) identify the speaker, (3)
annexed advertisement] was material to her decision to
                                                                state where and when the statements were made, and
purchase” the Infant Formula. (Def. Mem. 15.) The
Greene Plaintiffs argue that the Rule 9(b) pleading             (4) explain why the statements were fraudulent.’ ” 11 Id.
standard does not apply to NCDTPA claims, but that              (quoting Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124,
the Greene Complaint nevertheless satisfies Rule 9(b)           1128 (2d Cir. 1994)). “Ultimately, whether a complaint
because Plaintiff Wilkerson has alleged that Defendant's        satisfies Rule 9(b) depends upon the nature of the case, the
allergy claims informed her decision to purchase the Infant     complexity or simplicity of the transaction or occurrence,
Formula and that she would not have paid a premium for          the relationship of the parties and the determination
the formula if she had known the allergy claims were false      of how much circumstantial detail is necessary to give
and misleading. (Pls. Opp'n 15.)                                notice to the adverse party and enable him to prepare a
                                                                responsive pleading.” United States v. Wells Fargo Bank,
The parties identify divergent authority on whether             N.A., 972 F.Supp.2d 593, 616 (S.D.N.Y. 2013); see Kane
                                                                ex rel. U.S. v. Healthfirst, Inc., 120 F.Supp.3d 370, 383
NCDTPA claims 10 are subject to the Rule 9(b) standard.
                                                                (S.D.N.Y. 2015) (quoting same); U.S. ex rel. Bilotta v.
(See id. at 14 n.31 (citing CBP Res., Inc. v. SGS Control
                                                                Novartis Pharma. Corp., 50 F.Supp.3d 497, 508 (S.D.N.Y.
Servs., 394 F.Supp.2d 733, 739 (M.D.N.C. 2005) (Rule
                                                                2014) (quoting same); U.S. ex rel. Kester v. Novartis
9(b) does not apply)); Def. Mem. 15 (citing Hilco Transp.,
                                                                Pharma. Corp., 23 F.Supp.3d 242, 258 (S.D.N.Y. 2014)
Inc. v. Atkins, No. 14-CVS-8677, 2016 WL 197133, at *10
                                                                (quoting same); see also Rombach v. Chang, 355 F.3d
(N.C. Super. Jan. 15, 2016) (Rule 9(b) “may” apply)); Def.
                                                                164, 171 (2d Cir. 2004) (discussing the purpose of the
Reply 6 (citing Topshelf Mgmt., Inc. v. Campbell–Ewald
                                                                particularity requirement and emphasizing fair notice to
Co., 117 F.Supp.3d 722, 732 (M.D.N.C. 2015) (holding
                                                                the defendant).
that “several of the reasons” that led the court not to
apply Rule 9(b) in CBP Res., Inc. “either do not apply
                                                                11     In determining whether Plaintiffs have satisfied the
in the present case or can no longer be maintained in
                                                                       Rule 9(b) pleading standard, Second Circuit law
light of more recent developments”)).) The Court declines
                                                                       governs. See In re Ford Fusion & C–Max Fuel
to decide whether Rule 9(b) applies to NCDTPA claims
                                                                       Econ. Litig., No. 13-MD-2450, 2015 WL 7018369,
because, even assuming it does, the Greene Plaintiffs have
                                                                       at *13 (S.D.N.Y. Nov. 12, 2015) (“In evaluating the
met the Rule 9(b) pleading standard.                                   applicability of Rule 9(b), the Court also notes that,
                                                                       as is always the case, it is bound by Second Circuit law
10     “Under North Carolina law, to establish a prima                 pertaining to the applicability of Rule 9(b).” (citing
       facie claim under the [NCDTPA], a plaintiff must                Nw. Mut. Life Ins. Co. v. Banc of Am. Sec.,
       show: ‘(1) defendant committed an unfair or deceptive           LLC, 254 F.Supp.2d 390, 396–97 (S.D.N.Y. 2003)));
       act or practice, (2) the act[ ] in question is in or            Schwartzco Enters. LLC v. TMH Mgmt., LLC, 60



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       F.Supp.3d 331, 361 (E.D.N.Y. 2014) (“[B]ecause Rule        the plaintiff satisfied Rule 9(b) because the plaintiff
       9(b) is a rule promulgated pursuant to a federal           alleged that the defendants “made personal guarantees in
       statute, this Court is required to follow the precedent    national media advertisements,” that the plaintiff “heard
       of the Court of Appeals for the Second Circuit with        [the] [d]efendants' media advertisements” and that the
       respect to the interpretation and application of Rule
                                                                  plaintiff “relied on these representations”); In re Frito–
       9(b).” (alteration in original) (quoting Nw. Mut. Life
                                                                  Lay N. Am., Inc. All Nat. Litig., No. 12-MD-2413,
       Ins., 254 F.Supp.2d at 396)).
                                                                  2013 WL 4647512, at *23–24 (E.D.N.Y. Aug. 29, 2013)
The Greene Plaintiffs specify in the Complaint and attach         (holding that the plaintiffs met the Rule 9(b) heightened
to the Complaint examples of the representations by               pleading requirement because the plaintiffs “allege [d]
Defendant that the Greene Plaintiffs allege are false             that defendants PepsiCo and Frito–Lay (the ‘who’) falsely
and misleading, including the representations that the            stated that the products are ‘All Natural,’ but in fact,
Infant Formula is the “1st & only routine formula to              are not ... (the ‘what’),” and further alleged “[w]hen
reduce the risk of developing allergies” and that the             the defendants labeled, and the plaintiffs purchased, the
Infant Formula is “the first and only formula brand               products between January 1, 2010 and the present (the
made from 100% whey protein hydrolyzed, and that                  ‘when’), the plaintiffs relied on this representation, which
meets the criteria for a[n] FDA Qualified Health Claim            was placed prominently on the products' packaging (the
for atopic dermatitis.” (Compl. ¶¶ 56–61 (capitalization          ‘where’)”); cf. Amos v. Biogen Idec Inc., 28 F.Supp.3d 164,
omitted); Exs. A–F.) The Greene Plaintiffs allege that            172 (W.D.N.Y. 2014) (holding that the plaintiff did not
these representations were located in several places,             satisfy the Rule 9(b) standard where the plaintiff “made
including on a sticker placed on the Infant Formula,              only general allegations of fraudulent conduct,” upon
on the packaging in which the Infant Formula was                  information and belief, and failed to identify the specific
sold, in a television commercial dated April 9, 2012,             alleged misrepresentations).
and in a magazine advertisement dated August 5, 2013.
(Compl. ¶¶ 60, 63.) The Greene Plaintiffs also allege that         *19 The Court therefore finds that the Greene Plaintiffs
the representations are false and misleading because the          have identified the representations that they allege are
Infant Formula does not reduce the risk that infants will         false and misleading pursuant to Rule 9(b) and have pled
develop allergies and because Defendant failed to qualify         that those representations were material with requisite
its health claim regarding the Infant Formula's ability to        particularity. The Court therefore denies Defendant's
reduce the risk of infants developing atopic dermatitis in        motion to dismiss the Greene Plaintiffs' NCDTPA claim.
accordance with the FDA's proposals. (Id. ¶¶ 56–64.) The
Greene Plaintiffs further allege that they viewed and relied
on these representations before purchasing the Infant
                                                                                 f. New York statutory claims
Formula. (Id. ¶¶ 72–74.)
                                                                  In counts one and two of the Manemeit Complaint,
Based on these allegations, the Greene Plaintiffs have            Plaintiff Manemeit alleges that Defendant violated
identified with particularity the allegedly deceptive             sections 349 and 350 of the GBL by engaging
representations, the speaker, what was stated, when it was        in “consumer-oriented conduct” that falsely and
stated and where the statements were made. The Greene             misleadingly advertised the allergenic benefits of the
Plaintiffs have also explained why they allege that the           Infant Formula. (Manemeit Compl. ¶¶ 93–108.)
statements are deceptive and that the statements were
material. (See id.) These allegations satisfy Rule 9(b).          Defendant argues that the GBL claims should be
See In re Ford Fusion & C–Max Fuel Econ. Litig., No.              dismissed because Plaintiff failed to plead an injury from
13-MD-2450, 2015 WL 7018369, at *33 (S.D.N.Y. Nov.                the alleged misrepresentation and because Plaintiff “freely
12, 2015) (holding that the plaintiffs “sufficiently alleged      admits that [Defendant's] use of the [qualified health
the who, what, when, where, and why of the fraud at               claim] in its marketing materials was expressly permitted
issue under Rule 9(b)” because the plaintiffs identified          by FDA,” so the safe harbor provisions of the GBL
the “specific ads that made specific promises” regarding          apply. (Manemeit Def. Mem. 2.) Plaintiff argues that she
the products at issue); Weisblum v. Prophase Labs, Inc.,          alleges, under a price-premium theory of injury, that she
88 F.Supp.3d 283, 298 (S.D.N.Y. 2015) (finding that               would not have paid as much as she did for the Infant



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Formula had she known the allergy claims were false, and                require proof of reliance.” Ackerman v. Coca–Cola
that the GBL's safe harbor provisions do not apply here.                Co., No. 09-CV-0395, 2010 WL 2925955, at *23
(Manemeit Opp'n 8–9.)                                                   (E.D.N.Y. July 21, 2010) (first citing Leider v. Ralfe,
                                                                        387 F.Supp.2d 283, 292 (S.D.N.Y. 2005); and then
                                                                        citing Stutman v. Chem. Bank, 95 N.Y.2d 24, 29, 709
The Court first considers whether Plaintiff has sufficiently
                                                                        N.Y.S.2d 892, 731 N.E.2d 608 (2000)).
alleged an injury under GBL sections 349 and 350 and then
considers whether the safe harbor provision under GBL             *20 “An actual injury claim under [s]ection 349 typically
section 349 provides a defense to Plaintiff's claims.            requires a plaintiff to ‘allege that, on account of a
                                                                 materially misleading practice, she purchased a product
                                                                 and did not receive the full value of her purchase.’ ”
                                                                 Izquierdo v. Mondelez Int'l, Inc., No. 16-CV-4697, 2016
               i. GBL sections 349 and 350
                                                                 WL 6459832, at *7 (S.D.N.Y. Oct. 26, 2016) (quoting
GBL section 349 prohibits “[d]eceptive acts or practices         Orlander, 802 F.3d at 302). This prong may be satisfied
in the conduct of any business, trade or commerce or in          through an allegation that a plaintiff overpaid for the
the furnishing of any service in this state.” N.Y. Gen. Bus.     product, or, stated differently, “by a claim that a plaintiff
Law § 349. GBL section 350 prohibits “[f]alse advertising        paid a premium for a product based on [the] defendants'
in the conduct of any business, trade or commerce or in          inaccurate representations.” Ackerman v. Coca–Cola Co.,
the furnishing of any service in this state.” N.Y. Gen.          No. 09-CV-0395, 2010 WL 2925955, at *23 (E.D.N.Y.
Bus. Law § 350. To assert a claim under either section,          July 21, 2010); see also Orlander, 802 F.3d at 302
“a plaintiff must allege that a defendant has engaged            (explaining that in some cases the price premium theory
in (1) consumer-oriented conduct that is (2) materially          “show[s] that [the] plaintiff paid more than they would
misleading and that (3) [the] plaintiff suffered injury as a     have for the good but for the deceptive practices of the
result of the allegedly deceptive act or practice.” Orlander     defendant-sellers”).
v. Staples, Inc., 802 F.3d 289, 300 (2d Cir. 2015) (citing
Koch v. Acker, Merrall & Condit Co., 18 N.Y.3d 940, 944          Here, Plaintiff alleges that if she had known Defendant's
N.Y.S.2d 452, 967 N.E.2d 675 (2012)); see Maurizio v.            allergy claims were false, she would not have paid as
Goldsmith, 230 F.3d 518, 521 (2d Cir. 2000) (citing the          much as she did for the Infant Formula, and further
elements for a prima facie case under section 349).              states that parents value a formula's ability to protect their
                                                                 children from developing allergies. (Manemeit Compl.
Claims under GBL sections 349 and 350 are not subject            ¶¶ 13, 53, 74–75, 100–01, 106, 135, 140.) Plaintiff also
to the pleading-with-particularity requirements of Rule          alleges that another formula named “Parent's Choice,”
9(b). Schwartzco Enters. LLC v. TMH Mgmt., LLC, 60               which did not make allergy claims, is priced at a forty-
F.Supp.3d 331, 359 (E.D.N.Y. 2014) (quoting Pelman ex            one percent discount to the Infant Formula, and that
rel. Pelman v. McDonald's Corp., 396 F.3d 508, 511 (2d           Defendant suggested that Defendant's inability to make
Cir. 2005)); see also Leonard, 2012 WL 764199, at *19            the allergy claims negatively affected sales. (Id. ¶¶ 77–78.)
(considering case law and discerning a categorical rule          Plaintiff further alleges that she did not receive the benefit
that New York GBL section 349 claims, “regardless of             of her bargain because she paid for a benefit—the reduced
whether they ‘sound in fraud,’ or are premised on specific       risk of allergies—that the Infant Formula did not provide.
misrepresentations rather than an ‘advertising scheme,’          (Id.) These allegations are sufficient to state an injury
are not subject to the heightened pleading requirement of        under GBL sections 349 and 350 because they “claim
                                                                 that [ ] [P]laintiff paid a premium for a product based on
Rule 9(b)”). With an exception not relevant here, 12 “[t]he
                                                                 [Defendant's] inaccurate representations.” See Ackerman,
standard for recovery under ... [section] 350, while specific
                                                                 2010 WL 2925955, at *23; see also Koenig v. Boulder
to false advertising, is otherwise identical to section 349.”
                                                                 Brands, Inc., 995 F.Supp.2d 274, 288–89 (S.D.N.Y. 2014)
Goshen v. Mut. Life Ins. Co. of N.Y., 98 N.Y.2d 314, 324
                                                                 (finding a sufficiently-pled section 349 injury where the
n.1, 746 N.Y.S.2d 858, 774 N.E.2d 1190 (2002).
                                                                 plaintiff alleged that he would not have paid the price
                                                                 charged for “fat-free” milk had he known it contained fat);
12     “To prevail on a claim under GBL [section] 350, a         Ebin v. Kangadis Food Inc., No. 13-CV-2311, 2013 WL
       plaintiff must demonstrate reliance on defendants'        6504547 (S.D.N.Y. Dec. 11, 2013) (deeming the plaintiff's
       false advertising. However [section] 349 does not



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allegations sufficient to state a claim under GBL 349           lack allegations of both cheaper and exactly comparable
where “[t]he deception is the false and misleading label,       products to survive motions to dismiss. See Goldemberg
and the injury is the purchase price”); Lazaroff v. Paraco      v. Johnson & Johnson Consumer Cos., Inc., 8 F.Supp.3d
Gas Corp., 38 Misc.3d 1217A, 967 N.Y.S.2d 867 (N.Y.             467, 481–82 (S.D.N.Y. 2014) (explaining that courts
Sup. Ct. 2011) (finding a sufficiently-pled section 349         “have found valid [section] 349 claims despite plaintiffs
injury where the plaintiff alleged that he would not have       not identifying competitors or prices” and that “while
paid the price charged for a “[twenty] pound” propane           identifying the prices of competing products in the
cylinder had he known it contained only fifteen pounds of       [c]omplaint would strengthen [the p]laintiff's allegation of
propane).                                                       injury,” the allegations are not necessary to state a claim);
                                                                see also Orlander, 802 F.3d at 302 (reversing a district
Relying on Izquierdo, 2016 WL 6459832, at *7, Defendant         court and holding that the plaintiff had stated claims
argues that Plaintiff “must assert that she could have          under GBL sections 349 and 350 because “[p]laintiff has
purchased a substitute infant formula that also was made        alleged that he purchased a two-year ‘Carry-in’ Protection
from [partially hydrolyzed whey protein] but which does         Plan but did not receive the services that [d]efendant
not contain the [qualified health claim] or other alleged       misleadingly told [p]laintiff he was purchasing”); Stoltz
misstatement.” (Manemeit Def. Mem. 12.) Defendant               v. Fage Dairy Processing Indus., S.A., No. 14-CV-3826,
argues that Izquierdo is instructive because, in that case,     2015 WL 5579872, at *22 (E.D.N.Y. Sept. 22, 2015)
the plaintiffs brought a putative class action alleging that    (finding a sufficiently-pled section 349 injury where the
the defendant packaged its candy to give the appearance         plaintiffs alleged that “through the deceptive practice of
that the package contained more candy than it actually          marketing and selling their products ... [the defendants]
did, in violation of GBL section 349. Izquierdo, 2016 WL        have been able to command a premium price by
6459832, at *1–2. The court dismissed the plaintiffs' claim,    deceiving consumers about the attributes of their yogurts
finding that “[c]omparing the Candy to Hot Tamales and          and distinguishing themselves from similar products”);
Junior Mints is the saccharine equivalent of comparing          Weisblum, 88 F.Supp.3d at 292–93(finding a sufficiently-
apples with oranges. Such a comparison tells the [c]ourt        pled section 349 injury where the plaintiff alleged that
nothing about the value of the Candy, or whether the cost       he was damaged in the amount of the difference
of the Candy was inflated by [the defendant's] allegedly        in value between the product as advertised and the
misleading packaging.” Id. at *7. In addition, the court        product as actually sold); Koenig, 995 F.Supp.2d at 288
found that it was not clear that the price the plaintiffs       (finding a sufficiently-pled section 349 injury where the
paid “flowed from any act of [the defendant]” because the       plaintiffs alleged that they paid price premiums based on
complaint did not allege that the defendant, as opposed         the defendants' misrepresentations without identifying a
to the movie theater where plaintiffs had purchased the         specific comparable product).
candy, set the price of the candy and benefited from its
price inflation. Id.                                            In addition, to the extent that Defendant asks the Court
                                                                to assess the actual comparability of the Parent's Choice
 *21 To the extent that Izquierdo merely holds that             formula or determine whether other characteristics of the
plaintiffs cannot redress an injury under GBL sections          Infant Formula justified its higher price, these are factual
349 or 350 where they do not “allege [ ] that they paid a       determinations that cannot be resolved on a motion to
higher price for the [product] than they otherwise would        dismiss. See Kardovich v. Pfizer, Inc., 97 F.Supp.3d 131,
have, absent deceptive acts,” see id., the Court finds          140 (E.D.N.Y. 2015) (“[I]ssues of fact, credibility and
that Plaintiffs' allegations satisfy Izquierdo because she      the weight of the evidence are not properly considered
has alleged that she paid a higher price for the Infant         on a motion to dismiss.”); see also Ebin, 2013 WL
Formula than she would have paid absent the allergy             6504547, at *4–5 (finding a sufficiently-pled section 349
claims. (Manemeit Compl. ¶ 77.) However, to the extent          injury where the parties disputed the reason for price
that Izquierdo holds, as Defendant suggests, that Plaintiff     distinctions between the allegedly mislabeled product
must identify a precisely comparable product in order           and a comparable product). The Court therefore denies
to allege a GBL section 349 or 350 claim under a price          Defendant's motion to dismiss the GBL claims for failure
premium theory, Izquierdo contradicts the weight of the         to state an injury.
law in this Circuit. Courts routinely allow complaints that



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                                                              is the FDA 2011 Letter, which applies only to Defendant's
                                                              labels and not to its advertisements. (See FDA 2011 Letter
                ii. Safe harbor provisions
                                                              at 2.) Furthermore, Defendant has not explained why
Defendant also argues that the qualified health claims on     or how the FDA 2011 Letter qualifies as a “rule” or
the Infant Formula labels were approved by the FDA            “regulation” under the safe harbor provisions, and, absent
2011 Letter, and therefore Plaintiff Manemeit's claims are    any support, the Court is not convinced that it does.
barred by the safe harbor provisions of GBL sections          See, e.g., Carias v. Monsanto Co., No 15-CV-3677, 2016
349 and 350. (Manemeit Def. Mem. 12–13.) Plaintiff            WL 6803780, at *8 (E.D.N.Y. Sept. 30, 2016) (finding
argues that the FDA 2011 Letter was not a “regulation,”       that the EPA's approval of a pesticide label did not fall
such that compliance with it would provide safe harbor        within the GBL safe harbor in part because the approval
immunity, and that, even if the FDA 2011 Letter fell          lacked preemptive force); In re Frito–Lay N. Am. Inc.
within the scope of the safe harbor provision, Defendant      All Nat. Litig., 2013 WL 4647512, at *22 (denying a
did not comply with the FDA 2011 Letter. (Manemeit            motion to dismiss based on safe harbor because “it is
Opp'n 10.)                                                    not clear that FDA's [non-binding] guidance on ‘natural’
                                                              labeling is a ‘rule or regulation’ within the meaning of
GBL section 349(d) states:                                    [sections] 349(d) and 350–d”). Finally, even if the FDA
                                                              2011 Letter qualified as a “rule” or “regulation” under
           In any such action it shall                        the safe harbor provisions, Plaintiff's claim is premised on
           be a complete defense that the                     the idea that the Infant Formula was not in compliance
           act or practice is, or if in                       with the FDA 2011 Letter, which specified qualified
           interstate commerce would be,                      health claims that Defendant could place on its labels
           subject to and complies with the                   and prohibited Defendant from asserting that the Infant
           rules and regulations of, and the                  Formula could reduce the risk of infant allergies. (See
           statutes administered by, the federal              Manemeit Opp'n 11; Manemeit Compl. ¶¶ 11–12, 65–71.)
           trade commission or any official                   Thus, it is not clear that Defendant's labeling “compl[ied]
           department, division, commission                   with” the FDA's guidance, even if that guidance qualifies
           or agency of the United States as                  as a rule or regulation under the safe harbor provisions. 13
           such rules, regulations or statutes
           are interpreted by the federal trade               13     In addition, with respect to the safe harbor provision
           commission or such department,
                                                                     in section 350, Defendant has not identified a rule,
           division, commission or agency or
                                                                     regulation, or statute administered by the Federal
           the federal courts.
                                                                     Trade Commission or a state agency with which
                                                                     the Infant Formula complies. Based on the plain
N.Y. Gen. Bus. Law § 349(d). GBL section 350–d states:
                                                                     language of the statute, the FDA 2011 Letter does
           In any such action it shall                               not provide Defendant with a defense against the
                                                                     allegedly deceptive and misleading claims because
           be a complete defense that
                                                                     section 350 does not provide safe harbor for an
           the advertisement is subject to
                                                                     entity's compliance with an FDA regulation—only
           and complies with the rules
                                                                     for compliance with the regulations of “the Federal
           and regulations of, and the                               Trade Commission or any official department,
           statutes administered by the Federal                      division, commission or agency of the state of New
           Trade Commission or any official                          York.” N.Y. Gen. Bus. Law § 350–d. Defendant has
           department, division, commission or                       not provided support to the contrary.
           agency of the state of New York.
                                                               *22 Defendant cannot obtain safe harbor under sections
N.Y. Gen. Bus. Law. § 350–d.                                  349 or 350 because Defendant has not argued—and
                                                              the Court is not convinced—that the FDA 2011 Letter
Both safe harbor provisions require Defendant to identify     constitutes a “rule” or “regulation” under the safe
a “rule” or “regulation” with which it has complied.          harbor provisions and, even if the FDA 2011 Letter did
However, the only rule or regulation Defendant identifies     constitute a “rule” or “regulation,” the parties dispute



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whether Defendant complied with the FDA 2011 Letter.              also De Sole v. Knoedler Gallery, LLC, 974 F.Supp.2d 274,
Because neither safe harbor applies to Defendant's alleged        314 (S.D.N.Y. 2013) (applying same elements); Woods v.
conduct, the Court denies Defendant's motion to dismiss           Maytag Co., 807 F.Supp.2d 112, 124 (E.D.N.Y. 2011)
Plaintiff's GBL claims.                                           (applying same elements). “Although a cause of action
                                                                  for fraud may be predicated on acts of concealment,
                                                                  there must first be proven a duty to disclose material
                                                                  information.” Dembeck v. 220 Cent. Park S., LLC, 33
                   g. Common law claims
                                                                  A.D.3d 491, 823 N.Y.S.2d 45 (2006) (first citing Jana L. v.
In counts four through seven of the Greene Complaint              W. 129th St. Realty Corp., 802 N.Y.S.2d 132 (App. Div.
and counts three through six of the Manemeit                      2005); and then citing Kaufman v. Cohen, 307 A.D.2d 113,
Complaint, Plaintiffs bring claims for fraudulent                 760 N.Y.S.2d 157 (2003)).
concealment, intentional misrepresentation, negligent
misrepresentation and unjust enrichment. (Greene                  “A duty to disclose arises in one of three circumstances:
Compl. ¶¶ 118–49; Manemeit Compl. ¶¶ 109–40.)                     where the parties are in a fiduciary relationship; under
Defendant argues that Plaintiffs have failed to allege at         the ‘special facts doctrine,’ where ‘one party possesses
least one element of each common law claim, but does              superior knowledge, not readily available to the other, and
not otherwise argue that Plaintiffs' common law claims are        knows that the other is acting on the basis of mistaken
                                                                  knowledge’; or where a party has made a partial or
insufficient. 14 (See Def. Mem. 16) The Court accordingly
                                                                  ambiguous statement, whose full meaning will only be
analyzes the particular deficiencies that Defendant argues
                                                                  made clear after complete disclosure.” Aetna, 404 F.3d
are fatal to each of Plaintiffs' claims.
                                                                  at 582 (first citing Aaron Ferer & Sons Ltd. v. Chase
                                                                  Manhattan Bank, 731 F.2d 112, 123 (2d Cir. 1984); and
14     Defendant generally argues that Plaintiffs have not        then citing Brass v. Am. Film Techs., Inc., 987 F.2d 142,
       made particularized allegations of falsity, as required
                                                                  150 (2d Cir. 1993)).
       under Rule 9(b), and the Court addresses that
       argument in section II(g), infra.
                                                                   *23 Thus, with respect to the duty to disclose, “New
                                                                  York recognizes a cause of action to recover damages
                 i. Fraudulent concealment                        for fraud based on concealment, where the party to be
                                                                  charged has superior knowledge or means of knowledge,
Defendant argues that Plaintiffs have not alleged a               such that the transaction without disclosure is rendered
fiduciary or special relationship between the parties that        inherently unfair.” De Sole, 974 F.Supp.2d at 314 (internal
would support a claim for fraudulent concealment. 15              quotation marks omitted) (quoting Miele v. Am. Tobacco
(Def. Mem. 16.) Plaintiffs argue that New York courts             Co., 2 A.D.3d 799, 770 N.Y.S.2d 386, 391 (2003)); Abrams
do not require a fiduciary relationship where, as here, the       v. Gen. Motors Corp., 120 Misc.2d 371, 466 N.Y.S.2d
defendant made a “partial or ambiguous statement” and             124, (N.Y. Sup. Ct. 1983) (“If one party has superior
“had superior knowledge that was not available to [the            knowledge or has means of knowledge not available
plaintiff].” (Pls. Opp'n 18.)                                     to both parties, then he is under a legal obligation to
                                                                  speak and the silence would constitute fraud.”). Although
15                                                                normally this duty to disclose arises in the context of
       Defendant analyzes the common-law claims under
                                                                  “direct business transactions,” courts also impose the
       New York law for purposes of this motion. (Def.
       Mem. 15.) Plaintiffs do not object, (Pls. Opp'n 15
                                                                  duty on “a manufacturer who has exclusive knowledge
       n.33), and the Court therefore applies New York            of a product defect or danger.” Woods v. Maytag Co.,
       common law to the claims.                                  807 F.Supp.2d 112, 125 (E.D.N.Y. 2011); see also Miele,
                                                                  770 N.Y.S.2d at 390–91 (finding that, where the plaintiff
“The elements of fraudulent concealment under New
                                                                  alleged that the tobacco company defendants suppressed
York law are: a relationship between the contracting
                                                                  and disregarded test results not favorable to the tobacco
parties that creates a duty to disclose, knowledge of the
                                                                  industry and failed to disclose the addictive and dangerous
material facts by the party bound to disclose, scienter,
                                                                  nature of cigarettes, the plaintiff's claim for fraudulent
reliance and damage.” Aetna Cas. & Sur. Co. v. Aniero
                                                                  concealment was not preempted by the cigarette smoking
Concrete Co., Inc., 404 F.3d 566, 582 (2d Cir. 2005); see


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act); Standish–Parkin v. Lorillard Tobacco Co., 12 A.D.3d
301, 786 N.Y.S.2d 13, 14 (2004) (same); Stevenson Equip.          In a claim for intentional or fraudulent misrepresentation
v. Chemig Constr. Corp., 170 A.D.2d 769, 565 N.Y.S.2d             in New York, “a plaintiff must allege ‘a misrepresentation
318, 320 (1991) (holding that a seller of machinery could         or a material omission of fact which was false and known
be found liable for fraudulent concealment for failing to         to be false by [the] defendant, made for the purpose
inform a purchaser of its knowledge that the machinery            of inducing the other party to rely upon it, justifiable
had been stolen), aff'd 79 N.Y.2d 989, 584 N.Y.S.2d 434,          reliance of the other party on the misrepresentation or
594 N.E.2d 928 (1992).                                            material omission, and injury.’ ” Mandarin Trading Ltd.
                                                                  v. Wildenstein, 16 N.Y.3d 173, 178, 919 N.Y.S.2d 465,
Here, Plaintiffs have pled sufficient facts to support            944 N.E.2d 1104 (2011) (quoting Lama Holding Co. v.
either the theory that Defendant made a “partial or               Smith Barney, 88 N.Y.2d 413, 421, 646 N.Y.S.2d 76, 668
ambiguous statement” or that Defendant “possesse [d]              N.E.2d 1370 (1996)). Because intentional representation
superior knowledge, not readily available to [Plaintiffs],        is predicated on some act of fraud, a plaintiff must plead
and [knew] that [Plaintiffs were] acting on the basis             scienter, or fraudulent intent. “As to scienter, conclusory
of mistaken knowledge.” See Brass, 987 F.2d at 150;               assertions of intent are sufficient ‘if supported by facts
De Sole, 974 F.Supp.2d at 314. Plaintiffs allege that             giving rise to a strong inference of fraudulent intent.’ ”
Defendant “had a duty to disclose” but “intentionally             Aetna, 404 F.3d at 579 (quoting IUE AFL–CIO Pension
concealed the fact that [the Infant Formula] did not in           Fund v. Herrmann, 9 F.3d 1049, 1057 (2d Cir. 1993)).
fact reduce the risk of infant allergies; that there was          Although “[g]reat specificity as to scienter is not required,”
little scientific evidence supporting its atopic-dermatitis       plaintiffs “have the burden of pleading circumstances
claims; and that the FDA had not, in fact, unqualifiedly          that provide at least a minimal factual basis for their
endorsed these atopic-dermatitis claims.” (Compl. ¶¶ 119,         conclusory allegations of scienter.” Glidepath Holding
121.) Plaintiffs allege that Defendant's representations          B.V. v. Spherion Corp., 590 F.Supp.2d 435, 453 (S.D.N.Y.
that the Infant Formula “reduce[d] the risk of developing         2007) (quoting Cohen v. Koenig, 25 F.3d 1168, 1173 (2d
allergies” intentionally concealed the lack of evidence           Cir. 1994)); see also Tellabs Inc. v. Makor Issues & Rights,
to support the relationship between hydrolyzed whey               Ltd., 551 U.S. 308, 314, 127 S.Ct. 2499, 168 L.Ed.2d 179
protein and infant allergies, (id. ¶ 56), and Defendant's         (2007) (holding that a reviewing court “must ask: When
representation that the Infant Formula “m[et] the criteria        the allegations are accepted as true and taken collectively,
for a FDA Qualified Health Claim for atopic dermatitis”           would a reasonable person deem the inference of scienter
was partial or ambiguous because it implied that the              at least as strong as any opposing inference?”).
FDA fully endorsed Defendant's claims and exploited
consumers' lack of awareness about the “qualified health           *24 A plaintiff may plausibly plead scienter “through
claim” term of art, (id. ¶¶ 57–58). The Court therefore           allegations of a motive to deceive and access to accurate
denies Defendant's motion to dismiss Plaintiffs' fraudulent       information.” Aetna, 404 F.3d at 579 (internal quotation
concealment claim.                                                marks omitted) (quoting Cohen, 25 F.3d at 1173–
                                                                  74); see also Gabriele v. Am. Home Mortg. Serv.,
                                                                  Inc., 503 Fed.Appx. 89, 97 (2d Cir. 2012) (explaining
                                                                  that a party can demonstrate a “strong inference of
              ii. Intentional misrepresentation
                                                                  fraudulent intent by (1) alleging facts to show that
Defendant argues that Plaintiffs have not alleged specific        defendants had both motive and opportunity to commit
facts to give rise to an inference of fraudulent intent, as is    fraud, or by (2) alleging facts that constitute strong
required to state a claim of intentional misrepresentation        circumstantial evidence of conscious misbehavior or
in New York. (Def. Mem. 17.) Plaintiffs argue that they           recklessness” (alterations omitted) (quoting S.Q.K.F.C.,
have alleged fraudulent intent by alleging that Defendant         Inc. v. Bell Atl. TriCon Leasing Corp., 84 F.3d 629, 634 (2d
sponsored and was aware of the Lowe Study, “was aware             Cir. 1996))). “An egregious refusal to see the obvious, or
that there was little support for its atopic-dermatitis           to investigate the doubtful, may in some cases give rise to
claims” and “was aware of the FDA's limited endorsement           an inference of recklessness.” Chill v. Gen. Elec. Co., 101
of its health claims.” (Pls. Opp'n 17 (citing Compl. ¶¶ 51–       F.3d 263, 268 (2d Cir. 1996) (citation omitted). However,
52, 130).)                                                        “a pleading technique that couples a factual statement



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with a conclusory allegation of fraudulent intent” is            allege[d] that Frito–Lay knew the products contained
insufficient to “support the inference that the defendants       genetically modified corn” and, “[w]ithout knowledge of
acted recklessly or with fraudulent intent.” Rombach, 355        falsity, Frito–Lay could not have intended to defraud
F.3d at 176 (citation omitted) (finding that the plaintiffs      [the] plaintiffs”); Edward Tyler Nahem Fine Art, L.L.C.
had not alleged facts to support an inference that the           v. Barral, 136 A.D.3d 477, 24 N.Y.S.3d 634, 635 (2016)
defendants knew of specific facts contrary to their public       ( “Although [the] defendant's representations as to good
statements or that the defendants had a motive to defraud        title to the artwork all proved to be false, ... the record
the plaintiffs).                                                 does not sufficiently establish the requisite scienter”
                                                                 because “[t]he evidence does not show that [the] defendant
Here, the Court does not consider whether Plaintiffs have        had reason to doubt the veracity of its representation
adequately pled facts to support an inference of motive          that the artwork was imported lawfully but failed to
and opportunity because Plaintiffs have adequately pled          investigate before making it”). The Court therefore
facts to support an inference of “conscious misbehavior          denies Defendant's motion to dismiss the intentional
or recklessness.” See Gabriele, 503 Fed.Appx. at 97; see         misrepresentation claim.
also Glidepath, 590 F.Supp.2d at 456 n.8 (“However, [the
p]laintiffs need not plead both ‘motive and opportunity’
and ‘conscious misbehavior or recklessness' to prove
                                                                              iii. Negligent misrepresentation
scienter. One is sufficient.”). Plaintiffs have alleged that
Defendant was aware that its statements were false,               *25    As with Plaintiffs' claim of fraudulent
not only because Defendant sponsored the Lowe Study,             concealment, Defendant argues that Plaintiffs' negligent
whose results did not support Defendant's health claims,         misrepresentation claim fails because Plaintiffs have
but also because Defendant had corresponded with the             not alleged a fiduciary or special relationship between
FDA about how to circumscribe and cabin the health               the parties. (Def. Mem. 16.) Plaintiffs argue that they
claims to avoid deceiving consumers. (Compl. ¶¶ 48–51,           have pled a special relationship because Defendant had
53, 129–30.) Plaintiffs allege that although Defendant was       information that undermined the scientific support for its
aware of the attenuated relationship between partially           representations and knew consumers would rely on those
hydrolyzed whey formulas and allergy rates in infants            representations in purchasing the Infant Formula. (Pls.
and aware that the FDA considered Defendant's health             Opp'n 17–18.)
claims to be “misleading” in the absence of certain
heavy qualifiers, Defendant nevertheless marketed and            “A negligent misrepresentation is actionable under New
advertised the Infant Formula without the necessary              York law where the defendant has been careless ‘in
qualifiers. (Id. ¶¶ 42, 44, 53–55.) Viewing the facts in         imparting words upon which others were expected to
the light most favorable to Plaintiffs and drawing all           rely and upon which they did or failed to act to their
reasonable inferences in their favor, as required, Plaintiffs    damage,’ and whether the author of the statement has
have sufficiently pled facts to support an inference             ‘some relationship or duty ... to act with care’ vis-à -vis
of fraudulent intent. See Hughes v. Ester C Co., 930             the party at whom the statement is directed.” Aetna, 404
F.Supp.2d 439, 473 (2013) (finding that the plaintiffs           F.3d at 583 (quoting White v. Guarente, 43 N.Y.2d 356,
adequately alleged scienter where the defendants were            401, 401 N.Y.S.2d 474, 372 N.E.2d 315 (1977)). The New
aware of lacking supporting scientific evidence for their        York Court of Appeals has explained that:
claims); Lawati v. Montague Morgan Slade Ltd., 102
A.D.3d 427, 961 N.Y.S.2d 5, 8 (2013) (finding that the                       It is well settled that [a] claim for
plaintiff adequately alleged fraud where the defendant                       negligent misrepresentation requires
told one of plaintiff's investors about business operations                  the plaintiff to demonstrate (1) the
in a local office that did not actually exist, “permit[ting]                 existence of a special or privity-
a reasonable inference that he knew the statements ...                       like relationship imposing a duty
were false”); cf. In re Frito–Lay North Am., Inc. All Nat.                   on the defendant to impart correct
Litig., 2013 WL 4647512, at *26 (rejecting the plaintiffs'                   information to the plaintiff; (2)
argument that the defendant had displayed “conscious                         that the information was incorrect;
misbehavior or recklessness” where the “plaintiffs never



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            and (3) reasonable reliance on the                    F.3d 168, 188 (2d Cir. 2004) (internal quotation marks
            information.                                          omitted) (quoting Kimmell v. Schaefer, 89 N.Y.2d 257,
                                                                  264, 652 N.Y.S.2d 715, 675 N.E.2d 450 (1996)); see also
Abu Dhabi Commercial Bank v. Morgan Stanley & Co.                 Dallas Aerospace, Inc., 352 F.3d at 788 (“[T]he law of
Inc., 910 F.Supp.2d 543, 546 (S.D.N.Y. 2012) (quoting             negligent misrepresentation requires a closer degree of
Mandarin Trading, 16 N.Y.3d at 180, 919 N.Y.S.2d 465,             trust between the parties than that of the ordinary buyer
944 N.E.2d 1104);; see also Dallas Aerospace, Inc. v.             and seller in order to find reliance on such statements
CIS Air Corp., 352 F.3d 775, 788 (2d Cir. 2003) (“[T]he           justified.”); Landesbank Baden–Wurttemberg v. Goldman,
elements of negligent representation are: ... carelessness in     Sachs & Co., 821 F.Supp.2d 616, 623–34 (S.D.N.Y. 2011)
imparting words; ... upon which others were expected to           (“To state a claim for negligent misrepresentation in
rely; ... and upon which they did act or failed to act; ... to    connection with a commercial transaction, a plaintiff
their damage ... to one whom the declarant is bound by            must plead justifiable reliance.”). When a plaintiff fails
some relation or duty of care.”).                                 to allege the existence of a special relationship or
                                                                  the relationship is only “sparsely pled,” the plaintiff
A duty of care may arise when “there is actual privity of         must “emphatically allege [ ] the other two factors
contract between the parties or a relationship so close as        enunciated in Kimmell”—“whether the person making the
to approach that of privity.” Aetna, 404 F.3d at 584. The         representation held or appeared to hold unique or special
Second Circuit has noted that although some of its prior          expertise” and “whether the speaker was aware of the use
decisions “state that a negligent misrepresentation claim         to which the information would be put and supplied it
will not lie unless the parties share a fiduciary or otherwise    for that purpose.” Eternity Glob., 375 F.3d at 188 (first
‘special’ relationship, [those decisions] cannot be read to       quoting Suez Equity Investors, L.P. v. Toronto–Dominion
preclude such a cause of action brought on grounds of             Bank, 250 F.3d 87, 103 (2d Cir. 2001); and then quoting
privity or near-privity.” Id. at 584 n.15. “Courts have           Kimmell, 89 N.Y.2d at 264, 652 N.Y.S.2d 715, 675 N.E.2d
reconciled the discrepancy in the caselaw by recognizing          450).
a fiduciary duty as one, but not the exclusive, basis for a
negligent misrepresentation claim.” Id. (citing In re Leslie       *26 Here, Plaintiffs have not alleged a special
Fay Cos., 918 F.Supp. 749, 769 (S.D.N.Y. 1996) (“A                relationship between themselves and Defendant; they are
fiduciary relationship may be a sufficient condition to           a “faceless or unresolved class or persons” to whom
support a claim for negligent misrepresentation absent the        Defendant owed no special duty of care. See Aetna,
existence of actual privity; however, it is not a necessary       404 F.3d at 584. Nevertheless, the Court finds that
condition....”)). A relationship is considered “so close          Plaintiffs have “emphatically allege[d] the other two
as to approach that of privity” if: (1) “the defendant            factors enunciated in Kimmell,” see Eternity Glob., 375
makes a statement with the awareness that the statement           F.3d at 188, because they have alleged that Defendant had
was to be used for a particular purpose”; (2) “a known            unique expertise regarding the lack of scientific support
party or parties rely on this statement in furtherance of         for its representations about infant allergies and atopic
that purpose”; and (3) “there is some conduct by the              dermatitis, and that Defendant intended that Plaintiffs
defendant linking it to the party or parties and evincing         and other consumers would rely on those representations
[the] defendant's understanding of their reliance.” Id. at        in making purchasing decisions. (See Compl. ¶¶ 139–144.)
584. However, “where the statement at issue is directed at
a ‘faceless or unresolved class or persons,’ no duty of care      First, Plaintiffs sufficiently allege that Defendant's health
arises.” Id. (citing White v. Guarente, 43 N.Y.2d 356, 401        claims, as advertised, were rejected by the FDA and
N.Y.S.2d 474, 477, 372 N.E.2d 315 (1977)).                        that Defendant was in a unique position to know that.
                                                                  (Id. ¶¶ 6, 10, 40–45, 61.) Plaintiffs also sufficiently allege
“Because ‘casual’ statements and contacts are prevalent in        that Defendant was aware of at least one major study
business, liability in the commercial context is ‘imposed         that “conclusively refuted” Defendant's health claim,
only on those persons who possess unique or specialized           and that Defendant in fact sponsored that study and
expertise, or who are in a special position of confidence         provided it with staff and funding. (Id. ¶¶ 46–52.) These
and trust with the injured party such that reliance on the        are not merely “knowledge of the particulars of the
negligent misrepresentation is justified.’ ” Eternity Glob.       company's business,” which would “not constitute the
Master Fund Ltd. v. Morgan Guar. Trust Co. of N.Y., 375


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type of ‘specialized knowledge’ that is required in order         C in comparison to the numerous other brands of vitamin
to impose a duty of care.” See Trainum v. Rockwell                supplements on the market.”).
Collins, Inc., No. 16-CV-7005, 2017 WL 1093986, at
*4 (S.D.N.Y. Mar. 9, 2017) (citing JP Morgan Chase                 *27 The Court therefore concludes that although the
Bank v. Winnick, 350 F.Supp.2d 393, 402 (S.D.N.Y.                 parties engaged in a typical commercial transaction,
2004)). Instead, Defendant's representations suggested            Plaintiffs have pled facts sufficient to show that Defendant
specific scientific information to which Plaintiffs would         possessed special expertise and knowledge about the
not have had access and on which they could reasonably            health claims on its Infant Formula advertisements and
have relied. See Hughes, 930 F.Supp.2d at 475 (inferring          knew that Plaintiffs would rely on those claims. “Given
a special relationship between the parties because the            that a determination of whether a special relationship
defendants “held themselves out as holding a type of              exists is essentially a factual inquiry, these allegations
special expertise regarding the purported health benefits         are sufficient to overcome a motion to dismiss.” Suez
of Ester–C”); Wells Fargo Bank Nw., N.A. v. Taca Intern.          Equity, 250 F.3d at 104; see also Kimmell, 89 N.Y.2d at
Airlines, S.A., 247 F.Supp.2d 352, 366–67 (S.D.N.Y. 2002)         264, 652 N.Y.S.2d 715, 675 N.E.2d 450 (“Whether the
(finding that the lessee of an airplane had “made expert          nature and caliber of the relationship between the parties
representations about maintenance costs” of the aircraft          is such that the injured party's reliance on a negligent
and “had unique expertise in the intended conversion of           misrepresentation is justified generally raises an issue of
Airbus 300 aircraft from passenger to cargo use,” which           fact.”). Therefore, the Court denies Defendant's motion to
supported the lessor's argument); cf. Dallas Aerospace,           dismiss the negligent misrepresentation claim.
352 F.3d at 788–89 (finding as a relevant factor for
dismissal of negligent misrepresentation claim the fact
that the plaintiff held the relevant expertise with which
                                                                                     iv. Unjust enrichment
to assess the representations at issue); Eternity Glob., 375
F.3d at 189 (dismissing negligent misrepresentation claim         Defendant argues that Plaintiffs have failed to show
where the plaintiff was sophisticated in the same area of         “circumstances where equity and good conscience require
expertise as the defendant and, thus, the plaintiff's reliance    the [D]efendant to make restitution,” as required to
on the representation was unjustified); Alley Sports Bar,         support a claim for unjust enrichment under New
LLC v. SimplexGrinnell, LP, 58 F.Supp.3d 280, 294                 York law, and that Plaintiffs' unjust enrichment claim
(W.D.N.Y. 2014) (dismissing negligent misrepresentation           is duplicative of their statutory and common-law tort
claim against licensed fire alarm contractor because he           claims. (Def. Mem. 18 (citation and internal quotation
lacked the specialized training and expertise to justify the      marks omitted).); (Def. Reply 7.) Plaintiffs argue that
plaintiff's reliance on his statement).                           they have pled a claim for unjust enrichment because
                                                                  Defendant was “unjustly enriched by [its] sales of [the
Furthermore, Plaintiffs have sufficiently alleged that            Infant Formula] through the use of false advertising,”
Defendant knew that Plaintiffs would rely on those                and that their unjust enrichment claim is not duplicative
representations, as Defendant attempted to obtain                 because it would “survive the dismissal of their other
FDA approval for the representations and placed                   claims.” (Pls. Opp'n 16.)
them prominently on advertisements and on the Infant
Formula itself. (Compl. ¶¶ 42, 45, 55–61.) Moreover,              “To prevail on a claim for unjust enrichment in New
Plaintiffs have plausibly alleged that Defendant placed the       York, a plaintiff must establish (1) that the defendant
advertisements in direct-to-consumer magazines, (see id.          benefitted; (2) at the plaintiff's expense; and (3) that
¶¶ 62–63), and that Plaintiffs viewed those advertisements        equity and good conscience require restitution.” Beth
and considered the purported allergenic benefits of the           Israel Med. Ctr. v. Horizon Blue Cross & Blue Shield of
Infant Formula in deciding to purchase it, (id. ¶ 144). See       N.J., Inc., 448 F.3d 573, 586 (2d Cir. 2006) (quoting Kaye
Hughes, 930 F.Supp.2d at 475 (“[D]efendants understood            v. Grossman, 202 F.3d 611, 616 (2d Cir. 2000)). An unjust
that the content of their labeling, packaging and website—        enrichment claim may be premised on deceptive conduct.
indeed, all forms of their marketing and branding—would           Cox v. Microsoft Corp., 8 A.D.3d 39, 778 N.Y.S.2d
be used by consumers for the purpose of evaluating Ester–         147, 149 (2004) (“[P]laintiffs' allegations that Microsoft's
                                                                  deceptive practices caused them to pay artificially inflated



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prices for its products state a cause of action for unjust        863 N.E.2d 1012 (2007) (dismissing an unjust enrichment
enrichment.”). However, “unjust enrichment is not a               claim by a plaintiff who claimed to have purchased
catchall cause of action to be used when others fail ...          overpriced tires because, while “a plaintiff need not be
[and] [a]n unjust enrichment claim is not available where it      in privity with the defendant to state a claim for unjust
simply duplicates, or replaces, a conventional contract or        enrichment,” the parties must still have a relationship that
tort claim.” Corsello v. Verizon N.Y., Inc., 18 N.Y.3d 777,       is not “too attenuated”).
790, 944 N.Y.S.2d 732, 967 N.E.2d 1177 (2012). Unjust
enrichment is available:                                           *28 It is not clear that Plaintiffs' unjust enrichment
                                                                  claim would survive dismissal of their other common-
            only in unusual situations when,                      law claims, and Plaintiffs' arguments fail to persuade the
            though the defendant has not                          Court that the unjust enrichment claim is not duplicative
            breached a contract nor committed                     of those claims. See Buonasera v. Honest Co., Inc., 208
            a recognized tort, circumstances                      F.Supp.3d 555, 568 (S.D.N.Y. 2016) (dismissing an unjust
            create an equitable obligation                        enrichment claim where the plaintiff was “alleging tort
            running from the defendant to the                     causes of action and [ ] relying on the same set of facts for
            plaintiff. Typical cases are those in                 these causes of action as he [was] for the unjust enrichment
            which the defendant, though guilty                    claim”); Goldemberg, 8 F.Supp.3d at 483–84 (dismissing
            of no wrongdoing, has received                        an unjust enrichment claim under New York law as
            money to which he or she is not                       duplicative of claims alleging violations of New York
            entitled.                                             statutory law and breach of express warranty); Koenig,
                                                                  995 F.Supp.2d at 290–91 (“Yet an unjust enrichment claim
Id. (dismissing unjust enrichment claim where it was based
                                                                  cannot survive ‘where it simply duplicates, or replaces, a
on same allegations as inverse takings claim grounded in
                                                                  conventional contract or tort claim.’ ” (citing Corsello,
trespass).
                                                                  18 N.Y.3d at 790–91, 944 N.Y.S.2d 732, 967 N.E.2d
                                                                  1177)). Accordingly, the Court dismisses Plaintiffs' unjust
Plaintiffs have alleged violations of the NCDTPA,
                                                                  enrichment claim.
OCSPA and ODTPA, as well as several common-law
torts. (Compl. ¶¶ 93–149.) Plaintiffs' unjust enrichment
claim is based on the same allegations as those set
forth in support of these other claims, and Plaintiffs                           h. Pleading with particularity
have not shown how their unjust enrichment claim
differs from their other claims. Plaintiffs' brief footnote       Defendant argues that Plaintiffs have failed to “allege any
addressing the issue merely argues that “fraudulent intent        facts to demonstrate falsity” and instead “simply conclude
and a ‘special relationship’ are not elements of unjust           that the statements are false,” which is insufficient to state
enrichment, so Plaintiffs' unjust-enrichment claim would          fraud-based claims under Rule 9(b). (Def. Mem. 7–9.)
survive dismissal of their other common-law claims.” (Pls.        Plaintiffs argue that “large portions of the Complaint are
Opp'n 16 n.34.) However, as Defendant notes, unjust               dedicated to describing the false and misleading nature of
enrichment does require “a connection between the parties         [Defendant's] advertisements,” and that the Court already
that [is] not too attenuated.” (Def. Reply 6); see Georgia        considered and rejected Defendant's argument as to falsity
Malone & Co., Inc. v. Rieder, 19 N.Y.3d 511, 517–18,              in Hasemann. (Pls. Opp'n 8.)
950 N.Y.S.2d 333, 973 N.E.2d 743 (2012) (dismissing
an unjust enrichment claim because “there is no claim             As the Court explained in Hasemann, Plaintiffs
that [the plaintiff] had anything other than arm's length         have sufficiently alleged the falsity of Defendant's
business interactions with [the defendants]”); Mandarin           representation that the Infant Formula is the “1st & only
Trading, 16 N.Y.3d at 182, 919 N.Y.S.2d 465, 944                  routine formula to reduce the risk of developing allergies,”
N.E.2d 1104 (dismissing an unjust enrichment claim                and the misleading nature of Defendant's representation
because of “the lack of allegations that would indicate a         that the FDA had endorsed its qualified health claim
relationship between the parties, or at least an awareness        regarding atopic dermatitis. See Hasemann, 2016 WL
by [the defendant] of [the plaintiff's] existence”); Sperry v.    5477595, at *16. The Court declines to reconsider that
Crompton Corp., 8 N.Y.3d 204, 215–16, 831 N.Y.S.2d 760,           holding here, where Plaintiffs' claims are predicated on



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the same alleged conduct and where the allegations in            (noting that fraud claims may be “unsuited for class
both the Hasemann action and here, in Greene and                 action treatment”). However, the Second Circuit has
Manemeit, are nearly identical. Accordingly, Plaintiffs          made clear that it will not adopt a blanket rule barring
have sufficiently alleged that Defendant's assertion that        reliance-based class actions and has noted that some
the Infant Formula reduces the risk of infant allergies is       actions involving individual reliance “do appear within
false and that Defendant's qualified health claim regarding      the contemplation of Rule 23's drafters”—namely, those
atopic dermatitis is misleading.                                 actions predicated on similar misrepresentations across
                                                                 class members. McLaughlin v. Am. Tobacco Co., 522 F.3d
                                                                 215, 224–25 (2d Cir. 2008) (citing Fed. R. Civ. P. 23(b)
                                                                 (3) Advisory Committee Notes (“[A] fraud perpetrated on
            i. Motion to strike class allegations
                                                                 numerous persons by the use of similar misrepresentations
Defendant argues that the Court should strike the                may be an appealing situation for a class action, and
nationwide class allegations from the Complaint because          it may remain so despite the need, if liability is found,
“individual issues of fact defeat commonality and                for separate determination of the damages suffered by
predominance” and “differences among state laws with             individuals within the class.”)), abrogated on other grounds
respect to Plaintiffs' common law claims preclude class          by Bridge v. Phx. Bond & Indem. Co., 553 U.S. 639,
certification as a matter of law.” (Def. Mem. 22, 25             128 S.Ct. 2131, 170 L.Ed.2d 1012 (2008). Plaintiffs allege
(capitalization omitted).) Plaintiffs argue that Defendant's     the use of similar misrepresentations through a handful
motion to strike is premature, that they have plausibly          of advertisements and commercials marketing the same
alleged that they will be able to satisfy commonality and        product quality. (See Compl. ¶¶ 57–63.)
predominance, and that Defendant has “not identified
any material conflicts between the state laws at issue            *29 Moreover, as courts in this Circuit have repeatedly
here.” (Pls. Opp'n 22.)                                          held, “a determination of whether the Rule 23
                                                                 requirements are met is more properly deferred to the
                                                                 class certification stage, when a more complete factual
                                                                 record can aid the Court in making this determination.”
            i. Commonality and predominance                      Mazzola, 849 F.Supp.2d at 410; see, e.g., Chenensky v.
                                                                 N.Y. Life Ins. Co., No. 07-CV-11504, 2011 WL 1795305,
At this stage of the proceeding, the Court declines to
                                                                 at *1 (S.D.N.Y. Apr. 27, 2011); Ironforge.com v. Paychex,
strike the nationwide class allegations on commonality
                                                                 Inc., 747 F.Supp.2d 384, 404 (W.D.N.Y. 2010); Cohen
and predominance grounds. Defendant argues that
                                                                 v. Gerson Lehrman Grp., Inc., 686 F.Supp.2d 317, 324
Plaintiffs' common-law claims would require numerous
                                                                 (S.D.N.Y. 2010); Ruggles v. Wellpoint, Inc., 253 F.R.D.
individualized inquiries that preclude class certification.
                                                                 61, 67 (N.D.N.Y. 2008). Defendant's motion to strike is
In particular, Defendant argues that “Plaintiffs' common
                                                                 premature because it is based on grounds that are not
law claims require a showing that Plaintiffs and
                                                                 “separate and apart from the issues that will be decided
the putative class relied on [Defendant's] marketing
                                                                 on a class certification motion.” See Chen–Oster, 877
statements regarding infant allergies and atopic
                                                                 F.Supp.2d at 117. Nor has Defendant persuaded the
dermatitis. By definition, reliance is an individualized
                                                                 Court that “it would be impossible to certify the alleged
factual inquiry that will require a series of mini-trials for
                                                                 class regardless of the facts Plaintiffs may be able to
each putative class member.” (Def. Mem. 23.)
                                                                 obtain during discovery.” Mayfield, 95 F.Supp.3d at 696.
                                                                 Defendant may re-assert its arguments, if applicable, at
It is possible that some of the putative class members did
                                                                 the class certification stage.
not rely on Defendant's marketing statements, and it is
conceivable that the class as currently drawn will have
to be narrowed in order to be certified. See In re Grand
Theft Auto Video Game Consumer Litig., 251 F.R.D.                                ii. Differences in state law
139, 147 (S.D.N.Y. 2008) (decertifying a class where
reliance element would require individualized inquiry);          Defendant also argues that “[c]ourts routinely deny
see also Kottler v. Deutsche Bank AG, No. 05-CV-7773,            certification of a nationwide class when a trial would
2010 WL 1221809, at *3 (S.D.N.Y. Mar. 29, 2010)                  involve the application of the common law of the [fifty]



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states.” (Def. Mem. 24.) However, courts in the Second            consider in deciding whether to certify the class. Nor has
Circuit have recognized that “[w]hen a class action raises        Defendant yet established that the standards of liability
common issues of conduct that would establish liability           in relevant states are sufficiently different that they would
under a number of states' laws, it is possible for those          raise insurmountable case management issues or render
common issues to predominate and for class certification          class issues insufficiently predominant.
to be an appropriate mechanism for handling the dispute.”
Reynolds, 136 F.Supp.3d at 518 (internal quotation marks          Because Defendant has not demonstrated that “it would
                                                                  be futile to allow [P]laintiffs to conduct discovery” or
omitted) (quoting Steinberg v. Nationwide Mut. Ins. Co.,
                                                                  that “[P]laintiffs' theory for class certification is simply
224 F.R.D. 67, 79 (E.D.N.Y. 2004)); see also In re
                                                                  foreclosed,” Calibuso, 893 F.Supp.2d at 388, the Court
Buspirone Patent Litig., 185 F.Supp.2d 363, 377 (S.D.N.Y.
                                                                  denies Defendant's motion to strike the class allegations.
2002) (quoting same). “The spectre of having to apply
different substantive law does not warrant refusing to
certify a class on ... common-law claims.” Reynolds, 136            III. Conclusion
F.Supp.3d at 518 (quoting In re LILCO Secs. Litig., 111            *30 For the foregoing reasons, the Court declines to
F.R.D. 663, 670 (E.D.N.Y. 1986)).                                 dismiss or stay the Greene Complaint pursuant to the
                                                                  primary jurisdiction doctrine, grants Defendant's motion
To the extent that the laws of various states differ,             to dismiss the Greene Plaintiffs' claims under the OCSPA
those concerns may be “lessened where the states' laws            and ODTPA, and denies Defendant's motion to dismiss
do not vary materially.” In re U.S. Foodservice Inc.              the Greene Plaintiffs' claims under the NCDTPA. As to
Pricing Litig., 729 F.3d 108, 127 (2d Cir. 2013); see also        the Manemeit Complaint, the Court denies Defendant's
Klay v. Humana, Inc., 382 F.3d 1241, 1262 (11th Cir.              motion to dismiss the claims brought pursuant to sections
2004) (“[I]f the applicable state laws can be sorted into         349 and 350 of the GBL. As to the Greene and Manemeit
a small number of groups, each containing materially              Complaints, the Court finds that Plaintiffs lack standing
identical legal standards, then certification of subclasses       to seek injunctive relief; grants Defendant's motion to
embracing each of the dominant legal standards can be             dismiss the unjust enrichment claims; denies Defendant's
appropriate.”), abrogated on other grounds by Bridge v.           motion to strike the nationwide class allegations; and
Phx. Bond & Indem. Co., 553 U.S. 639, 128 S.Ct. 2131,             denies Defendant's motion to dismiss the fraudulent
170 L.Ed.2d 1012 (2008). “Thus, the crucial inquiry is not        concealment, intentional misrepresentation and negligent
whether the laws of multiple jurisdictions are implicated,        misrepresentation claims.
but whether those laws differ in a material manner that
precludes the predominance of common issues.” In re.              SO ORDERED.
U.S. Foodservice Inc., 729 F.3d at 127.

Before discovery into the class, it is impossible for the         All Citations
Court to determine how many states' laws are implicated
in this action, how many of those laws vary, and how              --- F.Supp.3d ----, 2017 WL 3327583
many variances are material to the factors the Court will

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                                                                      transferred to the undersigned on May 28, 2014. (See
                                                                      Minute Entry dated May 28, 2014.)
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    Only the Westlaw citation is currently available.
                                                                 I. Background
             United States District Court,
                   E.D. New York.                                a. Parties

       Deborah C. HARTE on behalf of herself                 Plaintiff is a resident of Brooklyn, New York. 2 (Compl.
                                                             ¶ 6, annexed to Notice of Removal as Ex. A.) OFC is
        and others similarly situated, Plaintiff,
                                                             organized under the laws of the state of Florida with
                          v.
                                                             a principal place of business in Atlanta, Georgia. (Id. ¶
       OCWEN FINANCIAL CORP. and Ocwen
                                                             7.) OFC “is a financial services holding company which,
          Loan Servicing, LLC, Defendants.                   through its subsidiaries, engages in the servicing and
                                                             origination of mortgage loans.” (Id.) OLS is a Delaware
                 No. 13–CV–5410 (MKB).
                                                             corporation and a wholly owned subsidiary of OFC. (Id.
                            |
                                                             ¶ 8.) OLS is licensed to service mortgages in all 50 states,
                  Signed Sept. 19, 2014.
                                                             as well as the District of Columbia and two United States
Attorneys and Law Firms                                      territories. (Id.)

Robert Ira Harwood, Benjamin Isaac Sachs-Michaels,           2        In reviewing a motion to dismiss under Rule 12(b)
James Gerard Flynn, Harwood Feffer LLP, New York,                     (6) of the Federal Rules of Civil Procedure, the Court
NY, for Plaintiff.                                                    accepts all of the factual allegations in the Complaint
                                                                      as true. See Ashcroft v. Iqbal, 556 U.S. 662, 678, 129
Brian M. Forbes, Robert Bruce Allensworth, Robert
                                                                      S.Ct. 1937, 173 L.Ed.2d 868 (2009); Matson v. Bd. of
W. Sparkes, K&L Gates LLP, Boston, MA, David S.                       Educ., 631 F.3d 57, 63 (2d Cir.2011).
Versfelt, Kirkpatrick Lockhart Preston Gates Ellis LLP,
New York, NY, for Defendants.
                                                                 b. Defendants' general loan modification scheme
                                                             OLS 3 solicits modifications of home mortgage loans from
                                                             borrowers through mailings and customer service calls.
             MEMORANDUM & ORDER
                                                             (Id. ¶ 3.) Through the solicitation of loan modifications,
MARGO K. BRODIE, District Judge.                             OLS sought to increase its own fees through a “dual
                                                             tracking” scheme which involves the following steps: (1)
 *1 Plaintiff Deborah C. Harte commenced this action         OLS solicits homeowners to apply for loan modifications,
in New York Supreme Court, Kings County, on                  which requires homeowners to submit documentation to
behalf of herself and a class of similarly situated          OLS, and falsely denies receiving homeowner documents,
homeowners nationwide, alleging that Defendants Ocwen        (2) OLS then tells borrowers to withhold monthly
Financial Corporation (“OFC”) and Ocwen Loan                 mortgage payments while modification applications are
Servicing, LLC (“OLS”) (collectively “Defendants”),          pending knowing that such withholding would result in
made misrepresentations to mortgage borrowers in             fees, default and/or foreclosure, and (3) without sufficient
violation of New York statutory and common law. On           notice, OLS commences foreclosure proceedings against
September 30, 2013, Defendants removed this action to        borrowers with pending modification applications despite
the Eastern District of New York. 1 On February 7, 2014,     statements indicating that it would not do so. (Id. ¶¶ 4, 14.)
Defendants moved to dismiss the Complaint for failure to     OLS fails to make timely decisions on loan modifications,
state a claim. For the reasons set forth below, the Court    resulting in a borrower “limbo” where OLS is able to
grants in part and denies in part Defendants' motions.       accumulate revenue through penalty fees, back interest
                                                             and other foreclosure-related fees. (Id. ¶¶ 14–16.) After
1                                                            this “self-extended delay,” OLS declares the borrower in
       This action was originally removed to the Eastern
                                                             default, commences foreclosure and refuses to accept any
       District of New York's Central Islip courthouse and
                                                             payment other than the entire amount overdue. (Id. ¶ 16.)
       assigned to Judge Leonard D. Wexler. The action was




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3      The Complaint does not distinguish between any            Regarding Your Modification Application” (“Important
       specific actions taken by OFC and OLS. Instead,           Information Document”), which stated that “[w]hile we
       the Complaint states that all actions were taken by       consider your request [for a modification], we will not
       Ocwen collectively. However, the Complaint also           initiate a new foreclosure action.” 4 (Compl.¶ 84.) On
       makes clear that OFC is a parent company and              December 28, 2011, Plaintiff returned this agreement form
       only engages in the servicing of mortgage loans
                                                                 to OLS, along with an eleven-page modification form,
       through its subsidiaries. (Compl.¶ 7.) The Complaint
                                                                 an economic hardship letter, tax documents, pay stubs,
       also makes clear that OLS is the entity licensed
                                                                 certifications of rent payments and proof of receipt of
       to actually service mortgages and that OLS is a
                                                                 monthly child support payments. (Id. ¶ 23.)
       subsidiary of OFC. (Id. ¶ 8.) The Court reads
       all specific allegations concerning actual contact
       between Plaintiff and “Ocwen,” “Defendants” or            4      The Complaint does not state whether Plaintiff
       the “Company” to refer to OLS. Such a reading                    received the Important Information Document with
       is consistent with the position taken by OLS and                 the Modification Application on December 16, 2011,
       OFC in their separate motions to dismiss and is                  or at some later date.
       the same approach taken by another court in this
                                                                  *2 By letter dated December 30, 2011, OLS notified
       Circuit when faced with the same situation and same
                                                                 Plaintiff that they had received her documentation and
       defendants. See Dumont v. Litton Loan Servicing,
       LP, No. 12–CV–2677, 2014 WL 815244, at *2 n. 1
                                                                 that she had been assigned a “relationship manager”
       (S.D.N.Y. Mar. 3, 2014) (“The TAC repeatedly refers       named Pradnya G. Naik. (Id. ¶ 24.) Plaintiff later
       to ‘Ocwen’ without distinguishing between the two         spoke to Naik, who directed Plaintiff to stop submitting
       Ocwen entities .... The Court therefore reads factual     mortgage payments until Plaintiff's modification had been
       allegations about loanspecific interactions between       processed. (Id. ¶ 25.) By letter dated January 2, 2012,
       Plaintiffs and ‘Ocwen’ to refer to interactions between   OLS requested additional information from Plaintiff.
       Plaintiffs and OLS.”). As the Dumont court noted,         (Id. ¶ 26.) On January 5, 2012, Plaintiff faxed the
       “[t]he alternative would be to summarily dismiss the      additional information, which included a recent bank
       claims against “Ocwen” for failure to distinguish         statement, photocopies of rent checks from Plaintiff's
       between the respective Defendants' conduct.” Id.          tenant, a signed statement from Plaintiff's tenant and
                                                                 a signed statement by Plaintiff and her child support
   c. Plaintiff's loan modification                              provider concerning child support payments. (Id.) On
On or about September 15, 2005, Plaintiff obtained a             January 10, 2012, OLS requested proof of receipt of
mortgage loan (the “Mortgage”) from Federal Mortgage             child support, the lease agreement between Plaintiff and
& Investment Corporation in the amount of $420,000. (Id.         her tenant, and recent bank statements demonstrating
¶ 18.) On March 13, 2008, Plaintiff's loan was modified,         rental income. (Id. ¶ 27.) On January 11, 2012, Plaintiff
resulting in an increased principal balance of $463,810.37.      faxed the requested information to OLS although the
(Id.) At some point between 2005 and 2010, OLS became            documentation had already been provided. (Id. ¶ 28.)
the servicer of Plaintiff's mortgage. (Id. ¶ 19.) In October     By letter dated January 16, 2012, OLS again requested
2011, Plaintiff received “literature” from OLS regarding         information concerning child support payments, rental
loan modification options. (Id. ¶ 20.) On October 21, 2011,      income and bank statements. (Id. ¶ 29.)
OLS sent a letter to Plaintiff discussing “alternatives to
foreclosure.” (Id. ¶ 21.) By letter dated December 16, 2011,     On at least one occasion between February 2012 and
OLS sent Plaintiff a packet describing the documentation         April 2012, Plaintiff contacted OLS expressing concern
required in order to effectuate a modification of her            that her application had been pending for a long time
loan. (Id. ¶ 22.) The packet, (“Modification Application”),      during which mortgage payments were not being made.
included a “Borrower/Co–Borrower Acknowledgement                 (Id. ¶ 30.) An OLS representative assured Plaintiff that
and Agreement,” which required the borrower's signature          OLS was still processing her modification and that during
and set forth the terms governing the relationship               this period the monthly amount due under the mortgage
between OLS and the borrower. (Id.; Modification                 was unknown. (Id.) By letter dated March 12, 2012,
Application dated Dec. 16, 2011, annexed to the                  OLS notified Plaintiff that she had been assigned a new
Decl. of Brian M. Forbes as Ex. C.) Plaintiff also               “relationship manager” named Angie Garcia. (Id. ¶ 31.)
received a document titled “Important Information                By letter dated April 3, 2012, OLS acknowledged that


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Plaintiff requested a modification to her mortgage and          modification but claimed that this was due to Plaintiff's
stated “[w]hile we consider your request, we will not           failure to provide income documents. (Id. ¶ 41.) On May
initiate a new foreclosure action and we will not move          7, 2012, Plaintiff faxed OLS a recent bank statement and
ahead with foreclosure sale on an active foreclosure as         a letter by the child support provider attesting to his
long as we have received all required documents and you         monthly child support payments. (Id. ¶ 42.)
have met the eligibility requirements.” (Id. ¶ 33.)
                                                                5      The Home Affordable Application Program, known
By letter dated April 10, 2012, OLS requested Plaintiff's              as HAMP, “is a U.S. Department of the Treasury
lease agreement with her tenant, two bank statements                   program codified within the Emergency Economic
and a form concerning “non-borrower income.” (Id. ¶                    Stabilization Act of 2008, 12 U.S.C. §§ 5201–5261.”
34.) Of the requested items, only the last had not been                Jordan v. Chase Manhattan Bank, No. 13–CV–9015,
previously submitted. (Id.) By separate letter also dated              2014 WL 3767010, at *7 (S.D.N.Y. July 31, 2014).
April 10, 2012, OLS thanked Plaintiff for submitting                   “In very general terms, HAMP is designed to lower
her application and stated: “Based on our review                       the monthly mortgage payments of participating
of the information you provided, the Non–Borrower                      borrowers to an affordable level.” Dumont, 2014 WL
                                                                       815244, at *1.
Verification form is required to complete the application
process.” (Id. ¶ 35.) Plaintiff faxed to OLS a letter           On May 16, 2012, OLS filed a foreclosure action against
regarding the amount of rent charged to her tenant, a           Plaintiff in New York Supreme Court, Kings County. (Id.
signed statement from Plaintiff's tenant attesting to the       ¶ 43.) As of that date, Plaintiff had not received a notice of
amount of rent, the lease agreement and Plaintiff's 2011        default. (Id.) On May 20, 2012, Plaintiff spoke with Garcia
schedule E taxes. (Id. ¶ 36.) By letter dated April 19, 2012,   but Garcia never mentioned to Plaintiff that foreclosure
the Company again claimed that Plaintiff's application          proceedings had been initiated. (Id. ¶ 44.) On May 21,
was incomplete and requested documents, all of which            2012, Plaintiff faxed OLS additional copies of paystubs.
Plaintiff had previously submitted. (Id. ¶ 37.) A separate      (Id.)
letter, also dated April 19, 2012, requested the same
information of the other letter and, for the first time,        By letter dated May 24, 2012, OLS again thanked
a copy of Plaintiff's divorce decree and a separation           Plaintiff for submitting her application and claimed that
agreement or other legal document specifying the amount,        additional documents were required in order to process
duration and frequency of child support payments. (Id. ¶        the application. (Id. ¶ 45.) By letter dated June 1, 2012,
38.) Plaintiff had already discussed with one or both of her    OLS thanked Plaintiff for her application and enclosed a
“relationship managers” that her child support payments         list of frequently asked questions. (Id. ¶ 46.)
were not governed by any legal document. (Id.)
                                                                In approximately the beginning of June 2012, Plaintiff
 *3 By letter dated April 24, 2012, OLS informed Plaintiff      began to receive correspondence and telephone messages
that, based on the information Plaintiff had provided,          from third parties claiming to help homeowners facing
she was not eligible for a HAMP modification. 5 (Id.            foreclosure. (Id. ¶ 47.) As a result of this correspondence,
¶ 39.) The letter also stated that documents were still         Plaintiff became aware of her foreclosure. (Id.)
missing from Plaintiff's application. (Id.) Specifically, OLS
needed proof that Plaintiff had been receiving regular          By letter dated July 8, 2012, OLS notified Plaintiff that if it
child support and/or alimony payments, a copy of the            did not receive the outstanding documentation, Plaintiff's
lease agreement between Plaintiff and her tenant and            modification application would be denied. (Id. ¶ 48.) By
two recent bank statements. (Id.) Plaintiff had previously      letter dated July 9, 2012, OLS stated that it had sent
provided all of this documentation. (Id.) A separate letter,    Plaintiff a notice of default and that OLS wanted to
also dated April 24, 2012, stated that Plaintiff was not        assist Plaintiff in bringing her loan current. (Id. ¶ 49.) The
eligible for a loan modification, that there were missing       letter suggested that Plaintiff attempt to modify her loan.
documents, that notification had been sent regarding these      (Id.) Plaintiff subsequently received a notice of default,
documents and that OLS had received no response from            dated July 11, 2012. (Id. ¶ 50.) Plaintiff also continued
Plaintiff. (Id. ¶ 40.) By letter dated April 27, 2012, OLS      to receive letters concerning her modification application
again notified Plaintiff that she was not eligible for a        and outstanding documents. (Id. ¶¶ 51–52.)



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                                                                 in original) (quoting Iqbal, 556 U.S. at 679). Although
On December 18, 2012, Plaintiff filed a Chapter 13               all allegations contained in the complaint are assumed
Petition for Bankruptcy Protection in the United States          true, this principle is “inapplicable to legal conclusions.” 6
Bankruptcy Court for the Eastern District of New York.           Iqbal, 556 U.S. at 678.
(Id. ¶ 54.)
                                                                 6       When deciding a motion to dismiss, a court's review
   d. OLS' similar conduct with other homeowners                         is limited to the four corners of the complaint but
                                                                         a court may also review (1) documents attached
 *4 In 2010, OLS settled a multidistrict litigation
                                                                         to the complaint, (2) any documents incorporated
consolidated in the Northern District of Illinois, which
                                                                         in the complaint by reference, (3) any documents
entailed allegations of unlawful and predatory behavior
                                                                         deemed integral to the complaint, and (4) public
against borrowers. (Id. ¶ 55.) In 2005, a Texas jury                     records. See Nielsen v. Rabin, 746 F.3d 58, 65 (2d
found OLS liable to a pair of borrowers with damages                     Cir.2014) (documents attached to the complaint and
amounting to $3,000,000. (Id. ¶ 56.) The Complaint                       those incorporated by reference); Global Network
lists five other court actions involving similar allegations             Commc'ns, Inc. v. City of New York, 458 F.3d 150, 156
against OLS, in addition to a number of consumer                         (2d Cir.2006) (documents integral to the complaint);
criticisms against OLS posted on internet messaging                      Blue Tree Hotels Inv. (Canada), Ltd. v. Starwood
boards. (Id. ¶¶ 58–67.) The Complaint also discusses                     Hotels & Resorts Worldwide, Inc., 369 F.3d 212, 217
various state and federal agency investigations into OLS's               (2d Cir.2004) (public records).
loan servicing practices. (Id. ¶ 68.)
                                                                   b. Breach of contract
                                                                 To establish a claim of breach of contract under New York
  II. Discussion                                                 law, a plaintiff must demonstrate “(i) the formation of
                                                                 a contract between the parties; (ii) performance by the
   a. Standard of Review
                                                                 plaintiff; (iii) failure of defendant to perform; and (iv)
In reviewing a motion to dismiss under Rule 12(b)(6) of
                                                                 damages.” Johnson v. Nextel Commc'ns, Inc., 660 F.3d
the Federal Rules of Civil Procedure, the court “must take
                                                                 131, 142 (2d Cir.2011) (citing Eternity Global Master Fund
all of the factual allegations in the complaint as true.”
                                                                 Ltd. v. Morgan Guar. Trust Co. of N.Y., 375 F.3d 168,
Pension Ben. Guar. Corp. ex rel. St. Vincent Catholic Med.
                                                                 177 (2d Cir.2004)); see also Hudson & Broad, Inc. v. J.C.
Centers Ret. Plan v. Morgan Stanley Inv. Mgmt. Inc., 712
                                                                 Penney Corp., Inc., 553 F. App'x 37, 38 (2d Cir.2014)
F.3d 705, 717 (2d Cir.2013) (quoting Ashcroft v. Iqbal, 556
                                                                 (quoting Harsco Corp. v. Segui, 91 F.3d 337, 348 (2d
U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009));
                                                                 Cir.1996)).
see also Lundy v. Catholic Health Sys. of Long Island
Inc., 711 F.3d 106, 113 (2d Cir.2013) (quoting Holmes
v. Grubman, 568 F.3d 329, 335 (2d Cir.2009)); Matson
                                                                     i. Breach of the Mortgage 7
v. Bd. of Educ., 631 F.3d 57, 63 (2d Cir.2011) (quoting
                                                                 7       Count one of the Complaint, for breach of
Connecticut v. Am. Elec. Power Co., 582 F.3d 309, 320
                                                                         contract does not specify any particular contract
(2d Cir.2009)). A complaint must plead “enough facts to
                                                                         and instead alleges that Defendants entered into
state a claim to relief that is plausible on its face.” Bell
                                                                         “various contractual agreements” with Plaintiff and
Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct.
                                                                         putative class members and that these agreements
1955, 167 L.Ed.2d 929 (2007). A claim is plausible “when                 provided that Defendants would institute foreclosure
the plaintiff pleads factual content that allows the court               proceedings in the event of Plaintiff's default.
to draw the reasonable inference that the defendant is                   (Compl.¶ 80.) Moreover, as alleged in the Complaint,
liable for the misconduct alleged.” Matson, 631 F.3d at                  Plaintiff's claim is based on Defendant's breach of
63 (quoting Iqbal, 556 U.S. at 678); see also Pension Ben.               “the agreements by foreclosing on Plaintiff and Class
Guar. Corp., 712 F.3d at 717–18. “[W]here the wellpleaded                Members when they were not in default and/or had
facts do not permit the court to infer more than the mere                not received notice of default.” (Id.) However, in
possibility of misconduct, the complaint has alleged—but                 opposition to OLS' motion to dismiss, Plaintiff argues
it has not ‘show[n]’—‘that the pleader is entitled to relief.’           that her breach of contract claim is based only on
                                                                         OLS' violation of the “acceleration provision” of
” Pension Ben. Guar. Corp., 712 F.3d at 718 (alteration



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       Plaintiff's Mortgage. (Pl. OLS Opp'n 8.) It appears       Group, Inc., 776 F.Supp. 155, 166 (S.D.N.Y.1991)),
       then that Plaintiff has abandoned any breach of           aff'd sub nom. In re Cavalry Const., 425 F. App'x
       contract claim based on any other of the “various         70 (2d Cir.2011); CDJ Builders Corp. v. Hudson Grp.
       contractual agreements” except for the Modification       Const. Corp., 67 A.D.3d 720, 889 N.Y.S.2d 64, 65
       Application discussed infra, Part II.b.ii.
                                                                 (App.Div.2009) (“Liability for breach of contract does not
 *5 Plaintiff's breach of contract claim is based on a           lie absent proof of a contractual relationship or privity
violation of her underlying Mortgage. OLS argues that            between the parties.” (quoting Hamlet at Willow Creek
Plaintiff's claim fails as a matter of law because OLS is        Dev. Co., LLC v. Ne. Land Dev. Corp., 64 A.D.3d 85, 878
not a party to the Mortgage. (OLS Mem. 8.) Plaintiff             N.Y.S.2d 97, 112 (App.Div.2009))). Courts in this Circuit,
acknowledges that OLS was not a party to the Mortgage            interpreting New York caselaw, have come to recognize
but argues that Plaintiff and OLS were in the “functional        an exception to this general precept for non-signatories
equivalent of privity.” 8 (Pl. OLS Opp'n Mem. 9.) 9              who are in the “functional equivalent of privity.” In re
For the reasons discussed below, the Court agrees with           Cavalry Constr., Inc., No. 07–22707, 2013 WL 5682741,
Plaintiff but grants OLS' motion to dismiss based on             at *3–4 (Bankr.S.D.N.Y. Oct.18, 2013) (noting that the
Plaintiff's failure to plead such a theory of liability in the   exception is “well established” in tort but recognizing
Complaint.                                                       that “several cases have applied the doctrine to breach
                                                                 of contract claims”); Aktas v. JMC Dev. Co., Inc., 877
8                                                                F.Supp.2d 1, 27 (N.D.N.Y.2012) (“Courts in New York
       The Complaint also states that Defendants “assumed
                                                                 have routinely, ‘refused to dismiss breach of contract
       the obligations of Plaintiff's and the Class Members'
       loan agreements when it took over servicing their
                                                                 causes of action asserted by property owners against
       loans.” (Compl.¶ 79.) Such an assumption of the           subcontractors who performed construction services on
       contract would be sufficient to satisfy the first prong   their property’.” (quoting Logan–Baldwin v. L.S.M. Gen.
       of a breach of contract claim. Excelled Sheepskin &       Contractors, Inc., 94 A.D.3d 1466, 942 N.Y.S.2d 718, 721
       Leather Coat Corp. v. Oregon Brewing Co., No. 12–         (App.Div.2012))), aff'd, 563 F. App'x 79 (2d Cir.2014);
       CV–01416, 2014 WL 3874193, at *12 (S.D.N.Y. Aug.          Keywell L.L.C. v. Pavilion Bldg. Installation Sys., Ltd.,
       5, 2014) (“It is hornbook law that a nonsignatory to a    861 F.Supp.2d 120, 129 (W.D.N.Y.2012) (“New York law
       contract cannot be named as a defendant in a breach       does recognize that, even in the absence of a formal signed
       of contract action unless it has thereafter assumed       contract, the ‘functional equivalent of privity’ may exist in
       or been assigned the contract.” (quoting Crabtree         construction situations under certain circumstances when
       v. Tristar Auto. Grp., Inc., 776 F.Supp. 155, 166
                                                                 a project's owner and a subcontractor engaged in direct
       (S.D.N.Y.1991))); Pereira v. Ocwen Loan Servicing,
                                                                 dealings.”); see also Town of Oyster Bay v. Lizza Indus.,
       LLC, No. 11–CV–2672, 2012 WL 1379340, at *4
                                                                 Inc., 22 N.Y.3d 1024, 1030, 981 N.Y.S.2d 643 (2013)
       (E.D.N.Y. Mar.12, 2012) (“If the note was assigned
       to Ocwen, Plaintiffs have sufficiently pled a breach      (“Even if the plaintiff is not a party to the underlying
       of contract.”), report and recommendation adopted,        construction contract, the claim may accrue ... where
       No. 11–CV–2672, 2012 WL 1381193 (E.D.N.Y.                 the plaintiff is not a ‘stranger to the contract,’ and the
       Apr.18, 2012). However, Plaintiff's opposition brief      relationship between the plaintiff and the defendant is the
       does not argue that OLS assumed the Mortgage.             ‘functional equivalent of privity’ ” (quoting City Sch. Dist.
       Instead, Plaintiff argues that she and OLS were           of City of Newburgh v. Hugh Stubbins & Associates, Inc.,
       in the “functional equivalent or privity” under the       85 N.Y.2d 535, 538–39, 626 N.Y.S.2d 741, 650 N.E.2d 399
       Mortgage.                                                 (1995))), reargument denied, 23 N.Y.3d 934 (2014).
9      OLS and OFC, although represented by the same
       counsel, submitted separate motions to dismiss. The        *6 Two courts in this Circuit have suggested that
       Court refers to Plaintiff's opposition to each as “Pl.    the doctrine is applicable to breach of mortgage and
       OLS Opp'n” and “Pl. OFC Opp'n,” respectively.             note contracts against non-signatory loan servicers. In
                                                                 In re Griffin, the plaintiffs attempted to assert a breach
“It is hornbook law that a nonsignatory to a contract
                                                                 of contract claim against their mortgage loan servicer
cannot be named as a defendant in a breach of contract
                                                                 for misapplication of certain payments due pursuant to
action unless it has thereafter assumed or been assigned
                                                                 the plaintiff's underlying loan. In re Griffin, No. 10–
the contract.” In re Cavalry Const., Inc., 428 B.R. 25,
                                                                 22431, 2010 WL 3928610, at *1 (Bankr.S.D.N.Y. Aug.31,
30 (S.D.N.Y.2010) (quoting Crabtree v. Tristar Auto.


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2010). The court found that the loan servicer was not                  to the debt it services does not mean that the servicer
in contractual privity with the plaintiffs and therefore               is considered in privity with a borrower for purposes
could not “be liable for breach of contract absent ... an              of a breach of contract claim.”); Kehoe v. Aurora Loan
allegation that it was acting as the agent for someone                 Servs. LLC, No. 10–CV–00256, 2010 WL 4286331,
                                                                       at *8 (D.Nev. Oct. 20, 2010) (“Plaintiffs assert that
who was in privity and that privity can be imputed
                                                                       Aurora, as their loan servicer, assumed the duties of
to it....”). In Kapsis v. Am. Home Mortgage Servicing
                                                                       the lender under the deed of trust. However, courts
Inc., the plaintiff brought a breach of contract claim
                                                                       have held that a loan servicer, such as Aurora, is
against his loan servicer for violations of the plaintiff's
                                                                       not a party to the deed of trust.... Moreover, the
underlying mortgage and note. Kapsis, 923 F.Supp.2d                    fact that Aurora serviced Plaintiff's loan does not
430, 450–52 (E.D.N.Y.2013). The Kapsis court explained                 create contractual privity between Aurora and the
that “New York law does allow privity to be imputed                    Plaintiffs.”); see also Pereira v. Ocwen Loan Servicing,
to an agent of the contracting party under certain                     LLC, No. 11–CV–2672, 2012 WL 1381193, at *3
narrow circumstances.” Id. at 451. Although amenable                   (E.D.N.Y. Apr.18, 2012) (“The complaint does not
to the imputation of privity to loan servicers, the court              allege that a contractual relationship ever existed
ultimately dismissed the claim, with leave to amend the                between plaintiffs and Ocwen; at most, plaintiffs
complaint, due to the plaintiff's failure to allege that the           allege that Ocwen became the servicer of their
mortgage loan servicer was acting “as the agent for one                mortgage loan ....”).
who was in privity of contract with plaintiff ....” Id. at      OLS argues that the sole case cited by Plaintiff, RLI
452. The court noted that this was “a pleading defect that      Ins. Co. v. King Sha Grp., Inc., 598 F.Supp.2d 438
can potentially be cured ....” Id. Both Griffin and Kapsis      (S.D.N.Y.2009), concerns the imputation of privity in
envision imputing privity in factual scenarios similar to       the construction context between an owner and a sub-
that presented before the Court. 10                             contractor, and therefore “has no application here.” (OLS
                                                                Reply 2.) OLS is correct that RLI is inapposite, but
10                                                              this is because RLI involved a negligence claim whereas
       The Court recognizes that other district courts,
                                                                Plaintiff seeks to assert a breach of contract claim
       applying their respective state laws, have concluded
       that loan servicers that are not party to an             independent of any tort. 11 See RLI, 598 F.Supp.2d
       underlying mortgage or note are not in privity with      at 443–45 (finding that the plaintiff and the defendant
       a homeowner-borrower. See Perron v. JP Morgan            were in the “functional equivalent of privity” for
       Chase Bank, N.A., No. 12–CV–01853, 2014 WL               purposes of the plaintiff's negligence claim). Caselaw
       931897, at *4 (S.D.Ind. Mar. 10, 2014) (“The             does support Plaintiff's position that, even absent formal
       [h]omeowners have failed to cite to any case law, let    privity, OLS can be held liable for breach of contract
       alone Indiana case law, in which contractual privity     based on a relationship with Plaintiff constituting the
       between the borrower and the holder of a note was
                                                                “functional equivalent of privity.” But see Travelers Cas.
       imputed to the loan servicer.”); Edwards v. Ocwen
                                                                & Sur. Co. v. Dormitory Auth.-State of New York, 734
       Loan Servicing, LLC, ––– F.Supp.2d ––––, ––––, 2014
                                                                F.Supp.2d 368, 382 n. 21 (S.D.N.Y.2010) (stating, in
       WL 861996, at *3 (D.D.C. Mar.5, 2014) (“Judges
       around the country ... have held that a loan servicer,   dicta, that “New York courts have also refused to allow
       as a lender's agent, has no contractual relationship     a third party to recover for breach-of-contract under a
       or privity with the borrower and therefore cannot        ‘functional equivalent of privity’ theory” (citing Hamlet,
       be sued for breach of contract.”); Howard v. First       878 N.Y.S.2d at 112); Hamlet, 878 N.Y.S.2d at 112
       Horizon Home Loan Corp., No. 12–CV–05735, 2013           (declining to adopt negligence law's privity imputation
       WL 3146792, at *2 (N.D.Cal. June 18, 2013) (“Under       exception into contract law).
       California law, a mortgagor cannot bring a claim
       for breach of contract against a servicer premised       11     For a discussion of this doctrine's origin in tort law see
       on the deed of trust because a loan servicer is not a
                                                                       In re Cavalry Constr., Inc., No. 07–22707, 2013 WL
       party to the deed of trust.”); James v. Litton Loan
                                                                       5682741, at *3 (Bankr.S.D.N.Y. Oct.18, 2013).
       Servicing, L.P., No. 09–CV–147, 2011 WL 59737,
       at *11 (M.D.Ga. Jan. 4, 2011) (“The fact that a           *7 Although the caselaw supports the conclusion
       loan servicer, which has undertaken a contractual        that Plaintiff's argued theory of liability is viable,
       obligation to provide legal services for a lender, may   Plaintiff has failed to actually plead a breach of
       appear in bankruptcy court to protect a claim relating   contract claim based on a relationship approaching the


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“functional equivalent of privity.” (See Compl. ¶¶ 77–81.)              (E.D.N.Y. May 19, 2014) (finding that the plaintiffs
Accordingly, Plaintiff's breach of contract claim against               failed to plead the existence of a contract where
OLS is dismissed. Assuming Plaintiff can support the                    the plaintiffs alleged “that, following the submission
arguments presented in her opposition brief concerning a                and review of a completed modification package,
                                                                        Plaintiffs would be given terms to make payments
privity-like relationship with OLS, Plaintiff may amend
                                                                        as part of a trial modification” and dismissing the
the Complaint to properly assert such a claim.
                                                                        plaintiff's breach of contract claim without prejudice);
                                                                        Sholiay v. Fed. Nat. Mortgage Ass'n, No. 13–CV–
                                                                        00958, 2013 WL 5569988, at *4 (E.D.Cal. Oct.9,
   ii. Breach of the Modification Application
                                                                        2013) (finding that although the defendant's letter
In opposition to OLS' motion to dismiss Plaintiff's breach
                                                                        stated that it would “determine plaintiff's eligibility
of good faith and fair dealing claim, Plaintiff argues that
                                                                        and qualifications for a loan modification,” the
OLS breached the terms of the Modification Application.                 statement was “insufficiently definite to constitute an
(See Pl. OLS Opp'n 2 (“[T]he [Modification Application]                 enforceable promise”).
itself is an agreement that OLS will—at a minimum—
                                                                 Because Plaintiff fails to allege in the Complaint that
consider her request for a loan modification—which OLS
                                                                 OLS failed to review Plaintiff's application, thereby
clearly never did.” (emphasis omitted)).) Therefore, the
                                                                 breaching the Modification Application, Plaintiff's breach
Court understands Plaintiff to also assert a breach of
                                                                 of contract claim based on the Modification Application
contract claim based on the Modification Application.
                                                                 is dismissed. However, Plaintiff is granted leave to amend
                                                                 the Complaint to properly assert a breach of contract
OLS does not appear to argue against finding that
                                                                 claim based on the Modification Application if Plaintiff
the Modification Application constitutes a contract
                                                                 believes that she can allege facts sufficient to state a
between the parties. 12 Therefore, Plaintiff satisfies           plausible claim.
the first element of her breach of contract claim.
Plaintiff alleges that she submitted all the required
documentation, thereby plausibly alleging performance               c. Breach of implied contract
under the Modification Application and satisfying the             *8 Plaintiff alleges that when she, and putative class
second element of a breach of contract claim. (See, e.g.,        members, agreed to apply for a loan modification,
Compl. ¶¶ 23, 37, 89.) With respect to OLS' breach,              they signed agreements binding OLS and themselves
the Complaint only states that OLS breached “the                 “during the pendency of the loan modification
agreements” by foreclosing on Plaintiff when she was not         application.” (Compl.¶ 84.) The Complaint identifies
in default and/or had not received a notice of default,          the Modification Application, and another document,
foreclosed on Plaintiff while her loan modification was          the Important Information Document, as the operative
pending and that although Plaintiff was required to make         agreements. (Id.) In violation of these agreements, OLS
payments in accordance with her mortgage agreement, she          commenced foreclosure proceedings on Plaintiff and
did not do so at the behest of OLS. (Id. ¶ 80, 878 N.Y.S.2d      putative class members. (Id.) OLS moved to dismiss
97.) None of these alleged actions constitute breach of the      all implied contract claims on a variety of grounds.
Modification Application, which, at most, imposed a duty         (OLS Mem. 13–14.) Plaintiff failed to respond or even
on OLS to “evaluate [Plaintiff's] eligibility for available      acknowledge OLS' motion to dismiss Plaintiff's breach
relief options and foreclosure alternatives” and “make           of implied contract claims. Given Plaintiff's lack of
every effort to review and process [Plaintiff's] request as      opposition to this particular cause of action, the Court
quickly as possible.” (Modification Application at 11–12.)       understands Plaintiff to have abandoned these claims.
As OLS correctly points out, Plaintiff's theory that OLS         See Silverman v. Household Fin. Realty Corp. of New
breached the Modification Application by not considering         York, 979 F.Supp.2d 313, 317 (E.D.N.Y.2013) (dismissing
her application at all, “is improperly introduced in her         eleven out of fifteen causes of action due to the
Opposition ....” (OLS Reply 3.)                                  plaintiff's failure to oppose the defendants' arguments);
                                                                 Reid v. Ingerman Smith LLP, 876 F.Supp.2d 176,
12     It is not clear that the Modification Application is an   186 (E.D.N.Y.2012) (“This Court may, and generally
       enforceable contract. See Arroyo v. PHH Mortgage          will, deem a claim abandoned when a plaintiff fails
       Corp., 13–CV–2335, 2014 WL 2048384, at *8                 to respond to a defendant's arguments that the claim



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should be dismissed.” (quoting Arma v. Buyseasons, Inc.,                for breach of the covenant of good faith and fair
591 F.Supp.2d 637, 643 (S.D.N.Y.2008))); Abbatiello v.                  dealing based on any alleged agreement other than the
Monsanto Co., 522 F.Supp.2d 524, 530 (S.D.N.Y.2007)                     Modification Application.
(deeming a claim abandoned due to the plaintiffs'                 *9 To establish a claim for breach of the duty of good
failure to oppose the defendants' motion); Lipton v.             faith and fair dealing: “(1) defendant must owe plaintiff
County of Orange, New York, 315 F.Supp.2d 434, 446               a duty to act in good faith and conduct fair dealing;
(S.D.N.Y.2004) (dismissing “independent constitutional           (2) defendant must breach that duty; and (3) the breach
claims” arising from several alleged incidents due to the        of duty must proximately cause plaintiff's damages.”
plaintiff's failure to respond to the defendant's motion to      Champagne v. United States, ––– F.Supp.2d ––––, ––––,
dismiss but reviewing the merits of the plaintiff's “pre-        2014 WL 1404566, at *9 (N.D.N.Y. Apr.10, 2014); In re
release strip search” because said claim “present[ed] an         Tremont Sec. Law, State Law, & Ins. Litig., No. 08–CV–
appalling abuse of the power afforded to corrections             11117, 2013 WL 5393885, at *8 (S.D.N.Y. Sept.26, 2013)
officers that [was] too serious an affront to a decent society   (stating elements); Washington v. Kellwood Co., No. 05–
to dismiss solely on the basis of a briefing failure”); see      CV–10034, 2009 WL 855652, at *6 (S.D.N.Y. Mar. 24,
also Jackson v. Fed. Exp., ––– F.3d ––––, ––––, 2014 WL          2009) (same). “ ‘[T]he covenant of good faith and fair
4412333, at *5 (2d Cir. Sept.9, 2014) (“Generally, but           dealing is implicit in every contract’ under New York
perhaps not always, a partial response reflects a decision       law ....” Fillmore E. BS Fin. Subsidiary LLC v. Capmark
by a party's attorney to pursue some claims or defenses          Bank, 552 F. App'x 13, 16 (2d Cir.2014) (alteration in
and to abandon others. Pleadings often are designed to           original) (quoting Consol. Edison, Inc. v. Ne. Utils., 426
include all possible claims or defenses, and parties are         F.3d 524, 529 (2d Cir.2005)). “The implied covenant of
always free to abandon some of them.”).                          good faith and fair dealing prevents any party from doing
                                                                 ‘anything which will have the effect of destroying or
                                                                 injuring the right of the other party to receive the fruits of
   d. Breach of covenant of good faith and fair dealing
                                                                 the contract.’ ” Gaia House Mezz LLC v. State St. Bank &
Although the Complaint alleges that “Ocwen had a duty
                                                                 Trust Co., 720 F.3d 84, 93 (2d Cir.2013) (quoting Dalton
of good faith and fair dealing with respect to both
                                                                 v. Educ. Testing Serv., 87 N.Y.2d 384, 389, 639 N.Y.S.2d
its administration of borrower loans as a servicer and
                                                                 977, 663 N.E.2d 289 (1995)). “In order to find a breach
under the loan modification application agreements,”
                                                                 of the implied covenant, a party's action must ‘directly
(Compl. ¶ 87 (emphasis added)), Plaintiff's opposition
                                                                 violate an obligation that may be presumed to have been
brief appears to only contemplate liability under the
                                                                 intended by the parties.’ ” Gaia House Mezz, 720 F.3d
Modification Application, (Pl. OLS Opp'n 10–12 (“The
                                                                 at 93 (quoting Thyroff v. Nationwide Mut. Ins. Co. ., 460
[Modification] Application was in writing and expressly
                                                                 F.3d 400, 407–08 (2d Cir.2006)). “A claim for breach of
indicates that OLS has undertaken to at least review
                                                                 the implied covenant will be dismissed as redundant where
the [Modification] Application.” (emphasis omitted)). 13         the conduct allegedly violating the implied covenant is
OLS argues that Plaintiff fails to state a claim of breach       also the predicate for breach of covenant of an express
of the implied covenant of good faith and fair dealing           provision of the underlying contract.” Harris v. Provident
because: (a) the Complaint does not identify any specific        Life & Acc. Ins. Co., 310 F.3d 73, 80 (2d Cir.2002) (quoting
contract or agreement, (OLS Reply 3); (b) Plaintiff's            ICD Holdings S.A. v. Frankel, 976 F.Supp. 234, 243–44
claim is duplicative of her breach of contract claims,           (S.D.N.Y.1997)).
(OLS Mem. 14–15); (c) the Modification Application
contains no promise to avoid the commencement of
foreclosure proceedings, (d) Plaintiff's allegations to            i. Existence of a duty
not state a plausible claim of bad faith, (e) Plaintiff          OLS argues that the Complaint does not identify any
offers only “threadbare and speculative recitations of           specific contract or agreement giving rise to a duty of
damage ...” (OLS Reply 3–4). For the reasons discussed           good faith and fair dealing. (OLS Reply 3.) Although the
below, Plaintiff's claim is dismissed.                           Complaint errs on the side of generalization, Plaintiff's
                                                                 good faith and fair dealing cause of action does identify
13                                                               the “loan modification application agreements” as one
       Based on Plaintiff's opposition brief, the Court
       understands Plaintiff to have abandoned all claims
                                                                 of the sources of OLS' implied duty of good faith



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and fair dealing, and further states that OLS “was              Deutsche Bank Sec. Inc. v. Rhodes, 578 F.Supp.2d 652,
obligated to comply with its contractual responsibilities       664 (S.D.N.Y.2008))); Hosp. Auth. of Rockdale Cnty. v.
both in servicing loans and in its conduct while a              GS Capital Partners V Fund, L.P., No. 09–CV–8716,
modification application was pending.” (Compl.¶¶ 87, 89.)       2011 WL 182066, at *4 (S.D.N.Y. Jan. 20, 2011) (noting
These allegations are sufficient to put OLS on notice that      that a “plaintiff may bring two breach of contact claims,
Plaintiff has identified the Modification Application as        one based on breach of the express terms and the
one of the specific contracts or agreements at issue. As        other based on breach of the implied duty, as long as
with Plaintiff's breach of contract claim, the Modification     they are supported by factually distinct allegations”).
Application constitutes a contract between Plaintiff and        Plaintiff's breach of contract claim is based on OLS' failure
OLS, and thus imparts upon OLS a duty to act in good            to review the Modification Application while Plaintiff's
faith and fair dealing. 14 Therefore, Plaintiff satisfies the   implied covenant claim is based on OLS' deception and
first element of this claim.                                    misrepresentation, which ultimately deprived Plaintiff of
                                                                the benefit of her desired loan modification.
14     As discussed above, supra Part b.ii, OLS appears to
                                                                15     Plaintiff's opposition brief continues to discuss OLS'
       accept, at least for purposes of this motion, that the
       Modification Application is a contract.                         alleged verbal and written representations that it
                                                                       would forbear foreclosure proceedings during the
                                                                       pendency of Plaintiff's application process and OLS'
   ii. Breach
                                                                       subsequent commencement of foreclosure against
 *10 With respect to the second element, the Complaint
                                                                       Plaintiff while her application was still under review.
alleges a variety of actions that constitute OLS' breach
                                                                       (Pl. OLS Opp'n 11–12.) However, it is unclear
of their implied duty of good faith and fair dealing.                  whether Plaintiff understands these representations
Specifically, Plaintiff alleges that OLS violated its duty             to form independent contractual obligations, to
by: “(a) foreclosing on borrowers who had pending loan                 amend the terms of the Modification Application
modification applications, even though it had expressly                or to circumstantially show bad faith under the
represented that it would not; (b) promulgating a script               Modification Application.
to its representatives directing them to tell borrowers to
withhold payment while their modification application              iii. Causation and damages
was being reviewed ...; (c) refusing to acknowledge             Turning to the final element of a breach of the implied
receipt of documents in support of a loan modification          duty of good faith and fair dealing, the Complaint
application, even when such documents were in fact              only states that, “as a direct and proximate result of
received; and (d) engaging in bad faith in and [sic]            the foregoing wrongful conduct committed by Ocwen,
unfair pattern and practice of attempting to force              Plaintiff and the Class Members have suffered and will
borrowers into default and foreclosure in order to collect      continue to suffer damages and economic loss in an
penalty fees.” (Compl.¶ 89.) Although OLS is correct            amount to be proven at trial.” (Compl.¶ 92.) Plaintiff's
that the Modification Application contains no promise           opposition brief only states that OLS' actions caused her
that OLS will forego the commencement of foreclosure            to “delay the exercise of her options.” (Pl. OLS Opp'n
proceedings during the pendency of the application's            12.) Although the predicate acts constituting breach of
approval, 15 the rest of the allegations, taken as true,        contract and breach of the implied covenant of good
plausibly allege that OLS intentionally acted to prevent        faith and fair dealing, with respect to the Modification
Plaintiff from receiving the benefit of her contract—           Application, are distinct, an implied covenant claim
the resolution of Plaintiff's “mortgage delinquency and         will still be dismissed where both claims seek identical
avoid[ance] of foreclosure.” (Modification Application          damages. See Spread Enterprises, Inc. v. First Data Merch.
at 2.) Plaintiff's claim is not duplicative of her breach       Servs. Corp., No. 11–CV–4743, 2012 WL 3679319, at
of contract claim because each claim involves distinct          *3 (E.D.N.Y. Aug. 22, 2012) (quoting Amcan Holdings,
predicate conduct. Fleisher v. Phoenix Life Ins. Co.,           Inc. v. Canadian Imperial Bank of Commerce, 70 A.D.3d
858 F.Supp.2d 290, 299 (S.D.N.Y.2012) (“Claims of               423, 894 N.Y.S.2d 47, 49–50 (App.Div.2010)); Deer Park
breach of the implied covenant ... must be premised on          Enterprises, LLC v. Ail Sys., Inc., 57 A.D.3d 711, 870
a different set of facts from those underlying a claim          N.Y.S.2d 89, 90 (App.Div.2008) (“A cause of action
for breach of contract.” (alteration in original) (quoting      to recover damages for breach of the implied covenant


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of good faith and fair dealing cannot be maintained            “A cause of action for promissory estoppel under New
where the alleged breach is ‘intrinsically tied to the         York law requires the plaintiff to prove three elements:
damages allegedly resulting from a breach of the contract.’    1) a clear and unambiguous promise; 2) reasonable and
” (quoting Canstar v. J.A. Jones Const. Co., 212 A.D.2d        foreseeable reliance on that promise; and 3) injury to the
452, 622 N.Y.S.2d 730, 731 (App.Div.1995))).                   relying party as a result of the reliance.” Kaye v. Grossman,
                                                               202 F.3d 611, 615 (2d Cir.2000); Cacchillo v. Insmed, Inc.,
 *11 The Court is unable to distinguish between Plaintiff's    551 F. App'x 592, 594 (2d Cir.2014) (stating elements);
alleged damages based on OLS' failure to perform               Dumont v. Litton Loan Servicing, LP, No. 12–CV–2677,
under the Modification Application and OLS' failure            2014 WL 815244, at *9 (S.D.N.Y. Mar. 3, 2014) (same);
to adhere to the implied covenant of good faith and            Picini v. Chase Home Fin. LLC, 854 F.Supp.2d 266, 275
fair dealing under the Modification Application. See           (E.D.N.Y.2012) (same). “A promissory estoppel claim
Mendez v. Bank of Am. Home Loans Servicing, LP,                is duplicative of a breach of contract claim unless the
840 F.Supp.2d 639, 653 (E.D.N.Y.2012) (finding that            plaintiff alleges that the defendant had a duty independent
the plaintiff's alleged damages resulting from breach          from any arising out of the contract.” Benefitvision Inc.
of a loan modification agreement and breach of the             v. Gentiva Health Servs., Inc., No. 09–CV–0473, 2014
covenant of good faith and fair dealing implicit in            WL 298406, at *9 (E.D.N.Y. Jan. 28, 2014) (alteration
the loan modification agreement—“the assessing of late         and internal quotation marks omitted) (quoting Underdog
fees, interest, and other delinquency related fees”—to be      Trucking, LLC, Reggie Anders v. Verizon Servs. Corp.,
duplicative).                                                  2010 WL 2900048, at *6 (S.D.N.Y. July 20, 2010)); Bd.
                                                               of Trustees ex rel. Gen. Ret. Sys. of Detroit v. BNY
Plaintiff has failed to satisfy the final element of her       Mellon, N.A., No. 11–CV–6345, 2012 WL 3930112, at
implied covenant claim. Plaintiff's implied covenant claim     *6 (S.D.N.Y. Sept. 10, 2012) (“[A] valid and enforceable
is dismissed without prejudice.                                contract precludes recovery in quasi-contract for all
                                                               matters covered by the contract.” (citing Kwon v. Yun, 606
                                                               F.Supp.2d 344, 368 (S.D.N.Y.2009))).
   e. Promissory estoppel
Plaintiff alleges that OLS made the following promises:
(1) that there would be no penalty for withholding loan          i. Clear and unambiguous promise
payments while modification applications were pending,          *12 OLS argues that Plaintiff fails to allege a clear and
(2) that their homes would not be foreclosed on while          unambiguous promise. Plaintiff responds by pointing to
modification applications were pending, and (3) that           four allegations in the Complaint. (Pl. OLS Opp'n 13–14.)
their applications would be considered once necessary          Each allegation is addressed below.
documentation was received. (Compl.¶ 99.) Plaintiff
also argues that she, and her putative class members,          First, Plaintiff alleges that OLS promised to review
reasonably relied on these promises to their detriment,        Plaintiff's loan modification when she submitted all
resulting in an inability to pursue other default and          required documents. (Id. at 13 (citing Modification
foreclosure strategies, default balances, forced home sale,    Application at 12).) However, as Plaintiff's citation makes
degradation of credit score and other damages. (Id. ¶¶         clear, this promise is contained in the Modification
100–03.) OLS argues that Plaintiff fails to state a claim      Application itself. Consequently, its breach is duplicative
because: (1) Plaintiff has failed to plead the plausible       of Plaintiff's contract claim based on the Modification
existence of a “clear and unambiguous promise,” (2)            Application.
the alleged promises were in contravention of the clear
language of the Modification Application and Mortgage,         Second, Plaintiff alleges that OLS promised to assist
(3) OLS is not alleged to have foreclosed on Plaintiff's       Plaintiff in attempting to modify her mortgage loan, and
home until after her application was denied, (4) the statute   offer a HAMP modification if she qualified for one.
of frauds bars Plaintiff's claim, and (5) a promissory         (Pl. OLS Opp'n 12 (citing (Compl.¶ 21).) This promise
estoppel claim cannot stand where the subject matter is        falls within the scope of the Modification Application,
governed by an express contract between the parties. (OLS      which explicitly references the Making Home Affordable
Mem. 15–17.)                                                   Program and Plaintiff's consent to the transmittal of
                                                               personal information to the Department of Treasury,


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Fannie Mae, Freddie Mac, and companies that perform                *13 OLS argues that Plaintiff's reliance on any alleged
support services in conjunction with the Making Home              directive to cease mortgage payments and OLS' promise
Affordable Program. (See Modification Application at              to not pursue foreclosure was unreasonable because
11.)                                                              these statements were in tension with the Modification
                                                                  Application's warning that “[d]uring this time, Ocwen
Third, Plaintiff alleges that her “Relationship Manager”          will not delay or stop any collections or legal activity
Naik “directed Plaintiff to discontinue making payments           on your loan.” (OLS Reply 5; Modification Application
on her mortgage” because “while the loan modification             at 2.) The Court cannot hold, as a matter of law, that
was in process, the correct amount of payment was                 Plaintiff's reliance on OLS' statements was unreasonable.
unknown and Plaintiff should not make a payment until             The Modification Application was returned to OLS
provided with the new payment amount.” (Compl. ¶ 25;              on December 28, 2011. (Compl.¶ 23.) On December
Pl. OLS Opp'n 14.) OLS argues that Plaintiff's allegation         30, 2011, OLS informed Plaintiff that Naik would be
is “conclusory.” (OLS Reply 6.) The Court disagrees.              “responsible for monitoring your account ... and carefully
Drawing all inferences in favor of Plaintiff and accepting        reviewing your situation.” (Id. ¶ 24.) Shortly thereafter,
the allegations as true, Plaintiff has plausibly alleged that     Naik informed Plaintiff that she should stop her monthly
Naik, sometime shortly after December 30, 2011, and               mortgage payments until a new amount was determined.
at least one other OLS representative, between February           (Id. ¶ 25.) These allegations, taken together, sufficiently
2012 and April 2012, told Plaintiff to not make payments          state that Plaintiff's reliance on OLS' directive to stop
while her loan modification was pending because the               paying her mortgage was reasonable. Similarly, given
amount due was unknown. (Compl.¶¶ 25, 30.) These                  the relationship between Plaintiff and OLS, Plaintiff's
allegations are sufficient to satisfy the first element of        reliance on OLS' written promise to not pursue foreclosure
Plaintiff's claim.                                                through the pendency of her loan modification was
                                                                  reasonable.
Fourth, Plaintiff alleges that OLS represented that
it would not initiate foreclosure proceedings while it            The Court also rejects OLS' argument that, because
considered Plaintiff's modification. (Pl. OLS Opp'n 14            the directive to not pay mortgage payments was in
(citing Compl. ¶¶ 33, 84).) 16 OLS argues that Plaintiff          tension with the requirements of Plaintiff's Mortgage
fails to plead “sufficient factually-supported allegations        and Note, reliance on the directive was unreasonable.
to demonstrate the plausible existence of a ‘clear and            (OLS Mem. 17.) Although the Mortgage and Note
unambiguous' promise by OLS that it would ... forebear            both contained obligations that Plaintiff pay monthly
from pursuing foreclosure ....” (OLS Mem. 16.) The                mortgage payments, Plaintiff was working with OLS,
Court disagrees. Plaintiff alleges that by letter dated           her loan servicer, to modify her obligations under the
April 3, 2012, Defendants expressly stated that “[w]hile          Mortgage and Note. At the motion to dismiss stage, these
we consider your request, we will not initiate a new              are sufficient factual allegations which if proven true,
foreclosure action and we will not move ahead with the            could establish Plaintiff's reasonable reliance. See Kapsis,
foreclosure sale on an active foreclosure as long as we           923 F.Supp.2d at 453 (E.D.N.Y.2013) (finding that the
have received all required documents and you have met             plaintiff's reliance on her mortgage loan servicer's promise
the eligibility requirements.” (Compl.¶ 33.) The allegation       to send a forbearance agreement in return for $8,000 to be
is more than sufficient to state the plausible existence of a     reasonable and foreseeable). In sum, given the nature of
clear and unambiguous promise by OLS.                             the relationship between the parties and the content of the
                                                                  statements, Plaintiff has plausibly alleged that her reliance
16                                                                on OLS' statements was reasonable and foreseeable.
       Plaintiff's opposition brief states that she was told at
       least ten times by OLS that it would not commence
       foreclosure during the loan modification process. (Pl.
                                                                   iii. Injury as a result of reliance
       OLS Opp'n 12.) However, the Complaint only alleges
                                                                  OLS argues that Plaintiff's promissory estoppel claim is
       the existence of two letters containing this promise.
       (Compl.¶¶ 33, 84.)                                         intended to circumvent New York's Statute of Frauds. 17
                                                                  (OLS Mem. 17.) Plaintiff appears to accept OLS'
  ii. Reasonable and foreseeable reliance



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argument that the statute of frauds applies to her              In sum, the Court finds that Plaintiff has adequately
promissory estoppel claim.                                      alleged a promissory estoppel claim against OLS based on
                                                                the directive from OLS to cease making payments under
17     See N.Y. Gen. Oblig. Law § 5–703(3) (“A contract         the mortgage and the promise by OLS to not initiate
       to devise real property or establish a trust of          foreclosure proceedings until Plaintiff's loan modification
       real property, or any interest therein or right with     had been decided. 18
       reference thereto, is void unless the contract or
       some note or memorandum thereof is in writing and        18     OLS also argues that Plaintiff's claim fails because
       subscribed by the party to be charged therewith, or by
                                                                       “the alleged foreclosure action was initiated more
       his lawfully authorized agent.”).
                                                                       than three weeks after her [Modification] Application
Although a usual promissory estoppel claim need only                   was denied and no longer pending.” (OLS Reply
plausibly allege an injury resulting from reliance, “[w]hen            3 (emphasis omitted).) OLS ignores Plaintiff's
promissory estoppel is asserted to overcome a defense                  allegations that subsequent to the commencement
based on the Statute of Frauds, an ‘unconscionable’ injury             of foreclosure proceedings, OLS continued to
is required under New York law. Cacchillo v. Insmed,                   communicate with Plaintiff as if her loan modification
Inc., 551 F. App'x 592, 595 (2d Cir.2014); KJ Roberts                  were still pending. (See Compl. ¶¶ 48–49, 51–52.)
& Co. Inc. v. MDC Partners Inc., No. 12–CV–5779,                       These allegations raise an issue of fact as to whether
                                                                       OLS actually complied with its alleged promise and
2014 WL 1013828, at *10 (S.D.N.Y. Mar. 14, 2014)
                                                                       precludes the granting of the motion to dismiss on this
(“Where promissory estoppel is invoked to ‘trump the
                                                                       ground.
Statute of Frauds,’ then the plaintiff ‘must demonstrate
‘unconscionable’ injury, i.e., injury beyond that which
                                                                  f. Negligent misrepresentation
flows naturally (expectation damages) from the non-
                                                                Plaintiff alleges that Defendants “misrepresented and/
performance of the unenforceable agreement.' ” (quoting
                                                                or failed to disclose” various material facts about
Merex A.G. v. Fairchild Weston Sys., Inc., 29 F.3d 821,
                                                                the loan modification application process. (Compl.
826 (2d Cir.1994))). “An unconscionable injury is an
                                                                ¶¶ 93–97.) Specifically, Plaintiff identifies Defendants'
injury ‘beyond that which flows naturally from the non-
                                                                misrepresentation or failure to disclosure that: “(a) Ocwen
performance of the unenforceable agreement.’ ” Ely v.
                                                                had received and processed modification documents;
Perthuis, No. 12–CV–01078, 2013 WL 411348, at *7
                                                                (b) payments continue to come due while a loan
(S.D.N.Y. Jan. 29, 2013) (quoting Merex, 29 F.3d at 826).
                                                                application is pending ...; and (c) Ocwen would foreclose
                                                                on borrower's [sic] homes while their modification
 *14 Plaintiff claims that her injury is unconscionable
                                                                applications were pending or they were making trial
because Defendants, a large and sophisticated
organization, intentionally “misled and delayed an              modification payments.” 19 (Id. ¶ 94.) For the reasons
unrepresented consumer in order to force her into               discussed below, Plaintiff's negligent misrepresentation
foreclosure, driving her to bankruptcy.” The Court finds        claim is dismissed without prejudice.
that Plaintiff has at least plausibly alleged that her injury
is beyond that which would flow naturally from the non-         19     OLS argues that the heightened pleading
performance of the unenforceable agreement. Arguably,                  requirements of Rule 9(b) of the Federal Rules of
foreclosure would be the natural result of Plaintiff's                 Civil Procedure apply to negligent misrepresentation
reliance on OLS' directive to not pay her mortgage and                 claims. (OLS Mem. 19.) The Second Circuit has yet
OLS' promise to not foreclose on her home during the                   to hold that it does. See Eternity Global Master Fund
pendency of her loan application. However, Plaintiff                   Ltd. v. Morgan Guar. Trust Co. of N.Y., 375 F.3d 168,
                                                                       188 (2d Cir.2004) (“Rule 9(b) may or may not apply
alleges that her reliance on statements made by OLS also
                                                                       to a state law claim for negligent misrepresentation....
resulted in her bankruptcy. (Compl.¶¶ 4, 53–54.) Because
                                                                       [T]his Court has not adopted that view, and we see no
bankruptcy is not an injury that flows naturally from the
                                                                       need to do so here ....” (citations omitted)); see also
unenforceable agreement, Plaintiff has alleged an injury               Amos v. Biogen Idec Inc., –––F.Supp.2d ––––, ––––,
sufficient to overcome the Statute of Frauds.                          2014 WL 2882104, at *6 (W.D.N.Y. June 25, 2014)
                                                                       (“Although many district courts in the Second Circuit
                                                                       have held that Rule 9(b) applies to claims of negligent



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       misrepresentation asserted under New York law, the        Defendant argues that “it is well established law that
       Second Circuit Court has explicitly declined to make      the relationship between a mortgage lender or mortgage
       such a finding.”). The Court need not answer this         servicer and a borrower ordinarily does not rise to the
       question as, under either pleading standard, Plaintiff    level of a fiduciary or special relationship and does not
       fails to state a claim.
                                                                 create a duty to disclose.” (OLS Mem. 19 (emphasis
Under New York law, in order to state a claim for                added).) Plaintiff concedes that a typical borrower-lender
negligent misrepresentation, “the plaintiff must allege that     relationship will not support a negligent misrepresentation
‘(1) the defendant had a duty, as a result of a special          claim, see Grimes v. Fremont Gen. Corp., 933 F.Supp.2d
relationship, to give correct information; (2) the defendant     584, 608 (S.D.N.Y.2013) (“[A] standard lender-borrower
made a false representation that he or she should have           relationship is not the kind of special relationship that
known was incorrect; (3) the information supplied in the         supports a claim of negligent misrepresentation.” (quoting
representation was known by the defendant to be desired          Boniel v. U.S. Bank N.A., No. 12–CV–3809, 2013 WL
by the plaintiff for a serious purpose; (4) the plaintiff        458298, at *4 (E.D.N.Y. Feb.6, 2013))), but argues that
intended to rely and act upon it; and (5) the plaintiff          she has alleged facts which show that her relationship
reasonably relied on it to his or her detriment.’ ” Anschutz     with OLS exceeded that of a regular lender-borrower and
Corp. v. Merrill Lynch & Co., Inc., 690 F.3d 98, 114 (2d         constituted a special relationship. (Pl. OLS Opp'n 18–19.)
Cir.2012) (quoting Hydro Investors v. Trafalgar Power
Inc., 227 F.3d 8, 20 (2d Cir.2000)); see also King County,       Plaintiff argues that the following allegations describe a
Wash., 863 F.Supp.2d at 299 (quoting Hydro Investors,            special relationship: (1) OLS solicited Plaintiff to apply for
227 F.3d at 20), reconsideration denied, 863 F.Supp.2d 317       a loan modification, (2) OLS stated that Plaintiff could be
(S.D.N.Y.2012). “[T]he alleged misrepresentation must            eligible for not only a HAMP modification, but also for
be factual in nature and not promissory or relating to           Ocwen's own modification program, (3) OLS requested
future events that might not ever come to fruition.” Hydro       that Plaintiff send it various documents, and (4) OLS
Investors, 227 F.3d at 20–21.                                    assigned Plaintiff two “relationship managers.” (Id. at 19.)
                                                                 OLS argues that these allegations represent nothing more
                                                                 than the actions of a “typical loan servicer.” (OLS Reply
   i. Special relationship                                       9.) The Court agrees with OLS.
 *15 “[L]iability for negligent misrepresentation has been
imposed only on those persons who possess unique or              The first three allegations highlighted by Plaintiff do
specialized expertise, or who are in a special position          not suggest that OLS acted as anything other than as
of confidence and trust with the injured party such that         an arms-length loan servicer. Plaintiff's fourth allegation
reliance on the negligent misrepresentation is justified.”       merits further discussion. The Court is only aware of
Kimmell v. Schaefer, 89 N.Y.2d 257, 263, 652 N.Y.S.2d            only one court in this Circuit, and Plaintiff points to no
715, 675 N.E.2d 450 (1996). Kimmell directs courts to            other case, which has held that a loan servicer may be
examine “whether the person making the representation            liable to a borrower under a negligent misrepresentation
held or appeared to hold unique or special expertise;            theory. In Picini, the plaintiffs, who had enrolled in
whether a special relationship of trust or confidence
                                                                 a Temporary Payment Plan 20 with the defendants,
existed between the parties; and whether the speaker was
                                                                 alleged that the defendants had “special expertise,”
aware of the use to which the information would be put
                                                                 a “sophisticated understanding of servicing mortgage
and supplied it for that purpose.” Id. at 264, 652 N.Y.S.2d
                                                                 loans and of available loss mitigation options,” that the
715, 675 N.E.2d 450. The Second Circuit has held that a “
                                                                 defendants assigned the plaintiffs a “manager” from the
‘sparsely pled’ special relationship of trust or confidence is
                                                                 “Resolutions Group to help guide them through the
not fatal to a claim for negligent misrepresentation where
                                                                 loan modification process,” and that a number of the
‘the complaint emphatically alleges the other two factors
                                                                 defendants' representatives provided the plaintiffs with
enunciated in Kimmell.’ “ Eternity Global Master Fund
                                                                 conflicting information. Picini, 854 F.Supp.2d at 277.
Ltd. v. Morgan Guar. Trust Co. of N.Y., 375 F.3d 168,
                                                                 The Picini court appears to have placed great weight
188 (2d Cir.2004) (quoting Suez Equity Investors, L.P. v.
                                                                 on the existence of an assigned “manager” to guide the
Toronto–Dominion Bank, 250 F.3d 87, 103 (2d Cir.2001)).
                                                                 plaintiffs through their loan application. However, the
                                                                 provision of such a representative does not strike the



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Court as an act beyond that involved in an ordinary             defendants, arguably supporting the plaintiff's reliance on
borrower-lender relationship. See Green v. Wells Fargo          the defendants “sophisticated understanding of servicing
Bank, N.A., 927 F.Supp.2d 244, 246 (D.Md.2013) (noting          mortgage loans and of available loss mitigation options.”
that the defendant-servicer provided plaintiffs with a          Picini, 854 F.Supp.2d at 277.
“Home Preservation Specialist” but still finding that the
relationship between the loan servicer and the plaintiffs       20     Under HAMP, a Temporary Payment Plan “typically
was “contractual, not fiduciary, in nature”); Goss v.                  last three months, during which time the borrower
Bank of Am., N .A., 917 F.Supp.2d 445, 447, 452                        would have to make timely mortgage payments
(D.Md.2013) (noting that plaintiffs were provided, inter               and provide certain financial documentation.” Picini
alia, with a “Workout Negotiator” but still finding                    v. Chase Home Fin. LLC, 854 F.Supp.2d 266,
that the relationship between the loan servicer and the                269–70 (E.D.N.Y.2012). A borrower under a
plaintiff did not establish a duty in tort), aff'd sub                 Temporary Payment Plan may receive a permanent
nom. Goss v. Bank of Am., NA, 546 F. App'x 165                         modification contingent upon the servicer's receipt
(4th Cir.2013). Moreover, the Picini court failed to                   of all requirement documentation and a signed
                                                                       modification agreement. Id .
explain why the existence of a “manager” from the
defendant's “Resolutions Group” converted an otherwise           *16 In finding that the plaintiffs had alleged the plausible
arm's-length borrower-lender relationship into a special        existence of a special relationship, the Picini court cited
relationship. See Boniel v. U.S. Bank N.A., No. 12–CV–          to Smith v. Ameriquest Mortgage Co. 60 A.D.3d 1037,
3809, 2013 WL 458298, at *4 (E.D.N.Y. Feb.6, 2013)              876 N.Y.S.2d 447 (App.Div.2009). But Smith does not
(“A standard lender-borrower relationship is not the kind       support the Picini court's special relationship conclusion.
of special relationship that supports a claim of negligent      Of critical importance, Smith involved an allegation
misrepresentation.”), reconsideration denied, No. 12–CV–        that the defendant personally visited Plaintiff twice,
3809, 2013 WL 1687709 (E.D.N.Y. Apr.18, 2013), appeal           at her home, to “convince” her that the transaction
dismissed (Oct. 28, 2013); Dobroshi v. Bank of Am., N.A.,       in question was in the plaintiff's best interest. Smith,
65 A.D.3d 882, 886 N.Y.S.2d 106, 109 (App.Div.2009)             876 N.Y.S.2d at 449–50. This allegation alone exceeds
(“This court has repeatedly held that an arm's length           the scope of the standard lender-borrower relationship.
borrower-lender relationship is not of a confidential or        Here, Plaintiff makes no similar allegation of unusual
fiduciary nature and therefore does not support a cause         behavior on OLS' part. Picini also cited to Fleet Bank
of action for negligent misrepresentation.” (citations          v. Pine Knoll Corp., in which the Appellate Division of
omitted)); cf. Gray v. One West Bank, Fed. Sav. Bank, No.       the Supreme Court of the State of New York denied
13–CV–547, 2014 WL 3899548, at *12 (D.Haw. Aug.11,              the plaintiff's cross-motion for summary judgment due
2014) (“This court has also ‘recognized that a loan servicer    to the defendant's “heav[ ]y” reliance on the plaintiff's
does not owe a duty of care to a borrower in a loan             “relationship managers” who guided the plaintiff through
it services, unless the loan servicer's activities exceed its   “various financial transactions.” Fleet Bank, 290 A.D.2d
traditional role.’ ” (quoting Crilley v. Bank of Am., N.A.,     792, 736 N.Y.S.2d 737, 741 (App.Div.2002). Fleet Bank
No. 12–CV–81, 2013 WL 1767704, at *5 (D.Haw. Apr.               is also distinguishable from the present case. In Fleet
24, 2013))); Casault v. Fed. Nat. Mortgage Ass'n, 915           Bank, the relationship between defendant-borrower and
F.Supp.2d 1113, 1130 (C.D.Cal.2012) (“Numerous cases            plaintiff-lender involved the taking over of the defendant's
have characterized a loan modification as a traditional         “Small Business Administration loan” and, notably,
money lending activity.” (collecting California cases)).        included a concession from one of the bank's senior
Further undermining Plaintiff's reliance on Picini is her       vice presidents that “[w]e need to be very careful
allegation that her “relationship managers” simply read         in how we advise [small business customers].” Id. at
from “uniform scripts.” (Compl.¶ 73.) The fact that             741–42. In contrast to the “particular circumstances”
the “relationship managers” in question read from a             presented in Fleet Bank, id. at 742, Plaintiff has alleged
script suggests that they held and imparted no special          that she received literature from OLS pertaining to
knowledge and further undermines Plaintiff's argument           a loan modification, subsequently applied for a loan
that her relationship with OLS was anything but ordinary.       modification, received repeated requests for documents
Finally, Picini is distinguishable in that the plaintiffs       and spoke to “relationship managers” who read from
there had signed a Temporary Payment Plan with the              uniform scripts. These allegations, without more, do not



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convince the Court that Plaintiff's interaction with OLS         13–CV–5627, 2014 WL 3644004, at *6 (E.D.N.Y. July 22,
went beyond that expected of an arms-length lender-              2014) (quoting James v. Penguin Grp. (USA) Inc., No.
borrower/servicer relationship.                                  13–CV–2801, 2014 WL 1407697, at *9 (S.D.N.Y. Apr.11,
                                                                 2014)).
Unlike in Picini, Plaintiff never entered into any
agreement with Defendants other than the Modification            Plaintiff alleges that OLS routinely engages in “dual
Application, unlike in Smith, Plaintiff had no unusual           tracking,” where it purports to be processing a loan
interaction with any representative of OLS, and unlike in        modification but actually intends to move the borrower
Fleet Bank, OLS did not offer Plaintiff any particularized       toward foreclosure. 21 (Compl.¶ 14.) Although Plaintiff
advice. For the reasons discussed above, the Court finds         details only her particular experience with OLS, she
Picini distinguishable and dismisses Plaintiff's negligent       has sufficiently alleged that this conduct is consumer-
misrepresentation claim for failure to plausibly allege          oriented. See Pandit, 2012 WL 4174888, at *6 (finding
the existence of a special relationship. If Plaintiff is able    that the plaintiffs adequately alleged a consumer-oriented
to allege additional facts supporting the existence such         practice where “Defendant routinely asks homeowners to
a special relationship, she may do so in an amended              resubmit financial information on pretextual grounds,”
complaint.                                                       “misleads homeowners over the phone,” “and ignores
                                                                 completed loan modifications”); M & T Mortgage
                                                                 Corp. v. White, 736 F.Supp.2d 538, 571 (E.D.N.Y.2010)
  g. New York General Business Law §§ 349 and 350
                                                                 (“While the deceptive practices were aimed at particular
Plaintiff, largely by incorporating the allegations used
                                                                 individuals in these instances, nothing suggests that
in the already discussed causes of action, alleges that
                                                                 similarly vulnerable consumers could not—and did not
OLS violated §§ 349 and 350 of the New York General
                                                                 —fall victim to similar practices, and there is nothing
Business Law, which prohibits “unlawful deceptive acts
                                                                 especially unique or unusual about these particular
or practices” and “false advertising” respectively in the
                                                                 transactions.”); Oswego Laborers' Local 214 Pension Fund
conduct of any business. Defendants argue that Plaintiff
                                                                 v. Marine Midland Bank, N.A., 85 N.Y.2d 20, 26, 623
presents “an isolated event between herself and OLS, and
                                                                 N.Y.S.2d 529, 647 N.E.2d 741 (1995) (denying a motion
not a deceptive business practice aimed at the public” as
                                                                 for summary judgment and finding that the plaintiff's
required by the statute and Plaintiff therefore fails to plead
                                                                 § 349 claim was sufficiently “consumer-oriented” where
a deceptive act or practice. (OLS Mem. 22–23.)
                                                                 “defendant Bank dealt with plaintiffs' representative as
                                                                 any customer entering the bank to open a savings account,
 *17 To state a claim under either section of the New
                                                                 furnishing the Funds with standard documents presented
York General Business Law, “a plaintiff must allege that:
                                                                 to customers upon the opening of accounts”).
(1) the act or practice was consumer-oriented; (2) the
act or practice was misleading in a material respect; and
                                                                 21     OLS argues that Plaintiff offers no allegations
(3) the plaintiff was injured as a result.” Spagnola v.
Chubb Corp., 574 F.3d 64, 74 (2d Cir.2009) (§ 349) (citing              concerning any of OLS' actions that could plausibly
                                                                        constitute “false advertising.” (OLS Mem. 23.)
Maurizio v. Goldsmith, 230 F.3d 518, 521 (2d Cir.2000)
                                                                        Although Plaintiff does not completely abandon
(per curiam)); Dash v. Seagate Tech. (U.S.) Holdings,
                                                                        her § 350 claim, (see Pl. OLS Opp'n 21 (stating
Inc., ––– F.Supp.2d ––––, ––––, 2014 WL 2922658, at
                                                                        that the elements of §§ 349 and 350 are identical)),
*2 (E.D.N.Y. June 30, 2014) (both sections); see also                   she does not offer any argument to rebut OLS'
Krasnyi Oktyabr, Inc. v. Trilini Imports, No. CV–05–                    motion to dismiss her § 350 claim. “The term ‘false
5359, 2007 WL 1017620, at *12 (E.D.N.Y. Mar. 30,                        advertising’ means advertising, including labeling,
2007) (“The standards for deceptive business practices                  of a commodity, or of the kind, character, terms
under section 349 of the General Business Law are                       or conditions of any employment opportunity if
substantively identical to those for false advertising under            such advertising is misleading in a material respect.”
section 350.”). To satisfy the first element, a plaintiff must          N.Y. Gen. Bus. Law § 350–a (emphasis added). The
“demonstrate that the acts or practices have a broader                  Complaint is devoid of any allegation concerning
impact on consumers at large. Private contract disputes,                “advertising” by OLS. Therefore, the Court grants
unique to the parties ... would not fall within the ambit               the motion to dismiss Plaintiff's § 350 claim.
of the statute.” DiGangi v. Gov't Employers Ins. Co., No.


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OLS argues that Plaintiff fails to plead any deceptive act       (dismissing all direct liability claims against OFC for lack
or practice. Plaintiff alleges, inter alia and as discussed      of any specific allegations concerning the conduct of OFC
in detail above, that OLS promised to review her                 and noting that the plaintiffs only alleged that “OFC
loan modification, directed Plaintiff to stop paying her         directed, controlled, formulated and/or participated in
mortgage, and promised that it would not commence                the loan modification practices of OLS” (alteration and
foreclosure proceedings during the pendency of her loan          citation omitted)); Gunther v. Capital One, N.A., 703
application. (Compl.¶¶ 24–25, 33, 43.) OLS argues, as it         F.Supp.2d 264, 277 (E.D.N.Y.2010) (“Except for the
did in opposition to Plaintiff's promissory estoppel claim,      plaintiff's use of the term ‘Defendants' in plural and his
that it was unreasonable for Plaintiff to rely on these          allegation that Capital One Financial controls Capital
alleged statements. (OLS Mem. 23.) For the same reasons          One Bank, Capital One Financial is left almost entirely out
discussed above, see Part II.e.ii, the Court finds that          of the story. In the Court's view, the plaintiff cannot avoid
Plaintiff's allegations are sufficient to cross the threshold    the fact that, when considered in full, the complaint at best
of plausibility. OLS also argues that Plaintiff fails to         states a claim against Capital One Financial for derivative
show a sufficient injury because her foreclosure and the         liability.”)
corresponding assessment of late fees were caused by her
own failure to make timely mortgage payments. (OLS
Mem. 24.) OLS ignores Plaintiff's allegation that OLS'             ii. Indirect liability
actions proximately caused Plaintiff's bankruptcy and also       Absent any allegations supporting direct liability upon
deceived her into relying on OLS instead of pursuing other       OFC, Plaintiff urges the Court to “pierce the corporate
loss mitigation strategies. See Pandit, 2012 WL 4174888,         veil.” (Pl. OFC Opp'n 9.) OFC argues that the Complaint
at *6 (finding the plaintiff's allegation that the defendant's   does not allege sufficient allegations to hold OFC liable
actions lulled them into “not pursuing other options for         for the actions of OLS. (OFC Mem. 10.)
saving their home” to be sufficient to state an injury).
Plaintiff has alleged a plausible claim under § 349 of New       As a preliminary matter, the parties dispute whether the
York's General Business Law.                                     Court should apply the substantive law of New York or
                                                                 Delaware. “Under New York choice of law rules, the
                                                                 state of incorporation's law governs veil piercing.” OOO
  h. Claims against the corporate parent OFC                     v. Empire United Lines Co., Inc., 557 F. App'x 40, 46 (2d
                                                                 Cir.2014) (citing Fletcher v. Atex, Inc., 68 F.3d 1451, 1456
   i. Direct liability                                           (2d Cir.1995)), as corrected (Feb. 7, 2014). OLS is a limited
 *18 OFC moves to dismiss all claims against it on               liability company incorporated in Delaware, (Compl.¶ 8),
the basis that the Complaint is devoid of any factual            therefore, Delaware veil piercing law applies.
allegation pertaining to the actions of OFC. Plaintiff
argues that “OFC has taken responsibility for controlling        “Under Delaware law, ‘a court can pierce the corporate
OLS's predatory mortgage servicing practices in order to         veil of an entity where there is fraud or where a subsidiary
settle claims brought by government entities” and that she       is in fact a mere instrumentality or alter ego of its owner.”
was led to believe that there was no distinction between         VFS Fin., Inc. v. Falcon Fifty LLC, –––F.Supp.2d ––––,
OFC and OLS. (Pl. OFC Opp'n 8–9.) The Complaint only             ––––, 2014 WL 1744496, at *5 (S.D.N.Y. Apr.30, 2014)
states that OFC, “through its subsidiaries, engages in the       (quoting Geyer v. Ingersoll Publ'n Co., 621 A.2d 784, 793
servicing and origination of mortgage loans.” (Compl.¶           (Del.Ch.1992)). Absent an allegation of fraud, “a plaintiff
7.) The Complaint only refers to “Defendants,” “Ocwen”           must show (1) that the parent and the subsidiary operated
or the “Company.” Without any allegations speaking               as a single economic entity and (2) that an overall element
to the particular conduct of OFC, Plaintiff's claims of          of injustice or unfairness is present.” Nat'l Gear & Piston,
breach of contract, breach of implied contract, breach of        Inc. v. Cummins Power Sys., LLC, 861 F.Supp.2d 344,
the covenant of good faith and fair dealing, promissory          376 (S.D.N.Y.2012) (applying Delaware law) (quoting
estoppel, negligent misrepresentation, and New York              Fletcher v. Atex, Inc., 68 F.3d 1451, 1457 (2d Cir.1995))
General Business Law §§ 349 and 350 against OFC                  (internal quotation marks omitted); NetJets Aviation, Inc.
based on direct liability are dismissed without prejudice.       v. LHC Commc'ns, LLC, 537 F.3d 168, 176 (2d Cir.2008)
See Dumont v. Litton Loan Servicing, LP, No. 12–CV–              (“To prevail under the alter-ego theory of piercing the
2677, 2014 WL 815244, at *19 (S.D.N.Y. Mar. 3, 2014)             veil, a plaintiff need not prove that there was actual


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fraud but must show a mingling of the operations of the                 no argument or facts concerning the existence of
entity and its owner plus an ‘overall element of injustice              an element of injustice of unfairness. This second
or unfairness.” (quoting Harco National Insurance Co. v.                element of Delaware's alter-ego test requires that
Green Farms, Inc., No. CV–A–1331, 1989 WL 110537, at                    “the corporation must be a sham and exist for
                                                                        no other purpose than as a vehicle for fraud.”
*4 (Del.Ch. Sept.19, 1989))). The factors to be considered
                                                                        Radiancy, Inc. v. Viatek Consumer Products Grp.,
are:
                                                                        Inc., No. 13–CV–3767, 2014 WL 1318374, at *5
   *19 [W]hether the corporation was solvent; whether                   (S.D.N.Y. Apr. 1, 2014); Nat'l Gear & Piston, Inc.
                                                                        v. Cummins Power Sys., LLC, 975 F.Supp.2d 392,
  dividends were paid, corporate records kept, officers
                                                                        406 (S.D.N.Y.2013) (same); SungChang Interfashion
  and directors functioned properly, and other corporate
                                                                        Co. v. Stone Mountain Accessories, Inc., No. 12–CV–
  formalities were observed; whether the dominant
                                                                        7280, 2013 WL 5366373, at *7 (S.D.N.Y. Sept. 25,
  shareholder siphoned corporate funds; and whether, in                 2013) (same) (quoting Wallace ex rel. Cencom Cable
  general, the corporation simply functioned as a facade                Income Partners II, Inc. v. Wood, 752 A.2d 1175, 1184
  for the dominant shareholder.                                         (Del.Ch.1999)). “The fraud or injustice must consist
                                                                        of something more than the alleged wrong in the
NetJets, 537 F.3d at 177 (quoting Harco, 1989 WL 110537,                complaint and relate to a misuse of the corporate
at *4).                                                                 structure.” In re Frito–Lay N. Am., Inc. All Natural
                                                                        Litig., No. 12–MD–2413, 2013 WL 4647512, at *6
The Complaint is almost completely devoid of any                        (E.D.N.Y. Aug.29, 2013) (quoting Medi–Tec of Egypt
allegations speaking to the any of the factors relevant to              Corp. v. Bausch & Lomb Surgical, Fr., No. 19760–
the Court's veil piercing inquiry. Consequently, Plaintiff              NC, 2004 WL 5366102, at *7 (Del.Ch. Mar.4, 2004));
fails to provide factual allegations sufficient to support a            see also Nat'l Gear & Piston, 975 F.Supp.2d at 406
veil piercing theory of liability. Therefore, actions by OLS            (collecting cases). Although Plaintiff fails to show
cannot be imputed to OFC and all claims against OFC                     that the corporate veil should be pierced for failure
based on a piercing of the corporate veil are dismissed.                to state factual allegations pertaining to both prongs
                                                                        of Delaware's test, as Plaintiff requests, (Pl. OFC
                                                                        Opp'n 8), the Court grants Plaintiff leave to amend the
In an effort to circumvent dismissal, Plaintiff's brief in
                                                                        Complaint to properly assert a claim against OFC.
opposition to the motion to dismiss includes a “Statement
of Facts” speaking to the relationship between OFC
                                                                    iii. Agency liability
and OLS. (Pl. OFC Opp'n 2–6.) Plaintiff attempts to
                                                                 Under New York law, “an agency relationship results
amend her Complaint through her opposition brief, but
                                                                 from a manifestation of consent by one person to another
such an act is prohibited. The Court does not recognize
                                                                 that the other shall act on his behalf and subject to his
the factual allegations asserted in Plaintiff's opposition
                                                                 control, and the consent by the other to act.” Bigio v.
brief. 22 See U.S. ex rel. Siegel v. Roche Diagnostics,          Coca–Cola Co., 675 F.3d 163, 175 (2d Cir.2012) (quoting
Corp., 988 F.Supp.2d 341, 342 (E.D.N.Y. Dec.30, 2013)            N.Y. Marine & Gen. Ins. Co. v. Tradeline (L.L.C.),
(noting that a “[p]laintiff may not amend his complaint          266 F.3d 112, 122 (2d Cir.2001)). “A corporate parent's
through motion papers” (citation and internal quotation          ownership interest in a subsidiary, standing alone, is
marks omitted)); Lazaro v. Good Samaritan Hosp., 54              insufficient to demonstrate the existence of an agency
F.Supp.2d 180, 184 (S.D.N.Y.1999) (stating that “it is           relationship.” Bigio, 675 F.3d at 175.
axiomatic that the Complaint cannot be amended by the
briefs in opposition to a motion to dismiss”); Jacobson          As with Plaintiff's veil piercing argument, the Complaint
v. Peat, Marwick, Mitchell & Co., 445 F.Supp. 518, 526           fails to allege any facts to support imposing liability upon
(S.D.N.Y.1977) (“[A] party is not entitled to amend his          OFC under an agency theory. The only allegation specific
pleading through statements in his brief.” (citation and         to OFC is that it acted “through” its subsidiaries. Such an
internal quotation marks omitted)).                              allegation is insufficient. See Dumont, 2014 WL 815244,
                                                                 at *24 (rejecting an agency theory of liability because
22     Even if the Court were to recognize the allegations       “the OFC-specific allegations in the TAC are limited to
       set forth in Plaintiff's brief in opposition to the       conclusory allegations of direction and control”).
       motion to dismiss, Plaintiff still fails to satisfy the
       requirements of Delaware law as the brief contains


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                                                                 Business Law § 349 are denied. Plaintiff is granted thirty
  III. Conclusion
                                                                 days to address the defects identified by the Court and to
For the foregoing reasons Defendants' motions to dismiss
                                                                 submit an amended complaint. The amended complaint,
are granted in part and denied in part. All claims against
                                                                 if any, shall be filed within 30 days of the date of this
OFC are dismissed without prejudice. Plaintiff's claims
                                                                 Memorandum and Order.
against OLS based on breach of contract, breach of
implied contract, breach of the covenant of good faith
                                                                 *20 SO ORDERED.
and fair dealing, negligent misrepresentation, and New
York General Business Law § 350 are also dismissed.
Defendants' motions as to Plaintiff's claims against OLS         All Citations
based on promissory estoppel and New York General
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                                                             Counterclaim Plaintiff, and Third-Party Plaintiff Laurie
                                                             M. Mason (“Trustee”) is trustee for Third-Party Plaintiff
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                                                             The Richard W. Wallace and Rebecca J. Wallace
   Only the Westlaw citation is currently available.
                                                             Irrevocable Trust (“Trust”), which is an irrevocable trust
            United States District Court,
                                                             formed under the laws of the State of Delaware. The Trust
                M.D. Pennsylvania.
                                                             is formed for the benefit of the Wallaces, who are also its
              INDIANAPOLIS LIFE                              settlors. 1
         INSURANCE COMPANY, Plaintiff
                         v.                                  1       Defendant Deborah Hentz did not join in the
    Deborah HENTZ, Trustee, et al., Defendants                       Counterclaim and Third-Party Complaint.
   Richard W. Wallace et al., Third-Party Plaintiffs         Before the Court are motions to dismiss filed by Saide,
                         v.                                  Indianapolis Life, AmerUs Life, and AmerUs Group
  Amerus Group Co. et al., Third-Party Defendants.           (collectively the “Movants”) to dismiss counts I, III, IV,
                                                             V, VI, VII, VII, IX, X, and XI of the counterclaim and
              Civil Action No. 1:06-CV-2152.                 third-party complaint (“Complaint”) of the Wallaces, the
                             |                               Trustee, and the Trust (collectively the “Complainants”),
                      Sept. 30, 2008.                        pursuant to Rule 12(b)(6) of the Federal Rules of Civil
                                                             Procedure. Fed.R.Civ.P. 12(b)(6). In addition, the motion
Attorneys and Law Firms
                                                             seeks to completely dismiss the Trust from this action.
Amy L. Strachan, Funk & Bolton PA, Philadelphia, PA,         This motion has been fully briefed and is ripe for
Bryan D. Bolton, Funk & Bolton, PA, Media, PA, for           disposition.
Plaintiff/Third-Party Defendants.

Amy Evans, Cross & Simon, LLC, Wilmington, DE,               I. BACKGROUND
Steven E. Grubb, Goldberg, Katzman & Shipman,
Harrisburg, PA, for Defendants.                                  A. Factual Background 2
                                                             2       The following facts, which are accepted as true
                                                                     for purposes of this decision, are taken from the
                   MEMORANDUM                                        Counterclaim and Third-Party complaint.
                                                             The allegations in the Complaint arise out of a series
YVETTE KANE, Chief Judge.                                    of insurance transactions that took place between early
                                                             2005 and May 2006. The Wallaces, a married couple,
 *1 Plaintiff and Counterclaim Defendant Indianapolis
                                                             decided in the course of reviewing their estate plan and
Life Insurance Company (“Indianapolis Life”) is an
                                                             insurance portfolio to purchase a new life insurance
Indiana corporation authorized to sell and issue insurance
                                                             policy. (Doc. No. 3 at 14 ¶ 8.) They contacted Saide,
policies in the state of Delaware. Indianapolis Life is a
                                                             an agent for Indianapolis Life, who advised them to
subsidiary of Third-Party Defendant AmerUs Group Co.
                                                             terminate an existing life insurance policy that the
(“AmerUs Group”). Third-Party Defendant AmerUs Life
                                                             Wallaces had previously purchased and to transfer the
Insurance Co. (“AmerUs Life”) is also a subsidiary of
                                                             proceeds into a new policy that would be issued to them
AmerUs Group. Third-Party Defendant Frederick Saide
                                                             by Indianapolis Life. (Id. at 15 ¶ 9.) Saide worked out an
(“Saide”) worked as an agent for Indianapolis Life during
                                                             arrangement to finance the premiums on a $4.1-million
the relevant time-period of the alleged conduct underlying
                                                             policy through a loan from Credit Suisse, a financial
the Third-Party Complaint.
                                                             services company. (Id. at 15 ¶ 10.) After a time, the loan
                                                             could be paid off with the compounded cash value of the
Defendants, Counterclaim Plaintiffs, and Third-Party
                                                             policy. (Id.) To demonstrate the viability of the policy
Plaintiffs Richard W. Wallace and Rebecca J. Wallace
                                                             and loan arrangement he had proposed, Saide and his
(“Wallaces”) are residents of Newport, Pennsylvania
                                                             employer Indianapolis Life provided the Wallaces with
whose lives were insured by consecutive life insurance
                                                             an illustration (“Initial Illustration”) “of a policy to be
policies issued by Indianapolis Life. Defendant,



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purchased from the Insurance Company.” (Id. at 15 ¶                  the policy to Credit Suisse and pledge collateral for the
11.) Saide explained that “if they overfunded the life               amounts borrowed, which would be based on the cash
insurance policy under the Initial Illustration ... it would         value of the Delaware policy as provided in the Initial
give Mr. and Mrs. Wallace an ability to pay off amounts              Illustration. (Id. at 19 ¶ 19.) The Delaware policy was
borrowed [from Credit Suisse] to finance the premiums                issued in December 2005, and sent directly to Credit
of the policy.” (Id. at 16 ¶ 11.) The Wallaces believed              Suisse, which paid the first premium on January 12, 2006.
that they would be issued a policy in accordance with the            (Id. at 19 ¶ 21-22.)
Initial Illustration based on the representations of Saide
and Indianapolis Life. (Id. at 16 ¶ 12.)                             Based on the foregoing statements of Saide and
                                                                     Indianapolis Life, The Wallaces and the Trustee believed
 *2 The Wallaces decided to go forward with the                      “that the Trust had a ... policy ... in accordance with
proposed deal and purchase a life insurance policy in                the Initial Illustration.” (Id . at 20 ¶ 23.) Saide and
Pennsylvania. (Id. at 16 ¶ 13) Even though Saide knew                Indianapolis Life knew the Delaware policy did not
that Credit Suisse was not able to provide premium                   incorporate the Initial Illustration. (Id.) In January 2006,
financing on life insurance premiums in Pennsylvania, he             Indianapolis Life provided an illustration of the Delaware
recommended the Wallaces apply for the loan from Credit              policy to Credit Suisse (but not to the Wallaces or the
Suisse. (Id.) As it turned out, Credit Suisse was indeed             Trustee) that showed that the policy was worth less than
not able to provide the loan. (Id.) At this point, some              the Initial Illustration, which meant that the Wallaces'
time had elapsed 3 since the Wallaces' initial application           pledged collateral was insufficient to cover the loan. (Id. at
for insurance, and Saide warned them that they would                 21 ¶ 24.) Reacting to this insufficiency, Credit Suisse issued
not be able to lock in the policy under the terms of the             a notice of default to the Trust threatening to surrender the
Initial Illustration if any further delay occurred. (Id. at          insurance policy unless the Trust paid additional collateral
16-17 ¶¶ 14-15.) To avoid this problem, Saide proposed               in the amount of $78,000 dollars. (Id. at 22 ¶ 27.) At this
that: Indianapolis Life issue the Pennsylvania policy                point, the Wallaces unsuccessfully attempted to secure a
immediately so the Initial Illustration would be effective,          copy of the policy from Indianapolis Life. Rather than
the Wallaces personally pay the first premium due on the             produce the policy itself, Indianapolis Life provided them
policy, and that the Wallaces form a trust in Delaware               another illustration showing the values of the Delaware
so that the Trust could apply for the insurance in a state           policy, which were diminished in comparison to the Initial
where Credit Suisse would not be prohibited from making              Illustration. (Id. at 23 ¶ 29.) After incurring significant
loans to fund the insurance premiums. (Id.) After these              expenses investigating the matter, the Wallaces directed
steps, the Pennsylvania policy would be cancelled and the            the Trustee to surrender the policy to Credit Suisse. (Id.
Initial Illustration would be effective as to the Delaware           at 24 ¶ 30.) The present action commenced after the
Policy. (Id.)                                                        Wallaces refused to pay Indianapolis Life for amounts
                                                                     still due under the surrendered policy and demanded
3                                                                    reimbursement for premiums and their expenses. (Id. at 24
       It is unclear from the Complaint exactly how much
                                                                     ¶ 31.)
       time passed up until this point, but it is alleged that the
       Wallaces initially contacted Saide and Indianapolis
       Life in “early” 2005 and that the first Pennsylvania
                                                                        B. Procedural Background
       policy was issued on March 14, 2005. (Doc. No. 3 at
                                                                      *3 Indianapolis Life commenced the present action by
       14 ¶ 8.)
                                                                     filing a complaint for declaratory judgment on November
The Wallaces agreed to Saide's plan, and on March 14,                1, 2006. (Doc. No. 1 .) The Court has subject-matter
2005, Indiana Life issued the Pennsylvania policy. (Id. at           jurisdiction over this matter pursuant to 28 U.S.C. §
17 ¶ 16.) On November 16, 2005, the Trustee and the                  1332. The Defendants answered the complaint, made
Wallaces formed the Trust. (Id. at 18 ¶ 17.) The Trust               a counterclaim against Indianapolis Life, and brought
applied for the new Delaware life insurance policy on                AmerUs Life, AmerUs Group, and Saide into the action
November 22, 2005, and executed the loan and security                by way of a third-party complaint filed on November 22,
agreement with Credit Suisse on November 23, 2005. (Id.              2006. (Doc. No. 3.) On January, 29, 2007, the present
at 18 ¶¶ 17-18.) The loan and security agreement provided            motion to dismiss pursuant to Rule 12(b)(6) was filed
that the trust would assign its rights to any proceeds of            by Indianapolis Life, AmerUs Life, and AmerUs Group.


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(Doc. No. 31.) Saide sought and obtained leave of the          Stentor Electric Mfg., 313 U.S. 487, 496, 61 S.Ct. 1020,
Court to join in this motion and file his own. (Doc. No.       85 L.Ed. 1477 (1941). Both parties agree that Delaware
36.) The motions have been fully briefed by all parties        law should apply to the state law claims in this matter.
(Doc. Nos.32, 39, 55, 59) and are ripe for disposition. For    (Doc. No. 32 at 3; Doc. No. 55 at 7.) Having considered
the reasons that follow, the motions will be granted in part   the interests and contacts of Delaware applicable to the
and denied in part.                                            present dispute as required by Pennsylvania choice of law
                                                               principles, the Court will apply Delaware substantive law
                                                               to the state claims brought in the Complaint.
II. STANDARD OF REVIEW AND CHOICE OF
LAW
                                                               III. DISCUSSION
   A. Standard of Review                                        *4 As an initial matter, the motion is unopposed on
The Movants have brought this motion to dismiss the            several points. Both parties agree that the Trust itself is
complaint under Federal Rule of Civil Procedure 12(b)          not a proper party. (Doc. No. 31 ¶ 1; Doc. No. 55 at 5.)
(6) for failure to state a claim upon which relief can be      Having considered the arguments and authorities cited by
granted. Fed.R.Civ.P. 12(b)(6).                                Movants, the Court agrees that the trust is not a proper
                                                               party and it will be dismissed from this action. Both parties
The Supreme Court's recent opinion in Bell Atlantic Corp.      also agree that Count X of the Complaint (Insurance
v. Twombly, has altered the standard of review for a           Fraud) should be dismissed because Del.Code. Ann. 18 §
motion to dismiss pursuant to Rule 12(b)(6). Phillips v.       2407 does not provide a private right of action. (Doc. No.
County of Allegheny, 515 F.3d 224, 230 (3d Cir.2008). In       31 ¶ 8; Doc. No. 55 at 5.) Considering the arguments raised
construing the Rule 12(b)(6) standard generally, the Court     in the Movants' brief and the agreement of the parties, the
required the plaintiff to provide more than a formulaic        Court will grant dismissal of Count X of the Complaint.
recitation of a claim's elements that amounted to mere
labels and conclusions. Bell Atlantic Corp. v. Twombly,        Finally, the Complainants state that they will “withdraw
--- U.S. ----, ---- - ----, 127 S.Ct. 1955, 1964-65, 167       the Count of bad faith breach of contract without
L.Ed.2d 929 (2007). Additionally, the complaint's “factual     prejudice.” The Court takes this statement to mean that
allegations must be enough to raise a right to relief above
                                                               the motion to dismiss is unopposed as to Count VI. 4 A
the speculative level.” Id.
                                                               claim for bad faith breach of contract is only recognized
                                                               by Delaware courts when an insurer delays or fails to
The Third Circuit has held that the language in Twombly
                                                               process a claim without reasonable justification. Tackett
applies generally to all motions brought under Rule 12(b)
                                                               v. State Farm Fire and Cas. Ins. Co., 653 A.2d 254, 263
(6). Phillips, 515, F.3d at 232. Despite the seemingly
                                                               (1995) (citing Casson v. Nationwide Ins. Co., 455 A.2d 361
altered standard from Twombly, it is still true that
                                                               (Del.Super.1982). The allegations in the Complaint do not
“courts accept all factual allegations as true, construe
                                                               suggest that there was any delay or failure to process a
the complaint in the light most favorable to the plaintiff,
                                                               claim on the life insurance policy at issue in this case. As
and determine whether, under any reasonable reading of
                                                               such, Count VI will be dismissed.
the complaint, the plaintiff may be entitled to relief.” Id.
(quoting Pinker v. Roche Holdings Ltd., 292 F.3d 361, 374
                                                               4      A dismissal pursuant to Rule 12(b)(6) is a summary
n. 7 (3d Cir.2002)).
                                                                      disposition on the merits and is presumed to be with
                                                                      prejudice. See Johnsrud v. Carter, 620 F.2d 29, 32-33
  B. Choice of Law                                                    (3d Cir.1980).
When a federal court is exercising subject matter              The remaining Counts challenged by the Movants
jurisdiction over an action with state law claims pursuant     are: I (Fraudulent Inducement), III (Negligence), IV
to 28 U.S.C. § 1332, it must apply the substantive law of      (Common Law Fraud), V (Negligent Misrepresentation),
the state to those claims. Erie R. Co. v. Tompkins, 304 U.S.   VII (Breach of the Duty of Fair Dealing), VIII
64, 79, 58 S.Ct. 817, 82 L.Ed. 1188 (1938). One aspect of      (Consumer Fraud), IX (Deceptive Trade Practices), and
this rule is that a federal court must apply the conflict of   XI (Racketeer Influenced and Corrupt Organizations
law principles of the state in which it sits. Klaxon Co. v.    “RICO”). Since many of the Movants' arguments for



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dismissal pertain to several Counts, they will be considered     *5 While the allegations are vague and non-specific (a
in groups based on the applicable argument for dismissal.       deficiency addressed below), a court must consider the
                                                                complaint as a whole and also any fair inferences that can
                                                                be drawn from the allegations. A fair inference here is that
  A. Failure to Allege a Misrepresentation                      Saide (and through him, Indianapolis Life) supplied false
Movants' argue that Counts I, IV, V, VIII, IX, and              information by advising the Wallaces to apply for a loan
XI are insufficient because the complaint fails to allege       that he knew would not be available. Saide also misled
a false representation, which is a common required              the Wallaces into following the steps of his plan when he
element to all of the Counts. 5 (Doc. No. 32 at 5.) The         falsely represented that it would lock in a new Delaware
Complainants contend that the Complaint, viewed as a            policy under the terms of the Initial Illustration, which
whole, sufficiently alleges misrepresentations to support       also turned out to be false. The Movants argue: “the words
the common element of those counts. (Doc. No. 55 at 8.)         ‘misrepresentation,’ ‘misleading’ or ‘false’ do not appear
                                                                in the factual allegations section of the counterclaim.”
5      See, e.g., Stephenson v. Capano Development, Inc.,       Despite this, a fair inference from the stated allegations
       562 A.2d 1069, 1074 (Del.1983) (listing “a false         is that false and misleading representations were made
       representation” as the first element of common           to the Wallaces and the Trustee that could support the
       law fraud); E.I. DuPoint de Nemours & Co. v.             misrepresentation element inherent in the above causes of
       Florida Evergreen Foliage, 744 A.2d 457, 461             action.
       (Del.1999) (explaining that fraudulent inducement
       includes the elements of a common law fraud);
       H-M Wexford L.L.C v. Encorp, Inc., 832 A.2d                B. Economic Loss Doctrine
       129, 147 n. 44 (Del.Ch.2003) (an element of              The Movants' contend that Counts I, III, IV, and V
       negligent misrepresentation is the supplying of false    should be dismissed because of Delaware's Economic
       information); Seville Indus. Mach. Corp. v. Southmost    Loss Doctrine, which prohibits recovery in tort for purely
       Mach. Corp., 742 F.2d 786, 791 (3d Cir.1984) (fraud is   economic losses, unaccompanied by bodily harm or
       an inherent element in a RICO claim alleging mail and
                                                                property damage. (Doc. No. 32 at 8.) Complainants do
       wire fraud); Grand Ventures, Inc. v. Whaley, 632 A.2d
                                                                not deny that they are only seeking recovery for economic
       63, 65-66 (Del.1993) (finding that both the Deceptive
                                                                loss, but argue instead that the tort claims should not
       Trade Practices Act and the Consumer Fraud Act
       were passed to protect consumers from deception on
                                                                be dismissed because they arise from a breach of duty
       the part of businesses).                                 independent of the contract at issue. (Doc. No. 55 at 20.)
                                                                Further, they argue that Counts I and V should not be
Paragraph 13 of the Complaint contains an allegation that
                                                                dismissed because Delaware provides exceptions to the
“[e]ven though he knew at the time that Credit Suisse was
                                                                economic loss doctrine for fraudulent inducement and
not authorized to finance premiums for insurance policies
                                                                negligent misrepresentation. (Id. at 23.)
in Pennsylvania, Saide assured the Wallaces that Credit
Suisse would be able to provide premium financing on the
Pennsylvania Policy.” (Doc. No. 3 at 16 ¶ 13.) After Credit        1. Independent Duty
Suisse refused to issue the loan in Pennsylvania, Saide         The economic loss doctrine began as a judicially created
then informed the Wallaces that they could not delay            limitation in product liability actions prohibiting recovery
any further and proposed an elaborate plan to lock in           in tort where a defective product damaged only itself
the Initial Illustration that required them to immediately      and did not cause personal injury or damage to other
purchase and personally pay for the Pennsylvania policy.        property. See Danforth v. Acorn Structures, Inc., 608 A.2d
(Doc. No. 3 at 16 ¶¶ 15, 16.) Even though the Wallaces          1194, 1195 (Del.1992). The application of this doctrine
immediately acquired the Pennsylvania policy, paid the          has grown beyond its origin in products liability to cover
premiums, and followed the other steps of Saide's plan, the     any commercial transaction involving a contract where
resulting Delaware policy did not conform to the Initial        the alleged damages do not include injury to a person or
Illustration despite Saide's representations to the contrary.   to property other than the bargained-for item. Christiana
(Id. at 17-20, ¶¶ 16-22; id. at 23 ¶ 29.)                       Marine Serv. Corp. v. Texaco Fuel and Marine Mktg., No.
                                                                98C-02-217WCC, 2002 WL 1335360, at *5 (Del.Super.Ct.
                                                                June, 13, 2002). As such, for contract claims and tort


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claims to co-exist in an action, the tort claims must arise    552 (“RST 552”). 7 The two plaintiffs in Tetra Tech
from a duty that is independent of the duties imposed          were not in a contractual relationship with a design
by the contract. McKenna v. Terminex Intern. Co., No.          engineer that had supplied information to them, so no
04C-02-022RBY, 2006 WL 1229674, at *2 (Del.Super.Ct.           breach of contract action was available, and the economic
March 13, 2006). The doctrine illustrates the judicial         loss doctrine would have precluded recovery in tort.
preference for application of contract law to disputes         Id. The court therefore adopted RST 522 as a limited
because it provides a better and more specific remedy than     exception to the economic loss doctrine solely for claims of
tort law. Brasby v. Morris, No. 05C-10-022-RFS, 2007           negligent misrepresentation to avoid a situation where no
WL 949485, at *6 (Del.Super.Ct. March 29, 2007).               remedy existed. See Christiana, 2002 WL 1335360, at *6.
                                                               This narrow application is evident in the court's express
 *6 Here, the Complainants do not deny that the                limitation that it did not intend to “state a general rule
insurance contract contained the duties governing              which applies to all professions in all situations.” Id. As
the relationship between the parties. Instead, the             such, the Complainants cannot rely on Tetra Tech or the
Complainants argue that Saide had independent duties           RST 552 exception to support the separate tort causes
beyond those “arising under any contract.” (Doc. No.           of action merely by suggesting it imparts an independent
55 at 19 (emphasis added).) Delaware law is clear that         duty on all insurance agents.
insurance companies do not owe any special duties to
policy holders outside of the insurance contract itself.       6      Previously, counsel for the Complainants also argued
Cross v. BCBSD, Inc., 836 A.2d 492, 493 (Del.2003). The
                                                                      an independent statutory duty existed in Delaware
Delaware Supreme Court has held that “the concept of
                                                                      for insurance agents, but that argument has been
a fiduciary relationship, which derives from the law of               withdrawn. (Doc. No. 66 at 1.)
trusts, is more aptly applied in legal relationships where
                                                               7      The Restatement (Second) of Torts § 552 provides in
the interests of the fiduciary and the beneficiary incline
toward a common goal in which the fiduciary is required               relevant part:
to pursue solely the interests of the beneficiary in the                   One who, in the course of his business, profession
                                                                           or employment, or in any other transaction
property.” Corrado Bros. v. Twin City Fire Ins. Co., 562
                                                                           in which he has a pecuniary interest, supplies
A.2d 1188, 1192 (Del.1989). A typical insurance contract
                                                                           false information for the guidance of others in
does not fit this standard because the interests of the
                                                                           their business transactions is subject to liability
insurance company and its policy holders will not always
                                                                           for pecuniary loss caused to them by their
align. Cross, 836 A.2d at 495. Additionally, agents of the                 justifiable reliance upon the information, if he
insurance company share the same contractual duty with                     fails to exercise reasonable care or competence in
the policy holders as the company; the legal consequences                  obtaining or communicating the information.
of the agent's acts are the same as if the insurance company             Restatement (Second) of Torts § 552.
had performed them. See Thomas v. Harford Mut. Ins.
                                                               Complainants also cite Stuchen v. Duty Free International,
Co., No. 01 C-01-046 HDR, 2003 WL 21742143, at *1
                                                               Inc., No. 94C-12-194, 1996 WL 33167249, at *11-12
(Del.Super.Ct. July 25, 2003).
                                                               (Del.Super.Ct. April 22, 1996), but there the court found
                                                               no reason to impose independent duties on the agents
Complainants do not deny that Saide was an
                                                               at issue and dismissed the negligent misrepresentation
agent for the insurance company and not their
                                                               claims. Further, the rest of the cases cited by the
personal insurance broker, but contend that Saide
                                                               Complainants do not construe Delaware law and
had an independent common-law 6 duty of care in                are otherwise unpersuasive considering the Delaware
communicating information to the Wallaces. (Doc. No.           precedent discussed above.
55 at 20.) Complainants further argue that Saide's breach
of this duty is imputed to the insurance company by             *7 While RST 552 will be considered further in
way of respondeat superior. (Doc. No. 55 at 20.) In            connection with the exception to the economic loss
support of this proposition, they cite Guardian Const.         doctrine for negligent misrepresentation, it is clear that
Co. v. Tetra Tech Richardson, Inc., A.2d 1378, 1385-86         insurance companies and their agents do not have
(Del.Super.Ct.1990), wherein the Delaware Superior             independent duties beyond the insurance contract under
Court adopted the Restatement (Second) of Torts §              Delaware law. Given the express limitations of the Tetra-


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Tech holding, the Court cannot construe § 522 as creating       “the defendant supplied the information to the plaintiff
a general duty of care for all insurance agents, as proposed    for use in business transactions with third parties.” Id.
by the Complainants. The negligence and common law              (quoting Danforth v. Acorn Structures, Inc., No. 90C-
fraud claims relate directly to the performance of the          JN-30, 1991 WL 269956 at *5 (Del.Super.Ct. Nov.22,
contract underlying this dispute and merely recast the          1991)). Additionally, the defendant must be in the business
dispute in tort language. Thus, the economic loss doctrine      of supplying information. Christiana, 2002 WL 1335360
bars Counts III and IV, and they will be dismissed.             at *6.

                                                                The first requirement-that the defendant supplied
   2. Fraudulent Inducement                                     information for use in business transactions with third
While the Court does not accept the Complainants'               parties-is met by the allegations in the Complaint. Saide
argument in defense of the common law fraud and                 and Indianapolis Life provided the Wallaces and Trustee
negligence claims, this does not dispose of the fraudulent      with information regarding the value of a new insurance
inducement claim. Under Delaware Law, there is support          policy. (Doc. No. 3 at 15 ¶ 11.) The Wallaces and Trustee
for the proposition that an independent duty exists not to      used this information to secure a loan from Credit Suisse,
engage in fraud to induce a contractual relationship. See       a third party to the insurance policy transaction at issue.
Brasby, 2007 WL 949485, at *7 (holding that “allegations        (Doc. No. 3 at 19 ¶ 19.) It is also alleged that Credit Suisse
of fraud that go directly to the inducement of the contract,    calculated the loan collateral based on the cash value given
rather than its performance, would present a viable             in the Initial Illustration to the Wallaces. (Id.) As such,
claim”). The fraudulent inducement necessarily arises           Indianapolis Life and Saide supplied information to the
before the contract even exists so the claim cannot rest on     Wallaces for use in a business transaction with the third
any duty contained in the contract. 8 Id.                       party Credit Suisse. Delaware courts have found the first
                                                                requirement of the RST 552 exception met under similar
8      The Court notes that there is some dispute               circumstances involving a third-party loan agreement. See
       about whether this reasoning is sound. Compare           Christiana, 2002 WL 1335360, at *6.
       Budgetel Inns, Inc. v. Micros Sys., Inc., 8 F.Supp.2d
       1137 (E.D.Wis.1998) (concluding that fraudulent           *8 As for the second requirement, Delaware law does
       inducement claims are never barred by the economic       not delineate a list of businesses that are in the business
       loss doctrine because they must occur before the         of “supplying information.” Id. The court is required
       contract is formed), with Huron Tool & Engineering       to engage in “[a] precise, case-specific inquiry ... to
       Co. v. Precision Consulting Serv., Inc., 209 Mich.App.   determine whether a particular enterprise is in the business
       365, 532 N.W.2d 541, 545 (1995) (finding that
                                                                of supplying information for the guidance of others in
       fraudulent inducement claims were also blocked
                                                                their business transactions.” Id. (quoting Rankow v. First
       by the economic loss doctrine where the only
                                                                Chicago Bank, 870 F.2d 356, 360-366 (7th Cir.1989)).
       misrepresentation by the dishonest party concerns the
                                                                Most businesses provide information, but a business
       quality or character of the goods sold).
                                                                will not be found to meet this requirement where that
The Complainants have alleged enough in their complaint         information is provided in connection with the sale of
to support the fraudulent inducement claim. (Doc. No. 3         a product or services and relates the information relates
at 17 ¶ 15.) As such, the motion to dismiss Count I will        only to those goods and services. Id. at 7 (quoting Tolan
be denied.                                                      and Son, Inc. v. KLLM Architects, Inc., 308 Ill.App.3d 18,
                                                                241 Ill.Dec. 427, 719 N.E.2d 288, 295 (Ill App.Ct.1999)).
                                                                Because of the intensive factual nature of this inquiry, it
  3. Exception for Negligent Misrepresentation under
                                                                not always clear whether or not the business is “supplying
  RST § 552
                                                                information.” Id.
As discussed above, RST 552 does not establish an
independent duty of care for all professions, but Delaware
                                                                Neither the parties nor the Court's independent research
courts have recognized it as a limited exception to
                                                                have revealed a Delaware case analyzing the information
the economic loss doctrine in claims of negligent
                                                                provided by an insurance company for purposes of the
misrepresentation. Christiana, 2002 WL 1335360, at *6.
                                                                RST 552 exception, but Delaware has relied to some
The RST 552 exception is limited to situations where


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extent on Illinois precedent in this area. Id. at 6, 241               so consideration in this section is an alternative basis
Ill.Dec. 427, 719 N.E.2d 288. Illinois courts have found               to dismiss the claim.
that life insurance companies were “a difficult case,”
considered somewhere between pure information provider            1. Rule 9(b) and Delaware's Consumer Fraud Act
(such as accountants) and pure tangible good providers           *9 Rule 9(b) 10 is limited by its terms to claims of
(such as manufacturers). Tolan, 241 Ill.Dec. 427, 719           mistake and fraud, but it applies “to all cases where
N.E.2d at 297.                                                  the gravamen of the claim is fraud even though the
                                                                theory supporting the claim is not technically termed
In this case, the allegations of the complaint are sufficient   fraud.” Toner v. Allstate Ins. Co., 821 F.Supp. 276, 283
to sustain this second requirement. Indianapolis Life and       (D.Del.1993). The heightened requirements of Rule 9(b)
Saide were trying to sell the Wallaces a life insurance         are meant to protect defendants from frivolous suits that
policy, so the information was provided with the ultimate       could potentially damage a defendant's reputation and
goal of selling a product. But, the information provided to     goodwill. See Seville, 742 F.2d at 791. The particularity
the Wallaces did not relate only to the sale of the insurance   requirement accomplishes this goal by giving notice of
policy. For instance, Saide advised the Wallaces to apply       the specific misconduct at issue so the defendant can
for loans from a specific third-party bank. (Doc. No. 3         prepare a defense to the claim. Toner, 821 F.Supp. at 284.
at 16 ¶ 13.) Further, Saide contacted counsel in Delaware       The requirement of specificity also prevents fraud claims
for the Wallaces to draw up a trust agreement. (Doc. No.        meant as a fishing expedition to obtain material facts by
3 at 16 ¶ 17.) Because of the early stage of this case and      way of the discovery process. Id. As such, the heightened
the difficult nature of applying the RST 552 exception          requirements of Rule 9(b) apply to claims of intentional
to life insurance companies in general, the Court finds         misrepresentation. See id. They are also applicable to the
that these allegations are enough to raise an inference         fraudulent acts of mail fraud underlying a RICO cause of
that Indianapolis Life and Saide were in the business of        action. Lum v. Bank of America, 361 F.3d 217, 223 (3d
supplying information for the guidance of the Wallaces.         Cir.2004).

As such, the negligent misrepresentation cause of action        10     Rule 9(b) provides:
pleaded here satisfies the requirements of RST 552 and                     In alleging fraud or mistake, a party must state
qualifies as an exception to the economic loss doctrine.                   with particularity the circumstances constituting
The motion to dismiss Count V will be denied.                              fraud or mistake. Malice, intent, knowledge, and
                                                                           other conditions of a person's mind may be
                                                                           alleged generally.
    B. Failure to Plead Fraud with Particularity                        Fed.R.Civ.P. 9(b).
The Movants' argue that Counts I, IV, 9 VIII, and XI
                                                                The     Delaware     Consumer      Fraud    Act 11  is
of the counterclaim are deficient because they are not
                                                                designed to protect consumers from unfair or
plead with particularity as required by Rule 9(b) of the
                                                                deceptive merchandising practices, including: fraud,
Federal Rules of Civil Procedure. (Doc. No. 32 at 7.)
                                                                misrepresentation, false promises, and omission of
They also contend that Count V is deficient because even
                                                                material facts with intent that others rely upon such
though Rule 9(b) is not applicable to a claim of negligent
                                                                concealment. Grand Ventures, Inc. v. Whaley, 632 A.2d
misrepresentation, it still must be pled with a degree of
                                                                63, 65-66 (Del.1993). While the elements of a Consumer
specificity. (Id.) The Complainants argue that the claims
for consumer fraud and negligent misrepresentation do           Fraud Act claim differ from common law fraud, 12 in
not require any heightened pleading standard. (Doc. No.         all other respects the statute is interpreted in light of
55 at 11-12.) They also argue that, to the extent Rule 9(b)     established common law concepts of fraud and deceit.
does apply, the allegations place the Movants on sufficient     Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1074
notice to satisfy the particularity requirements of the rule.   (Del.1983). Accordingly, some courts have held that the
(Id.)                                                           Consumer Fraud Act is subject to the requirements of
                                                                Rule 9(b). Coleman Dupont Homsey v. Vigilant Ins. Co.,
9                                                               496 F.Supp.2d 433, 439-40 (D.Del.2007) (citing Eames, at
        The Court notes that Count IV was found to be
                                                                412 F.Supp.2d 431, 437 (D.Del.2006)).
        barred by application of the economic loss doctrine



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                                                                              one of 750,000 violations alleged
11     The Delaware Consumer Fraud Act provides in                            would serve only to defeat the
       pertinent part:                                                        legislative mandate to the Attorney
            [A]ny deception, fraud, false pretense, false                     General in bringing actions such of
            promise, misrepresentation, or the concealment,                   these on behalf of citizens of the
            suppression, or omission of any material                          state.
            fact with intent that others rely upon such
            concealment, suppression or omission, in               *10 Id. As such, the rationale relied on by the court
            connection with the sale, lease or advertisement      does not apply with as much force to this case where
            of any merchandise, whether or not any person         private individuals are asserting the claim. See Coleman,
            has in fact been misled, deceived or damaged          496 F.Supp.2d at 439 (holding that Rule 9(b) applied to
            thereby, is an unlawful practice.                     a private cause of action brought under the Consumer
         Del.Code. Ann. 6 § 2513(a).                              Fraud Act and that Brady was inapplicable).
12     The statute's elements depart from the common law in
       the following ways: (1) a negligent misrepresentation      Given the fraud label on the Consumer Fraud Act, the
       is sufficient to violate the statute, (2) a violation of   conduct that it is meant to curtail, and the allegations
       the statute is committed regardless of actual reliance     relied on in the Complaint to support this cause of action,
       by the plaintiff, and (3) the plaintiff need not show      the gravamen of this claim is quite obviously fraud. In
       intent by the defendant to induce action or inaction       addition, application of Rule 9(b) here would further the
       by the plaintiff. Eames v. Nationwide Mut. Ins.            policy objectives of the rule. A false allegation under the
       Co., 412 F.Supp.2d 431, 437 (D.Del.2006) (quoting          Consumer Fraud Act certainly has the same potential to
       Stephenson, 462 A.2d at 1074)).                            harm reputation and goodwill as an allegation of common
Complainants contend that Rule 9(b) does not apply                law fraud. Therefore, the Court finds that Rule 9(b) is
because the elements depart from common law fraud,                applicable and the Consumer Fraud Act must be plead
citing State ex. rel. Brady v. Publishers Clearing House,         with particularity.
787 A.2d 111, 116-17 (Del.Ch.2001), as authority for this
position. The court in Brady held that the Chancery Court
version of Rule 9(b) did not apply to a claim brought               2. Negligent Misrepresentation
under the Consumer Fraud Act by the Delaware Attorney             The parties agree that a claim of negligent
General. Id. at 112. This case is sufficiently distinguishable    misrepresentation is not covered by Rule 9(b). (Doc. No.
so as to not control the disposition of the present issue,        55 at 10; Doc. No. 32 at 6). No consensus has emerged
however. The Attorney General of Delaware brought                 on this issue, even among the district courts within this
the claim in Brady, and this was an important factor              Circuit. 13 Because there is no clear consensus, the Court
in the court's rationale for not applying the heightened          will accept the parties' agreement.
requirements, as the court found:
                                                                  13     Compare Toner 821 F.Supp. at 283 (finding that Rule
            [T]he remedial goals of these two
                                                                         9(b) is applicable to negligent misrepresentation);
            acts are inconsistent with the                               Breeden v. Richmond Cmty. Coll., 171 F.R.D. 189,
            application of the particularized                            199-202 (finding the same after exhaustive review
            pleading requirements of Rule 9(b)                           of the authority and history of Rule 9(b)) with
            to enforcement actions brought by                            Brandow Chrysler Jeep Co. v. DataScan Tech.,
            the Attorney General to protect                              511 F.Supp.2d 529, 537 (E.D.Pa.2007) (holding
            the consuming public .... [C]laims                           Rule 9(b) inapplicable to claims of negligent
            under the two acts do not involve                            misrepresentation).
            charges of moral turpitude and are                    Despite Rule 9(b) being inapplicable, the Movants'
            unlikely to be brought by the State                   contend that a claim for negligent misrepresentation must
            for purposes of harassment .... [A]                   be plead with a degree of specificity, citing Floyd v.
            requirement that the State plead                      Brown & Williamson Tobacco Corp., 159 F.Supp.2d 823,
            with particularity the “who, what,                    834 (E.D.Pa.2001) (citing Southern Seafood Co. v. Holt
            where, and when” of each and every                    Cargo Sys., Inc., No. 96-5217 1997 WL 539763, *11 n. 23


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(E.D.Pa. Aug. 11, 1997)), as support for this proposition.     notice aspect of the Rule 9(b) requirement, but may
Floyd involved a pro se Complaint against two cigarette        “use alternative means of injecting precision and some
manufacturers for injuries allegedly sustained as a result     measure of substantiation into their allegations of fraud.”
of smoking cigarettes. Id. at 826. In analyzing the joint      Id. (holding that an attached detailed list identifying the
motion to dismiss, the court devoted only a few sentences      machines which were the subject of the alleged fraudulent
to the negligent misrepresentation claim holding that a        transactions was an adequate alternative means to satisfy
degree of specificity was required and finding that the        Rule 9(b)). The complaint also must include allegations
complaint contained no allegations concerning specific         detailing who made the misrepresentation, to whom, and
negligent misrepresentations. There was no discussion          the general content of the misrepresentation. Lum, 361
about the reasoning for this requirement or any standards      F.3d at 227.
for application of the holding, and the court solely relied
on a footnote in Southern Seafood, an unreported case,         One serious deficiency with the Complaint is that
as authority for the specificity standard it purported to      after identifying AmerUs Group, AmerUs Life, and
apply. See id. The court in Southern Seafood also did          Indianapolis Life as separate corporate entities (Doc. No.
not explain the authority or reasoning for requiring an        3 at 13-14 ¶¶ 4, 5, 6), it goes on to group them together
extra degree of specificity in negligent misrepresentation     as the “Insurance Company” for all the substantive
claims, however, and seemingly applied the typical Rule        allegations of the complaint. (Doc. No. 3 at 14 ¶ 8 n.
9(b) analysis to the claim. See Southern Seafood, 1997 WL      2.) Typically, a plaintiff cannot sue multiple defendants
539763, at *11 n. 23.                                          for fraud merely by alleging fraud with particularity as
                                                               to one defendant. Sandvik AB v. Advent Intern. Corp.,
Several cases in the Eastern District of Pennsylvania have     83 F.Supp.2d 442, 448 (D.Del.1999) (citing Lachmund
relied on Floyd to require an extra degree of specificity      v. ADM Investor Services, Inc., 191 F.3d 777, 784 (7th
for claims of negligent misrepresentation, 14 but the          Cir.1999)). In a case involving multiple defendants, each
Court has not found (nor have the parties cited) any           defendant is entitled to be apprised of the roles they each
Third Circuit cases holding negligent misrepresentation        played in the alleged scheme, and absent a compelling
claims to the same standard. Given the above history           reason, a plaintiff is not normally entitled to treat multiple
of the “degree of specificity” requirement relied on by        corporate defendants as one entity. Jepson, Inc. v. Makita
the Movants, the Court does not find the reasoning in          Corp., 34 F.3d 1321, 1328-29 (7th Cir.1994) (citing Vicom
Floyd persuasive and will not adopt it for the purposes        Inc. v. Harbridge Merch. Servs., Inc., 20 F.3d 771, 777-78
of this motion. A claim that does not fall under the           (7th Cir.1994)). Though it may be convenient to lump
special pleading requirements of Rule 9 is evaluated by the    defendants together for ease of reference, as the Court
general pleading rules set out in Rule 8(a). Fed.R.Civ.P.      has done in this opinion, it is a luxury that the plaintiff
8(a). As such, the negligent misrepresentation claim will      should avoid when alleging acts of fraud in a complaint.
not be further considered in this section of the opinion.      See Jepson, 34 F.3d at 1329. One exception to this general
                                                               rule is that vicarious liability need not be plead with
14                                                             particularity, so the principal can be held liable for the
       See, e.g., Brandow, 511 F.Supp.2d at 537; Deverant
                                                               fraudulent acts of its agents if the agency relationship
       v. Selective Ins. Co., Inc., No. 02-CV-3801 2003 WL
                                                               is adequately alleged. Sandvik, 83 F.Supp.2d at 448; see
       21282184 *3 (E.D.Pa. Jan. 07, 2003).
                                                               also Petro-Tech, Inc. v. Western Co. of N. Am., 824 F.2d
                                                               1349 (3d Cir.1987). But here, the Complaint contains no
   3. Application of Rule 9(b) to Counts I, IV, VIII, and
                                                               allegations as to how these grouped together companies
   XI
                                                               relate to each other, noting only that Indianapolis Life is
 *11 Rule 9(b) requires plaintiffs to plead the
                                                               a subsidiary to AmerUs Group. (Doc. No. 3 at 13 ¶ 5.)
circumstances of fraud with particularity. Seville, 742 F.2d
                                                               Further, the Complaint does not contain any allegations
at 791. Despite this, an approach focusing exclusively
                                                               that explain the connection of AmerUs Life to the facts
on the “particularity” language of the rule is too
                                                               of this case beyond lumping it together with the other
narrow because it ignores the contemplated flexibility
and simplicity inherent in the pleading system adopted         Defendant insurance companies. 15
by the Federal Rules. Id. Plaintiffs do not have to
make allegations of date, place, or time to satisfy the


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15     Paragraph 6 contains the entirety of the allegations    or time are not required by Rule 9(b). (Doc. No. 55 at
       regarding AmerUs Life:                                  14.) While this statement is generally true, the holding in
           Third-Party Defendant AmerUS Life Insurance         Seville was based on the existence of some other means
           Co., an Iowa corporation, is an insurance           of injecting particularity into the complaint to satisfy
           company authorized to sell insurance and issue      the requirements of Rule 9(b). The Complainants do not
           insurance policies in the State of Delaware, with   point out any other allegations or information that inject
           an address at 611 Fifth Avenue, Des Moines,         precision or substantiation into the claims that are lacking
           Iowa 50309, and a registered agent of James A.      the time, place, and dates. The brief in opposition also
           Smallenberger, 611 Fifth Avenue, Des Moines,        introduces further confusion by referring to the Wallaces
           Iowa 50309.
         (Doc. No. 3 at 14 ¶ 6.)                               and Trustee together as a single entity. 16

 *12 Even if the Court assumes that these related
                                                               16     For example, after lumping the Wallaces and Trustee
corporations can sort out their own involvement in
                                                                      together as “Wallaces,” (Doc. No. 55 at 5 n. 1),
the scheme and prepare a defense, see Jepson 34
                                                                      the Complainants state in their brief in opposition
F.3d at 1329, the allegations are also deficient because
                                                                      that: “Saide ... represented to the Wallaces (an
they do not include the date, place, or time that
                                                                      elderly couple with little knowledge of insurance) that
any of the misrepresentations took place. The few                     he would obtain and the Insurer could provide a
alleged misrepresentations identified in the Complaint                premium financed policy conforming to the Initial
appear to have taken place between “early 2005” and                   Illustration and with a commencement date of
“March 14, 2005,” during which, the Complainants allege               December 2005.” (Doc. No. 55 at 9.)
that Saide and the group of Defendants comprising
                                                               Given the many vagaries of the Complaint and the goals
“Insurance Company” took significant steps in the
                                                               of Rule 9(b) discussed above to provide notice to the
conduct underlying this action, such as: advising the
                                                               Defendants and protect against frivolous lawsuits, it is
Wallaces to terminate an existing life insurance policy,
                                                               clear that none of the misrepresentations or conduct
providing them with the Initial Illustration, advising them
                                                               underlying the fraud claims have been pled with sufficient
to apply for loans from Credit Suisse, and eventually
                                                               particularity to meet even the somewhat relaxed Rule 9(b)
devising the plan to create the Trust and have the Trustee
                                                               standard articulated by the Third Circuit in Seville. As
apply for the policy again. (Doc. No. 3 at 14-16 ¶¶
                                                               such, Counts I, IV, VIII, and XI will be dismissed.
8-15.) The date and time of these alleged events are never
identified with specificity. As discussed in the factual
background section of this Memorandum, the lack of                D. The Duty of Good Faith and Fair Dealing
dates and times makes it difficult to construct a time line     *13 The Movants argue that while Delaware recognizes
of the events that took place up until the first insurance     a cause of action for breach of the duty of good
policy was issued to the Wallaces. There is also no mention    faith and fair dealing, it only applies if the conduct in
of the place or method by which the misrepresentations         question is without reasonable justification. (Doc. No.
were made to the Wallaces so there is no way to know           32 at 10.) The Movants conclude that the Complainants
whether these misrepresentations were in person, by            have failed to allege “either a duty arising from any
phone, or mail (which is especially problematic for the        specific contractual relationship or any conduct that
underlying acts of mail fraud required to sustain the RICO     lacked reasonable justification.” (Doc. No. 32 at 11.) In
claim). Further, the Wallaces should have access to the        response, the Complainants argue that the duty extends
dates and times of these misrepresentations because they       beyond reasonable justification and that the allegations of
were personally involved in all of the communications at       the complaint taken as a whole are sufficient to sustain this
issue.                                                         cause of action. (Doc. No. 55 at 18.)

Furthermore, the Complainants' brief in opposition does        Under Delaware law, the implied covenant of good faith
not attempt explain or account for the lack of these           and fair dealing is best understood as a way of implying
essential elements to the core allegations of the Complaint.   terms in the agreement, either to analyze unanticipated
Instead, to account for the deficiencies, the Complainants     developments or to fill gaps in a contract's provisions.
rely on Seville and claim that allegations of date, place,     Dunlap v. State Farm Fire and Cas. Co., 878 A.2d



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434, 440-41 (Del.2005). The implied covenant attaches          Policy, and never confirmed or denied the application of
to every contract, including contracts of insurance. Id.       any illustration to the Delaware Policy.” (Doc. No. 3 at
at 441. Existing contract terms still control, so the          23 ¶ 29.) It is alleged that this refusal caused significant
implied terms cannot circumvent the parties' bargain to        additional costs for the Wallaces in investigating the
create a free-floating duty that does not exist in the         matter (Doc. No. 3 at 24 ¶ 30), which also would implicate
underlying document or create a claim for breach on            the covenant of good faith and fair dealing because an
conduct authorized by the terms of the agreement. Id. The      insurance company cannot take advantage of its superior
covenant requires that “a party refrain from arbitrary or      position such that it becomes a secondary source of injury
unreasonable conduct that has the effect of preventing the     to the insured. Dunlap, 878 A.2d at 444. Accordingly, the
other party to the contract from receiving the fruits of       complaint is sufficient to sustain the claim for breach of
the bargain.” Id. at 442. A party breaches the covenant        the duty of good faith and fair dealing.
if they frustrate the purpose of the contract by taking
advantage of their position to control implementation of
the agreement's terms. Id. at 442. To sufficiently plead          E. Deceptive Trade Practices
a breach of the implied covenant of good faith and              *14 Count IX of the Complaint asserts a claim based
fair dealing, “the plaintiff must allege a specific implied    on the Delaware Uniform Deceptive Trade Practices Act
contractual obligation, a breach of that obligation by         (“DTPA”). Del.Code. Ann. 6 § 2531 et seq.; (Doc. No.
the defendant, and resulting damage to the plaintiff.”         3 at 31 ¶ 73.) In Grand Ventures, Inc. v. Whaley, 632
Anderson v. Wachovia Mortg. Corp., 497 F.Supp.2d 572,          A.2d 63, 70 (Del.1993), the Delaware Supreme Court
582-83 (D.Del.2007) (quoting Fitzgerald v. Cantor, No.         held that “a litigant has standing under the DTPA only
16297-NC 1998 WL 842316 at *1 (Del.Ch. Nov. 10, 1998).         when such person has a business or trade interest at
                                                               stake which is the subject of interference by the unfair or
In an insurance contract, this covenant essentially requires   deceptive trade practices of another.” After reviewing the
“the insurer act in a way that honors the insured's            legislative history and intent behind the statute, the court
reasonable expectations.” Id. at 444. Unlike a bad faith       found that the DTPA was designed to protect consumers
claim in the insurance context, a breach of this implied       from deceptive trade practices indirectly by ensuring
covenant can occur from conduct that does not deal with        fair conduct among businesses. Id. As such, the court
failing to promptly process and pay claims. Id.                concluded that the DTPA addresses unreasonable or
                                                               unfair interference with horizontal relationships between
Here, the Complaint is sufficient to sustain a claim for       various business interests while the Consumer Fraud
breach of the implied covenant of good faith and fair          Act (asserted in Count VIII of the Complaint) provided
dealing. The Complainants specifically allege that the         remedies for violations of the vertical relationship between
insurance companies did not deal with the Wallaces fairly      a consumer and a producer or seller. Id.
throughout this process. (Doc. No. 3 at 30 ¶ 67.) Unfair
conduct in a contractual relationship prevents the other       Relying on Brady v. Fallon, No. 96A-12-010-RRC,
party from receiving the fruits of the bargain so the          1998 WL 283438, at *4 (Del.Super.Ct. Feb.27, 1998),
Complainants can rely on the concepts of reasonableness        the Complainants contend that Whaley is no longer
and fairness as a specific implied contractual obligation.     precedential because the Delaware General Assembly
See Anderson, 497 F.Supp.2d at 582. Additionally, a fair       amended the DTPA after the case was decided. 17 (Doc.
inference from several allegations within the Complaint is     No. 55 at 26). This argument cannot survive scrutiny,
that there was a breach of this obligation. For example,       however, because the terms of the amendment only give
it is alleged that Saide suggested the course of action and    the Attorney General standing to bring suit for harm to
made all arrangements necessary to create the Delaware         individual consumers. Del.Code. Ann. 6 § 2533(d). As
policy so that the Initial Illustration would apply. (Doc.     such, Fallon is inapplicable because the action in that case
No. 3 at 17 ¶¶ 15-16.) This conduct, if proved, could          was brought by the Attorney General and not by a private
demonstrate that the insurer was taking advantage of           consumer in his individual capacity. See Johnson v. Geico
their superior position to control implementation of the       Cas. Co., 516 F.Supp.2d 351 (D.Del.2007).
agreement's terms. The Complainants also allege that the
movants “refused to produce a copy of the Delaware



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17                                                                    VI, VII, VII, IX, X, and XI of the counterclaim and
       The amendment added subsection (d) to Del.Code.
                                                                      third-party complaint. Counts I (fraudulent inducement),
       Ann. 6 § 2533 which provides: “[t]he Attorney General
                                                                      III (negligence), IV (common law fraud), VI (bad
       shall have standing to seek, on behalf of the State, any
                                                                      faith breach of contract), VIII (consumer fraud), IX
       remedy enumerated in this section for any violation
       of § 2532 of this title that is likely to harm any
                                                                      (deceptive trade practices), X (insurance fraud), and XI
       person, including but not limited to individual retail         (RICO) will be dismissed. Additionally, the Richard W.
       purchasers and consumers of goods, services or                 Wallace and Rebecca J. Wallace Irrevocable Trust will be
       merchandise.” Del.Code. Ann. 6 § 2533(d).                      dismissed from this action. An order consistent with this
                                                                      Memorandum Opinion will follow.
Nothing in the Complaint suggests that the Complainants
had a business or trade interest that was the subject
of interference by unfair trade practices. Rather, the
allegations show only that they were private consumers                                           ORDER
of the insurance policy at issue. Accordingly, the Court
concludes that the Complainants cannot maintain a                     AND NOW, this 30th day of September, 2008, upon
private cause of action under the DTPA and Count IX will              consideration of the Defendants' Motions to Dismiss
be dismissed.                                                         (Doc. Nos.31, 38) the counterclaim and third-party
                                                                      complaint (Doc. No. 3) filed in the above-captioned
                                                                      matter, and for the reasons set forth in this Court's
   F. Leave to Amend                                                  Memorandum Opinion filed herewith, IT IS HEREBY
At the end of the brief in opposition, the Complainants               ORDERED that said Motions are GRANTED IN PART
state that, “[s]hould the Court determine that the claims             and DENIED IN PART.
have not been pled sufficiently, the Wallaces respectfully
request that the Court grant leave to amend and replead               As to Counts I (fraudulent inducement), III (negligence),
pursuant to Federal Rule of Civil Procedure 15.” (Doc.                IV (common law fraud), VI (bad faith breach of contract),
No. 55 at 29.)                                                        VIII (consumer fraud), IX (deceptive trade practices), X
                                                                      (insurance fraud), and XI (RICO), the motions to dismiss
Requesting leave to amend at the end of the brief in                  are GRANTED. These Counts are
opposition is not the proper method to bring such a
request before a court. Ranke v. Sanofi-Synthelabo, Inc.,
436 F.3d 197, 205-06 (3d Cir.2006). Instead, to request               DISMISSED.         As    to    Counts   V     (negligent
leave to amend, a draft amended complaint must be                     misrepresentation) and Count VII (breach of the duty of
submitted to the district court along with a formal motion            fair dealing) the motions are DENIED.
so that the court has a basis to exercise its discretion. Id.         IT IS FURTHER ORDERED that the Counterclaim
Failure to include the draft amended complaint is fatal to            and Third-Party Plaintiffs request for leave to amend
any motion to amend. Id. Accordingly, the Court will deny             the counterclaim and third-party complaint is DENIED
the Complainants request at this time, but would consider             without prejudice to file a proper motion for leave to
a subsequent, properly presented motion to amend. The                 amend.
Court notes, however, that leave to amend is typically
granted for dismissal for failure to comply with Rule 9(b),           IT IS FURTHER ORDERED that Defendant The
but not for amendments that would prove futile. See In                Richard W. Wallace and Rebecca J. Wallace Irrevocable
re Burlington Coat Factory Sec. Litig., 114 F.3d 1410,                Trust is DISMISSED from this action.
1434-35 (3d Cir.1997).

                                                                      All Citations
IV. CONCLUSION
                                                                      Not Reported in F.Supp.2d, 2008 WL 4453223
 *15 For the foregoing reasons, the Court will grant in
part Movants' motions to dismiss counts I, III, IV, V,

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